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                                         August 21, 2022


                                        INFORMATION


MEMORANDUM FOR THE SECRETARY
                                                 JOHN W      Digitally signed by JOHN W
                                                             PRIDDY IV
THROUGH:                       John W. Priddy    PRIDDY IV   Date: 2022.08.21 16:01:39
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                               Acting Director, Joint Task Force – East (JTF-E)

                               John K. Tien
                               Deputy Secretary, U.S. Department of Homeland Security
FROM:                          RADM Brendan C. McPherson                  MCPHERSON.BRENDA MCPHERSON.BRENDAN.C.1030028623
                                                                                           Digitally signed by



                                                                          N.C.1030028623          Date: 2022.08.21 14:49:08 -04'00'




                               Director, Homeland Security Task Force – Southeast (HSTF-SE)

SUBJECT:                       OPERATION VIGILANT SENTRY (OVS) Phase 1B

REFERENCE:                     (a) Homeland Security Act of 2002, P.L. 107-296
                               (b) DHS MASS MIGRATION PLAN (DMMP), dtd 8 SEP 2011
                               (c) OPERATION VIGILANT SENTRY, Rev. 5 dtd 13 JUL 2021

1. This memorandum provides formal notification that I have directed the HSTF-SE Unified
Command to transition from Operation Vigilant Sentry (OVS) Phase 1a (Steady State -
Preparation) to Phase 1b (Surge - Prevention), in accordance with references (a) through (c). I
directed this change in order to enhance our collective preparedness to effectively address a
marked, enduring increase in irregular maritime migration flow within the Caribbean area of
operations in recent months, most notably originating from Cuba and Haiti. The current
conditions in Cuba and Haiti remain fragile and conducive to seeing additional foreign nationals
taking to the sea, in significant numbers, with the intent of reaching the United States.

2. HSTF-SE will immediately implement operational and tactical level plans and activities to
deter and prevent any threat of maritime mass migration. The principal objectives of this
operation will focus on: effective deterrence; early interdiction; safe, efficient and humane care
and processing of migrants; and direct repatriation of migrants rescued and interdicted at sea in
support of U.S. national security interests. Ultimately, the mission of HSTF-SE is to save lives
and secure our borders.

3. HSTF-SE will coordinate all interagency requests for assistance, requests for forces,
recommendations for suspension of protection screening (if deemed necessary and appropriate),
determination for state and local assistance, or other operational matters with JTF-E and the DHS

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Office of the Military Advisor.




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4. HSTF-SE will maintain OVS Phase 1b (Surge) until operational conditions permit a timely
transition back to OVS Phase 1a (Steady State).

5. All DHS components are responsible for their own costs in support of HSTF-SE. Each
component is responsible for establishing appropriate mechanisms for capturing and
documenting costs in support of HSTF-SE operations. The Under Secretary for Management
will centrally collect cost information from across all DHS agencies. The Under Secretary for
Management and Chief Financial Officer will also periodically review the situation and make
adjustments accordingly.

Attach: Graphic - Operation Vigilant Sentry (OVS) Phases and Command Structure

cc:    Commandant, U.S. Coast Guard
       Commissioner, U.S. Customs and Border Protection
       Acting Director, U.S. Immigration and Customs Enforcement
       Administrator, Federal Emergency Management Agency
       DHS, Under Secretary for Management
       DHS, Director of Operations Coordination
       DHS, Office of the Military Advisor
       HSTF-SE Unified Command
       Commander, U.S. Southern Command
       Commander, U.S. Northern Command




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                                                                      U.S. Department of Homeland Security
                                                                      Washington, DC 20528




                                      December 22, 2022

                                  MEMORANDUM TO FILE


FROM:                                Adam Hunter
                                     Deputy Assistant Secretary for Immigration Policy
                                     Office of Strategy, Policy, and Plans

SUBJECT:                             Data on Maritime Migration


Purpose

This memorandum commits to writing data and information considered by the Department of
Homeland Security’s (DHS) Office of Strategy, Policy and Plans (PLCY) in connection with the
development of certain parole processes. The information was provided to Adam Hunter, Deputy
Assistant Secretary for Immigration Policy, by RDML Jo-Ann Burdian, Assistant Commandant
for Response Policy (CG-5R), by email dated December 13, 2022.

Description of Data or Information

Cubans are the top nationality encountered in the Eastern Caribbean Sea over the past year,
where their numbers have surged from 225 maritime encounters in January 2022 to 1,552 in
November 2022. Second to Cuban irregular maritime migration, Haitian migrant encounters
totaled 325 in January 2022 then surged to 505 encounters in November 2022, in large part due
to three Haitian sail freighter departures in which one landed in southern Florida. While these
numbers are smaller than SWB trends, they are extraordinarily high for the maritime domain
where the risk and danger of irregular migration is outsized, even when compared with land
routes. In response to the persistent elevated levels of irregular maritime migration across all
southeast vectors, the Director of Homeland Security Task Force – Southeast (HSTF-SE)
elevated the operational phase of DHS’ mass migration plan (Operation Vigilant Sentry) from
Phase 1A (Preparation) to Phase 1B (Prevention). Operation Vigilant Sentry is HSTF-SE’s
comprehensive, integrated, National operational plan for a rapid, effective, and unified response
of Federal, state, and local capabilities in response to indicators and/or warnings of a mass
migration in the Caribbean. The shift to Phase 1B triggered the surge of additional DHS
resources to support HSTF-SE’s Unified Command staff and operational battle rhythm. For
example, between July 2021 and December 2022, Coast Guard operational planners surged three
times the number of large cutters to the South Florida Straits and the Windward Passage, four
times the number of patrol boats and twice the number of fixed/rotary-wing aircraft to support
maritime domain awareness and interdiction operations in the southeastern maritime approaches
to the United States. Increasing the USCG’s operational presence in the region has traditionally



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deterred irregular migrant populations from taking the sea. However, Coast Guard and
interagency consent-based interviews suggest that human smuggling networks and the will of
would-be irregular migrants consider the risk to taking to the sea worth the attempt(s).

Despite the increased numbers taking to the sea, human smugglers and irregular migrant
populations continue to use unseaworthy, overly crowded vessels, piloted by inexperienced
mariners, without any safety equipment – including but not limited to, personal flotation devices,
radios, maritime global positioning systems, or vessel locator beacons. In FY22, the USCG
recorded 107 non-citizen deaths, including presumed dead, as a result of irregular maritime
migration. In January 2022, the Coast Guard located a capsized vessel with a survivor clinging
to the hull. USCG crews interviewed the survivor who indicated there were 34 others on the
vessel, who were not in the vicinity of the capsized vessel and survivor. The USCG conducted a
multi-day air and surface search for the missing migrants, eventually recovering five deceased
migrants, the others were presumed lost at sea. The perils of taking to the sea, for legitimate
purposes, are no different for an experienced mariner; however, an inexperienced mariner,
without any safety equipment, taking to the sea for illegal purposes, in an overcrowded vessel is
risking the lives of all persons onboard.

Historically, USCG encounters at-sea are more often than not compliant, however, USCG crews
are also observing an increasing number of encounters where migrant vessels are non-
compliant. In FY 2022, the Coast Guard encountered 26 non-compliant migrant vessels,
compared with only one for the previous two years. Non-compliance means upon encountering a
migrant vessel, migrants may be observed wielding knives, “clubs,” or other make-shift
weapons meant to dissuade boarding the migrant vessel or coming alongside to render
assistance; other USCG observations include instances where migrants have thrown canisters of
bodily fluids at USCG crews, and positioning the migrant vessel so as to obstruct the safe
navigation of the USCG cutter. USCG crews will de-escalate incidents of non-compliance
through persistent on-scene communications until such time the migrants accept USCG
assistance to transfer the migrants from their unsafe vessel to a USCG cutter. Other encounters
by USCG crews include migrants ingesting hazardous chemicals (e.g., fuel, bleach) or objects,
and even cutting themselves in hopes of being medically evacuated to the United States. For
example, in FY22, there were 11 incidents of self-harm noted by migrants under the care of, or
upon encountering, the USCG, or other U.S. government agency, an approximate 200% increase
since FY17 in which there four incidents, preceded by 24 incidents in FY16.

USCG and U.S. interagency encounters reflect the risk calculation irregular migrants accept by
taking to the sea, putting themselves, smaller accompanied and/or unaccompanied children at
risk to reach the United States. To that end, the USCG views its migrant interdiction mission as
a no-fail mission in an effort to save the lives of those unnecessarily taking to the sea. In support
of HSTF-SE, the USCG has diverted assets from other key mission areas, including counter-drug
smuggling operations, protection of living marine resources, and support for shipping
navigation. Allocating additional resources to migrant interdictions has also decreased USCG’s
participation in the international engagement mission.




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                                                                   Secretary

                                                                   U.S. Department of Homeland Security
                                                                   Washington, DC 20528




                                    October 29, 2021


MEMORANDUM TO:             Tae D. Johnson
                           Acting Director
                           U.S. Immigration and Customs Enforcement

                           Troy A. Miller
                           Acting Commissioner
                           U.S. Customs and Border Protection

                           Ur M. Jaddou
                           Director
                           U.S. Citizenship and Immigration Services

                           Robert Silvers
                           Under Secretary
                           Office of Strategy, Policy

FROM:                      Alejandro N. Mayorkas
                           Secretary

SUBJECT:                   Termination of the Migrant Protection Protocols


On January 25, 2019, then-Secretary of Homeland Security Kirstjen Nielsen issued a
memorandum entitled “Policy Guidance for Implementation of the Migrant Protection Protocols.”
On February 2, 2021, President Biden issued Executive Order (EO) 14010, Creating a
Comprehensive Regional Framework to Address the Causes of Migration, to Manage Migration
Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border. In this Executive Order, President Biden directed the
Secretary of Homeland Security “to promptly review and determine whether to terminate or
modify the program known as the Migrant Protection Protocols.” After completing a
comprehensive review as directed by EO 14010, I concluded that the Migrant Protection
Protocols (MPP) should be terminated and, on June 1, 2021, issued a memorandum to that effect
(the “June 1 memo”).




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On August 13, 2021, the U.S. District Court for the Northern District of Texas determined that
the June 1 memo was not issued in compliance with the Administrative Procedure Act (APA)
because it failed to address all the relevant considerations. See Texas v. Biden, No. 2:21-cv-067,
2021 WL 3603341 (N.D. Tex. Aug. 13, 2021). As a result, the District Court vacated the June 1
memo in its entirety and remanded the matter to the Department for further consideration. Id. at
*27. The District Court additionally ordered DHS to “enforce and implement MPP in good faith”
until certain conditions are satisfied, including that MPP be “lawfully rescinded in compliance
with the APA.” Id. (emphasis in original). The Department is fully complying with the District
Court’s order. At the same time, the Department has filed a notice of appeal and continues to
vigorously contest several of the District Court’s conclusions.

Pursuant to the District Court’s remand and in continuing compliance with the President’s
direction in EO 14010, I have once more assessed whether MPP should be maintained,
terminated, or modified in a variety of different ways. In conducting my review, I have studied
multiple court decisions, filings, and declarations related to MPP; considered relevant data
regarding enrollments in MPP, encounters at the border, and outcomes in removal proceedings;
reviewed previous Departmental assessments of MPP, as well as news reports and publicly
available sources of information pertaining to conditions in Mexico; met with a broad and diverse
array of internal and external stakeholders, including officials from across the federal government
working on border management, state and local elected officials from across the border region,
border sheriffs and other local law enforcement officials, and representatives from nonprofit
organizations providing legal access and humanitarian aid across the southwest border; and
considered the impact of other Administration initiatives related to immigration and the southern
border. I also examined considerations that the District Court determined were insufficiently
addressed in the June 1 memo, including claims that MPP discouraged unlawful border crossings,
decreased the filing of non-meritorious asylum claims, and facilitated more timely relief for
asylum seekers, as well as predictions that termination of MPP would lead to a border surge,
cause the Department to fail to comply with alleged detention obligations under the Immigration
and Nationality Act, impose undue costs on states, and put a strain on U.S.-Mexico relations.

After carefully considering the arguments, evidence, and perspectives presented by those who
support re-implementation of MPP, those who support terminating the program, and those who
have argued for continuing MPP in a modified form, I have determined that MPP should be
terminated. In reaching this conclusion, I recognize that MPP likely contributed to reduced
migratory flows. But it did so by imposing substantial and unjustifiable human costs on the
individuals who were exposed to harm while waiting in Mexico. The Biden-Harris
Administration, by contrast, is pursuing a series of policies that disincentivize irregular migration
while incentivizing safe, orderly, and humane pathways. These policies—including the ongoing
efforts to reform our asylum system and address the root causes of migration in the region—seek
to tackle longstanding problems that have plagued our immigration system for decades and
achieve systemic change. Once fully implemented, I believe these policies will address
migratory flows as effectively, in fact more effectively, while holding true to our nation’s values.

To reiterate what the President has stated previously, the United States is a nation with borders
and laws that must be enforced. It is also a nation of immigrants. This Administration is, as a
result, committed to the twin goals of securing our borders and offering protection to those
fleeing persecution and torture. MPP is neither the best, nor the preferred, strategy for achieving
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either of these goals. Significant evidence indicates that individuals awaiting their court hearings
in Mexico under MPP were subject to extreme violence and insecurity at the hands of
transnational criminal organizations that profited by exploiting migrants’ vulnerabilities. It is
possible that such humanitarian challenges could be lessened through the expenditure of
significant government resources currently allocated to other purposes. Ultimately, however, the
United States has limited ability to ensure the safety and security of those returned to Mexico.
Other significant issues with MPP, including the difficulties in accessing counsel and traveling to
courts separated by an international border, are endemic to the program’s design.

In reaching my determination, I have carefully considered what I deem to be the strongest
argument in favor of retaining MPP: namely, the significant decrease in border encounters
following the determination to implement MPP across the southern border. Of course,
correlation does not equal causation and, even here, the evidence is not conclusive. I have
nonetheless presumed, for the sake of this review, that MPP resulted in a significant decrease in
irregular border crossings and persons approaching the U.S. border to pursue non-meritorious
asylum claims. I still conclude that the benefits do not justify the costs, particularly given the
way in which MPP detracts from other regional and domestic goals, foreign-policy objectives,
and domestic policy initiatives that better align with this Administration’s values.

Importantly, the effective management of migratory flows requires that we work with our
regional partners to address the root causes that drive migrants to leave their countries and to
tackle this challenge before it arrives at our border. This is a shared responsibility of all countries
across the region. MPP distracts from these regional efforts, focusing resources and attention on
this singular program rather than on the work that is needed to implement broader and more
enduring solutions.

Efforts to implement MPP have played a particularly outsized role in diplomatic engagements
with Mexico, diverting attention from more productive efforts to fight transnational criminal and
smuggling networks and address the root causes of migration. This was true under the previous
implementation of MPP, and it is even more true today given the shared belief that the program
should not be implemented without, at the very least, significant improvements. Notably,
Mexico has made clear that it will not agree to accept those the United States seeks to return to
Mexico under MPP unless substantial improvements are made to the program. But these much-
needed efforts to enhance humanitarian protections for those placed in MPP are resource-
intensive, exacerbating one of the flaws of the program: the concentration of resources,
personnel, and aid efforts on the northern border of Mexico rather than on broader regional
assistance efforts that would more effectively and systematically address the problem of irregular
migration and better protect our border.

Moreover, the personnel required to adequately screen MPP enrollees to ensure they are not
returned to persecution or torture in Mexico, process them for court hearings, and manage their
cases pulls resources from other priority efforts, including the ongoing efforts to implement
effective, fair, and durable asylum reforms that reduce adjudication delays and tackle the
immigration court backlog. Both the Dedicated Docket, designed so that immigration judges can
adjudicate cases within 300 days, and the proposed Asylum Officer Rule, which would transfer
the initial responsibility for adjudicating asylum claims from immigration judges to USCIS
asylum officers to produce timely and fair decision-making, are expected to yield transformative
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and lasting changes to the asylum system. MPP, which can require unproductive, redundant
screenings per case given the many different times individuals are returned to Mexico during the
pendency of a single removal proceeding, diverts asylum officers and immigration judges away
from these priority efforts. MPP not only undercuts the Administration’s ability to implement
critically needed and foundational changes to the immigration system, but it also fails to provide
the fair process and humanitarian protections that all persons deserve.

Having assessed the benefits and costs of the previous implementation of MPP, including how
the program could potentially be improved, I have concluded that there are inherent problems
with the program that no amount of resources can sufficiently fix. Others cannot be addressed
without detracting from key Administration priorities and more enduring solutions.

It is, as a result, my judgment that the benefits of MPP are far outweighed by the costs of
continuing to use the program on a programmatic basis, in whatever form. For the reasons
detailed more fully in the attached memorandum, the contents of which are adopted and
incorporated into the decision contained here, I am hereby terminating MPP. Effective
immediately, I hereby supersede and rescind the June 1 memorandum, Secretary Nielsen’s
January 25, 2019 memorandum, and any other guidance or other documents prepared by the
Department to implement MPP. The Department will continue complying with the Texas
injunction requiring good-faith implementation and enforcement of MPP. But the termination of
MPP will be implemented as soon as practicable after a final judicial decision to vacate the Texas
injunction.




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more than 89,000 individuals had registered and over 22,000 have already received their
temporary residency visa. PLCY continues to explain that Phase Three will open February 17,
2023, to an estimated 350,000 Venezuelans who entered irregularly.

PLCY outlines the parameters of the new amnesty program, according to reporting from U.S.
Embassy Belmopan. This program will include asylum applicants who had previously been
denied as long as they were registered in Belize by March 31, 2020. Among other categories that
qualify under this amnesty program are individuals who resided in Belize before December 31,
2016. Total beneficiaries are estimated to range between 6,000-8,000 and will receive permanent
residency and a path to citizenship.

PLCY mentions how the Government of Mexico would not accept more noncitizens returned to
Mexico via the Migrant Protection Protocols (MPP) than local shelters had the capacity for,
which was limited. Additionally, reporting from U.S. Embassy Mexico City that describes how
MPP returns were paused in San Diego for an extended amount of time in the summer of 2022
due to a lack of shelter space in Tijuana.

PLCY describes concern from international partners, as conveyed by Embassy reporting, about
the potential consequences of lifting Title 42, as was originally planned on May 23, 2022.
Specifically, partners expressed concern that the end of Title 42 would be perceived by
migrants—and messaged by smugglers—as an opening of the U.S. border, which could cause a
dramatic and overwhelming increase in migration flows through partner countries. Another
potential pull factor cited by partners was the perception that U.S. immigration officials release
migrants into the community. Additionally, one partner expressed concern that in the past,
rumors alone of the end of Title 42 had spurred the creation of caravans moving towards the
border. In conversations, another foreign partner noted that the lack of consequences at our
border is a driver for irregular migration.

PLCY describes conversations with international partners, as relayed in a meeting readout from
the Department of State, in which at least one country encouraged the U.S. Government to
expand the Venezuela parole process to other nationalities as a pathway for individuals to reach
the United States without making the dangerous journey through the hemisphere. PLCY relays
information from other conversations with international partners in which they worry that these
pathways will be undermined when the Centers for Disease Control and Prevention’s Title 42
Order is no longer being implemented.

PLCY describes conversations with international partners in which they conveyed that their
willingness to receive increased returns of migrants was contingent on expanding the model
provided by U4U and the Venezuela process, which decreased irregular migration throughout the
hemisphere by increasing options for lawful pathways and adding consequences for noncitizens
who bypass those opportunities to travel irregularly to the United States. In general, international
partners have been active participants in carrying out actions related to stabilizing populations,
expanding lawful pathways and humanely managing borders, as per the Los Angeles Declaration
on Migration and Protection. However, our foreign partners regularly express concern about
having to divert resources from other priorities to respond to the ongoing surge in migration, and
believe that the U.S. Government should be doing more, particularly now, to reduce these
irregular flows and channel them into safe and orderly processes.


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PLCY reports that the Venezuela process was predicated on returning nationals of that country to
Mexico under Title 42 authorities, and Mexico has historically not accepted the return under
Title 8 of third-country nationals with final orders of removal.

PLCY describes conversations with at least one international partner that refused to entertain
negotiating a Safe Third Country Agreement with the United States, claiming it is not a
politically viable option for them.

Finally, PLCY considered reporting from U.S. Embassy Panama City stating that 59,800
irregular migrants crossed the Darien Gap in October 2022, which was a 130 percent increase
over October 2021. However, there was a sharp decline in migrants crossing from Colombia into
Panama after DHS announced the process for Venezuela on October 12. The daily average
dropped from 2,500 migrants in the first two weeks of October 2022 to about 1,000 migrants in
the last two weeks. Embassy Panama City cited a seasonal decrease from October to November
2021. However, in the same period in 2022, the overall number of Venezuelan migrants crossing
has decreased, whereas the overall the number of Ecuadorians and Haitians saw much smaller
variation.




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                                                                                                             August 2, 2022
Haiti: Political Conflict and U.S. Policy Overview
Conflict and political fragility have plagued Haiti, the        new elected government takes office. He has yet to appoint
poorest country in the Western Hemisphere, for much of its      that council, and many civil society and political actors
history. Haiti improved governance prior to the 2010            within Haiti have
earthquake, but progress since has been uneven.
Democratic institutions remain weak and corruptible.            As an alternative to         s proposal, numerous civil
Poverty remains extreme and economic disparity wide.            society organizations and political parties, some in
        proximity to the United States, instability, and        coalitions, have sought to form an interim government.
vulnerability to natural disasters have made relations with     After months of broad consultations, the Citizen
Haiti an ongoing policy issue for the U.S. government.          Conference for a Haitian Solution to the Crisis (widely
                                                                known as the Montana Group) came to an agreement in
A year after the July 2021 assassination of President           August 2021. The Montana Accord proposed a two-year
Jovenel Moïse and an August 2021 earthquake that killed
                                                                interim government led by a president and prime minister,
2,000 people, Haiti lacks an elected president, legislature,
                                                                with oversight committees, to restore order, administer
and mayors. No elections are scheduled to replace the           elections, and create a truth and justice commission to
expired terms of Haitian officials at any level of
                                                                address past human rights violations. Although many civic
government. A political standoff between Prime Minister
                                                                leaders and political parties signed the Montana Accord,
               government and political and civil society       others did not (including some business groups, churches,
leaders has occurred amid a worsening security crisis. The
                                                                and the PHTK and allied parties).
ongoing crises in Haiti are major concerns for the Biden
Administration and many Members of Congress. U.S.               Negotiations between Henry and the Montana Group have
policymakers have pushed for an inclusive, Haitian-led          yet to bear fruit. In June 2022, both parties named
political accord leading to new elections and have increased    negotiation commissions that began meeting in mid-July.
security assistance for the Haitian police.                     Some observers favor a Henry-Montana Group agreement,
                                                                but others warn such an agreement may not receive broad
Political Paralysis                                             enough support among the Haitian people to be successful.
As in past periods when Haitian presidents failed to hold
timely elections, former President Moïse of the Haitian Tèt     Security Crisis
Kale Party (PHTK) had been governing extra-                     Violent gangs, some formerly tied to the PHTK, threaten to
constitutionally prior to his assassination. Moïse failed to    overwhelm the government with greater resources and
convene parliamentary elections due in 2019 and began           weaponry. Gangs have exerted power and control over
ruling by decree in 2020. There was controversy over            territory, access to fuel, and the delivery of humanitarian
whether his term ended in February 2021 or February 2022.       aid, challenging the authority of the Haitian National Police
Moïse, like some other Haitian politicians and business         (HNP) and other state institutions. Since Moïse
leaders, allegedly provided money and arms to gangs and         assassination, gangs have expanded their power, as
other criminal groups in exchange for suppressing anti-         evidenced by the October 2021 kidnapping of U.S.
government protests, according to Insight Crime.                missionaries, hindering
                                                                trafficking and other crimes.
Following Moïse July 2021 assassination, the United
States and other donors supported              id to serve as   There are as many as 200 gangs in Haiti, and they control
prime minister over other competitors. Shortly before the       60% of Port-Au-Prince, key ports, and roads, according to a
assassination, Moïse had nominated Henry, a neurosurgeon,       study commissioned by the U.S. Agency for International
to be prime minister. The legislature lacked a quorum to        Development (USAID). From January to May 2022,
consider him, however, and the president had not sworn          kidnappings rose by 36% and homicides by 17%, according
him in.              gular path to his position and             to U.N. data; sexual violence is rampant. A wave of gang
allegations of his possible involvement in Moï                  violence in Port-Au-Prince in mid-July resulted in more
assassination, a case that remains unresolved, have eroded      than 470 killings, according to the United Nations.
his credibility. Henry has fired officials who have sought to   Impun                         weak justice system. In
question him about the case. Under Henry, inflation has         addition to failing to resolve Moïse                  Haitian
further damaged the economy and insecurity has worsened.        authorities have yet to arrest Jimmy Cherizier, a former
As of August 1, 2022, 1.4% of the population had been           HNP officer turned gang leader, or other Haitian officials
fully vaccinated against Coronavirus Disease 2019               implicated in the 2018 La Saline massacre of 71 people.
(COVID-19), according to Johns Hopkins University.
                                                                The escalating gang violence threatens to worsen political,
In September 2021, Henry and his supporters proposed that       economic, and social conditions in Haiti, a country where
he name a provisional electoral council to convene elections    the U.N. Office for the Coordination of Humanitarian
and that he remain the single head of government until a        Affairs estimates that 40% of the population is in need of

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humanitarian assistance. Violence has prompted closures of      June 2022, the International Organization for Migration
schools, businesses, markets, and medical facilities and has    assisted more than 19,000 Haitians repatriated to Haiti, 73%
limited humanitarian access in some areas. Gang violence        of whom were removed from the United States. The United
also could inhibit future disaster responses.                   States also has taken steps to provide legal migration and
                                                                protection pathways for some Haitians. Some 155,000
U.S. Policy                                                     Haitians may be eligible for relief from removal under the
U.S. policy goals in Haiti aim to support Haitians in their     Temporary Protected Status designation announced in May
efforts to confront insecurity; restore democratic              2021. In July 2022, the Administration said it would resume
institutions; and promote economic growth, educational          the Haitian Family Reunification Parole program, allowing
opportunities, and health care. T                               certain U.S. citizens and legal permanent residents to seek
political approach to Haiti has evolved from supporting the     parole for family members in Haiti.
Henry government to pushing Henry, the Montana Group,
and other stakeholders to reach an inclusive political
                                                                Congressional Action
accord. In a July 6, 2022, Miami Herald editorial, Assistant    The 117th Congress has enacted legislation, appropriated
                                                                and conditioned foreign assistance, and conducted oversight
Secretary of State for Western Hemisphere Affairs Brian
                                                                of U.S. policy toward Haiti. Congress has held hearings and
Nichols said he time has come for ... steps that will allow
                                                                briefings on U.S. policy toward Haiti, U.S. treatment of
                                                                                               April 2022 selection as one of
U.S. and international donors, criticized for past              the priority countries of focus under the Global Fragility
interventions in the country, have emphasized their support     Act (P.L. 116-94).
for Haitian-led solutions                            . On
                                                                Congress enacted the Haiti Development, Accountability,
July 15, the U.N. Security Council requested that Haitian
                                                                and Institutional Transparency Initiative (HAITI Act; H.R.
officials provide an update on progress toward a political
accord by mid-October. The Security Council also renewed,       2471/S. 1104) as part of the FY2022 Consolidated
                                                                Appropriations Act (P.L. 117-103). The act requires U.S.
but did not expand, the mandate of the U.N. Integrated
                                                                agencies to measure the progress of post-disaster recovery
Office in Haiti, established in 2019 to strengthen political
                                                                and efforts to address corruption, governance, rule of law,
stability and the rule of law in Haiti.
                                                                and media freedoms in Haiti.
U.S. foreign assistance to Haiti for FY2022-FY2024 is to
                                                                P.L. 117-103 does not designate an appropriations level for
be guided by a two-year Integrated Country Strategies
                                                                Haiti. The act requires the State Department to withhold
(ICS) adopted in March 2022. The Administration                 those funds and any other aid for the central government of
requested $274.8 million in assistance for Haiti in FY2023,     Haiti until a new president and parliament have taken office
up from the $204.4 million provided in FY2021, most of          following free and fair elections or the Secretary of State
which would fund health and other development activities.       determines a transitional government representative of
Although a complete breakdown of FY2022 aid to Haiti is         Haitian society is in place and it is in the U.S. interest to
not yet available, the United States allocated $56 million in   provide assistance. Notwithstanding those requirements, the
development assistance, as well as at least $48 million in      act allows U.S. agencies to provide assistance to support
International Narcotics Control and Law Enforcement funds       elections, anti-gang police and justice administration, public
                                                                health, food security, water and sanitation, education,
to support the HNP and $5 million to improve prison
                                                                disaster relief and recovery, and other programs to meet
conditions. U.S. assistance also has included more than
                                                                basic human needs.
$153 million in humanitarian aid since the August 2021
earthquake, according to a July 2022 State Department fact      Congress is considering the FY2023 budget request. The
sheet. USAID and the State Department have provided at          FY2023 State and Foreign Operations appropriations bill
least $47 million in health aid to help Haiti address           reported by the House Appropriations Committee (H.R.
COVID-19 and have donated more than 500,000 vaccines.           8282) does not designate a total funding level for Haiti; it
The Department of Defense has provided disaster relief and      includes the same conditions as P.L. 117-103. The report
has donated $5 million in equipment and health supplies.        accompanying the bill (H.Rept. 117-401) would require a
U.S. policy toward Haiti also has included the use of           report by USAID on maternal care in Haiti. Additionally,
sanctions; judicial support for the investigation into Moïse    measures to extend duty-free treatment from 2025 to 2035
assassination; and extradition for those complicit in arms      with respect to imports from Haiti under the Caribbean
trafficking, gang violence, and drug trafficking. In            Basin Economic Recovery Act have been introduced as the
December 2020, the Treasury Department sanctioned               Haiti Economic Lift Program Extension Act of 2021 (S.
Cherizier and two other former officials for grave human        3279 in November 2021; H.R. 6136 in December 2021).
rights violations under the Global Magnitsky Act. The
Department of Justice (DOJ) has assisted Haitian officials      Clare Ribando Seelke, Specialist in Latin American
investigating the Moïse assassination. DOJ has secured the      Affairs
extradition of two individuals complicit in that crime as       Maureen Taft-Morales, Specialist in Latin American
well as a gang leader responsible for the 2021 kidnapping       Affairs
of U.S. missionaries.
                                                                                                                      IF12182
U.S. apprehensions of Haitian migrants have risen notably,
both at sea and on the southwest border. From January to


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                                                                                                                                                  Fact Sheet #6
                                                                                                                                             Fiscal Year (FY) 2022




Haiti – Complex Emergency
JULY 8, 2022


                                                          SITUATION AT A GLANCE


          11.4                                    4.9                              1 2.5TO
                                                                                                                      2.5                     $372.6
          MILLION                               MILLION                              MILLION                        MILLION                      MILLION
           Estimated                         People in Need                      Number of People              People Targeted for           Funding Requirement
           Population                        of Humanitarian                   Facing Crisis Levels of            Humanitarian                for 2021–2022 Haiti
w           of Haiti                            Assistance                     Acute Food Insecurity               Assistance                        HRP
        UN – March 2021                        UN – April 2022                   FEWS NET – June 2022              UN – April 2022              UN – April 2022




x U.S. President Joseph R. Biden announces
  approximately $69 million in additional
  humanitarian assistance for food, health,
  livelihood, nutrition, and other interventions in
  Haiti during June.

x Relief actors face challenges accessing violence-
  affected communities in and near Haiti’s capital
  city of Port-au-Prince, including tens of
  thousands of people displaced by OCG activity
  since late April.

x Up to 2.5 million people in Haiti—20 percent of
  the country’s population—will likely experience
  Crisis—IPC 3—or worse levels of acute food
  insecurity through December 2022, FEWS NET
  reports.




  TOTAL U.S. GOVERNMENT HUMANITARIAN FUNDING
  For the Haiti Response in FY 20221                                                                                      USAID/BHA2            $66,573,206

  For complete funding breakdown with partners, see detailed chart on page 6.                                                    Total3      $66,573,206

1 Year of funding indicates the date of commitment or obligation, not appropriation, of funds.
2 USAID’s Bureau for Humanitarian Assistance (USAID/BHA).
3 Funding figures reflect USAID/BHA emergency funding and exclude USAID/BHA early recovery, risk reduction, and resilience (ER4) funding.




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KEY DEVELOPMENTS
President Biden Announces $ 69 Million in Humanitarian Assistance for Haiti
U.S. President Joseph R. Biden announced approximately $51 million in additional humanitarian
assistance—including nearly $48.6 million in emergency funding and $2.6 million for ER4 programs—for
Haiti at the Summit of the Americas in Los Angeles, California, on June 10. The emergency funding will
support both non-governmental organizations (NGOs) and UN partners to provide emergency food
assistance—such as the provision of cash for food, food vouchers, and in-kind food assistance—to
communities across Haiti, as well as agriculture support and livelihoods interventions to bolster
household access to food and purchasing power amid deteriorating food security conditions. The
funding will also support partners to screen and treat vulnerable children and women for wasting, the
deadliest form of malnutrition; provide essential health care and psychosocial support services (PSS); and
implement protection interventions, such as programs preventing and responding to gender -based
violence (GBV). This vital assistance will also support multipurpose cash, shelter, and WASH programs
for communities in need, while augmenting humanitarian coordination and logistics services to ensure
assistance reaches those who need it most. In addition, USAID/BHA’s $2.6 million in ER4 funding will
support partners to implement programs bolstering food security and livelihood conditions and disaster
risk management practices across the country, enhancing resilience to sudden -onset shocks, such as
earthquakes and tropical cyclones.

Subsequently, President Biden announced nearly $2.8 billion in additional U.S. government
commitments—including $18 million for Haiti—to protect the world’s most vulnerable populations from
the escalating global food security crisis at the G7 Leaders’ Summit in Germany during the week of June
27. This dedicated funding for Haiti will support partners to provide additional emergency food
assistance in Haiti amid a deterioration in global food security conditions due to the Government of the
Russian Federation (GoRF) invasion of Ukraine. The announcement brought the total FY 2022 USAID
humanitarian assistance for Haiti to more than $77.3 million, including approximately $66.6 million in
emergency funding and $10.7 million in ER4 funding, including more than $8.1 million in previously
announced ER4 funding.

Clashes Result in 92 Civilian Deaths, Displace Thousands of Individuals in
Port-au-Prince, as Access and Protection Concerns Persist
An uptick in armed violence between organized criminal groups (OCGs) resulted in at least 92 civilian
deaths, with 12 additional people missing and 49 individuals abducted for ransom; injured more than 110
people; and prompted the displacement of approximately 16,800 individuals from communities in and
around Port-au-Prince, Ouest Department, from mid-April to late May, the UN reports. While clashes
subsequently diminished, ongoing insecurity displaced an estimated 1,000 additional people from late
May to mid-June, according to the International Organization for Migration (IOM). Recently displaced
people—including individuals with acute needs, such as people with disabilities and unaccompanied
children—have sought shelter with host communities or in makeshift collective sites with poor
conditions, exacerbating health, protection, and water, sanitation, and hygiene (WASH) needs. Displaced
households largely lack access to essential services and income-generating activities to meet their basic
needs. While civilian returns to affected areas have commenced as clashes have decreased, the
continued disruption of basic services, as well as the destruction of houses and livelihood assets, have
impeded some returns and compounded humanitarian needs.

The escalation in violence has constrained humanitarian access in and around Port-au-Prince, limiting the
ability of relief actors to provide critical assistance to violence-affected communities, including
                                                                                                         2
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emergency food, health, protection, and WASH support. Meanwhile, OCGs continue to exert control
over key roadways in the region, limiting relief actors’ access to other areas of the country. Notably,
OCGs are restricting transport along Haiti’s National Road Two, the primary land route linking Port-au-
Prince with the southwestern departments of Grand’Anse, Nippes, and Sud, which were severely
affected by the August 2021 earthquake. In addition, OCGs attacked three humanitarian trucks and stole
food and relief commodities along National Road One—linking Port-au-Prince with northern
departments—in mid-May. Despite ongoing access restrictions, USAID/BHA partner IOM had delivered
350 sets of blankets, hygiene kits, and shelter items to displaced and other conflict-affected households
in Port-au-Prince as of late May. In addition, humanitarian actors continue to work with the Government
of Haiti (GoH) General Directorate of Civil Protection to coordinate response operations.

Up to 2.5 Million People Need Emergency Food Assistance Across Haiti
Between 1 and 2.5 million individuals in Haiti are projected to experience Crisis—IPC 3—or worse
levels of acute food insecurity between June and December and will require emergency food assistance,
according to the Famine Early Warning Systems Network (FEWS NET).3 In May, increasing insecurity
and expanding OCG territorial control throughout the country affected household access to livelihood
opportunities and markets, exacerbating food insecurity in some areas. In addition, as Haiti imports an
estimated 70 percent of its food commodities, rising global food prices due to the GoRF invasion of
Ukraine and ongoing depreciation of the Haitian gourde are likely to further diminish household
purchasing power in Haiti in the coming months, according to a June analysis by the UN Food and
Agriculture Organization (FAO) and the UN World Food Program (WFP). Meanwhile, i n regions still
recovering from the effects of the August 2021 earthquake, FEWS NET reports that OCG-imposed
transport restrictions continue to exacerbate food security concerns, with vulnerable households
adopting negative coping strategies to meet basic needs.

In response to ongoing food insecurity, USAID/BHA partner WFP provided emergency food assistance
to over 138,000 people between October 2021 and May 2022, distributing more than 1,986 metric tons
(MT) of food commodities and $3.5 million in cash transfers in earthquake-affected areas. Furthermore,
the UN agency, with additional donor support, provided tens of thousands of cooked meals to meet
immediate food needs to displaced people. Separately, WFP’s barge service conducted 22 voyages
transporting nearly 147 truckloads of assistance for 11 humanitarian organizations in April and May,
facilitating the flow of 940 MT of life-saving food and relief commodities across the country.

Humanitarian Needs Following August 2021 Earthquake Persist ;
USAID/BHA Partners Reach Thousands with Multi-Secto r Assistance
An estimated 4.9 million people in Haiti require humanitarian assistance, including shelter, emergency
food assistance, health care services, and WASH interventions, according to the 2022 UN Humanitarian
Needs Overview. In response, USAID/BHA partners are delivering life-saving assistance and services
across Haiti, including support to households affected by the August 2021 earthquake. During April,
USAID/BHA partner ACTED delivered emergency shelter kits—including plastic sheeting, galvanized
wire, and nails—to nearly 2,500 earthquake-affected households in four communities across
Grand´Anse, Nippes, and Sud departments. ACTED also distributed more than 3,200 hygiene kits to
vulnerable populations and conducted an awareness campaign on hygiene best practices to reduce the
transmission risk of coronavirus disease (COVID-19) and other communicable diseases in Grand’Anse.

Meanwhile, with USAID/BHA support, Project Hope continued operating 11 mobile clinic units in

3 The Integrated Food Security Phase Classification (IPC) is a multi-partner initiative that developed a standardized scale to classify the severity and magnitude of food

 insecurity. The IPC scale, which is comparable across countries and time, ranges from Minimal—IPC 1—to Famine—IPC 5—for acute food insecurity.

                                                                                                                                                                             3
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Grand’Anse, Nippes, and Sud in coordination with the GoH, providing nearly 34,000 people with
essential medical care during April. Project Hope also provided PSS in Nippes and Sud, reaching
approximately 3,400 individuals during the month. In addition, USAID/BHA partner Humanity and
Inclusion (HI) provided more than 1,200 physical therapy sessions to nearly 320 people and PSS to
approximately 100 individuals in four medical centers in Sud during April. HI also conducted more than
200 blood pressure screenings and provided community education sessions on stroke prevention in
earthquake-affected departments.

   KEY FIGURES              USAID/BHA RESPONSE
                            FOOD SECURITY
                            USAID/BHA supports partners to provide emergency food assistance—
                            including the distribution of cash transfers for food and food vouchers;
$66.3 Million               locally, regionally, and internationally procured (LRIP) food; and U.S. in -kind
In dedicated USAID/BHA
                            food assistance—to populations facing acute food insecurity across Haiti. In
 support for emergency      FYs 2021 and 2022, USAID/BHA has provided nearly $66.3 million to 11
     food assistance        partners to bolster food security conditions countrywide.
 operations in FYs 2021
        and 2022
                            USAID/BHA also supports WFP to maintain a pre-positioned stock of
                            emergency food commodities to quickly distribute throughout Haiti in the
                            event of a disaster, such as the August 2021 earthquake. USAID/BHA
                            released nearly 2,000 MT of food—including pulses, rice, and vegetable oil—
                            from the stock following the earthquake, enabling WFP to reach
                            approximately 150,000 beneficiaries with food and cash during two month-
                            long distribution cycles. As of late May, with USAID/BHA and other donor
                            support, WFP had reached nearly 360,500 earthquake-affected individuals in
                            Grand’Anse, Nippes, and Sud with approximately 5,600 MT of food
                            commodities and $10.5 million in cash-based transfers, as well as distributed
                            more than 280,000 hot meals to people in hospitals and displacement sites.

                            RELIEF COMMODITIES, SHELTER, AND WASH
                            USAID/BHA supports six partner organizations to provide emergency relief
                            commodities, shelter support, and WASH interventions in Haiti. With
                            USAID/BHA funding, partners distribute hygiene kits and safe drinking water
      81,000
                            to vulnerable households, disseminate COVID-19 risk and prevention
 Number of USAID/BHA-
funded relief commodities   messaging, and conduct awareness campaigns on best hygiene practices to
distributed by IOM in the   reduce communicable disease transmission. Partners also support affected
 wake of the August 2021    populations to repair damaged houses and WASH infrastructure in
        Earthquake
                            southwestern Haiti, thereby reducing earthquake-related displacement.

                            USAID/BHA also funds IOM to maintain pre-positioned emergency relief
                            supplies—sufficient to support nearly 75,000 individuals—in Haiti for
                            distribution in response to sudden-onset disasters, such as earthquakes and
                            tropical storms. IOM distributed approximately 81,000 USAID/BHA-funded
                            relief items from these stockpiles during 2021 in response to the August
                            earthquake.



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                             HEALTH AND PROTECTION
                             USAID/BHA has provided more than $17.4 million in FY 2021 and 2022
                             support to the International Federation of Red Cross and Red Crescent
                             Societies, the Pan American Health Organization (PAHO), the UN
 $10.8 Million               Population Fund (UNFPA), and five NGOs to provide critical health care
 In dedicated USAID/BHA      and protection interventions to vulnerable households, particularly in
health support in FYs 2021   earthquake-affected areas. Meanwhile, USAID/BHA supports Doctors of the
         and 2022            World and PAHO to strengthen the capacity of health care centers in
                             Artibonite, Centre, Nippes, Nord, and Ouest departments to detect, treat,
                             and manage COVID-19 cases, as well as increase community awareness of
                             the disease.

                             Additionally, USAID/BHA supports Catholic Relief Services (CRS), HI, Save
                             the Children Federation (SCF), and UNFPA to provide critical protection
                             services—such as GBV prevention and response, as well as PSS—across
                             Grand’Anse, Nippes, and Sud in response to the heightened protection risks
                             faced by vulnerable individuals following the earthquake. In addition,
                             USAID/BHA partner Doctors of the World is training health care personnel
  $6.6 Million               in Nippes and Ouest on PSS best practices. USAID/BHA requires all
In dedicated USAID/BHA
                             partners to incorporate protection principles into each supported
protection support in FYs    intervention in Haiti as well as promote meaningful access, dignity, and
     2021 and 2022           safety for all beneficiaries.

                             LOGISTICS SUPPORT
                             To address persistent challenges in Haiti that hinder effective
                             implementation of humanitarian programs, USAID/BHA supports HI, IOM,
                             and WFP to conduct critical logistics activities in the country. USAID/BHA
                             logistics funding includes support for a WFP barge service to facilitate
                             humanitarian transport between Port-au-Prince and coastal areas of
      80 MT                  southwestern Haiti, as well as the operation of WFP-led humanitarian
   Capacity of WFP’s         convoys by road from Port-au-Prince to disaster-affected areas.
  USAD/BHA-supported
humanitarian barge service
         in Haiti            Furthermore, HI provides logistical support—including maritime and land
                             transportation as well as storage services—to humanitarian actors assisting
                             earthquake-affected communities in coastal areas of southwestern Haiti.




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       CONTEXT IN BRIEF
       x On August 14, 2021, a magnitude 7.2 earthquake struck southwestern Haiti, generating and exacerbating
         humanitarian needs in Grand’Anse, Nippes, and Sud. The earthquake resulted in at least 2,246 deaths,
         injured an additional 12,763 people, and damaged or destroyed more than 115,000 houses, according to
         the GoH. Subsequently, on August 16, Tropical Depression Grace made landfall over southwestern Haiti,
         generating heavy rains and strong winds.

       x USAID/BHA subsequently deployed a Disaster Assistance Response Team (DART) and activated a
         Washington, D.C.-based Response Management Team (RMT) to coordinate USG relief efforts,
         requesting the unique capabilities of the U.S. Department of Defense’s U.S. Southern Command to assist
         DART-led response activities. On September 30, 2021, DART and RMT activities transitioned to steady-
         state USAID/BHA teams based in Haiti at the regional office in San José, Costa Rica, and in Washington,
         D.C., with USAID/BHA staff continuing to coordinate and monitor the scale-up of humanitarian
         assistance to meet heightened needs in the country.

       x In addition, civil unrest, economic instability, and insecurity—combined with recurring shocks from
         natural disasters, including droughts, earthquakes, floods, and hurricanes—have resulted in food
         insecurity and other humanitarian needs throughout Haiti. In response, USAID/BHA funds humanitarian
         programs in Haiti that aim to build resilience, enhance food security, and strengthen livelihoods.
         USAID/BHA also funds additional programming to reduce disaster risk in Haiti and bolster national self-
         sufficiency in emergency preparedness and management.

       x On February 4, 2022, Chargé d’Affaires, a.i. Nicole D. Theriot redeclared a disaster for Haiti due to the
         effects of the country’s complex emergency, including ongoing needs resulting from the August 2021
         earthquake.



           USAID HUMANITARIAN FUNDING FOR THE HAITI EARTHQUAKE RESPONSE IN FY 2022 1, 2
IMPLEMENTING PARTNER                         ACTIVITY                                 LOCATION                AMOUNT

                                                            USAID/BHA
                             DART/USAR Support Costs                    Earthquake-Affected Areas             $3,645,035
                             Logistics Support                          Countrywide                            $798,172
TOTAL USAID HUMANITARIAN FUNDING FOR THE HAITI EARTHQUAKE RESPONSE IN FY 2022                                $4,443,207


             USAID HUMANITARIAN FUNDING FOR THE HAITI COMPLEX EMERGENCY IN FY 2022

                                                            USAID/BHA

Action Against Hunger/USA    Food Assistance—Cash Transfers and Food
                                                                        Nord-Ouest                            $2,000,000
(AAH/USA)                    Vouchers, Nutrition
                             Economic Recovery and Market Systems
ACTED                                                                   Grand’Anse, Nippes, Sud               $2,135,529
                             (ERMS); Food Assistance–Cash Transfers
                             Agriculture, Food Assistance–Cash
CARE                                                                    Centre, Nord-Est                      $6,200,000
                             Transfers, Health, Nutrition
                             ERMS, Food Assistance—Food Vouchers,
Concern Worldwide                                                       Ouest                                 $4,500,000
                             Nutrition, Protection
Community Organized Relief
                             Food Assistance—Food Vouchers              Nippes                                $3,800,000
Effort (CORE)


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 FAO                                        Agriculture                                               Countrywide                                                     $900,000

                                            ERMS, Food Assistance–Cash Transfers,
 FONKZE                                                                                               Sud                                                           $4,999,041
                                            Nutrition

 HI                                         Health, Logistics, Protection                             Grand'Anse, Nippes, Sud                                         $465,375
 Inter-American Institute for
                                            Agriculture, Food Assistance–Food
 Cooperation on Agriculture                                                                           Ouest                                                         $3,000,000
                                            Vouchers
 (IICA)
 International NGO Safety                   Humanitarian Coordination, Information
                                                                                                      Countrywide                                                   $1,000,000
 Organization (INSO)                        Management, and Assessments (HCIMA)
                                            Disaster Risk Reduction Policy and Practice
 IOM                                                                                                  Countrywide                                                   $5,950,000
                                            (DRRPP), HCIMA, Logistics
                                            Agriculture, DRRPP, ERMS, Food
 Mercy Corps                                                                                          Grand’Anse, Nippes, Ouest                                    $10,264,254
                                            Assistance–Cash Transfers

 SCF                                        Nutrition, Protection                                     Grand'Anse, Sud                                                 $784,000

 UN Children's Fund (UNICEF)                Nutrition                                                 Countrywide                                                     $400,000
 UN Office for the
 Coordination of Humanitarian               HCIMA                                                     Countrywide                                                     $300,000
 Affairs (OCHA)
                                                                                                      Centre, Nord, Nord-Est, Nord-Ouest,
 WFP                                        Food Assistance—Cash Transfers                                                                                        $15,000,000
                                                                                                      Sud
 U.S. Geological Survey (USGS)              Natural Hazards and Technological Risks                   Countrywide                                                     $431,800

 TOTAL USAID HUMANITARIAN FUNDING FOR THE HAITI COMPLEX EMERGENCY IN FY 2022                                                                                     $62,129,999



 TOTAL USAID/BHA FUNDING FOR THE HAITI EARTHQUAKE RESPONSE IN FY 2022                                                                                              $4,443,207

 TOTAL USAID/BHA FUNDING FOR THE HAITI COMPLEX EMERGENCY IN FY 2022                                                                                              $62,129,999

 TOTAL USAID HUMANITARIAN FUNDING FOR THE HAITI RESPONSE IN FY 2022                                                                                              $66,573,206
1 Year of funding indicates the date of commitment or obligation, not appropriation, of funds. Funding figures reflect publicly announced USAID/BHA emergency funding as of June

28, 2022, and exclude USAID/BHA ER4 funding.
2 Estimated value of food assistance and transportation costs at time of procurement, subject to change.




PUBLIC DONATION INFORMATION
x The most effective way people can assist relief efforts is by making cash contributions to humanitarian organizations that
  are conducting relief operations. A list of humanitarian organizations that are accepting cash donations for disaster
  responses around the world can be found at interaction.org.

x USAID encourages cash donations because they allow aid professionals to procure the exact items needed (often in the
  affected region); reduce the burden on scarce resources (such as transportation routes, staff time, and warehouse
  space); can be transferred very quickly and without transportation costs; support the economy of the disaster-stricken
  region; and ensure culturally, dietarily, and environmentally appropriate assistance.

x More information can be found at:
                   o      USAID Center for International Disaster Information: cidi.org
                   o      Information on relief activities of the humanitarian community can be found at reliefweb.int.



                USAID/BHA bulletins appear on the USAID website at usaid.gov/humanitarian-assistance/where-we-work




                                                                                                                                                                                   7
                                                                                                                                                 Haiti AR_000201
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  #1#4011/6"2//#*0#*RPQV*RPQW<*-/#,/1,1"1<5-/#*-/,(,*!/,2!"121,(#+,?
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                                                                                                     -16RPRQ
                                                                                                  Haiti AR_000202
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TP-/*1, "#(/*7/,E #3),*1"0/5(20#3(6/01 <1"#0/001,QU-/*1),*!"#(/* ,2/E
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4/*01#)1RPP1,SPP00-/4'H C RPQWI?21,1"0*,1"/ 1,/0<RR-/*1, 
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# /*0#*012*1#*!(3(0/(11,)1/*(21#,**4(1"(3(0FQU-/*1, "#(/*4",0),1"/0
"30,*/621#,*/012*1<4"#(1"-/3(*/#001,SR-/*1 ,/"#(/*4",0),1"/0"3*,
 ,/)(21#,*?#)#(/(6<Y-/*1, "#(/*#*1""#!"014(1".2#*1#(/012*1<4"#(ST-/*1, 
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-/1)*1<*1/<"01""#!"01-/3(*1SP-/*1<*#--0"01"(,401-/3(*1QW-/*1
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',4*1,U-/*1#*RPQR? 1 2/1"//01,T-/*1#*RPQVERPQW?01"-/3(*, 401#*!#0
#* (2*600,*(3/#1#,*0<#1#0# #2(11,#*1/-/11"3/#1#,*0, 1"#0#*5,3/1#)H * RPQWI?
"#(/#*!!#*0/(6#* #1#?6!QY<RQ-/*1, ,(0*1!#/(0"!2*"#(/#*!#*RPQVERPQW<
4"#"#0/0 /,)SQ-/*1#*RPQRH * RPQW=6)#1101(?RPQSI?/(6),1"/",,"00/#,20
,*0.2*020</(1#31,,(/),1"/0<,(0*1!#/(0/),/(#'(61,)(*,2/#0"H6)#1101(?
RPQSI?"0)(*,2/#0"6,2*!/),1"/01*1,"3#* *104#1"(,4/#/1"4#!"10<*1"#/#* *10"3*
#*/0/#0', )(*21/#1#,*<#((*00<*1"?"/#0', 012*1#*!#0VS-/*1"#!"/),*! #/01D,/*"#(/*, 
!#/(02*/QX6/0#* 1#*)/#*1"/#*<*002"</(6),1"/",,#0'6/#3/, )(*21/#1#,*
H#*'1(?RPQTI?"-/3(*, 2*/4#!"1"#(/*2*/ #36/0, !"0/0 /,)QX-/*1#*
RPPUERPPV1,QQ-/*1#*RPQR*QP-/*1#*RPQVERPQW<1",2!"1"0/10/"#!"/#*,601"*!#/(0
HQQ-/*1*X-/*1</0-1#3(6IH * RPQWI?
                                   




R                                                                                                   -16RPRQ
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    ,-2(1#,*RPQXH RPQYI                                                           QQ?Q)#((#,*
    ,-2(1#,*2*/U6/0HPEUY),*1"0IRPQXH RPQYI                               Q?S)#((#,*
                                                                                            RPQR          RPQVERPQW
    /3(*, 012*1#*!),*!"#(/*2*/U6/0HPEUY),*1"0I                       RR\           RR\
    /3(*, 2*/4#!"1),*!"#(/*2*/U6/0HPEUY),*1"0I                    QQ\           QP\
    /3(*, 401#*!),*!"#(/*2*/U6/0HPEUY),*1"0I                        U\            T\
    /3(*, (,4#/1"4#!"1H(001"*R?U'!IH, "#(/*4",0#/1"4#!"10      QY\           QW\
    /'*,4*I
    /3(*, *)#),*!"#(/*VEUY),*1"0                                         VU\           VV\
    /3(*, *)#),*!4,)*, /-/,21#3!HQUETY6/0I                      TY\           TY\
    /3(*, 1"#**00),*!4,)*, /-/,21#3!HQUETY6/0I                    QS\           QQ\
    /3(*, 1"#**00),*!,(0*1!#/(0HQUEQY6/0I                             RS\           QY\
    /3(*, "#(/*PEU),*1"05(20#3(6/01                                  TP\           TP\
    /3(*, "#(/*TEU),*1"05(20#3(6/01                                  RT\           QU\
    /3(*, /(6#*#1#1#,*, /01 #*!H#??<-211,1"/014#1"#*,*     TW\           TW\
    ",2/, #/1"I
    /3(*, "#(/*4",/#3-/D(1(                                    QY\           
    /3(*, /01 "#(/*VERS),*1"0/#3#*!)#*#)2)-1(#1          QU\           RS\
    /3(*, ,3/4#!"1C,0#16),*!"#(/*2*/U6/0HPEUY),*1"0I             T\            S\
    /3(*, ,3/4#!"1C,0#16),*!4,)*, /-/,21#3!HQUETY6/0I RU\                    QQ\
    ,3/!, #/,* ,/-/!**14,)*H ,/1(01YP60I                              SP\           TS\
    ,3/!, 3#1)#*02--()*10 ,/"#(/*HVEUY),*1"0<#*1"(01V),*1"0I TT\                SP\
    /*1!, "#(/*VEUY),*1"0(#3#*!#*",20",(04#1"#,#70(1               QW\           W\

=        9 A?@B:A?@C 0 & ,'*+('*, &$-+$ % ,+,' & ,'*+6



                                     




S                                                                                                           -16RPRQ

                                                                                                        Haiti AR_000204
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     "!"!"                  & !&&"'&$&"!!$'&'$
    #1#"0)1" ,((,4#*!!(,(*/!#,*(,))#1)*101,*21/#1#,**!/#2(12/>



       
                                           
     

    RPQR           *#*!/3*1(      #1#-(!1,/22*/DU),/1(#161,RP,/ 4/1"0-/
                    "#(*1/*(     Q<PPP(#3#/1"06RPSU6/2#*!1"(#*!-/3*1(200, 
                    1"0>/,)#0      "#(),/1(#16<#*(2#*!2*/*21/#1#,*H/,)#0*4RPQWI?
                    *4

    RPQR           (#*!-21/#1#,*   #0!(,(),3)*11"12*#10*1#,*((/0<#3#(0,#16<
                    HI,3)*1         #(1/(*)2(1#(1/(,/!*#71#,*0<,*,/0<20#*000<*
                                            /0/"/0#*,((1#3 ,/11,#)-/,3*21/#1#,*? #1#&,#*1"
                                            ,3)*1#*RPQR=",43/<1"1#,*(,))#00#,* ,/
                                              2*!/*(*21/#1#,*40,(#0"#*RPQT*,*1#*2-,(#1#(
                                            #*01#(#16*(#)1"7/0"3/21"-/#,/#1#71#,*, 
                                            *21/#1#,*,*1"-,(#1#(!*HRPQWI?


&"!'&$&"!"%%&"!&$&%! !&&(%
 #1#@0,))#1)*11,#)-/,3#*!*21/#1#,*#0,21(#*#*1" ,((,4#*!,2)*10<4"#"/(#!*4#1"1"
!,3/*)*1@01/1!#3(,-)*1(*HRPQRIH$&,*, )-.$'((%&,>!, J KI>
       •   1#,*(2##*! (1"(*HRPQRERPRRI
       •   21/#1#,*1/1!#(*HRPQSERPQXI
       •   1#,*(21/#1#,*,(#6HRPQRI
       •   !/#2(12/(3(,-)*1,(#6HRPQPERPRUI
       •    4,*,,,/1# #1#,*H/2/6R<RPQWI
",3/*)*1,  #1##04,/'#*!,**41#,*(,,*21/#1#,*,3/#!*16*2/#16,(#6#*!/ 1
61",*,)#*,#(3(,-)*1,2*#(<*#*-**1,6(#*'1,1" #, 1"/#)#*#01/
HRPQWI? #1#(0,"01#,*(",,((0/,!/)H , '&$&, &+'$ *+I<4"#""0,-/10#*
RPQP4#1"02--,/1 /,)1",/(,,/,!/))*,1"/,*,/0<#*(2#*!1"??,3/*)*1?
                                   




T                                                                                                     -16RPRQ

                                                                                                     Haiti AR_000205
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 $"$ %$&!$"$%%!'&$&"!
0, -/#(RPRP<1" ,((,4#*! -/,!/)04#1" ,20,**21/#1#,*4/1#3#* #1#?

                                                   
                                         
    '06,* ,)#*,1**        RPQVERPRQ  -/,3#0-#162#(#*! ,/,))2*#16"(1"4,/'/04",<4#1"
    *1-,2!)*1                      02--,/1 /,)/!#01/*2/00<,*21,))2*#160/*#*!)-#!*01,
    #1/#06,*H I                     #*1# 600, 03/*),/121)(*21/#1#,*?"01#3#1#0
                                            //#* ,/1"/,2!"'*,4(!*0'#((2#(#*!/,2**21/#1#,*<
                                            "6!#*<0*#11#,*<* ,,02/#1601/1!#0H C #1#RPQWI?
      (1"/3#(#3/6   RPQWERPRQ /,&1*101/*!1"*01"-#16, 1"#*#01/6,  (1"1,#*/0
    H/,&1*1I                        001,-'!, #*1!/1-/#)/6"(1"/0/3#0#* #1#@0QP
                                            !,!/-"#-/1)*10HQVT #(#1#0I<#*(2#*!#* *1*6,2*!"#(
                                             #*!=*21/#1#,*= )#(6-(**#*!=*41/<0*#11#,*<*"6!#*
                                            H I?
     #1# /,&1         RPQWERPRR " /,&1#)-/,300/3#0#*,))2*#1#0020-1#(1,",(/
                                            *#//"(#00<5-*#*!001,0 /#*'#*!41/*
                                            0*#11#,*0/3#06),#(#7#*!0201#*( #**#*! ,/ 0/3#0<
                                            ),/*#7#*! #1#@041/21",/#16#* ,/)1#,*0601)0<02--,/1#*!1"
                                            01(#0")*1, 41/101#*!(11"0112*#3/0#16*3(,-#*!
                                            2//#2( ,/ *!#*/0<-/,3##*!1"*#(00#01* ,/0)((D1,D
                                            )#2)*1/-/#00* 3(2"#*1,/0<*)#*1#*#*!-,(#6
                                            *#*01#121#,*(01/*!1"*#*!?
    * ,0#1#             RPQWERPRQ #)01,/00)#/,*21/#*1 ##*#06 ,/1# 6#*! ,,#*
    #1/#06,*-,2                         #1#?"#0#*(20#*/0#*!1"3#(#(#16, "#!"D.2(#16<01-( ,,06
    !)*1*1                          5-*#*!1"(,(-/,21#,**#)-,/11#,*,  ,/1# # ,,0<*
    HI                              -/,3##*!(/*,*0#01*1)00!#*! ,/,*02)/0,*1"3(2*
                                            0 16, 1"0 ,,0H C #1#RPQWI?

&$ '&$&"!& ("# !&%%%&!
 ,, ,/H*,42/2 ,/ 2)*#1/#*00#01*I"0(,*!"#01,/6#* #1#<02--,/1#*!,1")/!*6
*3(,-)*1-/,!/))#*!<0-#((6#*/0, 1",2*1/6-/,*1,0",'0?/,)RPQS1,RPQY< ,,
 ,/02--,/11" ,/ 3#-/,&1<#*,((,/1#,*4#1"1",3/*)*1,  #1#1,#)-()*13,2"/D
00,#(0 16*1-/,!/)1"1#)1,#*/000 ,/32(*/(",20",(01,(,((6-/,2<*21/#1#,20
 ,,0?  -/,3#--/,5#)1(6MST)#((#,*#*RPRP 2*#*!1,1",/(,,/,!/))HI*
1"/*,*!,3/*)*1(,/!*#71#,*01,/"32(*/(-,-2(1#,*0/,00 #1#4#1")/!*6 ,,00#01*
H RPRQI?

$!%
6)#110<#"(<#"((12)20*!2< *#2#7#)*</*////<(#03/<#3#*
6)#110<*))*2("/(0?RPQS6&)-, '*,$ ,4 '*  ,,, $ +, '&+*. +4!, 4A?@A?
(3/1,*<>< *01#121 $1#*(@* *<*  *1/*1#,*(?
"),*#0?*??& & .+ & , *'-* -$,-*?0"#*!1,*<>"),*#0?3#((1>
"11-0>CC444?"),*#0?,)C-/,&10C"*!#*!D(#30D"#1#D!/#2(12/C



U                                                                                                        -16RPRQ

                                                                                                        Haiti AR_000206
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,,*!/#2(12//!*#71#,*HI*,/(,,/,!/))HI?RPQW?( $('*,58*'( 
''-* ,0++++%&, ++ '&,' , ?4,/'>=0"#*!1,*<>?3#((1>
"11-0>CC/(# 4?#*1C0#10C/(# 4?#*1C #(0C/0,2/0CD#XRWY?- 
)#*/(6/*#*!601)014,/'HI?RPQT?!, -* ,$ %&, *&*60"#*!1,*<>
?3#((1>"11->CC444? 40?*1C0#10C 2(1C #(0C,2)*10C/-,/10C \S\1#GG/# GRPQTG #*(GP?- 
)#*/(6/*#*!601)014,/'HI?RPQX?''++ +,&-,$''#* ?0"#*!1,*<>?
3#((1>"11-0>CC/(# 4?#*1C0#10C/(# 4?#*1C #(0C/0,2/0C *2/6\RPRPQXG\RP2(#?- 
#*'<?<??2 (<?*#<?771#<*??47#?RPQT?A(#*!D-001,)#(6(**#*!6 )-/,3
 #*//,41"*"#(3(,-)*1#* ,4*#(D *,),2*1/#0?B ' YHWI>QPRSYQ?,#>
QP?QSWQC&,2/*(?-,*?PQPRSYQ?
*01#121 $1#*(@* *H IJ $1#K* ?RPQW6&)-, '*,$ ,4 '*  ,,, $ +, '&+*. +4!, 4
A?@B:A?@C5 & ,-*+$+?,'3#((<*1#,*#((< $1#> * ?
*D)/#* (1"/!*#71#,*H IC,/( (1"/!*#71#,*H I?RPQW?( % '$' $(,'$*?
0"#*!1,*<> =*3> ?3#((1>"11-0>CC/(# 4?#*1C0#10C/(# 4?#*1C #(0C/0,2/0CRPQWDD
RXD-"D-#D2-1D",(/?- 
/0#*1@0)/!*6(* ,/ (# HIC #1#?RPQW? , '-&,*0(*, '&$$&A?@C;
A?@C<,*,  *, '&-%%*0?0"#*!1,*<>?3#((1>
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Joint Brief on Mass Maritime Migration




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                                                                    Haiti AR_000213
                                 DoD Support and Integration

• Use of Naval Station Guantanamo Bay (NSGB) prior to a Presidentially declared mass migration event
   ¾ Provide location for Migrant Operations Center (MOC)

   ¾ Provide services (meals, water, housing, transportation) on a reimbursable basis

• Use of Naval Station Guantanamo Bay (NSGB) following a Presidentially declared mass migration event
   ¾ Provide services (meals, water, housing, transportation) on a non-reimbursable basis

• Upon an approved Request for Assistance (RFA), DoD can provide support (naval forces) to USCG for
  the maritime interdiction of migrants.




                  DHS and DOS share the responsibility for migrant processing both
                    prior to and after a Presidentially declared mass migration.
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   DoD Migration Camp Capacities
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                                                                                                                           Haiti AR_000219
UNCLASSIFIED // FOR OFFICIAL USE ONLY                                                                                                                                                                                        23 September    2022
                                                                                                                                                                                                                                     23 September
                                                                                                                                           Since previous report, 792 supporter applications were filed on behalf of Ukrainian U4U
                                                                                                                                           parolees. Since March 24th, a total of 152,660 Ukrainians have entered the United States,
                                                                                                                                                                                                                                         2022
    Uniting for Ukraine                                                                                                                    including 58,356 U4U parolees and 0 unaccompanied children.


                     I-134 Data Transmitted From USCIS to CBP                                                         Approval/Denial Status Sent to USCIS Approved Ukrainian Citizens Schedule Travel                                                    Travel Status Checked For Arriving Ukrainians




                                                                                                                            MyUSCIS



               U4U SUPPORTER APPLICATIONS                                                              U4U USCIS ACCOUNTS                                                        TRAVEL AUTHORIZATIONS                                                          U4U ARRIVALS AT POES
180,000
                                                          133,711                                                                     96,797                                                                          94,306                                                                        58,356
160,000
                                               Cumulative applications                                                                       Cumulative                                                       Cumulative approvals                                                            Cumulative parolees
140,000                                          +792 since previous report                                                     beneficiary accounts                                                         +564 since previous report                                                   +605 since previous report
120,000                                114,078                                                                              +594 since previous report
                                                                                                                      96,797                                                                       94,306
100,000                                                                                                                                                                                                                                                                                                                     0
 80,000                                                                                                                                                                                                                                                                                 Cumulative UC parolees
                                                                                                                                                                                                                                                            58,356                           + 0 since previous report
 60,000
                                                                                                                                                                                                                 35,950                                                                   Port of Entry Parole Grants
 40,000
                                                                                                                                                                                                                                                                                                    Air         57,908
 20,000                    9,240                      7,500                                                                                                                                                                                                                                       Land           445
                                                                                                            0                                                                           142                                    2,124                                                               Sea         0 3
       0
                                                                                                 Pending                 Approvals/Confirmations                    Denials/Non-Confirmations                    Active approvals
     OTHER ADMISSIONS &                                                                                                                                                                                                                                                                        152,660
     HUMANITARIAN RELIEF                                                                                                                                                                                                                                                                        Total Entries Since
                                                                                                                                                                                                                                                                                                       March 24th
                                                                                                                                                                                                                                                                                       +1,042 since previous report

                 TPS APPLICATIONS                                                                          EAD APPLICATIONS                                                           ADMISSIONS & NON-U4U PAROLE
                        S I NC E A P R . 19TH                                                                     S I NC E M A R . 2 4TH                                                                      S I NC E M A R . 2 4TH
  180,000                                                                                 180,000
                                                                                                                                                                                                                                                                                                     24,469
  160,000                                     24,452                                      160,000                                   50,853                                                                                                                                                          Admissions
                                                                                                                                                                                             Im migran ts
                                                                                                                                                                                                                                                                                            +166 since previous report
  140,000                          Cumulative applications                                140,000                       Cumulative applications
  120,000                                                                                 120,000                                                                                                                                                                                                    45,966
                                      +87 since previous report                                                           +558 since previous report
                                                                                                                                                                                       Non immigrants                                                                                               Admissions
  100,000                                                                                 100,000                                                                                                                                                                                           +247 since previous report

   80,000                                                                                  80,000                                                                                                                                                                                                    22,936
                                                                                                                                                                                   Traditional P arolees                                                                                               Entries
   60,000                                                                                  60,000                                                                                                                                                                                             +5 since previous report
                                                                                                                                                                                                                                                                                                                            Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 77 of 233




   40,000          19,863                                                                  40,000                                                     24,123                                                                                                                                           933
                                                                                                                                                                                                Refu gees
                                                                                                             16,495                                                                                                                                                                                 Admissions
   20,000                                                                                  20,000                                10,235
                                       4,551               38                                                                                                                                                                                                                                +19 since previous report
           0                                                                                       0                                                                                                         0                   40,000                 80,000                 120,000                160,000
                                                                                           TPS Applicants             Traditional Parolees            U4U Parolees                                               B1/B2                   Other                     Total
                                                                                                                                                                                                                                                                        Haiti AR_000220
 Notes: Report data are person-level (i.e., exclude duplicate entry records). U4U supporter application denials data include expired applications and exclude administrative closures. Active approvals include unexpired approvals for beneficiaries who remain outside the United States (and are therefore eligible to
 enter in the future). As of 9/22/22, 100% of Ukrainians with approved U4U travel authorizations arriving at POEs have entered the United States as parolees. TPS application denials data include withdrawn applications. Non-U4U admission and parole data exclude returning LPRs, crew members, inadmissible
 Ukrainians, and unknown classes of admission. Data validity times: 6:35 AM for U4U parole application and my USCIS account data; 6:12 AM for travel authorization, U4U entries, and other Ukrainian admissions data; 6:43 AM for TPS applications data valid; and 9:00 AM for EAD applications data.                                                               1
UNCLASSIFIED // FOR OFFICIAL USE ONLY                                                                                                                                                                                                                     23 September 2022
                                                                                                                                                                                                                                                               23 September
                                                                                                                                                                                                                                                                   2022
  Uniting for Ukraine


                                                     I-134 Supporters by Top Metro Areas                                                                                                U4U Entries by Top POEs
                                     Metro Area                                                                          Total            % of Total                         Port of Entry                                Total            % of Total
                                     New York-Newark-Jersey City, NY-NJ-PA                                              22,220                17%                            JFK                                         12,369                21%
                                     Chicago-Naperville-Elgin, IL-IN-WI                                                 16,997                13%                            ORD                                         11,207                19%
                                     Seattle-Tacoma-Bellevue, WA                                                         7,244                 5%                            EWR                                          5,736                10%
                                     Philadelphia-Camden-Wilmington, PA-NJ-DE-MD                                         6,046                 5%                            SEA                                          3,967                 7%
                                     Los Angeles-Long Beach-Anaheim, CA                                                  4,579                 3%                            LAX                                          3,178                 5%
                                     Sacramento-Roseville-Folsom, CA                                                     3,861                 3%                            MIA                                          3,128                 5%
                                     Miami-Fort Lauderdale-Pompano Beach, FL                                             3,529                 3%                            SFO                                          2,462                 4%
                                     Portland-Vancouver-Hillsboro, OR-WA                                                 3,249                 2%                            ATL                                          2,324                 4%
                                     Detroit-Warren-Dearborn, MI                                                         2,983                 2%                            IAD                                          1,662                 3%
                                     Cleveland-Elyria, OH                                                                2,966                 2%                            BOS                                          1,596                 3%
                                     Washington-Arlington-Alexandria, DC-VA-MD-WV                                        2,587                 2%                            Other                                       10,727                18%
                                     San Francisco-Oakland-Berkeley, CA                                                  1,974                 1%                            Total                                       58,356                N/A
                                     Non-CBSA                                                                            1,896                 1%
                                     Atlanta-Sandy Springs-Alpharetta, GA                                                1,779                 1%
                                     Boston-Cambridge-Newton, MA-NH                                                      1,634                 1%
                                     Other                                                                               50,167                38%
                                     Total                                                                             133,711                N/A


                                                                                                                  U4U Parolees by Age & Sex
                                       12,000

                                       10,000                                                                                                 9,558                                                                   Female                    Male
                                                               8,327 8,587
                                                                                                      7,925
                                        8,000
                                                                                                                                                      6,018                          6,322
                                        6,000
                                                                                                              4,507
                                        4,000                                                                                                                                                                                3,172
                                                                                                                                                                                                                                                                                Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 78 of 233




                                                                                                                                                                                             2,360
                                        2,000                                                                                                                                                                                        1,575


                                              0
                                                                   0-17                                   18-30                                   31-44                                  45-60                               61 and over
                                                                                                                                                                                                                                                   Haiti AR_000221
          Notes: Age group 0-17 contains 3 parolees whose gender is unknown. Age group 31-44 contains 2 parolees whose gender is unknown. Data validity times: 6:35 AM for I-134 supporters by top metro areas; 6:12 AM for U4U entries by POE and U4U Parolees by age & sex.                                           2
                                           USBPencountersofVenezuelanationals
Averageencounters10/5Ͳ10/11/22   1,137 1ͲOct          1240
Averageencounters10/18Ͳ10/24       170 2ͲOct          1510
Averageencounters11/28Ͳ12/4         86 3ͲOct          1366
                                           4ͲOct          1260
                                           5ͲOct          1139
                                           6ͲOct          1174
                                           7ͲOct          1083
                                           8ͲOct          1006
                                           9ͲOct          1202
                                           10ͲOct         1224
                                           11ͲOct         1128
                                           12ͲOct           796
                                           13ͲOct         1256
                                           14ͲOct         1056
                                           15ͲOct           834
                                           16ͲOct           484
                                           17ͲOct           298
                                           18ͲOct           187
                                           19ͲOct           158
                                           20ͲOct           159
                                           21ͲOct           132
                                           22ͲOct           145
                                           23ͲOct           160
                                           24ͲOct           247
                                           25ͲOct           296
                                           26ͲOct           415
                                           27ͲOct           301
                                           28ͲOct           408
                                           29ͲOct           405
                                           30ͲOct           331
                                           31ͲOct           430
                                           1ͲNov            412
                                           2ͲNov            331
                                           3ͲNov            305
                                           4ͲNov            348
                                           5ͲNov            250
                                           6ͲNov            239
                                           7ͲNov            265
                                           8ͲNov            260
                                           9ͲNov            262
                                           10ͲNov           262
                                           11ͲNov           338
                                           12ͲNov           192
                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 79 of 233




                                                                                    Haiti AR_000222
13ͲNov           197
14ͲNov           158
15ͲNov           168
16ͲNov           490
17ͲNov          1074
18ͲNov           210
19ͲNov            90
20ͲNov           116
21ͲNov            84
22ͲNov           126
23ͲNov            80
24ͲNov            60
25ͲNov            51
26ͲNov            55
27ͲNov            75
28ͲNov            66
29ͲNov            83
30ͲNov            86
1ͲDec            102
2ͲDec             95
3ͲDec             79
4ͲDec             93
Octpersist
NovͲDecDatapulledfromUIPon12/5/2022
                                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 80 of 233




                                            Haiti AR_000223
unique_1yr             Unique
 country_simple         Haiti
initial_agency         (All)

Sumofcount           ColumnLabels
                                                                  Northern
                                                     Maritime Land            SWLand Grand
RowLabels             Interior/OtherAirBorder                  Border        Border      Total
  2013                  319 788 179 846 2,132
  2014                  338 1,061 124 468 1,991
  2015                  280 418 108 335 1,141
  2016                  269 189 81 6,286 6,825
  2017                  246 97 243 9,021 9,607
  2018                  246 90 173 305 814
  2019                  218 90 175 3,039 3,522     3,242
  2020                  282 125 72 4,431 4,910
  2021                  386 655 91 43,484 44,616
  2022                  262 1,836 157 48,697 50,952
  2023                  18 253 56 9,107 9,434
GrandTotal             2,864 5,602 1,459 126,019 135,944

OISPersistNovember
                                                                                                                                          Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 81 of 233




                                                                                                                        Haiti AR_000224
                                                                                                                   


Figure1:AnnualUSCGinterdictions,FY14toFY22bytop4countries(Cuba,Haiti,DR,Mexico)andallothers.




             2014         2015      2016       2017       2018        2019       2020       2021       2022
Cuba      2,090        2,736     5,221      1,465      259         381        43         827        5,740
Dominican 269          257       570        519        492         920        1,201      744        1,804
Haiti     968          561       380        419        609         824        398        1,205      4,025
Mexico 33              11        3          50         123         160        343        612        676
Other     31           49        160        59         179         144        94         120        276
Total     3,391        3,614     6,334      2,512      1,662       2,429      2,079      3,508      12,521

TablesentfromUSCG
                                                                                                                                         Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 82 of 233




                                                                                                                       Haiti AR_000225
                                           USBPencountersofVenezuelanationals
Averageencounters10/5Ͳ10/11/22   1,137 1ͲOct          1240
Averageencounters10/18Ͳ10/24       170 2ͲOct          1510
Averageencounters11/28Ͳ12/4         86 3ͲOct          1366
                                           4ͲOct          1260
                                           5ͲOct          1139
                                           6ͲOct          1174
                                           7ͲOct          1083
                                           8ͲOct          1006
                                           9ͲOct          1202
                                           10ͲOct         1224
                                           11ͲOct         1128
                                           12ͲOct           796
                                           13ͲOct         1256
                                           14ͲOct         1056
                                           15ͲOct           834
                                           16ͲOct           484
                                           17ͲOct           298
                                           18ͲOct           187
                                           19ͲOct           158
                                           20ͲOct           159
                                           21ͲOct           132
                                           22ͲOct           145
                                           23ͲOct           160
                                           24ͲOct           247
                                           25ͲOct           296
                                           26ͲOct           415
                                           27ͲOct           301
                                           28ͲOct           408
                                           29ͲOct           405
                                           30ͲOct           331
                                           31ͲOct           430
                                           1ͲNov            412
                                           2ͲNov            331
                                           3ͲNov            305
                                           4ͲNov            348
                                           5ͲNov            250
                                           6ͲNov            239
                                           7ͲNov            265
                                           8ͲNov            260
                                           9ͲNov            262
                                           10ͲNov           262
                                           11ͲNov           338
                                           12ͲNov           192
                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 83 of 233




                                                                                    Haiti AR_000226
13ͲNov           197
14ͲNov           158
15ͲNov           168
16ͲNov           490
17ͲNov          1074
18ͲNov           210
19ͲNov            90
20ͲNov           116
21ͲNov            84
22ͲNov           126
23ͲNov            80
24ͲNov            60
25ͲNov            51
26ͲNov            55
27ͲNov            75
28ͲNov            66
29ͲNov            83
30ͲNov            86
1ͲDec            102
2ͲDec             95
3ͲDec             79
4ͲDec             93
Octpersist
NovͲDecDatapulledfromUIPon12/5/2022
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                                            Haiti AR_000227
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                                                                            Haiti AR_000228
USBPEncountersatSouthwestBorderbySector,FY1960ͲAugust2022
FY       BigBend DelRio     ElCentro ElPaso     Laredo     RGV       SanDiego Tucson    Yuma     Total
    1960        732     3,023      1,839     3,630       1,024     5,515     3,371     1,255      633      21,022
    1961        954     3,458      1,878     3,540       1,172     6,713     2,279     1,178      573      21,745
    1962      1,431     3,250      1,426     3,304       1,274     5,569     3,091     1,247      511      21,103
    1963      2,026     4,417      1,690     3,813       1,753     9,992     3,768     1,466      719      29,644
    1964      3,146     4,489      2,640     4,486       2,168     9,173     4,521     1,200      696      32,519
    1965      3,973     4,292      5,344     6,355       2,310     8,057     6,558     1,480    1,651      40,020
    1966      6,592     6,845      6,916    10,119       3,658     8,706    13,362     2,392    4,050      62,640
    1967      7,049     7,906      6,974    13,656       4,178     9,029    17,844     3,068    4,269      73,973
    1968      8,834     9,576      8,358    19,408       5,715    10,093    24,116     4,537    6,004      96,641
    1969    11,973     12,991      9,195    31,159       8,129    14,076    33,311     8,301    8,833    137,968
    1970    16,770     18,711     12,028    43,640     11,569     20,708    50,663    14,222   13,469    201,780
    1971    22,026     25,780     14,292    57,796     17,665     28,281    59,375    23,548   15,228    263,991
    1972    20,269     31,110     15,327    78,168     21,781     29,338    73,115    32,272   19,946    321,326
    1973    22,378     42,232     23,125    82,386     23,854     37,092 128,889      44,824   36,286    441,066
    1974    23,291     44,098     26,143 112,432       30,061     38,668 196,981      50,108   49,824    571,606
    1975    20,472     32,008     27,217    99,000     26,199     31,300 185,499      39,941   50,628    512,264
    1976    19,846     32,988     32,327 114,886       24,665     38,839 266,709      34,641   42,598    607,499
    1977    22,239     42,322     38,421 145,059       27,289     38,704 337,195      33,295   48,669    733,193
    1978    23,501     54,098     42,118 174,010       36,627     45,201 325,557      34,991   53,338    789,441
    1979    20,116     50,262     55,532 149,722       50,666     41,915 337,930      37,075   52,580    795,798
    1980    15,602     50,762     57,009 127,488       39,167     35,012 285,984      33,668   45,862    690,554
    1981    17,584     50,455     59,774 146,872       36,910     32,809 326,836      33,085   45,483    749,808
    1982    20,268     48,753     55,440 152,882       40,385     32,533 314,979      32,344   48,236    745,820
    1983    20,829     83,733     71,897 205,944       65,279     57,706 429,121      35,870   63,595 1,033,974
    1984    22,196     87,058     68,563 212,652       87,059     66,860 407,828      46,283   59,777 1,058,276
    1985    23,667     99,280     71,519 240,350 114,931          82,826 427,772      55,269   67,737 1,183,351
    1986    23,796 123,952        95,186 312,892 143,685 121,783 629,656              71,675   93,219 1,615,844
    1987      9,586    64,934     55,291 231,994       74,139     71,038 500,327      47,481   67,277 1,122,067
    1988      6,209    59,403     41,179 182,566       69,912     60,294 431,592      48,683   42,723    942,561
    1989      5,560    46,786     27,524 168,105       75,292     79,650 366,757      51,445   31,387    852,506    1800000
    1990      7,180    41,373     28,708 223,219       89,052     97,018 473,323      53,061   36,387 1,049,321
                                                                                                                    1600000
    1991      8,764    38,554     30,450 211,775       72,293     87,319 540,347      59,728   28,646 1,077,876
    1992    13,819     33,414     29,852 248,642       72,449     85,889 565,581      71,036   24,892 1,145,574     1400000

    1993    15,486     42,289     30,058 285,781       82,348 109,048 531,689         92,639   23,548 1,212,886     1200000
    1994    13,494     50,036     27,654    79,688     73,142 124,251 450,152 139,473          21,211    979,101    1000000
    1995    11,552     76,490     37,317 110,971       93,305 169,101 524,231 227,529          20,894 1,271,390
                                                                                                                    800000
    1996    13,214 121,137        66,873 145,929 131,841 210,553 483,815 305,348               28,310 1,507,020
    1997    12,692 113,280 146,210 124,376 141,893 243,793 283,889 272,397                     30,177 1,368,707     600000
    1998    14,509 131,058 226,695 125,035 103,433 204,257 248,092 387,406                     76,195 1,516,680     400000
    1999    14,952 156,653 225,279 110,857 114,004 169,151 182,267 470,449                     93,388 1,537,000
                                                                                                                    200000
    2000    13,689 157,178 238,126 115,696 108,973 133,243 151,681 616,346 108,747 1,643,679
    2001    12,087 104,875 172,852 112,857             87,068 107,844 110,075 449,675          78,385 1,235,718          0
                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 86 of 233




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    2002      11,392     66,985 108,273        94,154       82,095  89,927 100,681 333,648         42,654     929,809




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    2003      10,319     50,145      92,099    88,816       70,521  77,749 111,515 347,263         56,638     905,065
    2004      10,530     53,794      74,467 104,399         74,706  92,947 138,608 491,771         98,060   1,139,282
    2005      10,536     68,506      55,722 122,679         75,346 134,186 126,904 439,079        138,438   1,171,396
    2006       7,520     42,636      61,465 122,256         74,840 110,528 142,104 392,074        118,549   1,071,972
    2007       5,536     22,920      55,883    75,464       56,714  73,430 152,460 378,239         37,992     858,638
    2008       5,391     20,761      40,961    30,312       43,658  75,473 162,390 317,696          8,363     705,005
    2009       6,360     17,082      33,521    14,999       40,569  60,989 118,721 241,673          6,951     540,865
    2010       5,288     14,694      32,562    12,251       35,287  59,766   68,565 212,202         7,116     447,731
    2011       4,036     16,144      30,191    10,345       36,053  59,243   42,447 123,285         5,833     327,577
    2012       3,964     21,720      23,916      9,678      44,872  97,762   28,461 120,000         6,500     356,873
    2013        3684     23510        16306     11154        50749 154453     27496 120939          6106      414397
    2014        4096     24255        14511     12339        44049 256392     29911       87915     5902      479370
    2015        5031     19013        12820     14495        35888 147257     26290       63397     7142      331333
    2016        6366     23078        19448     25634        36562 186830     31891       64891    14170      408870
    2017        6002     13476        18633     25193        25460 137562     26086       38657    12847      303916
    2018        8045     15833        29230     31561        32641 162262     38591       52172    26244      396579
    2019        9637     57269        35138 182143           38378 339135     58049       63490    68269      851508
    2020        8627     40342        27487     54396        51425  90203     53277       66074     8804      400635
    2021      37266 259294            59231 193918 112241 549077 142459 191232                    114488     1659206
   2022*      30684 428556            64221 258766 100495 440423 160312 230235                    284078     1997770
Note:FY2022datalimitedtofirst11monthsofthefiscalyear.
Source:FY1960ͲFY2012fromUSBorderPatrol;FY2013ͲFY2021fromOISPersistDataset.
                                                                                                                                                 Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 87 of 233




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                                                                            Haiti AR_000232
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                                                                            Haiti AR_000233
                   Apprehen
         Apprehen sionsof
         sionsof EWIs:
         EWIs:    Mexican
         total     nationals Mx%total
    1981 898,550 894,771        100%
    1982
    1983
    1984
    1985 1,300,691 1,291,734     99%
    1986
    1987
    1988
    1989
    1990 1,131,454 1,080,699     96%
    1991
    1992
    1993
    1994
    1995
    1996 1,620,033 1,586,492     98%
    1997
    1998
    1999
    2000 1781968 1732205         97%
    2001
    2002
    2003
    2004
    2005




HistoricYearbooks
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                                                                            Haiti AR_000235
Totalencountersbycitizenshipgrouping

            Mexico N.Central OtherCou Total     Mexico N.Central OtherCou Total
     2010    467,461  43,590      16,362 527,413        89%      8%          3%     100%
     2011    344,013  40,505      16,540 401,058        86%    10%           4%     100%                     NCA         Allother
     2012    316,890  88,322      20,893 426,105        74%    21%           5%     100%   FY10Ͳ13average         17%          5%
     2013    317,559 140,441      31,607 489,607        65%    29%           6%     100%   FY14Ͳ19average         46%         10%
     2014    285,499 248,063      36,483 570,045        50%    44%           6%     100%
     2015    253,656 142,341      48,855 444,852        57%    32%         11%      100%
     2016    255,669 227,456      75,403 558,528        46%    41%         14%      100%
     2017    180,929 187,534      46,117 414,580        44%    45%         11%      100%
     2018    221,711 258,413      39,820 519,944        43%    50%           8%     100%
     2019    237,067 623,569 116,593 977,229            24%    64%         12%      100%
     2020    297,692 106,760      53,614 458,066        65%    23%         12%      100%
     2021    655,591 701,049 378,043 1,696,569          39%    41%         22%      100%
     2022    808,340 541,618 1,028,987 2,378,945        34%    23%         43%      100%

OISProductiondata
                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 93 of 233




                                                                                                                                     Haiti AR_000236
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                                                                            Haiti AR_000237
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                                                                            Haiti AR_000238
              2000       2001       2002       2003       2004       2005           2006       2007       2008       2009       2010       2011       2012       2013
TotalEnco 1,566,421 1,231,412       930,341    906,734 1,140,247 1,269,230 1,168,309           954,396    792,409    619,113    527,413    401,058    426,105    489,612

CFCases
Complete
d(APSO)        10,107     13,232     10,198      6,480      8,230          9,695      5,659      5,770      5,749      6,615     11,030     14,405     18,625     43,219
   CFFo      9,320     12,381      9,253      5,554      7,436          8,414      3,467      3,328      3,413      3,798      7,208      9,996     12,218     32,811
   CFNo        133        171        222        168        159            193        760      1,213      1,086      1,439      1,925      1,722      2,313      4,281
   Close        654        680        723        758        635          1,088      1,432      1,229      1,250      1,378      1,897      2,687      4,094      6,127
                  92%        94%        91%        86%        90%            87%        61%        58%        59%        57%        65%        69%        66%        76%
                    1%         1%         1%         1%         1%             1%         0%         1%         1%         1%         2%         4%         4%         9%
                                                                                                                                                                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 96 of 233




                                                                                                                                                                            Haiti AR_000239
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                                                                            Haiti AR_000240
Final or Most Current Outcomes, Total SW Border Encounters by Fear Claims
                                                                                                                               TOTAL

                                          MOST CURRENT OUTCOMES

                                                                             2013       2014       2015       2016      2017             2018      2019         2020
Total Encounters1                                                      477,459      544,668    403,473    505,086    385,192      497,699       957,155    448,731
Processed for Expedited Removal                                         236,330      229,389    180,679    228,019   160,397       214,808      223,291      91,765
 No fear claim                                                          197,061      174,897    130,485    130,298    89,147       114,822      121,450      66,035
   No Fear Claim - confirmed removal or return                          187,507      165,138    129,198    127,236    86,205       109,294      117,749      62,059
 Credible Fear Claims (CBP CF disposition and/or has APSO cases)         38,981       54,230     50,043     97,575    71,121        99,825      101,734      25,705
                                                                             8%          10%        12%        19%       18%           20%          11%          6%
                                                                            16%          24%        28%        43%       44%           46%          46%         28%
 Credible Fear Claims (APSO cases Only)                                  36,026       48,670     46,394     92,709    68,711        95,660       98,279      23,955
   Positive fear determinations                                          30,800       34,997     33,904     73,564    53,509        74,531       70,967       8,494
   Negative fear determinations                                           2,641        9,086      7,517      9,388     7,301         9,134       17,704      12,410
    Negative fear determinations appealed to EOIR                         2,380        7,240      6,235      7,593     5,868         6,744       14,307       9,754
      Negative fear determinations vacated by EOIR                          225        1,258      1,227      1,995     1,437         1,273        3,866       3,172
      Negative fear determinations upheld by EOIR                         2,155        5,982      5,008      5,598     4,431         5,471       10,441       6,582
   Case closures                                                          2,585        4,587      4,973      9,757     7,901        11,995        9,608       3,051
    Case closures referred to EOIR                                          965        1,543      1,810      4,639     3,839         6,585        3,310         950
    Case closures not referred to EOIR                                    1,620        3,044      3,163      5,118     4,062         5,410        6,298       2,101



   Non-Referrals to EOIR


                                                                            6,991    16,432     13,102     17,377     12,336           17,436    23,591       13,089




    Executed Removal Orders


                                                                            4,222    10,609      8,977     11,889      9,627           12,008    18,834        8,690
                                                                                                                                                                            Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 98 of 233




                                                                                                                                                          Haiti AR_000241
 Total Referrals to EOIR (Includes closed cases, vacated negative decisions and positive decisions)




                                                                                                      31,990   37,798   36,941   80,198   58,785   82,389   78,143      12,616
EOIR cases started                                                                                    31,667   37,367   36,611   78,515   56,965   77,406   71,706      11,772
 Still in EOIR Proceedings                                                                            12,205   12,966   12,573   30,216   26,329   38,995   37,686       8,080
 EOIR Cases completed                                                                                 19,398   24,310   23,978   48,040   30,340   37,153   31,523       3,235
   Asylum Granted or other EOIR Relief from Removal                                                    5,643    7,181    7,590   13,049    8,887   12,535   13,174       1,522
       Grants of relief + other favorable-to-noncitizen judgements appealed to BIA                       273      515      532      961      686      572      466          90
   Removal Orders                                                                                     13,755   17,129   16,388   34,991   21,453   24,618   18,349       1,713
        EOIR Removal Orders + other favorable-to-OPLA judgements appealed to BIA                       2,635    4,459    5,610   12,961    6,376    5,483    3,651         509
      Executed Removal Orders                                                                          3,982    5,443    5,003    7,158    6,007    7,207   10,705         729
        Total appeals to BIA (sum of rows 25 and 27)                                                   2,908    4,974    6,142   13,922    7,062    6,055    4,117         599
                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 99 of 233




                                                                                                                                                                     Haiti AR_000242
                        




     2021     2022Q3
1,725,223   1,710,734
   84,707      84,513
   15,055      29,389
   10,313      18,661
   69,635      55,119
       4%          3%
      82%         65%
   48,410      29,139
   33,534      17,047
   13,216       9,639
   12,778       9,056
    3,492       2,113
    9,286       6,943
    1,660       2,453
      821         780
      839       1,673




   31,788      35,179




    6,048       2,290
                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 100 of 233




                            Haiti AR_000243
37,847   19,940
30,723   13,362
25,947   10,557
 1,972      552
   498       78
    15        3
 1,474      474
   166       25
   303      110
   181       28
                                    Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 101 of 233




                  Haiti AR_000244
unique_1yr        Unique
 country_simple    Haiti
initial_agency    (All)

Sumofcount      ColumnLabels
                                        Northern
                           Maritime Land             SWLand Grand
RowLabels        Interior Border       Border         Border       Total
  2013             319 788 179 846 2,132
  2014             338 1,061 124 468 1,991
  2015             280 418 108 335 1,141
  2016             269 189 81 6,286 6,825                                                      monthlyaverage
                                                                                            Maritime           SWLand             Maritime                               SWLand
  2017            246    97   243     9,021    9,607 Border               Border               Border                                  Border
  2018            246    90   173     305   814 %yearlyincrease    %yearlyincrease                              %inc
  2019            218    90   175     3,039    3,522                                            8             253
  2020            282    125    72   4,431    4,910       39%                  46%             10          39% 369    46%
  2021            386    655    91   43,484     44,616       424%                 881%             55         424% 3,624    881%
  2022            262    1,836     157     48,697     50,952       180%                  12%             153          180% 4,058     12%
  2023            18   253    56   9,107    9,434                                            21         Ͳ86% 759   Ͳ81%
GrandTotal       2,864     5,602     1,459      126,019       135,944


OISPersistDatafy23m11


Peak:             9753inSWBMay,2022
                                                                                                                                                                                                                    Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 102 of 233




                                                                                                                                                                                                  Haiti AR_000245
Dataonmonthlyvisaissuancesdownloadedfromthiswebsite,http://www.politicamigratoria.gob.mx/es/PoliticaMigratoria/CuadrosBOLETIN?Anual=2022&Secc=2
TableisOISestimateofstockbasedonaccumulatedflows.

Country   Stock
Col            1691
Venez         11350
Peru            233
Cuba          28971
Haiti         55429
Guat           4401
Hond          20317
ElSal          6592
Nica           9957
Other         20893
                                                                                                                                                                             Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 103 of 233




                                                                                                                                                           Haiti AR_000246
Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 104 of 233




                                                                             Haiti AR_000247
Figure1:AnnualUSCGinterdictions,FY14toFY22bytop4countries(Cuba,Haiti,DR,Mexico)andallothers.




             2014         2015      2016       2017        2018       2019       2020       2021       2022        22increasesover21 21increasesover20
Cuba      2,090        2,736     5,221      1,465       259        381        43         827        5,740
Dominican 269          257       570        519         492        920        1,201      744        1,804
Haiti     968          561       380        419         609        824        398        1,205      4,025                         234%             203%
Mexico 33              11        3          50          123        160        343        612        676
Other     31           49        160        59          179        144        94         120        276
Total     3,391        3,614     6,334      2,512       1,662      2,429      2,079      3,508      12,521

TablesentfromUSCG
                                                                                                                                                                                 Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 105 of 233




                                                                                                                                                               Haiti AR_000248
unique_1yr        Unique
 country_simple   Haiti
initial_agency    USBP

Sumofcount      ColumnLabels
                                       Northern
                  Maritime            Land          SWLand Grand
RowLabels        Border               Border         Border Total
  2013             708 71 2 781
  2014             1,012 26 2 1,040
  2015             370 5 2 377
  2016             160 4 3 167                                                        monthlyaverage
                                                                                        Mariti
                                                                                        me
                                                                                        Borde             SWLand                      Maritime                                   SWLand
  2017             76   27    54   157   r                 Border                        Border                                      Border
  2018             72   78    12   162    %yearlyincrease %yearlyincrease                                        %inc
  2019             64   126     2,038     2,228                                                     11                 186
  2020             116    18    4,298     4,432       81%                   99%                     2           Ͳ86% 369      99%
  2021             593    26    42,135       42,754       411%                  865%                     2            44% 3,563      865%
  2022             1,788     8   27,579       29,375       202%                  Ͳ31%                     1           Ͳ69% 2,448      Ͳ31%
  2023             248    42    139    429                                                   4           425% 36   Ͳ99%
GrandTotal        5,207     431     76,264       81,902

OISPersistDatafy23m11


PERCENTOFALLUNIQUEENCOUNTERSTHATAREHAITIAN
swcbp                                                                                          SECoastalUSBP
app_region      SWLandBorder                                                                  app_regionMaritimeBorder
unique_1yr      Unique                                                                          unique_1y Unique
                                                                                                initial_age USBP
Sumofcount      ColumnLabels
                         2021                   2022            2023 GrandTotal                SumofcouColumnLabels
RowLabels                                                                                                     2021             2022                     2023 GrandTotal
Brazil                       4.87%           2.95%           0.32%          3.31%                RowLabels
Chile                        0.55%           0.38%           0.22%          0.42%                Brazil       1.04%             0.14%                 0.12%                 0.31%
Colombia                     0.49%           7.03%           8.30%          4.91%                Chile        0.05%             0.07%                 0.04%                 0.06%
Cuba                         2.78%          12.27%          16.50%          9.48%                Colombia     1.04%             0.33%                 0.12%                 0.42%
Ecuador                      5.36%           1.28%           4.87%          3.12%                Cuba        12.15%            46.38%                78.63%                47.66%
ElSalvador                  6.02%           3.71%           2.13%          4.33%                Ecuador      0.47%             0.16%                 0.00%                 0.18%
Guatemala                   17.48%           9.19%           5.83%         11.67%                ElSalvado   1.93%             0.56%                 0.53%                 0.81%
Haiti                        3.86%           2.80%           2.39%          3.12%                Guatemal     6.31%             1.57%                 0.57%                 2.23%
                                                                                                                                                                                                                           Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 106 of 233




                                                                                                                                                                                                         Haiti AR_000249
Honduras       19.87%   8.47%   5.18% 12.04%    Haiti       30.92%    31.21%    10.17%    26.07%
India           0.22%   0.84%   0.86%   0.63%   Honduras     7.56%     2.34%     1.39%     3.10%
Mexico         28.04% 22.80% 18.30% 24.09%      India        0.05%     0.12%     0.12%     0.11%
Nicaragua       4.20%   9.04% 14.30%    7.98%   Mexico      12.25%     3.21%     2.58%     4.78%
Other           1.08%   3.97%   6.56%   3.27%   Nicaragua    0.63%     0.07%     0.08%     0.18%
Peru            0.22%   2.88%   4.57%   2.15%   Other       24.61%    10.98%     5.62%    12.28%
Romania         0.36%   0.34%   0.10%   0.32%   Peru         0.21%     0.00%     0.00%     0.04%
Russia          0.35%   1.22%   2.45%   1.07%   Romania      0.36%     0.16%     0.00%     0.16%
Ukraine         0.06%   0.16%   0.01%   0.10%   Russia       0.00%     0.21%     0.00%     0.12%
Venezuela       4.20% 10.68%    7.11%   8.01%   Ukraine      0.00%     0.02%     0.00%     0.01%
GrandTotal   100.00% 100.00% 100.00% 100.00%   Venezuela    0.42%     2.48%     0.00%     1.49%
                                                GrandTota 100.00%   100.00%   100.00%   100.00%
                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 107 of 233




                                                                                                   Haiti AR_000250
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                                                                             Haiti AR_000251
app_region              SWLandBorder
unique_1yr              Unique
 country_simple          (All)
initial_agency          USBP

Sumofcount            ColumnLabels
                                                    2013               2014              2015                2016               2017              2018               2019              2020                2021                  2022            2023 GrandTotal
RowLabels
BigBend,TX            3,226       3,537     4,501    5,711    5,353     7,163      8,726    6,529      24,098      21,433      1,958     92,235
DelRio,TX             20,176        21,858      16,659      20,506      12,024      14,518       54,312     28,084       186,304       391,916       77,055      843,412
ElCentro,CA           7,762       7,512     6,974    11,973      12,033      19,370       24,916     13,538       26,088      47,319      11,712      189,197
ElPaso,TX             8,890       9,866     12,098      22,257      22,653      29,509       174,792       33,614       91,316      213,059       92,969      711,023
Laredo,TX              40,737        35,591      28,817      29,626      20,199      26,352       30,128     32,037       52,310      49,106      5,798     350,701
RioGrandeValley,TX   126,113          215,544       120,953       162,061       120,839       146,305        318,202       61,733       421,448       374,266       46,896      2,114,360
SanDiego,CA           14,200        15,466      14,025      19,695      17,378      26,366       43,829     28,495       69,345      102,589       23,767      375,155
Tucson,AZ              85,324        64,078      48,823      51,095      31,102      42,850       53,367     47,104       106,948       142,347       30,596      703,634
Yuma,AZ                4,392       4,543     5,971    13,084      12,019      24,984       65,572     6,340      100,833       287,701       46,764      572,203
GrandTotal             310,820          377,995       258,821       336,008       253,600       337,417        773,844       257,474        1,078,690        1,629,736        337,515       5,951,920
ElPaso+Yuma          13,282        14,409      18,069      35,341      34,672      54,493       240,364       39,954       192,149       500,760       139,733       1,283,226

                                                                                                                                                                                                                                                        FY22incfromFY21                       161%
                                                                                                                                                                                          FY14Ͳ19average 66,225                           FY22incfromFY14Ͳ19                       656%                     fold        7.561533
app_region              SWLandBorder
unique_1yr              Unique
 country_simple          Haiti
initial_agency          USBP

Sumofcount            ColumnLabels
                                                    2021                 2022                                                                                                                                                                                                         2022Total                 2023             2023Total
RowLabels                                                                    10               11                   12                   1                 2                    3                 4                    5                       6       7                  8         9                              10        11
BigBend,TX            91     1                  64 139 2 7 2                                                                                           215
DelRio,TX             34,034        117 245 1,427 625 561 339 264 51 6 4 1 4 3,644                                      2 2
ElCentro,CA           1                                      27 51 3 3 14 2                                                            3 103       2 2 4
ElPaso,TX             3,224       79 386 2,594 1,431 480 638 2,375 5,835 60 157 88 62 14,185                                    48 13 61
Laredo,TX              7                                                           1                                         1                                                                          1 3
RioGrandeValley,TX   14     6                  16                      1 2                                          1                             1 27      1 3 4
SanDiego,CA           1,211                         13 87 34                       3 4 793 30 78 33 22 1,097            16        16
Tucson,AZ              1                                                           1                                                           1                                                                2
Yuma,AZ                3,552       666 341 2,686 857 596 799 1,590 593 25 68 38 44 8,303                                41 11 52
GrandTotal             42,135         869 985 6,901 3,139 1,643 1,791 4,250 7,275 122 307 160 137 27,579                                              108 31 139

%inDelRio                                         81%                13%               25%                  21%                20%              34%                19%                6%                  1%                    5%              1%                  1%        3%                13%             0% 6%                      1%
%InElPaso                                          8%                 9%               39%                  38%                46%              29%                36%               56%                 80%                   49%             51%                 55%       45%                51%            44% 42%                    44%
                                                                                                                                                                                                                                                                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 109 of 233




                                                                                                                                                                                                                                                                                                                                 Haiti AR_000252
%Yuma                               8%   77%   35%   39%   27%   36%   45%   37%    8%   20%   22%   24%   32%   30%   38% 35%      37%
ElPaso+Yuma                      16%   86%   74%   77%   73%   65%   80%   93%   88%   70%   73%   79%   77%   82%   82% 77%      81%




OISPersistDatasetNovember2022
                                                                                                                                                Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 110 of 233




                                                                                                                              Haiti AR_000253
GrandTotal              FY22%

306               1%
37,680                 13%
108               0%
17,470                 51%
10              0%
45              0%
2,324                 4%
3             0%
11,907                 30%
69,853                100%

               54%
               25%
                                                          Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 111 of 233




                                        Haiti AR_000254
Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 112 of 233




                                                                             Haiti AR_000255
17%
42%
      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 113 of 233




Figure1:AnnualUSCGinterdictions,FY14toFY22bytop4countries(Cuba,Haiti,DR,Mexico)andallothers.




             2014         2015      2016       2017        2018       2019       2020       2021       2022
Cuba      2,090        2,736     5,221      1,465       259        381        43         827        5,740
Dominican 269          257       570        519         492        920        1,201      744        1,804
Haiti     968          561       380        419         609        824        398        1,205      4,025
Mexico 33              11        3          50          123        160        343        612        676
Other     31           49        160        59          179        144        94         120        276
Total     3,391        3,614     6,334      2,512       1,662      2,429      2,079      3,508      12,521

TablesentfromUSCG




                                                                                             Haiti AR_000256
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.




                                                                   Haiti AR_000257
                            Custody Summary
                             Count in Custody
     Sector          SA        FM        UC     Total    Capacity% Capacity
San Diego           1,387      318       13     1,718     1,966     87%
El Centro            568       286         4     858       512     168%
Yuma                1,275      734        20    2,029     1,291    157%
Tucson              1,204      396        96    1,696     1,191    142%
El Paso             2,729     1,323      164    4,216     2,392    176%
Big Bend              1         0          0      1        542       0%
Del Rio             1,231      396       87     1,714     1,845     93%
Laredo               531       692       18     1,241     2,155     58%
RGV                 1,400      633       128    2,161     4,045    53%
USBP Total         10,326     4,778      530    15,634   15,939    98%
San Diego FO         44         28        9      81        386     21%
Tucson FO             0         0         0       0         96      0%
El Paso FO           11         7         0      18        137     13%
Laredo FO             3         0         0       3        283      1%
OFO Total            58         35        9      102       902     11%
Grand Total        10,384     4,813       539   15,736   16,841    93%
Source: UIP Custody Fact Table as of 12/7/22.
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                                                                              Haiti AR_000258
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From:
Sent:                              Wednesday, December 14, 2022 11:42 AM
To:
Cc:
Subject:                           FW: Humanitarian visas in Mexico


See table and below:

 Country    Stock
 Col           1691
 Venez        11350
 Peru           233
 Cuba         28971
 Haiti        55429
 Guat          4401
 Hond         20317
 ElSal         6592
 Nica          9957
 Other        20893




Subject: RE: Humanitarian visas in Mexico



                                                                                          .

I’ll note that out of Haiti’s 55,429 stock of humanitarian visa holders, about half received their visas in December 2021.
So with those expiring, and Haitians having some of the lowest asylum grant rates of all nationalities in Mexico,




                                                             1
                                                                                                  Haiti AR_000259
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                Explanation of the Decision to Terminate the Migrant Protection Protocols

                                                             October 29, 2021
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     I.     Executive Summary

       On February 2, 2021, President Biden issued an Executive Order directing the Secretary
of Homeland Security to “promptly review and determine whether to terminate or modify the
program known as the Migrant Protection Protocols.”1 After extensive review, the Secretary of
Homeland Security concluded that the Migrant Protection Protocols (MPP) should be terminated,
and on June 1, 2021, issued a memorandum to that effect.2 On August 13, 2021, however, the
U.S. District Court for the Northern District of Texas determined that the June 1, 2021,
memorandum was not issued in compliance with the Administrative Procedure Act (APA) and
caused DHS to violate 8 U.S.C. § 1225, vacated the memorandum, and remanded it to the
Department for further consideration. The court additionally ordered DHS to “enforce and
implement MPP in good faith” until certain conditions are satisfied, including that MPP be
“lawfully rescinded in compliance with the APA”—a ruling that the government is vigorously
appealing.

        Pursuant to the Texas court’s remand, and in continuing compliance with the President’s
direction in the Executive Order, the Secretary has considered anew whether MPP should be
maintained, terminated, or modified in a variety of different ways. After carefully considering
the arguments, evidence, and perspectives of those who support continuing to use MPP, those
who support terminating the program, and those who have argued for the use of MPP with
modifications, the Secretary has determined that MPP should be terminated. In reaching this
conclusion, the Secretary recognizes that MPP likely contributed to reduced migratory flows.
But it did so by imposing substantial and unjustifiable human costs on migrants who were
exposed to harm while waiting in Mexico. The Biden-Harris Administration, by contrast, is
pursuing a series of policies that will disincentivize irregular migration while incentivizing safe,
orderly, and humane pathways. These policies—including the ongoing efforts to reform our
asylum system and address the root causes of migration in the region—seek to tackle
longstanding problems that have plagued our immigration system for decades and achieve
systemic change.

          To reiterate what the President has stated previously, the United States is a nation with
borders and laws that must be enforced. It is also a nation of immigrants. This Administration
is, as a result, committed to the twin goals of securing our borders and offering protection to
those fleeing persecution and torture. MPP is neither the best, nor the preferred, strategy for
achieving either of these goals. Significant evidence indicates that individuals were subject to
extreme violence and insecurity at the hands of transnational criminal organizations that profited
from putting migrants in harms’ way while awaiting their court hearings in Mexico. It is
possible that some of these humanitarian challenges could be lessened through the expenditure of
significant government resources currently allocated to other purposes. Ultimately, however, the
United States has limited ability to ensure the safety and security of those returned to Mexico.


1
  Exec. Order No. 14010, Creating a Comprehensive Regional Framework to Address the Causes of Migration, to
Manage Migration Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021).
2
  Memorandum from Alejandro N. Mayorkas, Sec’y of Homeland Security, Termination of the Migrant Protection
Protocols Program (June 1, 2021) [hereinafter June 1 Memo].

                                                     2

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Other significant issues with MPP, including the difficulties in accessing counsel and traveling to
courts separated by an international border, are endemic to the program’s design.

         Importantly, as the Secretary has emphasized, the management of migratory flows is a
shared responsibility among all countries in the hemisphere. MPP distracts from these regional
efforts, focusing resources and attention on this singular program rather than on the work that is
needed to implement broader, and more enduring, solutions. Efforts to implement MPP have
played a particularly outsized role in diplomatic engagements with Mexico, diverting attention
from more productive efforts to fight transnational criminal and smuggling networks and address
the root causes of migration.

        Notably, Mexico has made clear that it will not agree to accept those the United States
seeks to return to Mexico under MPP unless substantial improvements are made to the program.
But these much-needed efforts to enhance humanitarian protections for those placed in MPP are
resource-intensive, exacerbating one of the flaws of the program—the concentration of
resources, personnel, and aid efforts on the northern border of Mexico rather than on broader
regional assistance efforts that would more effectively and systemically tackle the problem of
irregular migration and protect our border. Moreover, the personnel required to adequately
screen MPP enrollees, potentially multiple times—to ensure they are not returned to persecution
or torture in Mexico, process them for court hearings, and manage their cases—pulls resources
from other priority efforts, including the ongoing efforts to implement effective, fair, and durable
asylum reforms that reduce adjudication delays and tackle the immigration court backlog.

       Having assessed the benefits and costs of the previous implementation of MPP as well as
how the program could potentially be improved, the Secretary has concluded that there are
inherent problems with the program—including the vulnerability of migrants to criminal
networks, and the challenges associated with accessing counsel and courts across an international
border—that resources cannot sufficiently fix. Others cannot be addressed without detracting
from other key Administration priorities. It is thus the Secretary’s judgment that the benefits of
MPP are far outweighed by the costs of the program, in whatever form.

         As a result, for the many reasons described in what follows, the Secretary in a
memorandum issued today entitled, “Termination of the Migrant Protection Protocols,” has
decided to terminate MPP.3 This determination will be implemented as soon as practicable after
a final judicial decision to vacate the Texas injunction that currently requires good-faith
enforcement of MPP.

     II.    Background

       On January 25, 2019, Secretary of Homeland Security Kirstjen Nielsen issued a
memorandum entitled “Policy Guidance for Implementation of the Migrant Protection
Protocols.” On January 20, 2021, Acting Secretary David Pekoske issued a memorandum
temporarily suspending new enrollments into the Migrant Protection Protocols (MPP) pending


3
 Memorandum from Alejandro Mayorkas, Sec’y of Homeland Sec., Termination of the Migrant Protection
Protocols (Oct. 29, 2021).

                                                    3

                                                                                         Haiti AR_000262
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further review.4 Two weeks later, on February 2, 2021, President Biden issued Executive Order
(EO) 14010, Creating a Comprehensive Regional Framework to Address the Causes of
Migration, to Manage Migration Throughout North and Central America, and to Provide Safe
and Orderly Processing of Asylum Seekers at the United States Border.5 In this Executive
Order, President Biden directed the Secretary of Homeland Security to “promptly review and
determine whether to terminate or modify the program known as the Migrant Protection
Protocols” and “promptly consider a phased strategy for the safe and orderly entry into the
United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subject to MPP.”6 In response, Secretary Mayorkas initiated a
comprehensive review of MPP. The Secretary, in conjunction with other agencies, also
implemented a phased process for the safe and orderly entry into the United States of thousands
of individuals who had been placed in MPP and certain of their immediate family members for
proceedings.7

        At the conclusion of his review, on June 1, 2021, Secretary Mayorkas issued a
memorandum announcing and explaining his determination that MPP should be terminated (the
“June 1 Memorandum”).8 On August 13, 2021, the U.S. District Court for the Northern District
of Texas determined that the June 1 Memorandum did not reflect reasoned decision-making and
thus was not issued in compliance with the Administrative Procedure Act (APA), and that the
memorandum caused the Department to violate detention provisions found in 8 U.S.C. § 1225.9
The court vacated the June 1 Memorandum in its entirety and remanded it to the Department of
Homeland Security (DHS) for further consideration.10 The court additionally ordered DHS to
“enforce and implement MPP in good faith” until certain conditions are satisfied, including that
MPP be “lawfully rescinded in compliance with the APA.”11 The government is complying with
that injunction while appealing the decision.

        Pursuant to the district court’s remand, and consistent with the President’s direction in
EO 14010, the Secretary has considered anew whether MPP should be maintained, terminated, or
modified. This memorandum sets forth the results of that analysis and the basis for the
Secretary’s decision to terminate MPP by way of a separate memorandum being issued today.
The Secretary’s memorandum immediately supersedes and rescinds the June 1 Memorandum, as
well as Secretary Nielsen’s January 25, 2019 memorandum and any other guidance or other
documents prepared by the Department to implement it. The Secretary’s decision to terminate


4
  Memorandum from David Pekoske, Acting Sec’y of Homeland Sec., Suspension of Enrollment in the Migrant
Protection Protocol Program (Jan. 20, 2021) [hereinafter MPP Suspension Memorandum].
5
  Exec. Order No. 14010, 86 Fed. Reg. 8267 (Feb. 2, 2021).
6
  Id. at 8270.
7
  See Press Release, DHS, “DHS Announces Process to Address Individuals in Mexico with Active MPP Cases,”
Feb. 11, 2021, https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-mexico-active-
mpp-cases.
8
  See supra note 2.
9
  See Texas v. Biden, No. 2:21-cv-067, 2021 WL 3603341 (N.D. Tex. Aug. 13, 2021), appeal pending, No. 21-
10806 (5th Cir. filed Aug. 16, 2021).
10
   Id. at *27.
11
   Id. (emphasis in original).

                                                      4

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MPP is to be implemented as soon as practicable after a final judicial decision to vacate the
Texas injunction that currently requires good faith implementation and enforcement of MPP.

          A. MPP’s Statutory Basis and Implementation

        Enacted in 1996, Section 235(b)(2)(C) of the Immigration and Nationality Act (INA), 8
U.S.C. § 1225(b)(2)(C), grants DHS discretionary authority to return to Mexico or Canada
certain noncitizens who are arriving on land from those contiguous countries pending their
removal proceedings before an immigration judge under Section 240 of the INA, 8 U.S.C. §
1229a. Historically, DHS and the legacy Immigration and Naturalization Service (INS) used this
discretionary authority on a case-by-case basis to return certain Mexican and Canadian nationals
who were arriving at land border ports of entry; occasionally, the provision also was used for
third-country nationals under certain circumstances provided they did not have a fear of
persecution or torture related to return to Canada or Mexico.12 On December 20, 2018, the
Department announced a decision to initiate MPP—a novel programmatic implementation of
Section 235(b)(2)(C)—along the Southwest Border (SWB). That same day, Mexico announced
its independent decision to accept those returned to Mexico through the program—a key
precondition to implementation.13

        At the time of its initial announcement, DHS stated that the program was intended to: (1)
reduce unlawful migration and false claims of asylum; (2) ensure that migrants are not able to
“disappear” into the United States prior to a court decision; (3) focus attention on more quickly
assisting legitimate asylum seekers; (4) free up personnel and resources to better protect U.S.
territory and clear the backlog of unadjudicated asylum applications; and (5) offer protection to
vulnerable populations while they wait in Mexico for their removal proceedings.14

12
   Prior to MPP, DHS and the former INS primarily used Section 235(b)(2)(C) on an ad-hoc basis to return certain
Mexican and Canadian nationals who were arriving at land border ports of entry. CBP, for instance, invoked Section
235(b)(2)(C) to return certain Mexican nationals who were U.S. lawful permanent residents (LPRs) and whose
criminal histories potentially subjected them to removal, as well as LPRs who appeared to have abandoned their
permanent residence in the United States but were not willing to execute a Form I-407, Record of Abandonment of
Lawful Permanent Residence. At the Northern Border, CBP used Section 235(b)(2)(C) to return certain Canadian
nationals or those with status in Canada who, for instance, appear to be subject to a criminal ground of
inadmissibility. Although guidance is scant, DHS and the former INS also used Section 235(b)(2)(C), on a case-by-
case basis, for certain third country nationals even prior to MPP. For example, CBP issued field guidance in 2005
advising that a Cuban national arriving at a land border port of entry may “be returned to contiguous territory
pending section 240 proceedings . . . if: (1) the alien cannot demonstrate eligibility for the exercise of parole
discretion; (2) the alien has valid immigration status in Canada or Mexico; (3) Canadian or Mexican border officials
express a willingness to accept the returning alien; and (4) the alien’s claim of fear of persecution or torture does not
relate to Canada or Mexico.” Mem. from Jayson P. Ahern, Asst. Comm’r, Office of Field Ops., CBP, Treatment of
Cuban Asylum Seekers at Land Border Ports of Entry 2-3 (June 10, 2005). The INS also issued guidance in 1997
and 1998 contemplating the use of Section 235(b)(2)(C) only as a “last resort” and only when the individual does
not claim a fear of persecution related to Canada or Mexico. Mem. from Michael A. Pearson, Executive Assoc.
Comm’r, Office of Field Ops., INS, Detention Guidelines Effective October 9, 1998 3 (Oct. 7, 1998); Mem. from
Chris Sale, Deputy Comm’r, INS, Implementation of Expedited Removal 4 (Mar. 31, 1997) (same).
13
   Secretaría de Relaciones Exteriores, Position of Mexico on the Decision of the U.S. Government to Invoke Section
235(b)(2)(C) of its Immigration and Nationality Act (Dec. 20, 2018).
14
   Press Release, DHS, “Secretary Kirstjen M. Nielsen Announces Historic Action to Confront Illegal Immigration,”
Dec. 20, 2018, https://www.dhs.gov/news/2018/12/20/secretary-nielsen-announces-historic-action-confront-illegal-
immigration [hereinafter Nielsen Release].

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        On January 25, 2019, DHS issued policy guidance for implementing MPP,15 which was
augmented a few days later by operational guidance from U.S. Customs and Border Protection
(CBP), U.S. Immigration and Customs Enforcement (ICE), and U.S. Citizenship and
Immigration Services (USCIS).16 Under MPP, certain non-Mexican applicants for admission
who arrived on land at the SWB were placed in removal proceedings and returned to Mexico to
await their immigration court proceedings under Section 240 of the INA.17 For those enrolled in
MPP, DHS attempted to facilitate entry to and exit from the United States to attend their
immigration proceedings, which were prioritized on the non-detained docket by the Department
of Justice’s (DOJ) Executive Office for Immigration Review (EOIR).

        MPP was initially piloted at the San Ysidro port of entry and San Diego Immigration
Court. In July 2019, the program was expanded into Texas and as of January 2020, individuals
could be enrolled in MPP at locations across the SWB. Individuals returned to Mexico were
processed back into the United States to attend their removal proceedings at one of four
immigration court locations in California and Texas.18 It was initially anticipated that enrollees’
first hearings would be scheduled within 30-45 days, consistent with the goal of timely
adjudication of cases. But enrollment quickly outpaced EOIR’s capacity to hear cases. Over
time, capacity constraints meant that even initial hearings were scheduled many months after
enrollment. Large numbers of migrants ended up living in camps in Northern Mexico that were,
as well-documented in numerous reports and as described below, crowded, unsanitary, and beset
by violence.19

      Due to public health concerns brought on by the COVID-19 pandemic, EOIR paused
immigration court hearings for all non-detained individuals, including those enrolled in MPP, in
March 2020.20 MPP hearings never resumed prior to the program’s January 2021 suspension,



15
   Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland Sec., Policy Guidance for Implementation of the
Migrant Protection Protocols (Jan. 25, 2019).
16
   Guidance documents are available at the archived MPP landing page under the MPP Guidance Documentation
heading: https://www.dhs.gov/archive/migrant-protection-protocols.
17
   Individuals who could be enrolled into MPP were, generally, individuals from Spanish-speaking countries and
Brazil.
18
   Individuals enrolled in MPP in the San Diego or El Paso jurisdictions attended hearings at the immigration courts
in San Diego or El Paso; individuals enrolled in MPP in San Antonio or Harlingen jurisdictions attended hearings at
the Immigration Hearing Facilities (IHFs) in Laredo or Brownsville, respectively.
19
   See infra Section III.A; see also Caitlin Dickerson, Inside the Refugee Camp on America’s Doorstep, N.Y. Times,
Oct. 23, 2020; Miriam Jordan, ‘I’m Kidnapped’: A Father’s Nightmare on the Border, N.Y. Times, Dec. 21, 2019;
Nomaan Merchant, Tents, stench, smoke: Health risks are gripping migrant camp, A.P. News, Nov. 14, 2019;
Human Rights Watch, Like I’m Drowning: Children and Families Sent to Harm by the US ‘Remain in Mexico’
Program, Jan. 6, 2021 (“As a result [of MPP], thousands of people are concentrated in dangerous Mexican border
towns indefinitely, living lives in limbo . . . . Migrant shelters in Ciudad Juárez and Tijuana quickly filled, and a
large shelter run by Mexican federal authorities in Ciudad Juárez also quickly hit capacity soon after it opened in
late 2019. In Matamoros, dangers in the city have led as many as 2,600 people to live in an informal camp on the
banks of the river marking the border between Mexico and the United States, a location prone to flooding.”).
20
   See Press Release, DHS, “Joint DHS/EOIR Statement of MPP Rescheduling,” Mar. 23, 2020,
https://www.dhs.gov/news/2020/03/23/joint-statement-mpp-rescheduling.

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but new enrollments into MPP continued during this period, albeit at significantly reduced
rates.21

        In total, between the initial implementation of MPP on January 25, 2019, and the
suspension of new enrollments that became effective on January 21, 2021,22 DHS returned to
Mexico approximately 68,000 individuals, according to DHS and EOIR data.23 During that same
period, CBP processed a total of 1.5 million SWB encounters, including approximately 1 million
encounters processed under Title 8 authorities (including the 68,000 processed through MPP)
and approximately 500,000 Title 42 expulsions.24

          B. Prior Evaluations of MPP

       Prior to the Secretary’s June 1, 2021, termination memorandum, the Department
produced two notable assessments of the program that reached divergent conclusions.

       In June 2019, as the Department prepared to expand MPP across the entire SWB, it
formed a committee of senior leaders from multiple components (known as the “Red Team”) to
conduct a “top-down review of MPP’s policies and implementation strategy and provide overall
recommendations to increase the effectiveness of the program.”25 The Red Team members were
chosen, in part, because they had “little to no involvement developing policy or with
implementing MPP,” thus helping to ensure an independent assessment.26 The report and
recommendations (the “Red Team Report”) was issued October 25, 2019, but not publicly
released.27 In preparing its report, the Red Team reviewed key MPP background documents,
conducted dozens of interviews, made site visits, and performed additional research.28 The Red
Team identified significant deficiencies in MPP and made multiple recommendations for
improving MPP, organized around five different areas: the need for standardization and clarity

21
   See U.S. Customs and Border Protection, “Migrant Protection Protocols FY2021,”
https://www,cbp.gov/newsroom/stats/migrant-protection-protocols; U.S. Customs and Border Protection, “Migrant
Protection Protocols FY2020,” https://www.cbp.gov/newsroom/stats/migrant-protection-protocols-fy-2020; see also
MPP Suspension Memorandum, supra note 4.
22
   MPP Suspension Memorandum, supra note 4.
23
   See “Migrant Protection Protocols Metrics and Measures,” Jan. 21, 2021,
https://www.dhs.gov/publication/metrics-and-measures.
24
   DHS Office of Immigration Statistics analysis of U.S. CBP administrative records. In March 2020, the U.S.
Centers for Disease Control and Prevention (CDC) issued a public health order under 42 U.S.C. §§ 265 and 268 to
prevent the spread of COVID-19 in CBP holding facilities and in the United States. 85 Fed. Reg. 16,559 (Mar. 24,
2020). The Order temporarily suspending the introduction of certain persons into the United States from countries
where a communicable disease exists. Id. In August 2021, CDC issued a new Order, which replaced, reaffirmed, and
superseded the previous Orders. See 86 Fed. Reg. 42,828 (Aug. 5, 2021).
25
   Memorandum from Kevin McAleenan, Acting Sec’y of Homeland Sec., Review of Migrant Protection Protocols
Policy and Implementation (June 12, 2019).
26
   Id. Working under the oversight of the Acting Deputy Secretary of Homeland Security, the Red Team was
composed of individuals from the Offices of Privacy, Management, Civil Rights and Civil Liberties, and the Coast
Guard.
27
   DHS Office of Operations Coordination, The Migrant Protection Protocols Red Team Report (Oct. 25, 2019)
[hereinafter Red Team Report].
28
   Id. at 4.

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with respect to information provided to migrants upon initial screening and processing; the need
for better access to counsel and better mechanisms for communication with counsel; the need to
ensure better non-refoulement protections;29 the need for safe housing and protections for those
returned to Mexico; and the need for administrative and logistical improvements, including the
establishment of measures of effectiveness and better mechanisms for the sharing of key
information between migrants and relevant government agencies. In December 2020—at a point
when new enrollments into MPP had already dropped significantly and only a month before the
program’s suspension—the Department issued supplementary policy and operational guidance
designed to address several of the Red Team’s recommendations.30

       Three days after the issuance of the Red Team Report, the Department released publicly a
separate review of MPP (the “October 2019 Assessment”), which offered a very different
assessment of the program.31 The October 2019 Assessment declared that MPP had
demonstrated operational effectiveness, including by helping to address “the ongoing crisis at the
southern border and restoring integrity to the immigration system.”32 The assessment noted that
apprehensions of noncitizens at and between ports of entry decreased from May through
September 2019; reported that rapid and substantial declines in apprehensions occurred in areas
where the greatest number of MPP-amenable noncitizens had been processed and returned to
Mexico through MPP; asserted that MPP was restoring integrity to the immigration system;
claimed that both the U.S. Government and the Government of Mexico (GOM) were
endeavoring to provide safety and security for migrants returned to Mexico; and stated that the

29
   Article 33 of the 1951 Convention Relating to the Status of Refugees provides that “[n]o Contracting State shall
expel or return (‘refouler’) a refugee in any manner whatsoever to the frontiers of territories where his life or
freedom would be threatened on account of his race, religion, nationality, membership of a particular social group or
political opinion.” Convention Relating to the Status of Refugees, done July 28, 1951, 19 U.S.T. 6259, 6276, 189
U.N.T.S. 150, 176. The United States is not a party to the 1951 Convention, but the United States is a party to the
1967 Protocol Relating to the Status of Refugees, done Jan. 31, 1967, 19 U.S.T. 6223, T.I.A.S. 6577, which
incorporates Article 33 of the 1951 Convention. The phrase “life or freedom would be threatened” is interpreted in
U.S. law as meaning that it is more likely than not that the individual would be persecuted. See, e.g., INS v. Stevic,
467 U.S. 407, 428 & n.22 (1984). Separately, Article 3 of the Convention Against Torture and Other Cruel, Inhuman
or Degrading Treatment or Punishment (CAT) provides, “No State Party shall expel, return (“refouler”) or extradite
a person to another State where there are substantial grounds for believing that he would be in danger of being
subjected to torture.” See Foreign Affairs Reform and Restructuring Act of 1998, Pub. L. No. 105-277, § 2242, 112
Stat. 2681, 2681-2822 (8 U.S.C. § 1231 note). Article 3 of the CAT likewise is understood in U.S. law as requiring a
“more likely than not” standard. See, e.g., Auguste v. Ridge, 395 F.3d 123, 149 (3d Cir. 2005) (citing Senate
Resolution, 136 Cong. Rec. S17,486, S17491-92 (daily ed. 1990)). These non-refoulement obligations are non-self-
executing, see, e.g., Khan v. Holder, 584 F.3d 773, 783 (9th Cir. 2009) (1967 Refugee Protocol); Al-Fara v.
Gonzales, 404 F.3d 733, 743 (3d Cir. 2005) (CAT), and are not specifically required by statute with respect to MPP
returns.
30
   The policy and operational guidance was published on an MPP website and took the form of a series of
memoranda that provided clarity on matters like access to counsel during the non-refoulement interview, the
importance of maintaining family unity, and more consistent application of the “known mental and physical health”
exclusion for enrollment in MPP. DHS, Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols (Dec. 7, 2020); CBP, Supplemental Migrant Protection Protocols Guidance, Initial Document
Service (Dec. 7, 2020); CBP, Supplemental Migrant Protection Protocol Guidance, MPP Amenability (Dec. 7,
2020).
31
   DHS, “Assessment of the Migrant Protection Protocols (MPP),” Oct. 28, 2019,
https://www.dhs.gov/publication/assessment-migrant-protection-protocols-mpp [hereinafter Oct. 2019 Assessment].
32
   Id.

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screening protocols in place were appropriately assessing noncitizens’ fear of persecution or
torture in Mexico.

        The public October 2019 Assessment presented MPP as a resounding success, whereas
the internal Red Team Report raised serious concerns with the program. Notably, the October
2019 Assessment did not acknowledge or address any of the shortcomings identified by the Red
Team Report, despite the fact that the Assessment was released after the Red Team Report was
completed.

          C. Litigation Regarding the Prior Implementation of MPP

        MPP was challenged many times on multiple grounds in federal court and remains the
subject of ongoing litigation in several jurisdictions. Among other claims, litigants challenged
the program as an impermissible exercise of the underlying statutory authority; argued that MPP
caused DHS to return noncitizens to Mexico to face persecution, abuse, and other harms and that
its procedures inadequately implemented non-refoulement protections; argued that their right to
access counsel before and during non-refoulement interviews had been violated; contested the
return to Mexico pursuant to MPP of noncitizens with mental and physical disabilities; asserted
that the program had been implemented in violation of the APA; and contended that MPP’s
expansion across the SWB was unlawful because it led to the return of migrants to places that
were particularly dangerous.33 Both in the course of litigation and otherwise, litigants described,
and some courts credited, extreme violence and substantial hardships faced by those returned to
Mexico to await their immigration court proceedings, as well as substantial danger traveling to
and from ports of entry to those hearings. Litigants described being exposed to violent crime,
such as rape and kidnapping, as well as difficulty obtaining needed support and services in
Mexico, including adequate food and shelter.34 In addition, more than one hundred MPP
enrollees who received final orders of removal have petitioned the federal courts of appeal for
review of such orders on the grounds that various features of MPP, including limited access to




33
   See, e.g., Innovation Law Lab v. Wolf, 951 F.3d 1073 (9th Cir. 2020), vacated as moot, 5 F.4th 1099 (9th Cir.
2021); Bollat Vasquez v. Wolf, 520 F. Supp. 3d 94 (D. Mass. 2021); Doe v. Wolf, 432 F. Supp. 3d 1200 (S.D. Cal.
2020); E.A.R.R. v. Dep’t of Homeland Sec., No. 3:20-cv-2146 (S.D. Cal. filed Nov. 2, 2020); Adrianza v. Trump,
505 F. Supp. 3d 164 (E.D.N.Y. 2020), dismissed, No. 1:20-cv-03919 (E.D.N.Y. Sept. 2, 2021); Nora v. Wolf, No.
20-993, 2020 WL 3469670 (D.D.C. June 25, 2020); Turcios v. Wolf, No. 1:20-cv-1982, 2020 WL 10788713 (S.D.
Tex. Oct. 16, 2020).
34
   For example, in Innovation Law Lab v. Wolf, the Ninth Circuit observed:
          The MPP has had serious adverse consequences for the individual plaintiffs. Plaintiffs presented evidence
          in the district court that they, as well as others returned to Mexico under the MPP, face targeted
          discrimination, physical violence, sexual assault, overwhelmed and corrupt law enforcement, lack of food
          and shelter, and practical obstacles to participation in court proceedings in the United States. The hardship
          and danger to individuals returned to Mexico under the MPP have been repeatedly confirmed by reliable
          news reports.
951 F.3d at 1078; see also Bollat Vasquez, 520 F. Supp. 3d at 111–12 (describing plaintiffs’ unrebutted descriptions
of rape, death threats, kidnapping risks, and insufficient food and shelter as supported by the U.S. State
Department's assignment to Tamaulipas of a “Level 4: Do Not Travel” warning “due to crime and kidnapping”).

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counsel and inability to access court hearings, prejudiced their ability to pursue relief in removal
proceedings.35

          D. Suspension of New Enrollments and Phased Strategy for the Safe and Orderly Entry
             of Individuals Subjected to MPP

       On January 20, 2021, Acting Secretary David Pekoske issued a memorandum suspending
new enrollments into MPP, effective January 21, 2021, pending further review of the program.36
The MPP Suspension Memorandum was followed by the President’s issuance of EO 14010 on
February 2, 2021, which, in addition to requiring the Secretary to review the program, directed
the Secretary to “promptly consider a phased strategy for the safe and orderly entry into the
United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subject to MPP.”37

        From February 19, 2021, until the effective date of the district court’s order on August
25, 2021, DHS implemented a phased process for the safe and orderly entry into the United
States of thousands of individuals who had been placed in MPP and remained outside the United
States.38 Certain individuals whose removal proceedings were pending before EOIR or whose
proceedings resulted in an in absentia order of removal or termination, and certain of their
immediate family members, were processed into the United States to continue their Section 240
removal proceedings.39 About 13,000 individuals were processed into the United States to
participate in Section 240 removal proceedings as a result of this process.40

          E. Challenge to the Suspension and Termination

        On April 13, 2021, the States of Missouri and Texas filed suit in the U.S. District Court
for the Northern District of Texas, challenging the suspension of new enrollments into MPP on
the grounds that the January 20, 2021, suspension memorandum violated the APA, 8 U.S.C.
§ 1225, the Constitution, and a purported agreement between Texas and the federal government.

35
   See, e.g., Hernandez Ortiz v. Garland, No. 20-71506 (9th Cir. filed Mar. 15, 2021) (describing repeated failed
attempts to contact legal service providers from within Mexico and ultimately agreeing to proceed pro se because
the alternative was to wait longer in Mexico at continued risk to the family’s safety); Del Toro v. Garland, No. 20-
60900 (5th Cir. filed Dec. 14, 2020) (explaining that MPP restricted access to counsel, which prevented the
individual from filing an update State Department country report on Cuba for his individual hearing); Del Carmen
Valle v. Garland, No. 20-72071 (9th Cir. filed July 16, 2020) (arguing that the individual’s “extreme distress and
vulnerability in Mexico, lack of access to counsel, and difficulty in preparing and presenting her asylum application”
as grounds for appeal).
36
   MPP Suspension Memorandum, supra note 4.
37
   Exec. Order No. 14010, 86 Fed. Reg. at 8270.
38
   See Press Release, DHS, “DHS Announces Process to Address Individuals in Mexico with Active MPP Cases,”
Feb. 11, 2021, https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-mexico-active-
mpp-cases.
39
   Id.; Press Release, DHS, “DHS Announces Expanded Criteria for MPP-Enrolled Individuals Who Are Eligible for
Processing into the United States,” June 23, 2021, https://www.dhs.gov/news/2021/06/23/dhs-announces-expanded-
criteria-mpp-enrolled-individuals-who-are-eligible-processing.
40
   Data on the number of people permitted to enter the United States under this phased process, February 19-August
25, 2021, provided by the Department of State on October 24, 2021.

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Subsequent to the Secretary’s June 1, 2021, termination memorandum, Missouri and Texas
amended their complaint to challenge the June 1 Memorandum and filed a motion to enjoin the
memorandum.

         On August 13, 2021, the district court issued a nationwide permanent injunction requiring
DHS “to enforce and implement MPP in good faith” until certain conditions were satisfied.41
The district court determined that the June 1 Memorandum was arbitrary and capricious because,
according to the court, the Department ignored critical factors and reached unjustified
conclusions. In particular, the district court found that the June 1 Memorandum failed to
sufficiently account for several considerations, including the prior administration’s assessment of
the benefits of MPP; warnings allegedly made by career DHS personnel during the presidential
transition process that suspending MPP would lead to a surge of border crossers; the costs of
terminating MPP to the States as well as their reliance on MPP; the impact that terminating MPP
would have on the Department’s ability to comply with detention provisions in the INA, which
the court construed to require detention and to foreclose release based on detention capacity
concerns; and modifications to MPP short of termination that could similarly achieve the
Department’s goals.42 As a result, the district court enjoined the June 1 Memorandum in its
entirety and “remanded” it to the Department for further consideration.43 The district court
denied a request for a stay of the injunction pending appeal, and the U.S. Court of Appeals for
the Fifth Circuit and the Supreme Court of the United States also denied stays.44 As a result, the
district court’s order, as construed by the Fifth Circuit, went into effect at 12:01 a.m. on August
25, 2021.

        Since August, the Department has worked actively to reimplement MPP in good faith, as
required by the district court’s order.45 At the same time, pursuant to the district court’s order and
in continuing compliance with the President’s direction in EO 14010, the Secretary has
considered anew whether to maintain, terminate, or modify MPP in various ways.

      III.   Evaluation of MPP

       In considering whether to maintain, terminate, or modify MPP anew, the Department
considered, among other things, the decisions of the Texas district court, Fifth Circuit, and
Supreme Court; the decisions of multiple other courts in litigation challenging MPP or its
termination; the briefs and declarations filed in all such lawsuits pertaining to MPP; various
Departmental assessments of MPP, including both the Red Team Report and agency responses
and the October 2019 Assessment; a confidential December 2019 Rapid Protection Assessment
from the U.N. High Commissioner for Refugees (UNHCR) and publicly available sources of
information, including news reports and publicly available sources of information, pertaining to
conditions in Mexico; records and testimony from Congressional hearings on MPP and reports
41
   Texas, 2021 WL at 3603341, at *27 (emphasis in original).
42
   Id. at *17-22.
43
   Id. at * 27.
44
   See Biden v. Texas, No. 21A21, 2021 WL 3732667 (U.S. Aug. 24, 2021); Texas v. Biden, 10 F.4th 538 (5th Cir.
2021).
45
   See Declaration of Blas Nuñez-Neto, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. Oct. 14, 2021); Defendants’ First
Supplemental Notice of Compliance with Injunction, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. Oct. 14, 2021).

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by nongovernmental entities; and data regarding enrollments in MPP, encounters at the border,
and outcomes in removal proceedings conducted for MPP enrollees; and the impact of other
government programs and policies concerning migration and the southern border. In addition,
over the course of several months, the Secretary and his staff met with a broad array of internal
and external stakeholders with divergent views about MPP, including members of the DHS
workforce engaged in border management, state and local elected officials across the border
region, including from Texas, California, Arizona, and New Mexico, border sheriffs and other
law enforcement officials, representatives from multiple nonprofit organizations providing legal
access and humanitarian aid to noncitizens across the SWB, and dozens of Members of Congress
focused on border and immigration policy. The Secretary also assessed other migration-related
initiatives the Administration is undertaking or considering undertaking. And he examined the
considerations that the district court determined were insufficiently addressed in the June 1
Memorandum, including the view that MPP discouraged unlawful border crossings, decreased
the filing of non-meritorious asylum claims, and facilitated more timely relief for asylum
seekers, as well as predictions that termination of MPP would lead to a border surge, impose
undue costs on states, put a strain on U.S.-Mexico relations, and cause DHS to fail to comply
with its obligations under 8 U.S.C. § 1225.

       After carefully considering the arguments, evidence, and perspectives of those who
support resuming MPP, with or without modification, as well as those who support termination,
the Secretary has determined that MPP should be terminated. The following outlines the
considerations that informed the Secretary’s decision.

          A. Conditions for Migrants in Mexico

       In January 2019, the Department implemented MPP with the stated expectation that
vulnerable populations would get the protection they needed while they waited in Mexico during
the pendency of their removal proceedings.46 In practice, however, there were pervasive and
widespread reports of MPP enrollees being exposed to extreme violence and insecurity at the
hands of transnational criminal organizations that prey on vulnerable migrants as they waited in
Mexico for their immigration court hearings in the United States. These security concerns,
together with barriers many individuals faced in accessing stable and safe housing, health care
and other services, and sufficient food, made it challenging for some to remain in Mexico for the
duration of their proceedings. Notably, the United States has limited ability to fix these issues,
given that they relate to migrant living conditions and access to benefits in Mexico—an
independent sovereign nation.

         Concerns about migrants’ safety and security in Mexico, and the effect this had on their
ability to attend and effectively participate in court proceedings in the United States, have been
highlighted in internal Department documents, court filings, and a range of external studies and
press reports. In its internal evaluation of the program, the Department’s Red Team Report
emphasized the need for safe housing for vulnerable populations.47 The Ninth Circuit, in
affirming a district court ruling that enjoined implementation of MPP, determined that
46
   See Nielsen Release, supra note 14; see also Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland Sec.,
Policy Guidance for Implementation of the Migrant Protection Protocols (Jan. 25, 2019).
47
   Red Team Report, supra note 27, at 7.

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“[u]ncontested evidence in the record establishes that non-Mexicans returned to Mexico under
the MPP risk substantial harm, even death, while they await adjudication of their applications for
asylum.”48 A Massachusetts district court similarly described the plaintiffs’ claims of extreme
violence and insecurity in Mexico and observed that “[t]heir personal accounts are unrebutted
and are supported by affidavits from employees of two nongovernmental organizations and the
U.S. State Department’s assignment to Tamaulipas of a ‘Level 4: Do Not Travel’ warning ‘due
to crime and kidnapping.’”49 The court further cited a Human Rights First report that included a
list of 1,544 allegations of serious harm (including homicide, rape, and kidnapping) faced by
individuals placed in MPP from January 2019 to February 2021.50

        Multiple other reports have similarly highlighted security and treatment concerns. A
December 2019 UNHCR Rapid Protection Assessment found that 81% of individuals and
families returned to Mexico under MPP did not feel safe in Mexico, and that 48% had been a
victim or witness of violence in Mexico.51 According to this assessment, children represented
about half (48%) of targets for physical violence, and about half (48%) of kidnapping victims.52
The organization Médecins Sans Frontières (Doctors Without Borders) noted that 75% of its
patients who were in Nuevo Laredo in October 2019 due to MPP reported having been
kidnapped.53 In 2019, a U.S. Commission on Civil Rights report similarly credited several news
and NGO reports in noting that “asylum seekers [awaiting proceedings in Mexico] have been
killed, women have been raped, and children have been kidnapped.”54 Similar accounts of
insecurity and violence were the subject of numerous press reports describing squalor and
violence in the “camps” where many MPP enrollees lived as they waited their court hearings.55
But as bad as conditions often were in the makeshift border camps, migrants gathered there
because the threat of violence and kidnapping in surrounding areas outside of the camps could be

48
   Innovation Law Lab, 951 F.3d at 1093.
49
   Bollat Vasquez, 520 F. Supp. 3d at 111-12 (issuing a preliminary injunction ordering the Department to return to
the United States seven plaintiffs who had been enrolled in MPP).
50
   Human Rights First, Delivered to Danger; Trump Administration sending asylum seekers and migrants to danger,
Feb. 19, 2021, https://www.humanrightsfirst.org/campaign/remain-mexico; see Bollat Vasquez, 520 F. Supp. 3d at
99 n.10 (citing a declaration by Kennji Kizuka, Senior Researcher and Policy Analyst at Human Rights First,
regarding an earlier version of this list explaining that “‘[a]s of December 15, 2020, Human Rights First has
identified 1,314 public reports of murder, torture, rape, kidnapping, and other violent assaults against asylum seekers
returned to Mexico under MPP’ and that ‘the security situation in Mexico, including in the state of Tamaulipas has
worsened’ with one of Mexico’s ‘most powerful and violent cartels’ reportedly increasing its activities in
Tamaulipas and migrants in Matamoros and Nuevo Laredo have been repeatedly targeted’”).
51
   UNHCR, Rapid Protection Assessment: MPP Returnees at the Northern Border of Mexico 15, Dec. 2019. The
UNHCR assessment, shared confidentially with the United States government, is cited here with the express
permission of UNHCR.
52
   According to the UNHCR survey, it did not take long for MPP enrollees to experience danger in Mexico. Just
over half of the individuals surveyed (51%) had been in Mexico for less than one month and more than nine-in-ten
had been in Mexico for less than three months. Id. at 7, 17.
53
   Médecins Sans Frontières, The devastating toll of ‘Remain in Mexico’ asylum policy one year later, Jan. 29, 2020,
https://www.msf.org/one-year-inhumane-remain-mexico-asylum-seeker-policy; cf. Emily Green, Trump’s Asylum
Policies Sent Him Back to Mexico. He was Kidnapped 5 Hours Later By a Cartel., Vice, Sept. 16, 2019.
54
   U.S. Commission on Civil Rights, Trauma at the Border; The Human Cost of Inhumane Immigration Policies,
Oct. 2019, https://www.usccr.gov/files/pubs/2019/10-24-Trauma-at-the-Border.pdf.
55
   See, e.g., Dickerson, supra note 19; Jordan, supra note 19; Merchant, supra note 19; This American Life, The Out
Crowd, Nov. 15, 2019, https://www.thisamericanlife.org/688/transcript.

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greater.56 Poor conditions and violence in the Matamoros camp also created an operational
challenge when migrants at the camp blocked traffic in both directions on the Gateway
International Bridge for hours as a sign of protest.57 The security and treatment of MPP
enrollees also been the subject of congressional oversight and investigation.58

         The adverse living conditions and violence experienced by migrants returned to Mexico
pursuant to MPP are of grave concern to the Secretary. The return of noncitizens to Mexico
under MPP is predicated, by statute, upon individuals’ ability to remain in Mexico during the
pendency of their removal proceedings.59 In practice, however, myriad problems faced by
noncitizens returned to Mexico impeded their ability to access those removal proceedings. As a
result, the Secretary has determined that the key predicate on which the statutory authority
underlying the program is built—that noncitizens stay in Mexico and continue to participate in
their removal proceedings—was upended by reality in too many cases. This is an intolerable
result that is inconsistent with this Administration’s values, which include ensuring the rights of
migrants to seek lawful protection from removal in a safe environment.

       Moreover, these are problems that cannot easily be fixed. Once migrants are returned to
Mexico—an independent sovereign nation—the United States’ ability to respond and provide
adequate conditions and safety is diminished.

          B. Non-Refoulement Concerns

        Concerns about the non-refoulement process under MPP as it was previously
implemented and the additional costs and resources that would be required to address those
concerns also weigh against continued reliance on MPP. As previously designed and
implemented, MPP’s non-refoulement screening process—used to assess whether individuals
would likely face persecution on account of a protected ground or torture in Mexico—was
limited in at least four respects.

       First, as originally implemented, individuals processed for MPP were not questioned by
CBP about their fear of persecution or torture in Mexico, but were instead required to
affirmatively articulate such a fear regarding return to Mexico—a sharp contrast to the approach



56
   See, e.g., María Verza and Fernanda Llano, Lawless Limbo Within Sight of America, Associated Press, Nov. 18,
2019; Delphine Schrank, Asylum seekers cling to hope, safety in camp at U.S.-Mexico Border, Reuters, Oct. 16,
2019, https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY.
57
   Adolfo Flores, “Asylum-Seekers Protesting Squalid Conditions Shut Down A US Border Crossing For 15 Hours,”
Buzzfeed, Oct. 11, 2019, https://www.buzzfeednews.com/article/adolfoflores/asylum-seekers-protesting-bridge-
close-matamoros-texas.
58
   See, e.g., Press Release, H. Comm. on the Judiciary, “Chairman Nadler Announces House Judiciary Investigation
into Trump Administration’s ‘Remain in Mexico’ Policy,” Jan. 14, 2020,
https://judiciary.house.gov/news/documentsingle.aspx?DocumentID=2397; Examining the Human Rights and Legal
Implications of DHS’s “Remain in Mexico” Policy: Hearing Before the H. Comm. on Homeland Sec., 116th Cong.
passim (2019).
59
   See 8 U.S.C. § 1225(b)(2)(C) (specifying that the Secretary may return a noncitizen to a contiguous territory
“pending a proceeding under [8 U.S.C. §] 1229a”).

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used in the expedited removal context, in which individuals are affirmatively asked standard
questions about fear of return to their home countries and the responses are recorded.60

         Second, rather than using a screening standard familiar to asylum officers (such as the
“significant possibility” standard used for credible fear interviews or the “reasonable possibility”
standard used for reasonable fear interviews to screen for possible withholding or deferral of
removal claims), non-refoulement screenings for MPP applied a more restrictive “more likely
than not” standard.61 Under this standard, noncitizens had to demonstrate to an asylum officer
that it was more likely than not that they would be persecuted or tortured if returned to Mexico in
order to avoid a return to Mexico—a higher substantive standard than they would ultimately
have had to establish to secure asylum and the same substantive standard they would have had to
establish to an immigration judge if they were ineligible for asylum but were seeking
withholding or deferral of removal under the INA or regulations implementing CAT.

         Third, the Department did not initially allow counsel to participate in the non-refoulement
interviews.62 This differs from how fear interviews are conducted during the expedited removal
process; in that context, noncitizens receive at least at 48-hour period to find and consult with a
legal representative.63 Eventually, and in part as response to a district court order, these
restrictions were eased.64



60
   See 8 C.F.R. § 235.3(b)(2). Importantly, even if migrants processed for MPP expressed a fear of repatriation to
their home country, they were never asked about any fear of being returned to Mexico. Assessing this feature of the
program, Judge Watford of the U.S. Court of Appeals for the Ninth Circuit stated in Innovation Law Lab that it was
“virtually guaranteed to result in some number of applicants being returned to Mexico in violation of the United
States’ non-refoulement obligations,” as many individuals returned under MPP who feared persecution or torture in
Mexico would “be unaware that their fear of persecution in Mexico is a relevant factor in determining whether they
may lawfully be returned to Mexico, and hence is information they should volunteer to an immigration officer.
Innovation Law Lab v. McAleenan, 924 F.3d 503, 511 (9th Cir. 2019) (Watford, J. concurring).
61
   Prior to MPP implementation, this standard had been used almost exclusively by immigration judges to adjudicate
statutory withholding of removal or withholding or deferral of removal under regulations implementing the
Convention Against Torture (CAT). See 8 C.F.R. §§ 208.16(a), (c)(4); 208.17(b)(1); 208.31(c); 1208.16(b);
1208.17(b). It was, as a result, not a standard that had previously been used by asylum officers in the screening
context, which resulted in additional, burdensome training and implementation requirements.
62
   U.S Citizenship and Immigration Services, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
and Nationality Act and the Migrant Protection Protocols, PM-602-0169 3 (Jan. 28, 2019) (“DHS is currently
unable to provide access to counsel during the [non-refoulement] assessments given the limited capacity and
resources at ports-of-entry and Border Patrol stations as well as the need for the orderly and efficient processing of
individuals.”). This differs from how fear interviews are conducted during the expedited removal process; in that
context, noncitizens receive at least at 48-hour period to find and consult with a legal representative. See Form M-
444, Information about Credible Fear Interview (May 17, 2019).
63
   See Form M-444, Information about Credible Fear Interview (May 17, 2019).
64
   Doe v. Wolf, 432 F. Supp. 3d 1200 (S.D. Cal. 2020). Previously retained counsel were permitted to participate in
non-refoulement interviews conducted at Immigration Hearing Facilities (IHFs) in Laredo and Brownsville as of
December 2019 and within the Ninth Circuit in January 2020. Supplemental guidance issued in December 2020
expanded this access to counsel to all MPP locations and required DHS to ensure the ability of retained counsel to
participate telephonically in USCIS’ MPP non-refoulement assessments, but only “where it does not delay the
interview, or is required by court order.” Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols, supra note 30, at 1-2.

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       Fourth, in practice, there were multiple challenges and inconsistencies in the
implementation of non-refoulement screenings. The Red Team Report emphasized the need for
standard operating procedures to ensure consistency and address problems such as the use of a
“pre-screening process” by CBP personnel at some locations that “preempt[ed] or prevent[ed]”
USCIS from ever having cases referred for a determination.65 The report additionally noted that
some CBP officials “pressure[d] USCIS to arrive at negative outcomes when interviewing
migrants on their claim of fear of persecution or torture.”66

       Moreover, throughout the use of MPP, more than 2,500 individuals raised fear claims at
multiple points in this process, leading to multiple screenings for those individuals during the
pendency of their cases.67 These kinds of unproductive, redundant screenings are a drain on
resources that may be more likely to occur in MPP as individuals are returned to Mexico
multiple times over the pendency of a single removal proceeding, often to unsafe conditions.

        For all these reasons, the Secretary has concluded that continuation of MPP in its prior
form is not advisable. These concerns likely could be addressed by policy changes that require
the affirmative asking, the use of a more appropriate screening standard that protects those who
face a reasonable or significant possibility of persecution or torture upon return to Mexico, the
opportunity for individuals to consult with counsel prior to screenings, and better training and
oversight. But making these changes would likely lengthen the screenings and require DHS to
devote additional asylum officers and detention space to these screenings, both of which are in
short supply, especially as a result of challenges related to the COVID-19 pandemic. New
procedures could lengthen the screening process. Such an approach would divert critical
personnel and resources from other Administration priorities, including ongoing efforts to build a
more durable, fair, and efficacious asylum system as discussed in greater detail in Section IV.
The additional burdens that would be required to implement a non-refoulement process
acceptable to the Department weigh against retention of MPP. Moreover, even if making these
changes better protected individuals from being returned to persecution or torture, it would not
protect people from generalized violence or other extreme hardships that have no nexus to
statutorily protected grounds, and that have been experienced by many returnees.

          C. Access to Counsel, Notice of Hearings, and Other Process Concerns

       Individuals in MPP faced multiple challenges accessing counsel and receiving sufficient
information about court hearings. First, there were several problems in communicating accurate
and up-to-date information to migrants about rescheduled court hearings. As noted in the Red
Team Report, some migrants in MPP had to give up their shelter space in Mexico when they
returned to the United States for their court hearings. As a result, they were unable to provide
the court an address for follow-up communications.68 To submit a change of address while in
Mexico, migrants had to print and mail a Change of Address Form, which posed logistical
challenges for individuals who lacked internet access and who could not readily print and mail

65
   Red Team Report, supra note 27, at 6.
66
   Id. at 4-5.
67
   Data on MPP Cases with Multiple Referrals, provided by USCIS on October 28, 2021.
68
   Red Team Report, supra note 27, at 7.

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documents internationally. This made it difficult to communicate updates regarding enrollees’
court cases and hearing dates.

        Second, MPP enrollees faced several barriers in accessing counsel both in the United
States and in Mexico. Although MPP enrollees were permitted to meet with counsel at hearing
locations prior to their hearings, these meetings were limited to a single hour before the court
hearing took place.69 Opportunities for attorneys to meet with their clients outside of those
organized at the hearing locations were limited due to, among other constraints, complications
associated with cross-border communication. Many migrants lacked access to a telephone with
international coverage or other forms of technology that could be used to communicate with
counsel. Some legal services organizations also adopted policies against visiting clients in
Mexico due to serious safety concerns.70 In addition, because hearings for the tens of thousands
of people enrolled in MPP were concentrated in a handful of courts along the border, demand for
legal assistance far outstripped supply.71

        These problems are of significant concern to the Secretary. Inadequate access to counsel
casts doubt on the reliability of removal proceeding. It also undermines the program’s overall
effectiveness at achieving final resolution of immigration proceedings; in several cases,
noncitizens challenged adverse immigration-judge decisions on the ground that they did not have
an adequate opportunity to identify and retain counsel, or to gather or present the evidence in
support of their claims.72 More broadly, access to counsel is critical to ensuring migrants receive
a full and fair hearing; this Administration recognizes the importance of access to counsel in civil
contexts, including in immigration proceedings, and considers fostering legal representation and
access to justice a priority.73

       Meanwhile, some of these flaws are exceedingly challenging to fix. While migrants
could be provided additional means to communicate from Mexico with counsel by video or
telephone, doing so requires a significant expenditure of resources to ensure that the appropriate
technology is available in Mexico. In-person consultations are significantly constrained by the

69
   See U.S. Immigration and Customs Enforcement, Migrant Protection Protocols Guidance 3 (Feb. 12, 2019). As
noted above, DHS also did not initially allow counsel to participate in non-refoulement interviews conducted by
USCIS.
70
   See Brief for the Laredo Project, et al. as Amici Curiae Supporting Respondents at 20-21, Wolf v. Innovation Law
Lab, No. 19-1212 (Jan. 22, 2021) (“The Laredo Project considered providing assistance across the border in Nuevo
Laredo, but determined that it was far too dangerous. When Laredo Project attorneys took an exploratory trip across
the border, the local pastor with whom they were scheduled to meet (who ran a shelter for migrants) was missing; he
had been kidnapped by cartel members, reportedly because he attempted to stop them from kidnapping Cuban
asylum seekers.”).
71
   Human Rights Watch, We Can’t Help You Here”; U.S. Returns of Asylum Seekers to Mexico, July 2, 2019,
https://www.hrw.org/report/2019/07/02/we-cant-help-you-here/us-returns-asylum-seekers-mexico (“[U]nder the
MPP, thousands of asylum seekers have been forcibly concentrated in El Paso and San Diego, overwhelming the
limited number of immigration attorneys who practice there.”).
72
   See supra note 35.
73
   White House, “FACT SHEET: President Biden to Sign Presidential Memorandum to Expand Access to Legal
Representation and the Courts,” May 18, 2021, https://www.whitehouse.gov/briefing-room/statements-
releases/2021/05/18/fact-sheet-president-biden-to-sign-presidential-memorandum-to-expand-access-to-legal-
representation-and-the-courts/.

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reality that migrants are in Mexico and space for meetings with counsel to take place at ports of
entry or upon their return to court is extremely limited. Providing migrants with additional time
to consult with attorneys would likely require them to spend a night in detention, which would
also place additional strain on CBP facilities that have consistently been operating over their
COVID restricted capacity. In fact, the holding areas in six out of nine Border Patrol Sectors are
over COVID-capacity as of October 27, 2021.74

          D. Impacts of MPP on Immigration Court Appearance Rates and Outcomes

        The Department’s October 2019 Assessment of MPP concluded that MPP was “restoring
integrity to the immigration system” by (1) providing bona fide asylum seekers the opportunity
to obtain relief in months, not years, and (2) eliminating the “perverse incentives” that reward
and encourage people with non-meritorious asylum claims to enter the United States.75 But upon
further consideration and examination, the facts tell a more complex story, thus undermining the
claimed benefits.

        MPP did result in some removal proceedings being completed more expeditiously than is
typical for non-detained cases. Overall, 41 percent of MPP cases resulted in a final enforcement
disposition as of June 30, 2021, versus 35 percent of comparable non-MPP cases.76 But the fact
that MPP may have resolved cases more quickly does not mean that the cases were resolved
fairly or accurately. The integrity of the nation’s immigration system should be assessed by
whether immigration proceedings achieve fair and just outcomes, both for individuals who merit
relief and those who do not. In the Secretary’s judgment, the data show that MPP generally failed
to meet that bar.

         Importantly, noncitizens in MPP were substantially more likely to receive in absentia
removal orders than comparable noncitizens who were not placed in MPP during the relevant
time period. Overall, of the 67,694 cases of individuals enrolled in MPP,77 21,818 were subject
to an in absentia order of removal at some point during their removal proceedings—32 percent
of all individuals enrolled in MPP.78 For comparable noncitizens who were not processed

74
   Data on holding area capacity by U.S. Border Patrol Sector, provided by CBP on October 28, 2021.
75
   Oct. 2019 Assessment, supra note 31, at 3, 6.
76
   For the purposes of this memorandum, comparable noncitizens or comparable non-MPP cases are defined as non-
Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and
January 20, 2021, were not enrolled in MPP and were not detained throughout the pendency of their proceedings.
Data derived from DHS Office of Immigration Statistics Enforcement Lifecycle, which is based on a comprehensive
person-level analysis of DHS and EOIR enforcement and adjudication records. See Marc Rosenblum and Hongwei
Zhang, Fiscal Year 2020 Enforcement Lifecycle Report (Dec. 2020) [hereinafter FY 2020 Enforcement Lifecycle
Report].
77
   Id. This is based on DHS’s Office of Immigration Statistics (OIS) analysis of MPP cases; this analysis excludes
345 cases originally identified as MPP enrollees in CBP data because the records are for unaccompanied children,
accompanied minors, or Mexican nationals, all of whom are ineligible for the program, or because the records could
not be matched to other administrative data.
78
   In his June 1 Memorandum, the Secretary referenced a 44% in absentia rate for this time period. The Department
has since updated its methodology for measuring in absentia rates in two important ways. First, the Department did
not count in absentia orders that were subject to subsequent motions to reopen or any other further action by DHS or


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through MPP during that same time period and who were also not detained for the duration of
their proceedings, the in absentia rate was 13 percent—about two-fifths the rate of the MPP
group.79

        Moreover, an additional 6,151 MPP cases were terminated by the immigration court.80
Courts generally issued such orders in MPP cases when a noncitizen failed to appear but the
immigration judge declined to issue an in absentia removal given concerns that the noncitizen
did not have proper notice of how to attend his or her hearing.81 Including these cases brings the
total number of cases of individuals in MPP that involved the issuance of an in absentia order of
removal or termination to 27,969 (41 percent of all MPP cases and nearly three-and-a-half times
higher than the in absentia rate for comparable noncitizens not enrolled in MPP).82

       The fact that in absentia removal order rates (and in absentia removal order rates plus
termination rates) were considerably higher for MPP cases than for comparable non-MPP cases
might not, by itself, indicate a problem with MPP. For instance, the October 2019 Assessment
concluded that MPP was incentivizing people without meritorious claims to voluntarily leave
Mexico and return home.83 That assessment pointed to the fact that out of more than 55,000
MPP enrollees (at that time), only 20,000 were sheltered in northern Mexico and an additional
900 had returned home through International Organization for Migration’s Assisted Voluntary
Return program.



DOJ, thus undercounting the total number of in absentia orders that had been issued. Second, the in absentia rate of
44 percent only included cases in which there was a final disposition, rather than the full universe of MPP cases
including those that were still pending, thus overstating the percentage. The updated numbers in this memorandum,
by contrast, take into account the total number of in absentia orders issued in MPP cases, irrespective of whether
there was a subsequent motion to reopen or other further action in the case, as well as the total number of MPP
cases, including both active cases and those with a final disposition. This analysis captures all in absentia orders and
compares them to the full set of MPP cases.
79
   Id.
80
   For individuals in removal proceedings under Section 240 of the INA who are not in MPP, termination of
proceedings is frequently reported by DHS OIS as a form of relief because it generally marks the end of efforts to
remove the noncitizen from the country. That situation is very different for noncitizens enrolled in MPP, who are
outside of the country during the pendency of removal proceedings and have no basis upon which to seek admission
to the United States once proceedings are terminated.
81
   Matter of Herrera-Vasquez, 27 I&N Dec. 825 (BIA 2020); Matter of Rodriguez-Rodriguez, 27 I&N Dec. 762
(BIA 2020).
82
   The district court in Texas v. Biden cited EOIR data indicating that in absentia rates in removal proceedings were
also quite high in 2015 and 2017—42% and 47% percent, respectively. 2021 WL 3603341, at *21. But there are
critical methodological differences between the ways in which these numbers are calculated and the in absentia rates
presented in this memorandum. As explained in note 77, supra, the data presented in this memorandum measure in
absentia rates as a share of the total number of cases. The EOIR data measures in absentia orders as a share of
completed cases only, which excludes cases that remain ongoing that are disproportionately likely to not result in
such orders. See Ingrid Eagley and Steven Shafer, Measuring In Absentia Removal in Immigration Court, American
Immigration Council, Jan. 2021, https://www.americanimmigrationcouncil.org/research/measuring-absentia-
removal-immigration-court. A recalculation of the 2015 and 2017 in absentia rates as a share of total cases referred
to EOIR in those years yields rates of 21 percent and 20 percent, respectively. This is one-half the in absentia and
termination rate found in MPP cases.
83
   Oct. 2019 Assessment, supra note 31, at 3.

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         Other reports suggest, however, that individuals abandoned claims or otherwise failed to
appear for proceedings because of insecurity in Mexico and inadequate notice about court
hearings.84 The difficulties that MPP enrollees faced in Mexico, including the threat of violence
and kidnapping, coupled with inadequate and unreliable access to food and shelter, likely
contributed to people placed in MPP choosing to forego further immigration court proceedings
regardless of whether their cases had merit. Indeed, a number of petitions for review filed in
federal courts of appeals by individuals in MPP who received in absentia removal orders explain
their failure to appear based on serious threats to their personal safety.85

        While individuals in MPP were more likely to receive in absentia removal orders than
comparable noncitizens not enrolled in MPP, they were also less likely to receive relief or
protection from removal. This was true even though the decision to place someone in MPP was
not linked to any assessment of the likely merits of the individual’s claim. DHS data reflect that
only 732 individuals enrolled in MPP out of 67,694 cases were granted relief or protection from
removal—a grant rate of just 1.1.86 For the comparable set of non-MPP cases from the same
time period, the relief-granted rate was nearly two-and-a-half times as high (2.7 percent).87

       The remarkably low 1.1 percent grant rate for MPP cases—the majority of which
involved individuals from the Northern Triangle countries of Central America—is notable also
because when MPP was first announced the Department observed that “approximately 9 out of
84
   See, e.g., Kevin Sieff, “They missed their U.S. court dates because they were kidnapped. Now they’re blocked
from applying for asylum.,” Washington Post, Apr. 24, 2021; Camilo Montoya-Galvez, “‘Leave me in a cell’: The
desperate pleas of asylum seekers inside El Paso’s immigration court,” CBS News, Aug. 11, 2019,
https://www.cbsnews.com/news/remain-in-mexico-the-desperate-pleas-of-asylum-seekers-in-el-paso-who-are-
subject-to-trumps-policy/.
85
   See, e.g., Tabera-Columbi v. Garland, No. 20-60978 (5th Cir. filed Oct. 26, 2020) (noting that MPP enrollee had
been sexually assaulted by the police and was in a hospital as a result on the morning of the hearing); Quinones
Rodriguez v. Garland, No. 20-61204 (5th Cir. filed Dec. 17, 2020) (describing an individual who did not attend the
MPP hearing because he was hiding from gangs who threatened to kidnap him on his way to the hearing); Miranda-
Cruz v. Garland, No. 21-60065 (5th Cir. filed Feb. 1, 2021) (describing a family that was kidnapped en route to an
MPP hearing and held for ransom); see also Hamed Aleaziz and Adolfo Flores, “They Missed Their US Asylum
Hearings Fearing the Cartel Would Kill Them. Now They’re Stuck in Mexico,” Buzzfeed, May 18, 2021.
86
   Relief or protection from removal is defined to include EOIR grants of asylum, grants of relief in non-asylum
removal proceedings, withholding of removal, or conditional grants; DHS grants of Special Immigrant Juvenile
(SIJ) status, lawful permanent residence, S, T, or U nonimmigrant status, and Temporary Protected Status (TPS); the
exercise of DHS prosecutorial discretion; and findings by DHS that the subject is a U.S. citizen or lawfully present
noncitizen not subject to removal. See FY 2020 Enforcement Lifecycle Report, supra, note 75.
87
   As discussed in note 79, this figure includes cases that were terminated. For those located in the United States,
termination ends removal proceedings and effectively allows the subject to remain in the United States until further
action is taken. The low relief-granted rates for both the MPP and comparable non-MPP cases are likely the result of
a number of different factors. During this period, a policy was implemented that barred asylum for individuals who
transited through third countries and decisions were issued that limited humanitarian protection claims based on
family membership and gender; these likely depressed grant rates. See Asylum Eligibility and Procedural
Modifications, 84 Fed. Reg. 33,829 (July 16, 2019); Matter of L-E-A-, 27 I&N Dec. 581 (A.G. 2019), vacated, 28
I&N Dec. 304 (A.G. 2021); Matter of A-B-, 27 I&N Dec. 316 (A.G. 2018), vacated, 28 I&N Dec. 307 (A.G. 2021).
Additionally, the period of time being analyzed is both brief and recent. OIS analysis indicates that relief-granted
rates tend to increase over the first three to four years after a case resulting from a credible or reasonable fear claim
is initiated in immigration court. None of this, however, explains the substantial discrepancy in outcomes between
MPP case and comparable non-MPP cases over the same time period. And none of this diminishes the statutory
obligation to fairly assess asylum applications with the goal of producing reliable adjudications.

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10 asylum claims from Northern Triangle countries are ultimately found non-meritorious by
federal immigration judges.”88 DHS does not have a record of the methodology used to generate
this “9 out of 10” statistic. To the contrary, an analysis of EOIR case outcomes for Northern
Triangle asylum-related claims originating in border encounters (i.e., all EOIR removal
proceedings originating with border encounters followed by credible fear or reasonable fear
claims) in the years leading up to MPP yields a relief-granted rate of about 29 percent—
significantly higher than the 10 percent reflected in Department’s January 2019 statement. That
relief-granted rate is more than 26 times the 1.1 percent grant rate observed for all forms of relief
or protection among MPP enrollees. These discrepancies strongly suggest that at least some
MPP enrollees with meritorious claims either abandoned or were unable to adequately present
their claims given the conditions faced by migrants in Mexico and barriers to legal access.89

        Based on the Department’s experience with MPP and informed by the data above, the
Secretary has determined that the program did not succeed in a sufficient number of cases at
achieving timely and reliable adjudication of migrants’ removal proceedings. Multiple features
of MPP, especially combined with the difficulties in accessing counsel and migrants’ living
experience in Mexico as described above, have led the Secretary to conclude that the program
deterred too many meritorious asylum claims at the expense of deterring non-meritorious claims.
Given the Administration’s values, commitments, and policy preferences, the Secretary has
concluded that this is an unacceptable result. Individuals who may have abandoned meritorious
protection claims should have been offered a meaningful opportunity to seek protection in the
United States. As stated above, the return-to-contiguous-territory authority at INA §
235(b)(2)(C) is predicated on the notion that individuals will be able to pursue their removal
proceedings from within Mexico; the fact that so many individuals enrolled in MPP were unable
to complete their proceedings due to their tenuous situation in Mexico undercuts a key
requirement of the statute. As a global leader in offering protection and resettlement to refugees,
the United States also has a moral obligation to fairly consider such claims. The Secretary is
committed to ensuring meritorious claims are heard, even if that means non-meritorious claims
end up being adjudicated as well.

          E. MPP and Recidivist Irregular Re-Entries

         As discussed below, CBP encounters along the SWB decreased dramatically over a
number of months in which MPP was fully operational across the SWB. But the data also show
that a significant share of individuals enrolled in MPP—33 percent as of June 30, 2021—were
subsequently encountered attempting to reenter the country without inspection, rather than
continuing to wait in Mexico for the resolution of their removal proceedings.90 This rate is more

88
   Nielsen Release, supra note 14.
89
   Indeed, that conclusion is not dissimilar to the one reached in the October 2019 Assessment, when the Department
found that “MPP is one among several tools DHS has employed effectively to reduce the incentive for aliens to
assert claims for relief or protection, many of which may be meritless, as a means to enter the United States to live
and work during the pendency of multi-year immigration proceedings.” Oct. 2019 Assessment, supra note 31, at 6
(emphasis added). Implicit in this statement is an acknowledgment that some such claims do have merit.
90
   FY 2020 Enforcement Lifecycle Report, supra note 75. When the Department previously considered this issue in
June, 27 percent of MPP enrollees had been re-encountered by CBP subsequent to their enrollment in MPP (not


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than two-and-a-half times higher than the historical average for recidivism (defined as re-
encounters within 12 months of initial apprehension) of 14 percent for individuals processed
under Title 8 authorities.91 The high rate of repeat encounters undercuts one of MPP’s key
claimed advantages—namely its deterrent effect on would-be border crossers. Contrary to such
claims, the data show that MPP enrollees were much more likely try to cross the border after
being returned to Mexico than individuals who were removed from the country under other Title
8 authorities. Such re-encounters also impose significant additional work on frontline Border
Patrol agents, who had to encounter, track, and process MPP enrollees multiple times—resources
that could and should have been deployed to other objectives.

         F. Investments and Resources Required to Operate MPP

        MPP was, according to the December 2018 announcement, intended to reduce burdens on
border security personnel and resources to free them up to better protect the U.S. territory. It was
also intended to help clear the backlog of unadjudicated asylum claims. In reality, however,
backlogs in the Nation’s immigration courts and asylum offices grew significantly during the
period that MPP was in effect.92 In addition, MPP created substantial additional responsibilities
on Department personnel that detracted from other critically important mission sets. This played
out in numerous ways.

         First, each time an MPP enrollee returns to the United States to attend a court proceeding,
which could happen multiple times over the life of a case, DHS personnel are required to
conduct additional rounds of processing, including biographic and biometric collection, property
collection and return, and medical screenings. None of this is required for those in removal
proceedings in the United States. The labor-intensive process of bringing migrants back into the
United States for their court proceedings directly impacts staffing at the four U.S. ports of entry
where migrants re-entered, taking frontline personnel away from other key missions—such as
facilitating legal cross-border trade and travel.

         Second, in order to implement and operate MPP, the Department devoted significant
resources and personnel to building, managing, staffing, and securing specialized immigration
hearing facilities (IHFs) to support EOIR. During the period when MPP was operational during
the prior Administration, IHFs cost approximately $168 million to build and operate.93 As part
of its current efforts to comply the Texas court order and reimplement MPP in good faith, the
Department has procured new contracts for IHFs, at a cost of approximately $14.1 million to
build and $10.5 million per month to operate.94

counting encounters at POEs in connection with MPP). The increase since then reflects that individuals enrolled in
MPP continued to seek entry without inspection to the United States.
91
   DHS Office of Immigration Statistics data provided on 10/29/2021.
92
   Between January 2019 and January 2021—the period when MPP was operational—the number of pending
immigration court cases increased from 829,200 to 1,283,090 (a 55 percent increase). Data on pending caseload,
provided by EOIR on October 28, 2021. The backlog of pending affirmative asylum claims increased over the same
time period from 331,100 to 399,100. Data on the affirmative asylum backlog, USCIS Refugee, Asylum, and
International Operations Directorate on October 27, 2021.
93
   DHS Office of the Chief Financial Officer analysis.
94
   Nuñez-Neto Decl., supra note 45, at ¶ 15.

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        Third, adjudication of claims by individuals in MPP diverts asylum officers and
immigration judges from other key efforts designed, as described in Section IV.B, to more
effectively process cases and reduce backlogs. As initially implemented, MPP required the
training of asylum officers to learn the newly applied non-refoulement screening standards and
support an additional adjudicative caseload. Moreover, each time migrants came in and out of
the United States for court hearings, there was another opportunity to claim fear—and another
possible fear screening. Department data shows that in the short time that MPP was operational,
more than 2,500 individuals had repeat fear screenings.95

       Fourth, the program drew on the same limited resources that non-profits and
humanitarian organizations used to help other individuals in Mexico—thus focusing efforts on
northern Mexico and diverting resources and services away from other parts of Mexico and the
broader region.

       Each of these, and other investments or resources, divest resources from other critically
important Departmental missions and undercut the Department’s ability to pursue longer-term,
durable reform.

          G. Impact of MPP and its Termination on SWB Migration Flows

        In making his determination decision, the Secretary has presumed—as is likely—that
MPP contributed to a decrease in migration flows. From January through May 2019, when MPP
was used in a limited number of locations, encounters rose.96 But from June 2019, when DHS
announced that MPP would be fully implemented along the entire SWB, through September
2019, border encounters decreased rapidly, falling 64 percent in just three months. Border
encounters continued to decrease until April 2020. Beginning in May 2020, encounters once
again started rising.97 At that point, individuals continued to be enrolled into MPP, however, at
lower rates than previously; immigration court hearings for MPP enrollees were also suspended.

        The sharp decrease in SWB encounters during the months in which MPP was fully
operational is notable. Of course, correlation does not equal causation. And even at the height
of MPP’s implementation in August 2019, it was not the Department’s primary enforcement
tool; approximately 12,000 migrants were enrolled in MPP but more than 50,000 were processed
under other Title 8 authorities.98 In addition, beginning in April 2019, Mexico surged its own
enforcement, thus increasing their level of apprehensions and returns. This, coupled with a range
of other push and pull factors, both known and unknown, likely contributed to the decline in
encounters.99 The relevant data is simply insufficiently precise to make an exact estimate of the
extent to which MPP may have contributed to decreased flows at the southwest border.

95
   See supra note 66.
96
   U.S. Customs and Border Protection, “Southwest Land Border Encounters,”
https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters.
97
   Id.
98
   DHS OIS analysis of U.S. CBP administrative records.
99
   See Congressional Research Service, Mexico’s Immigration Control Efforts (May 28, 2021).

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        That said, the Secretary has, nonetheless, evaluated MPP on the premise that it
contributed to decreased flows.100 Even so, the Secretary has concluded that this benefit cannot
be justified, particularly given the substantial and unjustifiable human costs on the migrants who
were exposed to harm while in Mexico, and the way in which MPP detracts from other regional
and domestic goals and policy initiatives that better align with this Administration’s values while
also serving to manage migratory flows, as described in Section IV.

         H. Addressing the Concerns of States and Border Communities

        In the course of litigation, plaintiffs have alleged that the Secretary’s June 1
Memorandum failed to consider the additional costs that States would allegedly incur as a result
of the decision to terminate MPP. Texas and Missouri, for example, argued—and the district
court found—that the termination of MPP could lead to an increased number of noncitizens
without proper documentation in their States, which might cause the States to incur additional
costs related to the costs of driver’s licenses, public education, state-funded healthcare, and law
enforcement and correctional costs.101 State-plaintiffs also alleged that terminating MPP led to
an increase in organized crime, human trafficking, and drug cartel activity, specifically with
respect to the illegal trafficking of fentanyl.102 And State-plaintiffs further claimed that they had
developed “reliance interests” dependent on the continued operation of MPP.

         The Secretary takes these concerns seriously. He has sought to understand and address
the impacts that Departmental policies and practices may have on communities and has
consulted with numerous state and local officials from across the SWB about the Department’s
border management strategy, including the decision to terminate MPP. The Secretary has, as a
result taken and will continue to take, steps designed to minimize adverse consequences of any
policy shifts on border states.

        Prior to the district court’s injunction, for example, the Department facilitated the safe
and orderly entry into the United States of about 13,000 individuals previously enrolled in MPP
for purposes of participating in their removal proceedings. Prior to doing so, however, the
Department ensured that these individuals received COVID-19 tests before crossing the border
and entering the United States. The Department also worked in close partnership with
nongovernmental organizations and local officials in border communities to connect migrants
with short-term supports that facilitated their onward movement to final destinations away from
the border.



100
    The district court faulted the Secretary for not taking into account alleged warnings to members of the Biden-
Harris transition team by career DHS officials that terminating MPP would cause a spike in border encounters.
Texas, 2021 WL 3603341, at *7. The Department is unaware of any such specific conversations, yet is aware of, and
has taken into account, similar concerns raised by others.
101
    See Texas, 2021 WL 3603341, at *9-10.
102
    First Amended Complaint at 2, 38-39, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. filed June 3, 2021); see also
Complaint, West Virginia v. Biden, No. 2:21-cv-22 (N.D. W.Va. filed Aug. 19, 2021); First Amended Complaint,
Arizona v. Mayorkas, No. 2:21-cv-617 (D. Ariz. filed July 12, 2021).

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        In addition, the Secretary has devoted extensive resources on efforts designed to stop
trafficking networks and protect border states from risks associated with criminal activity.
Shortly after assuming office, the Secretary directed FEMA to increase funding for SWB law
enforcement through FEMA’s Operation Stonegarden, a $90 million grant that supports law
enforcement partners, with more than 80% of such funds being been directed to SWB areas.
Multiple and significant narcotics seizures have resulted from this initiative.103 The Secretary
also directed DHS to work with GOM partners on joint law enforcement operations designed to
attack the smuggling and trafficking organizations. Operation Sentinel, which was launched in
April, is a key example of these efforts—a multifaceted counter-network operation focused on
identifying and taking law enforcement actions against transnational criminal organizations
involved in the facilitation of mass migration to the SWB of the United States. Working with the
GOM, DHS law enforcement has identified over 2,200 targets associated with transnational
criminal organizations and revoked multiple visas and Trusted Traveler memberships, blocked
bank accounts, and blocked certain entities from conducting business with the U.S.
government.104

         These efforts build on the Department’s longstanding partnership with state, local,
territorial, and tribal (SLTT) governments and law enforcement agencies, including many on the
SWB, to address transnational crime, including human smuggling and trafficking. ICE’s
Homeland Security Investigations, for example, operates 79 Border Enforcement Security Task
Forces nationwide, staffed by more than 700 State and Local law enforcement officers, that work
cooperatively to combat emerging and existing transnational criminal organizations. Operational
successes resulted in the seizure of 2,503 weapons, 215,301 pounds of narcotics, and
$104,742,957 in FY20.105 The ICE Criminal Apprehension Program also helps SLTT law
enforcement partners better identify, arrest, and remove priority noncitizens who have been
convicted of crimes in the United States and are incarcerated within federal, state, and local
prisons and jails. In FY21, ICE issued 65,940 immigration detainers to noncitizens booked in
jails or prisons.106 All such activities are ongoing.

        The Department also has carefully reviewed the available information and has not seen
any evidence that MPP had any effect on human trafficking and crime, including drug
trafficking. Seizures of narcotics, while not necessarily indicative of trafficking activity, are
nonetheless the best available data, and do not show any impact related to MPP’s
implementation. Seizure of narcotics between ports of entry have declined steadily from FY18
to FY21, including a decline of almost 40 percent since the point in time when MPP was fully
implemented, through FY21, a time MPP was largely not being implemented.107 These declines
have been driven by a substantial decrease in marijuana smuggling. Meanwhile, hard narcotics,
including cocaine, methamphetamine, heroin, and fentanyl, are historically smuggled through
ports of entry and thus have very little connection to MPP’s implementation. Seizure trends for

103
    FEMA data on Operation Stonegarden provided on Oct. 28, 2021.
104
    CBP data on Operational Sentinel, provided on Oct. 28, 2021.
105
    ICE data on Border Enforcement Security Task Forces, provided on Oct. 28, 2021.
106
    ICE data on the Criminal Apprehension Program, provided on Oct. 28, 2021.
107
    Analysis of CBP data on drug seizures by U.S. Border Patrol agents, https://www.cbp.gov/newsroom/stats/drug-
seizure-statistics.

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hard drugs at ports of entry have been mixed, with fentanyl and methamphetamine seizures
increasing substantially year on year since FY18, cocaine seizures remaining largely flat, and
heroin seizures substantially higher in FY19 and FY21 than in FY18 and FY20.108

         Meanwhile, the fact that some noncitizens might reside in the United States rather than
being returned to Mexico and thus access certain services or impose law enforcement costs is
not, in the Secretary’s view, a sufficiently sound reason to continue MPP. Federal immigration
policy virtually always affects the number of people living within the States. Notably, not all of
those burdens are borne by border States—many noncitizens proceed to interior States; others
are detained by the federal government. In this case, the Secretary has made the judgment that
any marginal costs that might have been inflicted on the States as a result of the termination of
MPP are outweighed by the other considerations and policy concerns; it is also the Secretary’s
view that the other policies and initiatives being pursued by this Administration will ultimately
yield better outcomes than MPP.

         Moreover, even after his many consultations, the Secretary is unaware of any State that
has materially taken any action in reliance on the continued implementation (or in response to
the prior termination) of MPP. State-plaintiffs in the litigation also have not identified any
specific actions they took in reliance on MPP.109 Moreover, any claimed reliance interest is
undermined by the fact that the program itself is discretionary, as are decisions to detain or
parole individuals into the country. No administration has ever done what State-plaintiffs in the
litigation argue is required here—detain or return to Mexico everyone that the Department
encounters along the border. States cannot have a reliance interest based on something that has
never previously been implemented. Notably, only 6.5 percent of noncitizens encountered along
the SWB and processed through Title 8 were enrolled in MPP during the period it was in place.
In no month when MPP was operating—including in August 2019, the month with the highest
number of MPP enrollments—were more than one-in-five noncitizens encountered at the SWB
and processed through Title 8 placed in MPP.110 The short time in which MPP was in place, as
well as the small percentage of noncitizens encountered along the SWB who were enrolled in
MPP while it was in operation, undercut any claimed reliance interest, as well as any claim
regarding significant burdens to the States.

          I. Relationship between Implementation of MPP and Statutory Mandates

        In enjoining the June 1 Memorandum, the district court faulted the Department for not
considering the impact terminating MPP would have on the Department’s ability to comply with
the detention requirements in 8 U.S.C. § 1225.111 In so doing, the district court accepted
plaintiffs’ argument that, pursuant to 8 U.S.C. § 1225, DHS has two options with regard to

108
    Id.
109
    The district court in Texas also discussed a purported “agreement” that the Department entered into with the State
of Texas and several other states in early January 2021. Texas, 2021 WL 3603341, at *6-7. As the Department has
explained in litigation, those documents were void ab initio and unenforceable. Any reliance on those documents is
therefore unreasonable. To the extent those documents were ever valid, the Department has since terminated them
and, in any event, Texas conceded in litigation that the “agreement” was no longer binding as of August 1, 2021.
110
    DHS OIS analysis of CBP administrative records.
111
    Texas, 2021 WL 3603341, at *21-23.

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noncitizens seeking asylum at the border: (1) mandatory detention or (2) return to a contiguous
territory.112 This is a clear misreading of the statute for all of the reasons explained at length by
the U.S. Government in the litigation—including a misreading of Section 1225 to effectively
mandate detention of all those who are not subject to the contiguous-territory-return provision of
8 U.S.C. § 1225(b)(2)(C) if the agency lacks detention capacity to detain all noncitizens not
otherwise subject to contiguous territory return. It is also completely at odds with the history of
immigration detention in this country, and the agency’s consistent and longstanding
interpretation of its statutory authorities. Section 1225(b)(2)(C) is discretionary, and nothing in
section 1225’s text or history suggests any relationship between Congress’s grant of return
authority and section 1225’s detention provisions.

        Section 1225 does not impose a near-universal detention mandate for all inadmissible
applicants for admission either as a general matter or conditionally where noncitizens are not
returned to a contiguous territory. Section 1225 “does not mean” that every noncitizen “must be
detained from the moment of apprehension until the completion of removal proceedings.”113 The
INA provides DHS with latitude for processing noncitizens beyond returns or detention. DHS
“may ... in [its] discretion” release a noncitizen placed in Section 1229a proceedings through
“parole,” pursuant to 8 U.S.C. § 1182(d)(5) “for urgent humanitarian reasons or significant
public benefit.”114

         Pursuant to Section 1182(d)(5)’s parole authority, Congress has expressly granted DHS
the broad authority to release applicants for admission from detention as an exercise of the
Department’s parole power. That power has been exercised for as long as the federal
government has been regulating immigration.115 Indeed, Congress enacted 8 U.S.C. §
1182(d)(5) as a “codification of the [prior] administrative practice.”116 And in the decades since,
immigration agencies have continued to broadly exercise their parole power to release certain
noncitizens from detention. Notably, the statute does not set any limit on the number of
individuals DHS can decide to release on parole. Nor does it provide that the agency cannot rely
on its limited resources and detention capacity to release noncitizens otherwise subject to
detention under section 1225. Rather, Congress simply required that parole decisions be made
on a case-by-case basis and that they be based on “urgent humanitarian reasons” or “significant
public benefit.”117 As the statute does not define those ambiguous terms, Congress left it to the

112
    Id. at *22.
113
    Matter of M-S-, 27 I&N Dec. 509, 516-517 (A.G. 2019); see Jennings v. Rodriguez, 138 S. Ct. 830, 837 (2018).
114
    8 U.S.C. § 1182(d)(5)(A); see 8 C.F.R. §§ 212.5(b), 235.3(c). Additionally, “pending a decision on whether the
alien is to be removed” and “[e]xcept as provided in [§ 1226(c)],” noncitizens present in the United States “may” be
released on “bond” or “conditional parole.” 8 U.S.C. § 1226(a)(2)(A)-(B).
115
    See, e.g., Nishimura Ekiu v. United States, 142 U.S. 651, 651, 661 (1892) (discussing release of noncitizen to
care of private organization); Kaplan v. Tod, 267 U.S. 228, 230 (1925) (same).
116
    Leng May Ma v. Barber, 357 U.S. 185, 188 (1958).
117
    In a section entitled “Limitation on the Use of Parole,” Congress amended the parole statute in 1996 to
recharacterize the permissible purposes of parole from “emergent reasons or for reasons deemed strictly in the
public interest” to “only on a case-by-case basis for urgent humanitarian reasons or significant public benefit.”
Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, Div. C, §§ 302, 602,
110 Stat 3009 (emphasis added). But it did not otherwise alter DHS’s parole authority and did not define these
manifestly ambiguous statutory terms. Accordingly, after the 1996 amendment to the parole statute, the agency


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agency to define them.118 In implementing section 1182(d)(5), the agency has long interpreted
the phrase “significant public benefit” to permit it to parole noncitizens “whose continued
detention is not in the public interest as determined by” specific agency officials.119 And in turn,
the agency has for decades viewed detention as not being in the “public interest” where, in light
of available detention resources, detention of a specific noncitizen would limit the agency’s
ability to detain another noncitizen whose release may pose a greater risk of flight or danger to
the community.120

         Moreover, no administration has ever interpreted or implemented 8 U.S.C § 1225, as the
district court in Texas has read it, to require the detention of virtually all inadmissible applicants
for admission, except for those returned to Mexico. The Department does not have—and has
never had under any prior administration—sufficient detention capacity to maintain in custody
every single person described in section 1225. In September 2021, for example, CBP
encountered approximately 192,000 individuals along the SWB.121 And as discussed above,
even in August 2019, when MPP enrollments were at their zenith, CBP encountered nearly
63,000 individuals along the SWB. Meanwhile, ICE Enforcement and Removal Operations
(ERO) is generally appropriated for approximately 34,000 detention beds nationwide with some
modest fluctuation from year to year.

        This variance between border crossings and detention capacity is not new and was in fact
the reality even when MPP was in place (see Appendix 1). From Fiscal Years 2013 to 2019,
nearly three-quarters of single adult and family unit members who were encountered at the SWB
were either never placed in or released from detention during the pendency of their
proceedings—more than 1.1 million (41 percent) were never booked into ICE detention and
nearly 900,000 (33 percent) were booked in for a period of time but released prior to the
conclusion of their removal proceedings.122 Even during the period that MPP was in effect from
late January 2019 to January 20, 2021, more than two-thirds of single adults and individuals in
family units encountered along the SWB and processed through non-MPP Title 8 authorities—
more than 650,000 individuals—were never detained or released from ICE custody during the



incorporated the new “case-by-case” requirement into its regulation, while also maintaining its longstanding
regulatory authority to release when “continued detention is not in the public interest,” 8 C.F.R. § 212.5(b)(5), which
remained consistent with the statute after the 1996 amendment. Inspection and Expedited Removal of Aliens;
Detention and Removal of Aliens; Conduct of Removal Proceedings; Asylum Procedures, 62 Fed. Reg. 10,312,
10,313 (Mar. 6, 1997).
118
    8 U.S.C § 1103(a)(1); Chevron U.S.A., Inc. v. NRDC, 467 U.S. 837 (1984); cf., e.g., Ibragimov v. Gonzales, 476
F.3d 125, 137 n.17 (2d Cir. 2007) (deferring to another aspect of same parole regulation).
119
    8 C.F.R. § 212.5(b)(5).
120
    See, e.g., Interim Guidance for Implementation of Matter of M-S, 27 I&N Dec. 509 (A.G. 2019): Parole of Aliens
Who Entered Without Inspection, Were Subject to Expedited Removal, and Were Found to Have a Credible Fear of
Persecution or Torture; ICE Policy No. 11002.1, Parole of Arriving Aliens Found to Have a Credible Fear of
Persecution or Torture (Dec. 8, 2009); see also Jeanty v. Bulger, 204 F. Supp. 2d 1366, 1377-78 (S.D. Fla. 2002)
(referring to INS detention use policies, including parole policies, based on having to establish “priorities for the use
of limited detention space”), aff’d, 321 F.3d 1336 (11th Cir. 2003).
121
    Southwest Land Border Encounters, supra note 95.
122
    FY 2020 Enforcement Lifecycle Report, supra, note 75.

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duration of their proceedings; a full 42 percent (more than 415,000 individuals) were never
booked into ICE detention at all.123

         By interpreting Section 1225 to mandate either detention or return to Mexico, the court
essentially concluded that every single administration since 1997 has repeatedly and consistently
violated Section 1225, by exercising the parole authority to release noncitizens detained under
that authority, on a case-by-case basis, where detention of a specific noncitizen would limit the
agency’s ability to detain another noncitizen who release may pose a greater risk of flight or
danger to the community. There is no indication that Congress, in enacting Section 1225,
intended to require the Secretary to use the explicitly discretionary return authority found at 8
U.S.C. § 1225(b)(2)(C) for virtually any noncitizen the Department fails to detain because of
resource limitations.124 Rather, the decision to use the authority found in 8 U.S.C. §
1225(b)(2)(C) is entrusted to the Secretary’s discretion and to his discretion alone. Given these
clear statutory authorities, and DHS’s longstanding interpretation of the ambiguous parole
statute, the Secretary’s decision to terminate MPP creates no conflict with the detention
authorities in Section 1225.

          J. Impact on U.S.-Mexico Relationship

        Mexico is a sovereign nation. This means that the U.S. Government cannot return
individuals to Mexico without an independent decision by the GOM to accept their entry. It was
for good reason that MPP was put into effect only after the U.S. government had conducted
diplomatic engagement with GOM and after the GOM announced its independent decision to
accept returnees. The initiation of MPP required substantial diplomatic engagement in 2019; it
does in 2021 as well.125

        In deciding to accept returns of non-Mexican nationals under MPP, the GOM agrees to
shoulder the burden of receiving these individuals, facilitating legal status and shelter, and
accounting for their safety and security. Not only does this place a great deal of strain on the
GOM’s ability to provide services for its own citizens and lawful residents, it diverts Mexican
law enforcement resources from other missions that are important to the United States—

123
    Id. Indeed, when the last Administration created MPP, it expressly excluded from its coverage as a matter of
discretion certain noncitizens, including citizens or nationals of Mexico, returning lawful permanent residents
seeking admission, noncitizens with known physical or mental health issues, and other noncitizens. DHS, “Migrant
Protection Protocols (Trump Administration Archive),” https://www.dhs.gov/archive/migrant-protection-protocols-
trump-administration.
124
    Congress is aware that it would need to appropriate substantial additional funds to detain everyone potentially
subject to detention under Section 1225; yet, it has never done so. See 8 U.S.C. § 1368(b) (providing for bi-annual
reports to Congress on detention space, including estimates on “the amount of detention space that will be required”
during “the succeeding fiscal year”). Although Congress has amended Section 1225 since 1996, see Pub. L. 110-
229, 122 Stat. 754, 867 (2008), it has never amended Section 1225 to mandate the use of return authority when the
agency lacks resources to detain all applicants for admission or to override the agency’s longstanding interpretation
permitting the use of parole to address capacity limitations as a significant public benefit. See Lorillard v. Pons, 434
U.S. 575, 580 (1978) (“Congress is presumed to be aware of an administrative … interpretation of a statute and to
adopt that interpretation when it re-enacts a statute without change.”).
125
    Position of Mexico on the Decision of the U.S. Government to Invoke Section 235(b)(2)(C) of its Immigration and
Nationality Act, supra note 13.

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including addressing transnational organized crime networks and root causes of migration. Over
the past nearly three years, MPP has played an outsized role in its policy and operational
engagement with GOM, thus distracting from other diplomatic initiatives and programs
concerning migration flows. These engagements, which have increased substantially in tempo
and intensity since the court’s order, require enormous amounts of time to prepare for and
execute, and involve the same individuals at DHS and DOS who would otherwise be working on
advancing other key bilateral priorities.

         The Department is eager to expand the focus of the relationship with GOM to address
broader issues related to migration to and through Mexico. This includes implementing the
bilateral economic and security frameworks adopted in September and October 2021,
respectively;126 addressing the root causes of migration from Central America; improving
regional migration management; enhancing protection and asylum systems throughout North and
Central America; and expanding cooperative efforts to combat smuggling and trafficking
networks, and more. Terminating MPP will, over time, help to broaden the United States’
engagement with the GOM to address these critical efforts, which we expect will produce more
effective and sustainable results than what we achieved through MPP. It will also provide more
space and resources to address the many other bilateral issues that fall within DHS’s diverse
mission, such as countering transnational organized crime, cybersecurity, trade and travel
facilitation, cargo and port security, emergency management, biosurveillance, and much more.

      IV.   The Biden-Harris Administration’s Affirmative Efforts to Enhance Migration
            Management

        In December 2018, when DHS announced the start of MPP, the Department stated that
MPP was expected to provide numerous benefits for the immigration system, including reducing
false asylum claims, more quickly adjudicating meritorious asylum claims, clearing the backlog
of unadjudicated asylum applications, and, perhaps most importantly, stemming migration flows
across the SWB. All of these goals remain top priorities for the Department and Administration.
But the Secretary assesses that there are ways to advance these goals through means other than
MPP—through policies and practices that will more effectively and more humanely achieve the
stated goals than continuing to implement MPP as designed or in modified form.

        Not only has MPP failed to deliver many of its promised benefits, but the burden and
attention required to reimplement and maintain MPP will undermine the Department’s efforts to
address irregular migration and achieve lasting reform of the asylum system through other
means. As noted earlier, the Secretary is undertaking this review on the premise that MPP was
responsible for a share of the significant decrease in SWB encounters that occurred during many
months of MPP’s operations. However, MPP is not the only, and certainly not the preferred,
means of tackling irregular migration. To the contrary, the Department is currently pursuing a
range of other measures that it anticipates will disincentivize irregular migration in ways that are

126
   White House, “Joint Statement: U.S.-Mexico High-Level Security Dialogue,” Oct. 8, 2021,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/10/08/joint-statement-u-s-mexico-high-level-
security-dialogue/; White House, “Fact Sheet: U.S.-Mexico High-Level Economic Dialogue,” Sept. 9, 2021,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/09/09/fact-sheet-u-s-mexico-high-level-
economic-dialogue/.

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more consistent with this Administration’s values and enduring, including by addressing root
causes and building regional solutions. In addition, the Department is committed to channeling
migration through safe and orderly pathways and reforming our asylum adjudication system to
achieve more timely, fair, and efficient results,

        In July 2021, the Administration released a Blueprint describing its overarching
strategy—as well as the concrete steps that will be taken—to ensure a secure, humane, and well-
managed border, implement orderly and fair asylum processing, strengthen collaborative
migration management with regional partners, and invest in the root causes of migration in
Central America.127 The Administration, with DHS playing a critical role, has made significant
investments and taken substantial actions to move forward with its strategy.

          A. Managing Flows

       The current Administration is pursuing a comprehensive vision for managing migration
and facilitating safe, orderly, and legal pathways for individuals seeking protection or intending
to migrate.128 A key part of this vision involves disincentivizing unlawful entries by robustly
enforcing our laws at the land border while also ensuring the humane and lawful treatment of
those who do arrive in the United States. Doing so requires a concerted effort to address root
causes of migration, provide alternative protection solutions in the region, enhance lawful
pathways for migration to the United States, and streamline the fair adjudication of asylum
claims at the border—efforts that the Department has determined will be more effective at
reducing irregular migration than continuing to implement MPP.

        To disincentivize irregular migration, the Administration is pursuing a multi-pronged
approach. At our border, we are employing expedited removal to rapidly, but humanely, return
certain individuals and families that are encountered unlawfully crossing between POEs. Those
who do not express fear of persecution or torture, and who are nationals of countries that allow
electronic nationality verification (ENV), are returned to their countries within a few days of
being encountered. DHS is working closely with the Department of State to expand the use of
these ENV agreements throughout the hemisphere to more expeditiously facilitate removals of
individuals who do not claim a fear of persecution or torture. The Department additionally treats
any noncitizen who unlawfully entered the United States on or after November 1, 2020, as a
presumed border security enforcement and removal priority under current guidance,129 as well as
in guidance that will become effective on November 29, 2021.130


127
    White House, “Fact Sheet: The Biden Administration Blueprint for a Fair, Orderly and Humane Immigration
System,” July 27, 2021, https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-
biden-administration-blueprint-for-a-fair-orderly-and-humane-immigration-system/.
128
    EO 14010 directed the creation of a Root Causes Strategy and Collaborative Migration Management Strategy.
Published in July 2021, the strategies articulate a bold and comprehensive vision for managing migration throughout
the Western Hemisphere. Id.
129
    Memorandum from Tae D. Johnson, Acting Director, ICE, Interim Guidance: Civil Immigration Enforcement
and Removal Priorities (Feb. 18, 2021).
130
    Memorandum from Alejandro Mayorkas, Sec’y of Homeland Security, Guidelines for the Enforcement of Civil
Immigration Law (Sept. 30, 2021).

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        Recognizing that the management of migration is a shared responsibility among sending,
transiting, and receiving countries, the Administration is also working with our partner countries
across the region to manage migratory flows. As part of these efforts, the United States is
working bilaterally and multilaterally with countries across the Western Hemisphere, seeking to
encourage humane border enforcement and enhance legal pathways throughout the region. DHS
is also working closely with the Department of State to provide additional technical assistance,
mentoring, and resources to border and immigration authorities in the region, with the goal of
enhancing the capability and effectiveness of our partners’ efforts to identify and interdict
unlawful activity. As part of these efforts, the United States and Colombia co-hosted a regional
conference on migration in Colombia on October 20, 2021 that brought together foreign
ministries and immigration authorities from 17 partner nations across the hemisphere to directly
address recent trends in irregular migration in the region. During this conference, countries
committed to enhancing protection, combating human smuggling and trafficking, and expanding
humane enforcement efforts.

        The Department is also working bilaterally with countries across the region to build law
enforcement capacity, tackle transborder crime, and slow migratory flows. Beginning in April
2021, for example, DHS deployed dozens of CBP personnel to Guatemala to train and support
local law enforcement units and help enhance the security of Guatemalan border crossings,
checkpoints, and ports.131 And in October 2021, for example, the United States and Mexico
agreed on joint actions to prevent transborder crime, with a particular focus on reducing arms
trafficking, targeting illicit supply chains, and reducing human trafficking and smuggling.132
Such efforts build on the successes of Operation Sentinel, in which DHS is working with other
U.S. government agencies and the GOM to identify and impose meaningful sanctions on those
involved in human smuggling, including by freezing their assets, revoking their visas, and
curtailing their trade activities. DHS seeks to expand these efforts across the hemisphere, with
the GOM as a key partner. However, the senior U.S. and Mexican officials who would lead
these efforts are the same officials that have spent much of the past three months negotiating the
reimplementation of MPP—detracting from efforts to advance other key parts of the bilateral
relationship.

        The Administration is also expanding efforts to address root causes of migration and
enhance legal pathways for individuals who intend to migrate, as well as building and improving
asylum systems in other countries and scaling up protection efforts for at-risk groups. These
efforts reduce incentives to come to the United States to seek protection and, for those who still
choose to do so, reduce incentives to cross the border unlawfully. As part of these efforts, DHS
is working with Department of State to expand efforts to build and improve asylum systems in
other countries and scale up protection efforts for at-risk groups, thereby providing alternative
opportunities for individuals to seek protection without making the often-dangerous journey to
the SWB.

      The Department of State and DHS, for example, are working to stand up Migrant
Resource Centers (MRC) in key sending countries, including Guatemala, where individuals who

131
      CBP data on Guatemalan deployments provided on 10/29/2021.
132
      Joint Statement: U.S.-Mexico High-Level Security Dialogue, supra note 125.

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intend to migrate can apply for a visa or seek other available protection.133 The Department of
State established the first MRC in Guatemala this year, and is working with international
organizations to expand the MRCs to multiple locations and countries over the coming year. The
Administration is also working to continue to expand the legal pathways that are available for
individuals who apply at these facilities. We are also expanding refugee processing in Central
America—including through in-country processing in Northern Triangle countries—and are
helping international organizations and local non-governmental organizations identify and refer
individuals with urgent protection needs to the U.S. Refugee Admissions Program and
resettlement agencies in other countries.

         Additionally, on March 10, 2021, DHS, in close coordination with the Department of
State, restarted the Central American Minors (CAM) program to reunite eligible children from El
Salvador, Guatemala, and Honduras with parents who are lawfully present in the United States.
On June 15, 2021, the Departments expanded CAM eligibility to include certain U.S.-based
parents or legal guardians who have a pending asylum application or U visa petition filed before
May 15, 2021, thereby allowing them to file petitions on behalf of children who are nationals of
El Salvador, Guatemala, or Honduras for potential resettlement in the United States. This
important program provides an avenue for children to come to the United States that would not
otherwise be available, which in turn supports family unity and reduces the incentives for
unlawful entry. By restarting and expanding this safe, orderly, and lawful pathway through
which children may reunite with their parent or legal guardians in the United States, CAM
reduces the incentive for such vulnerable and often unaccompanied children to make the
dangerous journey to the United States border.134

        The Department also has expanded access to temporary work visas in the region, thereby
providing a lawful pathway to work temporarily in the United States for individuals who might
otherwise take the irregular and dangerous journey to the United States in search of economic
opportunities and cross the border unlawfully. To that end, on May 21, 2021, DHS published a
temporary final rule making available 6,000 H-2B supplemental visas for temporary non-
agricultural workers from Honduras, Guatemala, and El Salvador in FY21.135 The
Administration is also working to enhance access to H-2A visas for temporary agricultural
workers, for when there are insufficient qualified U.S. workers to fill these jobs. Departments
and agencies are engaged with the Northern Triangle governments, international organizations,
the private sector, civil society, labor unions, and worker rights organizations to promote this
program.


133
    Id.
134
    See “Joint Statement by the U.S. Department of Homeland Security and U.S. Department of State on the
Expansion of Access to the Central American Minors Program,” June 15, 2021,
https://www.dhs.gov/news/2021/06/15/joint-statement-us-department-homeland-security-and-us-department-state-
expansion. Under the expanded guidance, eligible minors may apply for refugee status if they are sponsored by a
parent or legal guardian in the United States who is in one of the categories: lawful permanent residence; temporary
protected status; parole; deferred action; deferred enforced departure; withholding of removal; or certain parents or
legal guardians who have a pending asylum application or a pending U visa petition filed before May 15, 2021.
135
    Exercise of Time-Limited Authority To Increase the Fiscal Year 2021 Numerical Limitation for the H–2B
Temporary Nonagricultural Worker Program and Portability Flexibility for H–2B Workers Seeking To Change
Employers, 86 Fed. Reg. 28,198 (May 25, 2021).

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         These efforts, all of which have only recently been initiated, require diplomatic
engagement and investment of resources. They will take some time to achieve substantial
results. Once fully operational, they will provide legal and regular pathways for individuals
seeking protection and opportunity to work in the United States, thus reducing the need for
unlawful crossings and reducing the appeal of exploitative smugglers. By incentivizing
migration through lawful channels, and disincentivizing the use of unlawful channels, these
initiatives achieve several key goals of MPP, but in a more humane way that matches the
Administration’s values.

         B. Managing Asylum Claims

        The Department also is taking a number of different steps to better manage asylum claims
that will allow the United States to more humanely, and fairly, achieve some of MPP’s stated
benefits: reducing false asylum claims, more quickly adjudicating meritorious asylum claims,
and clearing the backlog of unadjudicated asylum applications.

                1. Dedicated Docket

        In May 2021, DHS and DOJ jointly announced a new Dedicated Docket, designed to
expeditiously and fairly conduct removal proceedings for families who enter the United States
between ports of entry at the SWB.136 With a goal that immigration judges will generally
complete cases on the Dedicated Docket within 300 days, the process is intended to significantly
decrease the length of time for adjudication of such noncitizens’ cases, while also providing fair
hearings for families seeking asylum and other forms of relief or protection from removal.
Dedicated Dockets have been established in 11 cities (Boston, Denver, Detroit, El Paso, Los
Angeles, Miami, Newark, New York City, San Diego, San Francisco, and Seattle) chosen
because they are common destination cities for migrants and have robust communities of legal
service providers. Once fully up and running, it is expected to adjudicate approximately 80,000
cases each year.

        The Dedicated Docket serves multiple goals: It provides a mechanism for the more
efficient adjudication of claims. It ensures compliance with court proceedings through use of
case management services provided through ICE’s Alternatives to Detention (ATD) program.137
It promotes efficiency and fairness in those proceedings through robust access to legal
orientation for families on the docket (including group and individual legal orientations and
friend-of-the-court services for unrepresented individuals). And, as MPP was designed to do, it
discourages non-meritorious claims by dramatically reducing the amount of time that a
noncitizen may remain in the United States while his or her claims for relief or protection are
adjudicated.



136
    Press Release, DHS, “DHS and DOJ Announce Dedicated Docket Process for More Efficient Immigration
Hearings,” May 28, 2021, https://www.dhs.gov/news/2021/05/28/dhs-and-doj-announce-dedicated-docket-process-
more-efficient-immigration-hearings.
137
    ICE Enforcement and Removal Operations (ERO), “Alternatives to Detention Program,”
https://www.ice.gov/detain/detention-management.

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       Moreover, it is expected to achieve these goals in ways that avoid the pitfalls associated
with MPP. Unlike MPP, which was plagued with high in absentia rates, the Dedicated Docket is
designed, via the use of ATD and case management services, to ensure high appearance rates and
contribute to the proper functioning of our immigration system. As of October 25, 2021, EOIR
had conducted nearly 12,000 initial hearings for individuals in Dedicated Docket cases, just 4.5
percent of which had ended in issuance of an in absentia order of removal.138 ICE data reflect a
98.9% attendance rate at all hearings for individuals enrolled into ATD from the SWB from
FY14 to FY21.139

        Two immigration court locations currently hearing Dedicated Docket cases—El Paso and
San Diego—are slated for use as part of the court-ordered reimplementation of MPP because of
their proximity to ports of entry along the border. To staff MPP cases, EOIR will have to either
divert judges from existing initiatives such as the Dedicated Docket—which will prolong those
cases and undermine the effort—or reassign other immigration judges handling other non-
detained cases, which will exacerbate the 1.4 million case backlog that already exists. It is the
Department’s reasoned decision—working in close partnership with EOIR—that the limited pool
of asylum officers and immigration judges are best spent supporting the Dedicated Docket and
other initiatives that achieve the goals of timely and fair adjudications.

                 2. Asylum Officer Rule

       On August 20, 2021, DHS and DOJ promulgated a Notice of Proposed Rulemaking
(NPRM) for the so-called “Asylum Officer Rule,” which seeks to address systemic problems
with the asylum system in an enduring way consistent with the Administration’s values.
Specifically, it amends the procedures for credible fear screenings and consideration of asylum,
withholding of removal, and CAT, so as to streamline the asylum process and address the current
backlogs in the system.140 The comment period of this NPRM recently closed, and DHS and
DOJ are currently reviewing the comments received and working on a final rule.

         The proposed rule addresses the fact that the number of asylum and related protection
claims at the SWB has increased dramatically over the years, that the system has not been able to
keep pace, and that large immigration court backlogs and lengthy adjudicated delays are the
result.141 As stated in the NPRM, the proposed rule also evidences this Administration’s
recognition that “[a] system that takes years to reach a result is simply not a functional one. It
delays justice and certainty for those who need protection, and it encourages abuse by those who
will not qualify for protection and smugglers who exploit the delay for profit.”142 The Asylum
Officer Rule thus responds to the very same concerns identified by the last Administration when


138
    Data on the number of initial hearings for individuals on Dedicate Docket, provided by EOIR on Oct. 25, 2021.
139
    Data from ICE ERO Custody Management Division FY14, 15, 16, 17, 18, 19, 20, and 21 through Aug. 31, 2021
FAMU BP Apprehensions-Subsequently Enrolled into ATD, ISAP IV EOIR Court Appearance Rates FY14 &
FY15 & FY16 & FY17 & FY18 & FY19 & FY20 & FY21 through Aug. 31, 2021.
140
    Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal, and CAT
Protection Claims by Asylum Officers, 86 Fed. Reg. 46,906 (Aug. 20, 2021).
141
    Id. at 46,907.
142
    Id.

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it adopted MPP—and to a number of the concerns relied upon by the Texas court—but tackles
them in a transformative and systemic way, while holding true to our laws and values.

        To support the more expeditious and fair adjudication of claims, the proposed rule would
transfer from immigration judges to USCIS asylum officers the initial responsibility for
adjudicating asylum and related protection claims made by noncitizens who are encountered at
or near the border and who are placed into expedited removal proceedings. Individuals who
establish a credible fear of persecution or torture following an initial screening interview would
have their applications referred to USCIS, rather than the immigration court, for further
consideration of their claim. The initial credible fear interview would serve as the basis for the
individual’s asylum application, thereby introducing a key efficiency into the process.

        Allowing cases with positive credible-fear findings to remain within USCIS for the full
asylum merits adjudication, rather than being shifted to immigration judge-review, will capitalize
on the investment of time and expertise developed during the screening interview and allow
cases to be resolved more quickly. This will, in turn, employ limited asylum officer and
immigration court resources more efficiently, reduce asylum backlogs, and protect against
further expansions of the already large immigration court backlog. As currently drafted, the
NPRM is also designed to include key procedural safeguards—including the ability to appeal, be
represented by counsel, and present additional evidence as necessary to ensure due process,
respect for human dignity, and equity. Once implemented, the Asylum Officer Rule is expected
to represent a transformative and lasting shift in asylum claim processing that will ensure rapid
and fair processing in a way that delivers appropriate outcomes and realistically keeps pace with
the workflow.

        Achieving the rule’s objectives will require substantial investment in resources, training,
and personnel; to fully implement this new process, USCIS will need to quadruple the current
asylum officer corps.143 Importantly, these are the same asylum officers needed to conduct non-
refoulement interviews for MPP. Restarting MPP will likely undercut the ability to implement
this new rule as designed.

       It is the Department’s reasoned view that these limited resources are better expended on
implementing both the Dedicated Docket and the Asylum Officer Rule. Like MPP, both the
Dedicated Docket and the Asylum Officer Rule are designed to render timely decisions and
discourage non-meritorious claims. Unlike MPP, however, they do so without subjecting
vulnerable individuals to increased risk in Mexico and without creating the inevitable barriers to
accessing counsel that exist for those returned to Mexico.

       V.        Consideration of Alternatives to Terminating MPP

       The Department has considered the following as alternatives to terminating MPP: First,
implementing MPP in the same manner as the prior Administration. Second, implementing with
modifications designed to address some of the access-to-counsel, safety, and other humanitarian
considerations, consistent with demands from the GOM. (These modifications are currently

143
      Id. at 46,933.

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being planned pursuant to the court’s order to implement MPP in good faith.) Third,
implementing a significantly modified programmatic use of the Section 235(b)(2)(C) authority,
as described below.

         Reimplementation of MPP in the same manner as the prior Administration is not
currently an available option. As has been described in court filings, the United States cannot
unilaterally implement MPP without the independent agreement of the GOM to accept those who
the United States seeks to return. In ongoing discussions with the GOM, the GOM has made
clear it would agree to accept such returns only if certain changes were implemented, including
(i) measures to ensure that cases are generally adjudicated within six months, thus limiting the
amount of time individuals are waiting in Mexico; (ii) clear means of communicating to MPP
enrollees accurate information about the time and date of their hearings; (iii) improved access to
counsel; and (iv) better screenings to protect particularly vulnerable individuals from being
returned to Mexico. Each of these changes would, as a result, need to be made in any
reimplementation. Unless the GOM significantly changes its position, resuming the program as
it existed previously is simply not possible in the foreseeable future as a matter of international
diplomacy.

         Moreover, the Secretary has his own independent and significant concerns about the prior
implementation of MPP, including concerns about the safety and security of those returned to
Mexico, deficiencies in the non-refoulement interview process, barriers to access to counsel, and
the ways in which reimplementation of MPP would divert from other Administration goals and
result in significant burdens for the Department that would limit DHS’s opportunities to make
other needed reforms consistent with this Administration’s policy priorities. In light of these
concerns, the Secretary has decided not to resume MPP in precisely the same form as it
previously existed, even if were a viable option.

         As an alternative, the Secretary considered a modified implementation and enforcement
plan, in the manner that the Administration is planning to start doing in the coming weeks—
pending an independent decision by the GOM to facilitate returns—in order to comply with the
district court’s order. As the Department moves to reimplement, it is making changes to account
for GOM’s concerns—changes which are designed to better protect individuals returned to
Mexico and ensure, among other things, timely and accurate notice about court hearings. In
addition, the Department is evaluating what changes could be made to address the issues raised
in the Red Team Report, to include changes announced by the December 2020 supplementary
guidance to better ensure family unity, access to counsel during non-refoulement interviews, and
assessment of vulnerability. In addition, in the near term, the Department will need to put in
place robust COVID-19 mitigation measures to safeguard DHS personnel, the public, and the
migrants themselves from the spread of the pandemic.

         The Secretary has carefully considered whether these changes would sufficiently address
his concerns regarding MPP to such an extent that he would support reimplementation of a
modified MPP in lieu of termination. But ultimately he has concluded that, while helpful, they
fail to address the fundamental problems with MPP—which is that it puts an international barrier
between migrants and their counsel and relevant immigration court where their proceedings are
pending and it places their security and safety in the hands of a sovereign nation, over which the

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United States does not exercise control. Further, the reimplementation of MPP diverts resources
from key priorities that designed to address the same policy goals more effectively and in a more
humane way, including this Administration’s landmark efforts to transform our asylum system
and address the root causes of migration.

        A third alternative still would be to attempt to do even more to address the humanitarian
and other concerns associated with MPP, thus designing a programmatic use of the Section
235(b)(2)(C) authority that aggressively tackles the humanitarian concern and is more fully
aligned with the Administration’s broader vision for migration management. It is doubtful that
DHS could adequately address these problems, given Mexican territorial sovereignty. At best,
any such effort would require the provision of significant U.S. foreign assistance to counterparts
operating in Mexico to assist with housing, transportation to and from court hearings, and other
protections to address safety and security concerns. Attempting to do so would divert enormous
Department of State resources away from the Administration’s signature policy goals—to
address the root causes and develop regional solutions for enforcing against irregular migration
while providing regional approaches to lawful pathways. Meanwhile, the fundamental flaws
with MPP remain.

        After careful consideration, and for all the reasons laid out in his termination memo and
this explanatory document, the Secretary has concluded that there are inherent problems with the
program that no amount of resources can sufficiently fix, and others that cannot be sufficiently
addressed without detracting from key Administration priorities and more enduring solutions.

   VI.     Conclusion

        In sum, continuation of MPP—even in a significantly modified format—is inconsistent
with the current policy approach of this Administration. Rather than forcing individuals to return
to Mexico to await court hearings, this Administration is pursuing a range of other policies and
rulemaking efforts—including regional approaches to addressing the root causes of migration
and a reform of the asylum system—to better achieve the key goals of securing the border,
reducing migratory flows, timely and fairly adjudicating asylum claims, and reducing the asylum
backlog. Many of these efforts are currently underway and will bear fruit over time; the
resources needed to implement MPP will detract from these efforts.

        It is squarely within the authority of the Secretary of Homeland Security to decide to
pursue the immigration policies and practices that he believes are most effective, and to decide
not to exercise the discretion granted him by Congress in Section 235(b)(2)(C) of the INA to
continue MPP. The Secretary reserves the prerogative to exercise this discretionary authority if
circumstances—and the factors that led to this conclusion—change. Until such time, the
Secretary has determined that MPP is incompatible with his goals for managing migratory flows
at the border, and doing so in a humane way, consistent with the Administration’s values.




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Appendix 1: Encounters by Detention, Fiscal Years 2013-2021

                      Total           Continuous         Booked out prior to
   Fiscal Year      Encounters         detention           final outcome          Never detained
            2013       287,535        114,673    40%          76,776    27%          96,086 33%
            2014       338,650        113,005    33%        102,371     30%         123,274 36%
            2015       296,856        105,425    36%          82,221    28%         109,210 37%
            2016       373,506        105,295    28%        131,147     35%         137,064 37%

            2017        292,102        73,809     25%        106,405      36%        111,888 38%

            2018        360,574        93,449     26%        149,183      41%        117,942 33%
            2019        762,912       100,700     13%        246,099      32%        416,113 55%

            2020        312,794        61,751     20%          37,981     12%        213,062 68%

          2021          665,158        27,402      4%          62,744      9%        575,012      86%
     2013-2019        2,712,135       706,356     26%        894,202      33%      1,111,577      41%
     2013-2021        3,690,087       795,509     22%        994,927      27%      1,899,651      51%
 Non-MPP Cases          991,012       323,425     33%         251023      25%        416,564      42%
 Note: Non-MPP cases are defined as single adults and family units encountered between Jan. 25,
 2019, and Jan. 20, 2021, and not enrolled in MPP and not expelled under Title 42.

 Source: Data derived from DHS Office of Immigration Statistics Enforcement Lifecycle, which is
 based on a comprehensive person-level analysis of DHS and EOIR enforcement and adjudication
 records. See Marc Rosenblum and Hongwei Zhang, Fiscal Year 2020 Enforcement Lifecycle Report
 (Dec. 2020).




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                      kQLPPÿopYSLQP
                      kbeUYSTdYJcP
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                   C7=7.27ÿD.37EÿGHIJÿKLMNOMNKNNÿPÿQNRKK
                   S4TSDBUUSVÿ,57631ÿC:W1ÿXÿYZ[Zÿ\]^_`a^ÿbcdÿe`HdfHÿgH`_fh_ÌcJÿ\`b^_ÿi]bHdÿbcd
                   `_jfHÿkblÿfcm̀Hhfafc_ÿnbH_cfH^ÿHf^h]fdÿopÿqbI_IbcÿaIrHbc_^ÿsj]H^dbtÿbufH
                   ^a]rrkfH^ÿdH`nnfdÿ_jfaÿ̀vÿcfbHÿ_jfÿ^j`Hf^ÿ̀mÿw`cbÿx^kbcdJÿgyZÿGIzfÿ̀_jfHÿqbI_Ibc
                   aIrHbc_^ÿnfHI^jfdÿd]HIcrÿ_jfÿ^a]rrkIcrÿfzfc_Z
                   {sHbc^cb_ÌcbkÿhHIaIcbkÿ̀HrbcI|b_Ìc^ÿh`c_Ic]fÿ_`ÿHfh}kf^^ktÿfcdbcrfHÿ_jfÿkIzf^ÿ̀m
                   IcdIzId]bk^ÿ_jftÿ^a]rrkfÿm̀Hÿ_jfIHÿ̀lcÿmIcbchIbkÿrbIcÿlI_jÿc`ÿHfrbHdÿm̀Hÿj]abc
                   kImfJ~ÿIcdIhb_fdÿ[h`__ÿibHHf__Jÿh_Icrÿ\jIfmÿgb_H`kÿrfc_ÿm̀Hÿ_jfÿybaftÿ[fh_`Hÿ̀mÿ_jf
                   Y[ÿe`HdfHÿgb_H`kZÿÿ{[a]rrkIcrÿ̀HrbcI|b_Ìc^ÿbHfÿbbcd`cIcrÿaIrHbc_^ÿIcÿHfa`_f
                   bcdÿdbcrfH`]^ÿbHfb^JÿkfbdIcrÿ_`ÿbÿHI^fÿIcÿ_jfÿc]afHÿ̀mÿHf^h]f^ÿ]_ÿbk^`ÿ_HbrIhbkkt
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                   wbHIcfÿnfHb_Ìc^JÿvIhfÿ̀m
                   GIfkdÿnfHb_Ìc^JÿYZ[Zÿ\`b^_
                   i]bHdJÿxaaIrHb_Ìcÿbcdÿ\]^_`a^ÿcm̀Hhfafc_Jÿq`afkbcdÿ[fh]HI_tÿxczf^_Irb_Ìc^J
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                   _Hbc^n`H_fdÿ_jfÿrH`]nÿ_`ÿybaftÿ[fh_`HÿIcÿr]bdIkkbZ
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                   C50ÿ8+,ÿP1B801:8ÿ5CÿJ=,085ÿQ1:5Kÿ/36ÿJ=,085ÿQ1:5ÿJ5E1:,ÿR5138ÿS50:,Bÿ5CÿQ/>16ÿM:8153
                   ?SGQM@ÿ13ÿ8+,10ÿ:5DD53ÿ95/Eÿ5CÿB,:=0139ÿ8+,ÿ2506,0Bÿ5CÿJ=,085ÿQ1:5ÿ/36ÿ8+,ÿGHIH
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                                                               Haiti AR_000305
Total daily SWB encounters                               Total Monthly SWB Encounters

               Mexico    NCA       Other     Total                    Mexico   NCA      Other   Total      Average in 30 days ending 12/13/22    8,281
    1/1/2022         724       405     1,625     2,754     Oct-21       66,049   51,036   47,752 164,837     Average in 30 days ending 4/1/22   7,227
    1/2/2022         766       569     1,832     3,167     Nov-21       63,846   50,238   60,761 174,845           Average in November 2021     5,828
    1/3/2022       1,214       775     1,470     3,459     Dec-21       51,475   48,024   79,754 179,253
    1/4/2022       1,371       927     1,211     3,509      Jan-22      60,341   31,677   62,856 154,874
    1/5/2022       1,513       872     1,467     3,852     Feb-22       71,850   39,436   54,724 166,010
    1/6/2022       1,573       949     1,712     4,234     Mar-22       88,132   46,008   88,434 222,574
    1/7/2022       1,658       770     1,604     4,032     Apr-22       82,568   43,999 109,218 235,785
    1/8/2022       1,528       697     1,561     3,786     May-22       77,454   50,178 113,505 241,137
    1/9/2022       1,534       601     1,381     3,516      Jun-22      66,730   57,948   83,156 207,834
   1/10/2022       1,833       697     1,465     3,995       Jul-22     55,692   48,504   95,966 200,162
   1/11/2022       2,164       856     1,247     4,267     Aug-22       60,772   38,575 104,740 204,087
   1/12/2022       2,063       923     1,646     4,632     Sep-22       63,431   35,995 128,121 227,547
   1/13/2022       2,031     1,129     1,945     5,105     Oct-22       65,788   34,851 130,039 230,678
   1/14/2022       2,015       931     1,741     4,687
   1/15/2022       2,083     1,010     2,027     5,120
   1/16/2022       1,889       791     2,668     5,348
   1/17/2022       2,264     1,046     2,567     5,877
   1/18/2022       2,495     1,613     2,970     7,078
   1/19/2022       2,372     1,483     2,555     6,410
   1/20/2022       2,251     1,199     2,826     6,276
   1/21/2022       2,166     1,187     2,577     5,930
   1/22/2022       2,062     1,136     2,867     6,065
   1/23/2022       1,742     1,016     2,553     5,311
   1/24/2022       2,255     1,249     2,628     6,132
   1/25/2022       2,473     1,360     2,203     6,036
   1/26/2022       2,395     1,294     1,994     5,683
   1/27/2022       2,588     1,557     2,304     6,449
   1/28/2022       2,547     1,173     2,274     5,994
   1/29/2022       2,299     1,307     2,222     5,828
   1/30/2022       2,087       918     1,952     4,957
   1/31/2022       2,386     1,237     1,762     5,385
    2/1/2022       2,475     1,391     2,024     5,890
    2/2/2022       2,836     1,651     2,039     6,526
    2/3/2022       2,506     1,436     1,823     5,765
    2/4/2022       2,079     1,156     1,642     4,877
    2/5/2022       1,945     1,429     1,760     5,134
    2/6/2022       2,009     1,115     2,023     5,147
    2/7/2022       2,314     1,231     1,672     5,217
    2/8/2022       2,650     1,707     1,767     6,124
    2/9/2022       2,576     1,675     1,710     5,961
   2/10/2022       2,782     1,469     1,579     5,830
   2/11/2022       2,573     1,661     2,280     6,514
   2/12/2022       2,400     1,684     1,973     6,057
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2/13/2022   2,167   1,134   1,934   5,235
2/14/2022   2,390   1,184   2,346   5,920
2/15/2022   2,893   1,526   1,638   6,057
2/16/2022   2,961   1,713   1,830   6,504
2/17/2022   2,925   1,484   1,993   6,402
2/18/2022   2,958   1,339   2,257   6,554
2/19/2022   2,261   1,243   2,065   5,569
2/20/2022   2,347   1,144   2,078   5,569
2/21/2022   2,702   1,219   1,673   5,594
2/22/2022   3,064   1,619   2,015   6,698
2/23/2022   2,895   1,556   1,610   6,061
2/24/2022   2,840   1,531   2,460   6,831
2/25/2022   2,795   1,365   2,087   6,247
2/26/2022   2,480   1,364   2,210   6,054
2/27/2022   2,398   1,097   2,044   5,539
2/28/2022   2,629   1,313   2,192   6,134
 3/1/2022   3,057   1,805   2,276   7,138
 3/2/2022   3,061   1,663   2,408   7,132
 3/3/2022   2,957   1,482   2,417   6,856
 3/4/2022   2,961   1,384   2,711   7,056
 3/5/2022   2,675   1,352   2,968   6,995
 3/6/2022   2,155   1,107   2,593   5,855
 3/7/2022   2,527   1,347   2,544   6,418
 3/8/2022   3,431   1,725   2,782   7,938
 3/9/2022   3,227   1,697   2,413   7,337
3/10/2022   3,209   1,445   1,991   6,645
3/11/2022   3,275   1,665   2,768   7,708
3/12/2022   2,534   1,415   2,727   6,676
3/13/2022   2,150   1,091   3,193   6,434
3/14/2022   2,850   1,343   2,599   6,792
3/15/2022   2,759   1,516   2,858   7,133
3/16/2022   2,803   1,444   3,016   7,263
3/17/2022   3,020   1,497   2,897   7,414
3/18/2022   2,754   1,450   3,098   7,302
3/19/2022   2,619   1,135   2,986   6,740
3/20/2022   2,202     954   3,529   6,685
3/21/2022   2,444   1,386   3,466   7,296
3/22/2022   3,125   1,728   3,156   8,009
3/23/2022   2,887   1,546   2,805   7,238
3/24/2022   2,924   1,755   2,948   7,627
3/25/2022   2,975   1,510   2,760   7,245
3/26/2022   2,579   1,519   2,810   6,908
3/27/2022   2,399   1,190   3,320   6,909
3/28/2022   2,880   1,491   2,634   7,005
3/29/2022   3,010   1,669   2,928   7,607
3/30/2022   3,216   1,893   3,682   8,791
3/31/2022   3,467   1,804   3,151   8,422
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                                            Haiti AR_000307
 4/1/2022   3,218   1,694   3,584   8,496
 4/2/2022   2,783   1,640   3,668   8,091
 4/3/2022   2,509   1,388   3,633   7,530
 4/4/2022   2,769   1,548   3,501   7,818
 4/5/2022   3,416   1,898   3,651   8,965
 4/6/2022   3,057   1,599   3,905   8,561
 4/7/2022   3,195   1,462   3,671   8,328
 4/8/2022   3,090   1,581   4,491   9,162
 4/9/2022   2,834   1,469   3,943   8,246
4/10/2022   2,422   1,300   4,150   7,872
4/11/2022   2,816   1,590   4,529   8,935
4/12/2022   3,077   1,659   4,192   8,928
4/13/2022   3,098   1,871   4,298   9,267
4/14/2022   3,054   1,753   4,132   8,939
4/15/2022   2,761   1,774   4,368   8,903
4/16/2022   2,006   1,286   3,453   6,745
4/17/2022   1,638     851   3,249   5,738
4/18/2022   1,869   1,151   3,027   6,047
4/19/2022   2,641   1,671   3,532   7,844
4/20/2022   3,153   1,451   3,052   7,656
4/21/2022   2,947   1,556   3,113   7,616
4/22/2022   2,815   1,305   3,213   7,333
4/23/2022   2,467   1,191   3,249   6,907
4/24/2022   2,150   1,079   3,191   6,420
4/25/2022   2,411   1,099   3,734   7,244
4/26/2022   3,229   1,424   3,067   7,720
4/27/2022   2,691   1,376   3,193   7,260
4/28/2022   3,047   1,544   2,928   7,519
4/29/2022   2,914   1,403   3,915   8,232
4/30/2022   2,491   1,386   3,586   7,463
 5/1/2022   2,246     955   3,395   6,596
 5/2/2022   2,593   1,295   3,293   7,181
 5/3/2022   3,060   1,535   3,277   7,872
 5/4/2022   2,693   1,494   2,952   7,139
 5/5/2022   2,938   1,553   3,530   8,021
 5/6/2022   2,904   1,755   3,591   8,250
 5/7/2022   2,490   1,315   4,265   8,070
 5/8/2022   1,978   1,295   3,611   6,884
 5/9/2022   2,614   1,867   3,546   8,027
5/10/2022   2,552   1,449   2,856   6,857
5/11/2022   2,553   1,697   3,895   8,145
5/12/2022   2,702   1,815   4,267   8,784
5/13/2022   2,880   1,487   4,180   8,547
5/14/2022   2,273   1,547   4,364   8,184
5/15/2022   2,073   1,091   4,171   7,335
5/16/2022   2,402   1,470   3,625   7,497
5/17/2022   3,016   1,981   4,016   9,013
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                                            Haiti AR_000308
5/18/2022   2,809   1,649   3,912   8,370
5/19/2022   2,921   1,922   4,043   8,886
5/20/2022   2,796   1,380   4,682   8,858
5/21/2022   2,337   1,731   4,595   8,663
5/22/2022   2,043   1,262   4,101   7,406
5/23/2022   2,234   1,759   3,111   7,104
5/24/2022   2,574   2,177   3,807   8,558
5/25/2022   2,333   1,863   3,738   7,934
5/26/2022   2,574   1,926   3,241   7,741
5/27/2022   2,309   1,671   3,603   7,583
5/28/2022   2,131   1,744   3,427   7,302
5/29/2022   1,920   1,316   3,198   6,434
5/30/2022   2,071   1,721   2,985   6,777
5/31/2022   2,435   2,456   2,228   7,119
 6/1/2022   2,571   1,900   2,615   7,086
 6/2/2022   2,364   1,911   2,417   6,692
 6/3/2022   2,622   1,769   2,676   7,067
 6/4/2022   1,863   1,671   2,821   6,355
 6/5/2022   1,656   1,657   2,565   5,878
 6/6/2022   2,422   2,074   2,380   6,876
 6/7/2022   2,553   2,028   2,707   7,288
 6/8/2022   2,634   2,258   2,088   6,980
 6/9/2022   2,551   2,173   2,493   7,217
6/10/2022   2,595   1,741   2,370   6,706
6/11/2022   1,995   1,586   2,874   6,455
6/12/2022   1,952   1,468   2,999   6,419
6/13/2022   1,892   1,876   2,115   5,883
6/14/2022   2,361   2,272   2,572   7,205
6/15/2022   2,451   2,274   3,299   8,024
6/16/2022   2,537   1,980   3,091   7,608
6/17/2022   2,319   2,006   2,723   7,048
6/18/2022   1,963   1,705   3,503   7,171
6/19/2022   1,654   1,594   3,436   6,684
6/20/2022   1,782   1,616   2,842   6,240
6/21/2022   2,558   2,104   3,380   8,042
6/22/2022   2,499   2,217   2,839   7,555
6/23/2022   2,129   2,089   2,908   7,126
6/24/2022   2,278   2,162   3,005   7,445
6/25/2022   1,961   1,646   2,753   6,360
6/26/2022   1,714   1,698   2,497   5,909
6/27/2022   2,064   2,025   2,719   6,808
6/28/2022   2,253   2,165   2,466   6,884
6/29/2022   2,377   2,204   2,696   7,277
6/30/2022   2,160   2,079   3,307   7,546
 7/1/2022   1,870   1,690   2,994   6,554
 7/2/2022   1,900   1,783   3,441   7,124
 7/3/2022   1,701   1,322   2,991   6,014
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                                            Haiti AR_000309
 7/4/2022   1,993    1,782    3,101    6,876
 7/5/2022   2,126    1,876    3,239    7,241
 7/6/2022   2,130    1,958    3,605    7,693
 7/7/2022   1,796    1,711    3,383    6,890
 7/8/2022   1,867    1,572    3,089    6,528
 7/9/2022   1,579    1,526    3,515    6,620
7/10/2022   1,488    1,469    3,381    6,338
7/11/2022   1,703    1,729    2,965    6,397
7/12/2022   2,052    1,837    3,923    7,812
7/13/2022   2,056    1,744    3,735    7,535
7/14/2022   1,930    1,849    3,173    6,952
7/15/2022   1,768    1,631    2,672    6,071
7/16/2022   1,609    1,557    3,678    6,844
7/17/2022   1,579    1,199    3,104    5,882
7/18/2022   1,475    1,566    2,950    5,991
7/19/2022   1,966    1,971    3,442    7,379
7/20/2022   1,941    1,516    2,908    6,365
7/21/2022   1,709    1,553    3,574    6,836
7/22/2022   1,933    1,400    3,033    6,366
7/23/2022   1,464    1,168    3,141    5,773
7/24/2022   1,539    1,235    2,762    5,536
7/25/2022   1,586    1,415    2,293    5,294
7/26/2022   2,031    1,602    2,855    6,488
7/27/2022   1,942    1,554    2,690    6,186
7/28/2022   1,867    1,528    2,676    6,071
7/29/2022   1,773    1,214    2,473    5,460
7/30/2022   1,798    1,250    2,589    5,637
7/31/2022   1,521    1,297    2,591    5,409
 8/1/2022    1,532    1,290    2,354    5,176
 8/2/2022    1,927    1,658    2,820    6,405
 8/3/2022    2,003    1,409    2,739    6,151
 8/4/2022    1,900    1,508    2,269    5,677
 8/5/2022    2,056    1,440    2,828    6,324
 8/6/2022    1,859    1,233    3,113    6,205
 8/7/2022    1,728      995    3,037    5,760
 8/8/2022    1,922    1,256    2,889    6,067
 8/9/2022    2,400    1,467    3,348    7,215
8/10/2022    2,192    1,235    3,759    7,186
8/11/2022    2,182    1,479    3,156    6,817
8/12/2022    1,731    1,129    3,596    6,456
8/13/2022    1,887    1,180    2,919    5,986
8/14/2022    1,667      945    3,443    6,055
8/15/2022    1,651    1,164    3,498    6,313
8/16/2022    1,900    1,363    3,129    6,392
8/17/2022    2,151    1,482    3,663    7,296
8/18/2022    2,096    1,232    3,449    6,777
8/19/2022    2,032    1,130    3,740    6,902
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                                                Haiti AR_000310
8/20/2022   1,811   1,137   4,020   6,968
8/21/2022   1,740     986   3,686   6,412
8/22/2022   1,806   1,040   4,061   6,907
8/23/2022   2,090   1,172   3,992   7,254
8/24/2022   2,200   1,451   3,608   7,259
8/25/2022   2,242   1,253   3,787   7,282
8/26/2022   2,079   1,228   3,355   6,662
8/27/2022   1,857   1,208   3,915   6,980
8/28/2022   1,662   1,010   4,288   6,960
8/29/2022   1,978   1,275   3,967   7,220
8/30/2022   2,361   1,234   3,196   6,791
8/31/2022   2,130     986   3,116   6,232
 9/1/2022   2,203   1,186   3,838   7,227
 9/2/2022   2,348   1,039   4,319   7,706
 9/3/2022   1,756     999   4,921   7,676
 9/4/2022   1,543     668   3,372   5,583
 9/5/2022   1,607     979   4,546   7,132
 9/6/2022   2,097   1,271   4,047   7,415
 9/7/2022   2,209   1,363   4,540   8,112
 9/8/2022   2,147   1,341   4,860   8,348
 9/9/2022   2,232   1,171   4,590   7,993
9/10/2022   1,912   1,061   4,356   7,329
9/11/2022   1,732   1,118   4,452   7,302
9/12/2022   1,843   1,060   4,621   7,524
9/13/2022   2,379   1,393   4,827   8,599
9/14/2022   2,263   1,231   4,795   8,289
9/15/2022   2,491   1,372   3,701   7,564
9/16/2022   1,851   1,127   4,405   7,383
9/17/2022   1,546   1,214   4,511   7,271
9/18/2022   1,641     968   4,134   6,743
9/19/2022   1,925   1,184   3,296   6,405
9/20/2022   2,432   1,420   4,014   7,866
9/21/2022   2,384   1,392   3,955   7,731
9/22/2022   2,272   1,245   4,082   7,599
9/23/2022   2,213   1,399   4,081   7,693
9/24/2022   1,910   1,017   4,436   7,363
9/25/2022   1,992   1,071   4,122   7,185
9/26/2022   2,427   1,197   4,086   7,710
9/27/2022   2,541   1,379   4,182   8,102
9/28/2022   2,435   1,408   4,139   7,982
9/29/2022   2,501   1,490   4,429   8,420
9/30/2022   2,599   1,232   4,464   8,295
10/1/2022   1,877   1,047   4,409   7,333
10/2/2022   1,815     885   4,988   7,688
10/3/2022   2,044   1,063   4,408   7,515
10/4/2022   2,574   1,319   4,607   8,500
10/5/2022   2,505   1,397   5,003   8,905
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                                            Haiti AR_000311
 10/6/2022   2,515   1,422   4,577   8,514
 10/7/2022   2,336   1,259   4,357   7,952
 10/8/2022   2,040   1,250   4,641   7,931
 10/9/2022   1,822   1,098   4,638   7,558
10/10/2022   1,903   1,078   4,328   7,309
10/11/2022   2,273   1,290   4,257   7,820
10/12/2022   2,285   1,080   3,922   7,287
10/13/2022   2,107   1,325   4,740   8,172
10/14/2022   1,929   1,100   4,437   7,466
10/15/2022   1,826   1,046   3,818   6,690
10/16/2022   1,816     748   3,592   6,156
10/17/2022   1,974   1,078   3,442   6,494
10/18/2022   2,513   1,405   2,930   6,848
10/19/2022   2,237   1,217   3,605   7,059
10/20/2022   2,435   1,270   3,667   7,372
10/21/2022   2,372   1,065   4,018   7,455
10/22/2022   2,079   1,079   3,760   6,918
10/23/2022   1,857     876   4,147   6,880
10/24/2022   2,084   1,054   3,575   6,713
10/25/2022   2,582   1,322   4,235   8,139
10/26/2022   2,438   1,179   4,002   7,619
10/27/2022   2,314   1,138   4,464   7,916
10/28/2022   2,231     972   4,529   7,732
10/29/2022   1,979   1,098   4,908   7,985
10/30/2022   1,491     906   4,093   6,490
10/31/2022   1,968     945   3,965   6,878
 11/1/2022   2,032   1,170   4,606   7,808
 11/2/2022   2,100   1,182   4,958   8,240
 11/3/2022   1,983   1,094   3,950   7,027
 11/4/2022   2,086   1,097   4,607   7,790
 11/5/2022   1,836   1,138   4,007   6,981
 11/6/2022   1,619     910   5,331   7,860
 11/7/2022   2,044   1,127   4,216   7,387
 11/8/2022   2,466   1,354   4,585   8,405
 11/9/2022   2,215   1,038   4,296   7,549
11/10/2022   2,162   1,226   4,695   8,083
11/11/2022   2,291   1,123   5,048   8,462
11/12/2022   1,930   1,109   4,441   7,480
11/13/2022   1,638     916   4,529   7,083
11/14/2022   2,088   1,066   4,732   7,886 Production
11/15/2022   2469    1142    4,525   8136 UIP
11/16/2022   2345    1213    4,635   8193
11/17/2022   2234    1268    6,063   9565
11/18/2022   2068    1126    4,696   7890
11/19/2022   1805    1004    5,082   7891
11/20/2022   1501      859   4,565   6925
11/21/2022   1775    1020    5,179   7974
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                                                        Haiti AR_000312
  11/22/2022         1958          1221   4,762   7941
  11/23/2022         1802          1077   4643    7522
  11/24/2022         1851          1257   4251    7359
  11/25/2022         1761           831   4566    7158
  11/26/2022         1632           925   5461    8018
  11/27/2022         1505           861   4746    7112
  11/28/2022         1796          1186   4747    7729
  11/29/2022         2092          1263   4322    7677
  11/30/2022         1931          1216   6068    9215
   12/1/2022         2218          1203   5092    8513
   12/2/2022         1901          1236   6500    9637
   12/3/2022         1492           951   5471    7914
   12/4/2022         1344           914   5700    7958
   12/5/2022         1888          1142   5280    8310
   12/6/2022         1887          1085   5411    8383
   12/7/2022         1971          1181   6170    9322
   12/8/2022         1914          1422   5949    9285
   12/9/2022         1875          1023   6505    9403
  12/10/2022         1487          1100   6571    9158
  12/11/2022         1381          1186   6260    8827
  12/12/2022         1501           934   6279    8714
  12/13/2022         1738          1234   5830    8802

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                                                         Haiti AR_000313
Table 21.
PERSONS NATURALIZED BY REGION AND COUNTRY OF BIRTH: FISCAL YEARS 2011 TO 2020

Region and country of birth      2011      2012      2013      2014      2015      2016      2017      2018      2019      2020
REGION
 Total                         694,193   757,434   779,929   653,416   730,259   753,060   707,265   761,901   843,593   628,254
Africa                          69,738    74,775    71,872    62,175    71,492    72,338    61,851    64,934    84,990    66,436
Asia                           249,940   257,035   275,700   233,163   261,374   271,733   255,306   275,621   327,273   246,099
Europe                          82,209    82,714    80,333    71,325    78,074    74,344    65,141    71,436    81,040    57,403
North America                  217,750   261,673   271,807   222,547   247,492   259,845   258,371   277,592   276,910   204,250
Oceania                          3,734     3,886     3,849     3,399     3,811     3,953     3,327     3,792     4,308     3,392
South America                   70,485    76,992    76,167    60,665    67,927    70,821    63,063    67,892    68,678    50,441
Unknown                            337       359       201       142        89        26       206       634       394       233
COUNTRY
 Total                         694,193   757,434   779,929   653,416   730,259   753,060   707,265   761,901   843,593   628,254
Afghanistan                      1,998     1,758     2,074     1,853     1,589     1,444     1,414     1,569     2,794     4,025
Albania                          4,267     3,615     3,538     3,131     3,237     2,813     2,169     2,203     2,778     2,308
Algeria                            773       891       841       928       943     1,035       949       918     1,235     1,063
American Samoa                     205       180       265       187       296       285       216       182       279       177
Angola                             162       166       143       145       132       131       125       147       136        94
Anguilla                            38        30        26        18        31        16        20        34        25        19
Antigua and Barbuda                386       390       366       358       381       383       311       356       386       265
Argentina                        3,870     3,909     4,177     3,683     3,886     4,015     3,486     3,977     3,956     2,884
Armenia                          3,965     3,285     3,203     2,488     2,874     2,516     1,994     2,085     2,327     1,852
Aruba                               40        27        42        28        37        28        32        33        54        37
Australia                        1,291     1,312     1,296     1,159     1,379     1,389     1,235     1,545     1,838     1,436
Austria                            271       241       248       223       207       221       177       238       214       160
Azerbaijan                       1,153       958       786       585       568       574       483       512       597       451
Bahamas                            609       647       681       545       570       590       481       590       640       481
Bahrain                             80        93        76        90        79        80        77        86       116        79
Bangladesh                       7,325     8,417     9,571     7,475     9,750     9,949     8,629     7,797     9,067     6,883
Barbados                           648       687       683       550       646       651       645       555       625       399
Belarus                          1,814     1,896     1,797     1,437     1,710     1,518     1,313     1,393     1,730     1,302
Belgium                            525       522       513       408       505       514       493       520       575       430
Belize                             742       817       966       773       851       870       810       859       950       669
Benin                              183       210       206       229       310       317       309       249       343       297
Bermuda                             58        65        59        67        66        61        65        70        64        52
Bhutan                              55        42       275     2,639     4,562     5,563     5,557     6,180     6,920     4,536
Bolivia                          1,446     2,063     1,961     1,527     1,689     1,862     1,806     1,575     1,679     1,208
Bosnia and Herzegovina           4,259     4,904     3,662     2,509     3,304     2,257     1,780     1,805     1,709     1,059
Botswana                             9        11        29        24        28        29        27        38        41        34
Brazil                          10,251     9,884     9,565     8,625    10,516    10,268     9,701    10,538    10,451     8,323
Brunei                              11        17        11        15        13        10        11        15        26        19
Bulgaria                         3,103     2,964     2,646     2,226     2,336     2,086     1,887     1,825     2,251     1,656
Burkina Faso                       163       166       230       235       307       322       303       347       426       376
Burma                            2,321     2,384     3,489     4,225     6,045     6,956     6,825     7,858    11,674     9,181
Burundi                            168       209       379       415       437       406       266       284       394       280
Cabo Verde                         974     1,037     1,014       979     1,054     1,207     1,355     1,429     1,316       930
Cambodia                         4,589     6,189     4,161     2,866     2,878     2,756     2,184     2,467     2,877     2,405
Cameroon                         2,172     2,459     2,541     2,120     3,170     3,088     2,416     2,319     3,197     2,873
Canada                           9,318     9,077     8,690     8,385     9,492     9,346     7,829     9,379    11,059     8,423
Cayman Islands                      15        29        17        13        30        20        23        23        35        20
Central African Republic            34        56        54        44        52        80        61        73       120        82
Chad                                50        69        64        74        84       105        78        72        90        56
Chile                            1,527     1,586     1,649     1,435     1,486     1,666     1,620     1,752     1,784     1,329
                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 171 of 233




                                                                                                                                   Haiti AR_000314
China, People's Republic     32,864   31,868   35,387   30,284   31,241   35,794   37,674   39,600   39,490   26,110
Colombia                     22,693   23,972   22,196   16,478   17,207   18,601   16,184   17,564   17,126   12,768
Congo, Democratic Republic      908    1,173    1,250    1,246    1,490    1,707    1,437    1,776    2,877    2,482
Congo, Republic                 345      381      402      438      473      395      322      316      351      191
Costa Rica                    1,511    1,597    1,661    1,461    1,633    1,862    1,720    1,860    1,859    1,394
Cote d'Ivoire                   694      868      958      910    1,078    1,127      907      908    1,206    1,012
Croatia                         569      725      561      428      563      438      351      371      412      271
Cuba                         21,071   31,244   30,482   24,092   25,770   32,101   25,961   32,089   36,246   31,369
Curacao                           -        -        -       11       17       13       16       20       30       28
Cyprus                          115       92      112      112      107      105       84      125      115       81
Czechia                         485      477      562      565      733      692      595      644      600      426
Czechoslovakia (former)         310      291      232      303      371      344      251      260      325      206
Denmark                         124      133      127      129      243    1,193      769      650      656      508
Djibouti                         22       26       39       26       26       52       48       65       96       94
Dominica                        594      597      642      520      653      610      539      612      740      391
Dominican Republic           20,508   33,351   39,590   23,775   26,665   31,320   29,734   22,970   23,101   18,675
Ecuador                       6,929    8,783    9,470    6,952    7,664    8,568    7,748    7,996    7,731    5,204
Egypt                         5,848    6,191    6,213    5,094    5,693    5,696    5,154    6,549    8,311    6,336
El Salvador                  13,834   16,685   18,401   15,598   16,930   17,213   16,941   17,300   18,260   12,606
Equatorial Guinea                 9       19       14       12       14       18        8        9       15       18
Eritrea                         985    1,059    1,145    1,045    1,494    1,797    1,424    1,457    1,951    1,597
Estonia                         217      234      213      183      208      183      157      190      210      157
Eswatini                         15       10       15        7       12        8       16       13       25        D
Ethiopia                      8,519    8,803    8,323    7,002    8,312    8,725    7,370    6,769    9,065    7,385
Fiji                          1,118    1,134    1,003      770      850      996      841      875      778      624
Finland                         344      329      300      274      301      303      279      283      343      250
France                        2,527    2,358    2,534    2,589    2,784    2,841    2,812    2,854    3,315    2,553
French Polynesia                 14       15        8       20       14       18       14       13       18       15
Gabon                            53       80       72       63       89       83       67       81      113       87
Gambia                          505      556      573      510      685      724      586      650      729      610
Georgia                       1,253    1,271    1,205      898    1,027      988      889      751      973      709
Germany                       4,461    4,192    4,066    4,375    4,380    4,329    3,879    4,284    4,745    3,162
Ghana                         4,690    5,344    5,105    5,108    6,033    6,411    5,777    6,047    6,936    4,973
Greece                          844      867      938      780      867    1,013      945    1,074    1,137      828
Grenada                         528      683      717      544      664      658      629      463      640      478
Guatemala                     7,285    8,797    9,530    8,549    9,344    9,764    9,131    9,566    8,948    6,421
Guinea                          575      787      958      908      999    1,077      957      924    1,069      771
Guinea-Bissau                    29       30       24       27       29       20       25       28       23       20
Guyana                        5,413    6,201    6,295    4,327    5,162    5,284    4,527    4,625    5,089    3,631
Haiti                        14,191   19,114   23,480   13,676   14,053   15,276   12,794   14,389   14,308   10,865
Honduras                      3,980    5,294    5,462    4,433    5,039    5,819    5,310    5,645    6,353    5,150
Hong Kong                     2,184    1,980    2,093    1,801    1,716    1,662    1,623    1,768    1,924    1,545
Hungary                         953    1,014      984      891      941      934      729      922      983      754
Iceland                          76       97       75       70       88       88       83       69      101       69
India                        45,985   42,928   49,897   37,854   42,213   46,188   50,802   52,194   64,631   48,109
Indonesia                     2,345    2,123    2,190    1,568    1,743    1,641    1,566    1,807    2,093    1,359
Iran                          9,286    9,627   11,623    9,620   10,344    9,507    8,324    8,409   11,310    8,828
Iraq                          3,360    3,523    7,771   12,377   14,899   12,130    7,875   12,448   18,366   12,321
Ireland                       1,171    1,239    1,295    1,413    1,375    1,383    1,405    1,621    1,698    1,179
Israel                        3,153    2,859    3,466    3,015    3,182    3,071    2,466    2,743    3,265    2,363
Italy                         2,231    2,234    2,355    2,313    2,760    2,692    2,501    2,920    3,244    2,324
Jamaica                      14,591   15,531   16,442   13,547   16,566   16,772   15,087   17,213   18,010   13,465
Japan                         1,744    1,663    1,837    1,635    1,858    1,758    1,713    1,869    1,969    1,584
Jordan                        2,345    2,436    2,816    2,427    2,461    2,552    2,239    2,630    3,430    2,607
Kazakhstan                      891    1,040      909      789      819      760      729      823    1,147      803
                                                                                                                                         Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 172 of 233




                                                                                                                       Haiti AR_000315
Kenya                            3,621     4,170    4,257    3,885     4,738     4,834     4,348     4,302     5,329    4,186
Korea, North                        13        19       27       24        23        16        15        30        25       17
Korea, South                    12,664    13,790   15,786   13,587    14,230    14,347    14,643    16,031    16,298   11,350
Kosovo                             465       510      487      392       547       530       410       451       597      482
Kuwait                             869       820      920      791       819       790       677       789     1,111      840
Kyrgyzstan                         440       420      395      305       418       408       412       483       534      411
Laos                             5,452     7,027    3,932    2,564     2,042     1,999     1,726     2,027     2,303    1,704
Latvia                             401       392      364      366       392       356       306       315       365      241
Lebanon                          3,127     2,914    3,002    2,528     2,463     2,284     2,081     2,339     2,683    1,715
Lesotho                             11         7       10        8        11         9         8         9        18        7
Liberia                          3,794     4,322    3,923    3,035     3,042     3,022     2,421     2,752     3,334    2,429
Libya                              180       195      206      228       193       210       207       308       447      309
Lithuania                          973       938      933      744       752       626       584       699       885      529
Luxembourg                          18        23       16       34        20        18        14        20        23       20
Macau                               86       106       97      102       109       101        70        79        92       61
Madagascar                          44        37       50       50        65        75        61        53        63       47
Malawi                              86        85       83       76        91        95        84       114       120       91
Malaysia                         1,137     1,150    1,169    1,052     1,113     1,189     1,170     1,388     1,406      942
Mali                               274       288      332      352       405       456       391       398       446      390
Malta                               54        44       59       40        50        43        47        51        49       37
Marshall Islands                    32        21       17       20        22        27        16        21        15       13
Mauritania                         405       495      520      376       355       323       288       252       319      188
Mauritius                           64        57       67       69        60        63        65        70        67       55
Mexico                          94,783   102,181   99,385   94,889   105,958   103,550   118,559   131,977   122,286   84,081
Micronesia, Federated States        74        73       96       62        85        67        53        34        39       26
Moldova                          1,398     1,602    1,594    1,279     1,681     1,689     1,442     1,680     2,010    1,494
Mongolia                           242       286      347      335       324       437       416       468       541      426
Montenegro                         205       227      231      202       209       222       187       205       254      162
Montserrat                          63        51       65       47        43        45        45        52        50       37
Morocco                          3,656     3,872    3,768    3,538     3,805     3,684     2,943     2,644     3,142    2,462
Mozambique                          49        48       51       34        43        51        38        43        63       32
Namibia                             29        42       40       31        42        33        27        29        61       39
Nepal                            2,235     2,448    2,711    2,888     4,225     5,004     4,509     5,352     7,409    5,793
Netherlands                        778       919      786      665       778       829       699       851       953      667
Netherlands Antilles (former)       60        76       82       43        35        45        42        48        56       48
New Zealand                        480       563      482      453       514       565       468       577       668      577
Nicaragua                        5,092     5,870    5,064    3,775     3,951     4,663     4,181     4,277     4,346    3,474
Niger                              124       143      167      161       180       140       126       110       143      112
Nigeria                          9,344     9,322    9,545    8,667    10,363     9,520     7,652     8,459    11,360    8,929
North Macedonia                    578       635      665      625       611       704       582       669       800      577
Norway                              90        87       80       92        80        93        60        93       111      270
Oman                                37        48       39       41        47        58        30        44        68       66
Pakistan                        10,655    11,150   12,948   11,210    11,912    11,729    10,166    10,414    13,079    9,975
Palau                               68        72       64       50        44        43        32        28        32       23
Panama                           1,340     1,532    1,598    1,277     1,412     1,458     1,266     1,308     1,361      989
Papua New Guinea                    17        16       20        7        21        19        13        17        19       20
Paraguay                           289       338      331      256       338       396       343       401       387      278
Peru                            10,266    11,814   11,782    9,572    10,701    11,319    10,014    10,043     9,899    6,910
Philippines                     42,520    44,958   43,489   34,591    40,815    41,285    36,828    38,816    43,668   33,417
Poland                           8,844     8,715    8,697    8,304     7,886     7,198     5,840     6,370     6,973    4,653
Portugal                         1,426     1,607    1,585    1,587     1,690     1,665     1,807     2,031     1,712    1,081
Qatar                              101       101      107       69        75        98        95        92       105      120
Romania                          4,314     4,253    4,050    3,267     3,478     3,379     2,986     3,104     3,627    2,320
Russia                           8,257     8,154    8,222    6,824     6,552     6,067     5,534     6,225     7,628    5,360
Rwanda                             265       285      374      302       300       369       267       343       466      410
                                                                                                                                                  Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 173 of 233




                                                                                                                                Haiti AR_000316
Saint Kitts and Nevis                                     306          319      315      270      360      345      317      281      335      211
Saint Lucia                                               600          724      856      635      775      791      697      604      758      574
Saint Vincent and the Grenadines                          416          511      574      405      467      500      507      401      528      363
Samoa                                                     172          178      206      181      213      192      164      168      239      159
Saudi Arabia                                              814          779      927      795      796      869      872      990    1,313      998
Senegal                                                   752          790      869      806      974      969      882      848      956      742
Serbia                                                     85          109      117      276      522      532      476      596      829      569
Serbia and Montenegro (former)                          2,185        2,012    1,830    1,338    1,297    1,164      820      805      820      494
Seychelles                                                 19            8       15        9        7       17        5       11        D       13
Sierra Leone                                            1,831        1,861    1,613    1,406    1,692    1,662    1,328    1,177    1,604    1,319
Singapore                                                 311          293      263      258      285      308      279      332      359      255
Sint Maarten                                                -            -        -        7       17       33       21       22        D        D
Slovakia                                                  421          401      413      317      443      428      384      394      432      275
Slovenia                                                   57           64       58       52       61       63       52       57       68       68
Somalia                                                 7,971        9,286    6,875    4,097    3,691    3,998    3,774    3,979    6,915    5,684
South Africa                                            2,566        2,294    2,283    2,083    2,538    2,197    1,901    2,262    2,967    2,084
South Sudan                                                 -           81      139      132      131      101       74      109      146      101
Soviet Union (former)                                   2,812        2,610    2,807    2,334    2,372    2,268    2,123    2,252    2,280    1,589
Spain                                                   1,253        1,242    1,367    1,326    1,414    1,515    1,469    1,674    1,945    1,517
Sri Lanka                                               1,334        1,146    1,258    1,104    1,246    1,497    1,364    1,480    1,609    1,140
Sudan                                                   2,444        2,291    1,924    1,482    1,740    1,776    1,348    1,611    2,527    1,753
Suriname                                                  194          189      160      127      183      164      143      176      170       91
Sweden                                                    872          798      783      724      885      795      708      797      936      731
Switzerland                                               427          427      452      388      411      375      333      436      488      365
Syria                                                   1,981        1,814    2,196    1,832    2,004    2,043    1,789    2,475    3,364    2,455
Taiwan                                                  5,065        4,573    5,255    4,326    4,420    4,043    4,151    4,576    4,821    3,422
Tajikistan                                                155          142      168      146      156      212      222      261      364      251
Tanzania                                                  516          543      647      525      553      639      547      561      731      530
Thailand                                                5,299        6,585    5,544    4,805    5,213    5,211    4,672    5,324    6,678    5,572
Togo                                                    1,523        1,448    1,380    1,141    1,171    1,099      907      893    1,054      927
Tonga                                                     251          306      371      473      352      337      262      319      354      300
Trinidad and Tobago                                     5,014        5,596    5,784    4,147    4,869    4,867    4,504    4,378    4,592    3,027
Tunisia                                                   377          345      362      310      314      352      344      306      393      295
Turkey                                                  3,100        3,329    3,390    2,925    3,150    3,201    3,108    3,275    3,289    2,305
Turkmenistan                                              146          136      160      110      153      102      109      117      203      122
Turks and Caicos Islands                                   36           49       47       26       33       31       26       40       28       28
Uganda                                                    838          820      763      724      817      823      742      703      922      727
Ukraine                                                 8,489        9,459    8,624    6,984    8,926    8,374    6,644    6,990    8,019    5,444
United Arab Emirates                                      425          431      499      435      443      473      475      542      730      545
United Kingdom                                          9,246        9,145    9,459    8,906   10,095    9,562    9,049   10,530   12,195    8,842
United States                                              45           60       55       31       75       95       84      122      174      163
Uruguay                                                   751          849      933      812      902    1,044    1,028    1,073    1,088      822
Uzbekistan                                              2,463        3,071    2,482    1,725    1,660    1,685    1,498    1,532    1,950    1,482
Venezuela                                               6,856        7,404    7,648    6,871    8,192    7,633    6,463    8,172    9,317    6,993
Vietnam                                                20,922       23,490   24,277   18,837   21,976   24,848   19,323   21,082   25,646   22,705
Virgin Islands, British                                    48           41       45       49       59       46       42       54       59       45
Yemen                                                   1,320        1,452    1,355    1,160    1,284    1,490    1,445    1,544    2,509    2,158
Zambia                                                    337          338      352      318      370      404      401      402      501      340
Zimbabwe                                                  715          691      658      734      852      843      675      709      810      559
All other countries1                                       45           40       41       41       41       42       38       42       63       50
Unknown                                                   337          359      201      142       89       26      206      634      394      233
D Data withheld to limit disclosure.
- Represents zero.
1
  Includes countries with fewer than 10 naturalizations per year.
Note: Based on N-400 data for persons aged 18 and over.
                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 174 of 233




                                                                                                                                                     Haiti AR_000317
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                                                                             Haiti AR_000318
Source: U.S. Department of Homeland Security.
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   DHS Southwest Border Task Force
     Executive Leadership Report
                                                           23 SEPTEMBER 2022
               Table of Contents
                       2.       Encounters
                       3.       Encounters: Recent Trends
                       4.       Unaccompanied Children (UC) Dashboard
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                       6.       CBP Encounters
                       7.       Unaccompanied Child Encounters & HHS in Care
                       8.       Unaccompanied Children in Custody & CBP Transfers
                       9.       Family Unit Individual Encounters
                       10.      Family Unit Individual CBP Book-out Dispositions
                       11.      Single Adult Encounters
                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 176 of 233




                       12.      Single Adult CBP Book-out Dispositions
                       13.      Glossary
                                                                                    Haiti AR_000319
NOTE:
DHS REPORT CONTAINS
      Southwest     MOCK
                Border   DATA
                       Task Force Executive Leadership Report
UNCLASSIFIED // FOR OFFICIAL USE ONLY
                                                                                                                                                                                        23 September 2022
                                                                                                                    AVERAGE WEEKLY ENCOUNTERS BY SECTOR
 Encounters                                                                                                   2,500


                                                                                                              2,000
         DAILY ENCOUNTERS YESTERDAY

                                                                                                              1,500
                                                                            ଺YVSUHYLRXVGD\
                                                                                                              1,000
                                                                          ଺YVODVWZHHN VDYJ
                           7,055
                           Total Encounters                         HQFRXQWHUVGD\VDJR                 500
                           7RWDOLQFOXGHVDFFRPSDQLHGPLQRUV

                                                                                                                    0
                                                                                                                        4-Aug     11-Aug         18-Aug     25-Aug         1-Sep       8-Sep     15-Sep       22-Sep

                   359                           1,777                                4,913                                     El Paso Sector            Del Rio Sector           Rio Grande Valley Sector
                   359
   Unaccompanied Children
                                                 1,777
                                           Family Unit Individuals                         Single Adults
   Unaccompanied Children                  Family Unit Individuals                         Single Adults                        4-Aug    11-Aug      18-Aug      25-Aug      1-Sep      8-Sep     15-Sep      22-Sep
          ଺YVSUHYLRXVGD\              ସYVSUHYLRXVGD\                ଺YVSUHYLRXVGD\
                                                                                                              El Paso                                    1,040      1,108      1,245             
         ଺YVSUHYLRXVGD\               ସYVSUHYLRXVGD\                 ଺YVSUHYLRXVGD\    Del Rio                                     1,631                 1,525
         ଺YVODVWZHHN VDYJ           ଺YVODVWZHHN VDYJ              ଺YVODVWZHHN VDYJ
        ଺YVODVWZHHN VDYJ            ଺YVODVWZHHN VDYJ               ଺YVODVWZHHN VDYJ   RGV                                810         802                                
      468 encounters 2-days ago        1,688 encounters 2-days ago           5,434 encounters 2-days ago      All Other                                         3,328     3,335      


           AVERAGE WEEKLY ENCOUNTERS BY FAMILY STATUS                                                               AVERAGE WEEKLY ENCOUNTERS BY NATIONALITY

  6,000                                                                                                       5,000
                                                                                                              4,500
  5,000
                                                                                                              4,000
                                                                                                              3,500
  4,000
                                                                                                              3,000
  3,000                                                                                                       2,500
                                                                                                              2,000
  2,000
                                                                                                              1,500
                                                                                                              1,000
  1,000
                                                                                                                500
       0                                                                                                          0
           4-Aug     11-Aug      18-Aug        25-Aug           1-Sep       8-Sep      15-Sep        22-Sep             4-Aug     11-Aug         18-Aug     25-Aug         1-Sep       8-Sep     15-Sep       22-Sep

               Unaccompanied Children               Family Unit Individuals            Single Adults                                    Northern Central America              Mexico           Other
                                                                                                                                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 177 of 233




                   4-Aug   11-Aug      18-Aug      25-Aug         1-Sep      8-Sep     15-Sep        22-Sep                     4-Aug    11-Aug      18-Aug      25-Aug      1-Sep      8-Sep     15-Sep      22-Sep
 UC                 365               361         343                           400               NCA                    1,301       1,215       1,168      1,161                   1,181
 FM                1,355    1,622              1,831                                 Mex                     2,048                    2,034           2,114      
 SA                    4,510       4,366                                     5,061   Other             2,552      3,165             3,834                        4,042
 Total             5,709      6,514     6,471       6,990         6,862      7,423      7,782        7,159    Total             5,709      6,514      6,471       6,990       6,862
                                                                                                                                                                                  Haiti 7,423 7,782
                                                                                                                                                                                        AR_000320             7,159

NOTE:
DHS REPORT CONTAINS
      Southwest     MOCK
                Border   DATA
                       Task Force Executive Leadership Report                                                                                                                                                         2
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                                                                                                                                                                                               23 September 2022
 Encounters: Recent Trends
        DAILY ENCOUNTERS
        DAILY ENCOUNTERS
        BY NATIONALITY
        BY NATIONALITY
                                     Mexico         Venezuela            Cuba          Nicaragua       Guatemala         Honduras         Colombia         Peru     El Salvador     Ecuador          Haiti       'RP Rep
 Average Daily Encounters              1,936            1,078             838              566              489              486               465         261          205           166              136          63
 7-Day Average UC                        74               8                6                 9              143               86                 3            2         35               7             0             0
 7-Day Average FM                       161              285              242               101              51              118                240         122         50             105             43           15
 7-Day Average SA                      1,695             785              590              456              296              282                222         136         121             54             92           48
 12-Month Change                                                                                                                                                         N/A
 3-Month Change                                                                                                                                                               N/A
 1-Month Change                                                                                                                                                                    
 1-Week Change                                                                                                                                                                   
 'DWDYDOLGDVRI6HSWHPEHU&KDQJHSHUFHQWDJHVUHIOHFWWKHGDLO\DYHUDJHFRPSDUHGWRWKHGDLO\DYHUDJHIURPWKHUHVSHFWLYHSHULRG



        ENCOUNTERS: TOP 5                                                                                                         ENCOUNTERS: TOP 6
        NON-MEXICAN COUNTRIES                                                                                                     OTHER COUNTRIES
    1,400                                                                                                                       


    1,200                                                                                                                       600


    1,000                                                                                                                       500


      800                                                                                                                       400


      600                                                                                                                       300


      400                                                                                                                       200


      200                                                                                                                       100
                                                                                                                                                                                                                           Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 178 of 233




         0                                                                                                                         0
          4-Aug        11-Aug       18-Aug       25-Aug         1-Sep       8-Sep       15-Sep       22-Sep                            4-Aug     11-Aug    18-Aug   25-Aug        1-Sep      8-Sep      15-Sep    22-Sep

                                                                                                                                               Nicaragua             Colombia                   Peru
             Guatemala             Honduras            El Salvador          Venezuela             Cuba                                         Ecuador               Haiti                Haiti Dominican
                                                                                                                                                                                                AR_000321 Republic

NOTE:
DHS REPORT CONTAINS
      Southwest     MOCK
                Border   DATA
                       Task Force Executive Leadership Report                                                                                                                                                              3
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                                                                   23 September 2022

 UC Dashboard
                                                                                  Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 179 of 233




                                                                Haiti AR_000322
NOTE:
DHS REPORT CONTAINS
      Southwest     MOCK
                Border   DATA
                       Task Force Executive Leadership Report                     4
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                                                                                                                                                                                   23 September 2022

 CBP in Custody
                                                                                                  CBP in Custody
                                                                                                                                              72
                                                           Country of        Total      1-Day     7-Day    1-Week                  < 72      =<120    >= 120
                                                           Citizenship       Count     Change      Avg     Change Avg TIC         hours      hours    hours
                                                           Mexico         471          ସ          466    ଺          33        443         8        20
                                                           Guatemala      538          ଺             ସ          42        456                45
                                                           Honduras       558          ସ         520     ସ          48        413        125       20
                                                           El Salvador              ଺          240    ଺          56                 30       32
                                                           NCA Total     1,295         ଺        1,450    ସ          47       1,006       192       97
                                                           Venezuela              ଺         3,285    ଺          64              683      436
                                                           Cuba                   ଺        1,666   ଺          42              155       
                                                           Nicaragua     1,254         ଺           ଺          50                208       
                                                           Colombia               ଺         1,503    ଺          53        838              124
                                                           Peru                     ଺         668     ଺                  368         36       
                                                           Ecuador        461          ସ          525     ଺                  302                
                                                           Haiti           38          ଺              ସ         58         28         5        5
                                                           Dom Rep            ଺          245     ସ                            40       58
                                                           Other         1,020         ଺        1,342    ଺                  686               
                                                           Other Total   8,824         ଺       11,013    ଺          59       6,219      1,410    1195
                                                           CBP Total    10,590         ଺       12,928    ଺          56       7,668      1,610    1,312
                                                           &%3FXVWRG\GDWDFRYHUVSHUVRQVLQFXVWRG\DVRI6HSWHPEHU

                 CBP Family Unit Individuals in Custody by Location                                                                      CBP Single Adults in Custody by Location
       USBP Sector/                    1-Day        7-Day        1-Week          %                                   USBP Sector/                     1-Day     7-Day    1-Week        %
       OFO Field Office    Count        Chg          Avg         Change       Capacity    Avg TIC                    OFO Field Office       Count    Change      Avg     Change     Capacity     Avg TIC
      San Diego              126       ଺          181          ସ                    33                      San Diego                    ଺        843      ସ                    62
      El Centro              66        ଺           102          ଺                                          El Centro                    ସ         245      ସ                    38
      Yuma                          ସ           443          ଺                   52                      Yuma                    685     ସ        605      ଺                    36
      Tucson                        ସ                    ଺                    34                      Tucson                  448     ଺              ସ                     55
      El Paso                584       ଺           835          - flat -                26                      El Paso                2,423    ଺            ସ                     60
      Big Bend                0        - flat -       0           - flat -                 0                       Big Bend                      ସ             ସ                     53
      Del Rio                250       - flat -      281          ଺                    21                      Del Rio                 828     ଺              ଺                    25
      Laredo                 35        ଺                    ଺                     31                      Laredo                  681     ଺              ଺                     81
      RGV                    458       ଺                     ସ                    55                      RGV                        ଺       2,811     ସ                     102
      USBP Total            2,155      ळ          2,869         ळ                    39                      USBP Total             7,680    ळ       9,278      ळ                    65
      San Diego FO           44        ସ           40          ସ                    25                      San Diego FO            85      - flat -            ଺                     
      Tucson FO               0        - flat -       1           ଺                     0                       Tucson FO                0      ଺        3       ଺                      0
                                                                                                                                                                                                            Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 180 of 233




      El Paso FO              4         N/A           1           ଺                                           El Paso FO                     ସ         5       ସ                     20
      Laredo FO               0       ଺           8          ସ                     0                       Laredo FO                      ଺        12      ସ                      18
      OFO Total              48        ऱ            49         ऱ                     24                      OFO Total                99     ळ         112      ऱ                      36
      Total                 2,203      ଺          2,919         ଺          42%          38                      Total                  7,779    ଺       9,390     ଺         149%            64
      'DWDFRYHUVIDPLO\XQLWLQGLYLGXDOVLQFXVWRG\DVRI6HSWHPEHU                                 'DWDFRYHUVVLQJOHDGXOWVLQFXVWRG\DVRI6HSWHPEHU
                                                                                                                                                                                    Haiti AR_000323
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                                      5
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                                                                                                                                                                                       23 September 2022

 CBP Encounters
                                                 USBP Encounters                                              OFO Encounters                                                          CBP Total
              Country of                  7-Day 21-Day                                                 7-Day 21-Day                                                                         7-Day 21-Day
              Citizenship       Total      Avg   Avg            UC        FM         SA      Total      Avg   Avg             UC              FM              SA            Total            Avg   Avg
              Mexico            1,652     1,663     1,738        63        57      1,532      308       273        264        10             138              155           1,960            1,936           2,002
              Guatemala          460       480       481        123        62               11                  13        0               5                6                                        
              Honduras                  412                        80       230        80                         1               55               24                          486             
              El Salvador        168       188               26         43                 6        18        16          0                4               2                          205              
              NCA Total         1,027     1,080     1,058       238       185       604        97       101        99          1               64              32           1,124            1,181           1,157
              Venezuela                   1,164       8                         0         1         1          0                0               0                                  1,165
              Cuba                                                     551         2         1         1          0                0               2                          838             
              Nicaragua          501       566               13                         0         0         1          0                0               0             501             566             
              Colombia           445       463       451        5                211                  1         2          0                2               5             452             465             453
              Peru               231       260       268         2        120                0         1         1          0                0               0             231             261              
              Ecuador            165       165       164         6        105        54         0         0         0          0                0               0             165             166              164
              Haiti             12          11        6          0         5                 204       124        163        0                             114            216              136             
              DomRep           63                 0         11        43        0         0          0         0               0                0              54               63              
              Other                     360       428         4        103       264       116       110        118        0                              44                                       546
              Other Total     3,642       3,803     4,009        47      1,170     2,425      329       238        287        0              163              165           3,971            4,042           4,296
              CBP Total       6,321       6,546     6,805       348      1,412     4,561      734       613        650        11             365              352           7,055            7,159           7,455
              Note: Data as of 9/23/2022 05:28 describes previous day's total encounters. OFO and CBP total rows also include accompanied minors
              encountered at ports of entry.
                                                                                                                                                                                                                                 Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 181 of 233




                                                                                                                           ** NOTE: Data reports on all previous day's encounters by CBP; data valid as of 9/23/22 05:28.
                                                                                                                              Daily reporting pulled from the live CBP system are based on interim numbers; values reported
                                                                                                                              today do not capture final data. All Encounters mature by an average of 12 percent between next-
                                                                                                                              day and end-of-month reporting.
                                                                                                                                                                                Haiti AR_000324
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                                                           6
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                                                                                                                                                                                23 September 2022

 Unaccompanied Child Encounters & HHS in Care
                                          Encounters                             CBP Unaccompanied Children in Custody                                                   Transfers
                                       Count 21-Day Avg In Custody                   In Custody > 72 hours Avg TIC (hours) Processed Complete                  TOT ERO           Mexican Returns
      Non-Mexicans                       286           316               451                      0                24                     302                     260                   0
      Mexicans 13 and younger             10            10                12                      0                14                      8                       1                    4
      Mexicans 14 and older               63            64                52                      0                18                      28                      3                    
      Total                              359           389               515                      0                23                     338                     264                   61
      'DWDDVRIGHVFULEHVSUHYLRXVGD\ VXQDFFRPSDQLHGFKLOGHQFRXQWHUVDQGWUDQVIHUVE\&%3DQGWRGD\ VXQDFFRPSDQLHGFKLOGUHQLQFXVWRG\

                CBP Unaccompanied Child Encounters by Country                                                      CBP Unaccompanied Child Encounters by Location
      Country of                                              1-day         7-day        1-week          USBP Sector /                                          1-Day        7-day       1-Week
      Citizenship               % of Total      Count        Change        Average       Change          OFO Field Office           % of Total     Count       Change       Average      Change
      Mexico                       20%           73          - flat -          74         ଺           San Diego                                          ଺             10       ସ
      Guatemala                               123         ଺             143        ଺           El Centro                                          ସ              6      ସ
      Honduras                                          ଺             86         ଺           Yuma                                     20         ସ                  ଺
      El Salvador                              26          ଺             35        ଺           Tucson                                            ଺             50      ଺
      NCA Total                    67%           239         ଺             264        ଺           El Paso                                 54         ଺             68       ଺
      Venezuela                                 8          ଺              8        ସ           Big Bend                                  2          N/A               2       ଺
      Cuba                                                ଺              6        ଺           Del Rio                                 43         ସ             36       ଺
      Nicaragua                                13          ସ                     ଺           Laredo                                   11         ଺             10       ସ
      Colombia                                  5          ସ              3        ସ           RGV                                     143        ଺             166      ଺
      Peru                                      2          ସ             2        ସ           USBP Total                   97%           348        ଺             366      ଺
      Ecuador                                   6          ସ                      ଺           San Diego FO                              2         ଺              3      ଺
      Haiti                                     0          ଺             0        ସ          Tucson FO                                 4         ଺              3      ସ
      Dominican Republic                        0           - flat -          0        ଺          El Paso FO                                3         ସ             1       - flat -
      Other                                     4          ଺              4         ସ           Laredo FO                                 2         ଺              4      ସ
      Other Total                  13%           47          ସ             40        - flat -        OFO Total                     3%           11          ଺             12      ସ
      Total                                      359         ଺             378        ଺           Total                                      359         ଺            378         ଺
      'DWDDVRIGHVFULEHVSUHYLRXVGD\ VHQFRXQWHUVE\&%3                               'DWDDVRIGHVFULEHVSUHYLRXVGD\ VHQFRXQWHUVE\&%3


                     HHS ORR Unaccompanied Children in Care                                                 HHS ORR Unaccompanied Child Discharges by Sponsor Type
                                          Previous Day         7-Day Avg             21-Day Avg                                               # Discharges       % Discharges          Avg Days
      UCs Referred from DHS                    341                321                    331              1. Parent or Guardian                                                     18
      UCs Discharged from HHS                                  314                    306              2. Other Close Relative                 1,015                                28
      Total in Care                                                                        3. Other Sponsor                         318                                 56
                                                                                                                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 182 of 233




      Operational Occupancy                                                                      4. No Sponsor                             83                                  
      Discharge Rate                                                                          Total                                   2,195                                   31
      'DWDDVRIGHVFULEHXQDFFRPSDQLHGFKLOGUHQLQFDUH2SHUDWLRQDORFFXSDQF\            'DWDDVRIGHVFULEHXQDFFRPSDQLHGFKLOGGLVFKDUJHVIRUZHHNHQGLQJ
      LQFOXGHVDFWLYHLQIOX[
                                                                                                                                                                        Haiti AR_000325
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                                
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                                                                                                                                                        23 September 2022

Unaccompanied Children in Custody & CBP Transfers
                                                         CBP Unaccompanied Children in Custody                                                 Transfers
             USBP Sector /                           1-Day        7-Day       1-Week                                     Processed                        Mexican
             OFO Field Office           Count       Change       Average      Change       % Capacity      Avg TIC       Complete        TOT ERO          Returns
             San Diego                     10        - flat -        8        ଺                         16             4               3               8
             El Centro                     11       ସ           6        ସ                         21                            1               0
             Yuma                          18        ସ            20       ଺                                      14                            4
             Tucson                               ସ                  ଺                        26             61              18              18
             El Paso                      123        ସ           123        ସ                        32             84              43              4
             Big Bend                      1          N/A            2        ସ                        6              0               0               0
             Del Rio                       56       ସ           42       ଺                        22                           21              6
             Laredo                        11       ଺                     ସ                         18             8               5               11
             RGV                                 ସ           188       ସ                                    121             154              
             USBP Total                   512       ସ           457        ଺            10%            23            338             262              60
             San Diego FO                  2        ଺            5        ଺                         20             0               2               1
             Tucson FO                     0         - flat -        1         N/A                          0              0               0               0
             El Paso FO                    1          N/A            0        ଺                                       0               0               0
             Laredo FO                     0        ଺           2        ସ                        0              0               0               0
             OFO Total                     3        ଺            8        ଺            1%             16             0               2               1
             Total                        515        ସ          465         ଺           10%            23            338             264              61
             'DWDDVRIGHVFULEHVWRGD\ VXQDFFRPSDQLHGFKLOGUHQLQFXVWRG\DQGSUHYLRXVGD\ VXQDFFRPSDQLHGFKLOGWUDQVIHUVE\&%3
                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 183 of 233




                                                                                                                                                     Haiti AR_000326
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                 8
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                                                                                                                                                                             23 September 2022

  Family Unit Individual Encounters
                                 USBP Encounters                                            OFO Encounters                                         CBP Total
             Country of      % of             1-day  7-day 1-Week                 % of           1-day  7-day 1-Week               % of           1-day  7-day 1-Week
             Citizenship     Total     Count Change Average Change                Total   Count Change Average Change              Total   Count Change Average Change
             Mexico           3%         57     ଺         62      ଺          8%      138     ଺          99      ସ        11%     195      ଺       161   ଺ 
             Guatemala                 62     ସ         46      ଺                  5      ଺         5       ଺                    ସ        51   ଺ 
             Honduras                  80     ଺                ସ                55      ଺               ଺             135      ଺       118   ଺ 
             El Salvador               43      ସ         41      ସ                 4      ଺                ସ                     ଺       50    ସ 
             NCA Total       10%        185      ସ        158       ସ          4%      64      ଺         60      ଺       14%     249      ଺        218   ଺ 
             Venezuela                    ସ        285      ଺                 0       - flat -     0      ଺                  ସ       285   ଺ 
             Cuba                         ଺        242      ଺                  0       - flat -     0      - flat -              ଺       242   ଺ 
             Nicaragua                      ଺         101      ଺                  0       - flat -     0      - flat -                ଺        101   ଺ 
             Colombia                      ସ              ସ                 2        N/A         0        N/A           231       ସ       240   ସ 
             Peru                     120     ସ        122       - flat -            0       - flat -     0      ଺            120      ସ       122   ଺ 
             Ecuador                  105     ଺        105       ଺                 0       - flat -     0        N/A            105      ଺       105   ଺ 
             Haiti                       5     N/A         3      ସ                     ସ          40      ଺                    ସ       43    ଺ 
             Dom ReS        11     ଺         15     ସ                  0      - flat -     0       - flat -           11     ଺      15     ସ 
             Other                    103     ସ        123     ଺                      ସ               ଺                  ସ     181     ଺ 
             Other Total 66%           1,170    ସ        1,235     ଺           9%      163    ସ         99      ଺        75%    1,333    ସ    1,334    ଺ 
             CBP Total        79%      1,412     ସ       1,455      ଺          21%     365     ସ        258      ଺       100%    1,777    ସ     1,713    ଺ 
             'DWDUHSRUWVRQSUHYLRXVGD\ VIDPLO\XQLWLQGLYLGXDOHQFRXQWHUVE\&%3GDWDYDOLGDVRI6HSWHPEHU

              CBP Family Unit Individual Encounters by Location
             USBP Sector /           % of                1-day      7-day        1-Week
             OFO Field Office        Total     Count    Change       Avg         Change
             San Diego                         68     ଺                   ଺ 
             El Centro                              ଺                   ଺ 
             Yuma                            358     ସ         303         ଺ 
             Tucson                            55     ସ          65         ଺ 
             El Paso                         431     ଺         456         ସ 
             Big Bend                          3       N/A          0          ସ 
             Del Rio                         285     - flat -              ଺ 
             Laredo                            2      ଺          4          ଺ 
             RGV                              161     ଺                  ଺ 
             USBP Total              79%       1,412    ସ         1,455        ଺ 
             San Diego FO                     153     ସ         136         ସ 
                                                                                                                                                                                            Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 184 of 233




             Tucson FO                         33     ଺          26         ସ 
             El Paso FO                        16     ଺                    ଺ 
             Laredo FO                        163     ସ          88         ଺ 
             OFO Total               21%        365     ସ         258         ଺ 
             Total                             1,777     ସ        1,713        ଺                                                                                     Haiti AR_000327
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                      
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 Family Unit Individual CBP Book-out Dispositions
                                                           CBP Family Unit Individual Book-out Dispositions by Country of Citizenship
   Disposition Type                           Mexico    Guatemala Honduras El Salvador Venezuela     Cuba   Nicaragua Colombia            Peru        Ecuador        Haiti    'RP RHS     Other      CBP Total
   Title 42 immediate                                    21         26          5          0        0          0             0            0             0            0             0            0            81
   Title 42 delayed                             25         141        10         10          0        0          0             0            33            0            0             0            0           219
   Repatriations processed by CBP                8          1          0          0        N/A       N/A        N/A          N/A           N/A          N/A           N/A          N/A           N/A           9
   Transfer to ICE for removal processing        3          0          0          0         0         0          1            0             0            0             0            0             0            4
   Transfer to ICE for release with NTA          5          0          3          0          0        8          0             6            14            0            0             0            4            40
   Release with NTA                            121                   54          4          0        0          2            34            3             0                        0           101          424
   5HOHDVHZLWK,SDUROH$7'                  3          6         12                        213        148          145            66                       1            18           83          1,090
   Release with NTR                              0          0          0          0          0        0          0             0            0             0            0             0            0            0
   Release OFO parole                           16          0          0          0          0        0          0             0            0             0            0             0            0            16
   Other                                         0          0          0          0          0        0          0             0            0             0            0             0            0            0
   Total                                       210         178        105        38        279       221        151          185           116           97            97           18           188         1,883


                                            CBP Family Unit Individual Book-out Dispositions by USBP Sector
   Disposition Type                          Big Bend    Del Rio   El Centro   El Paso    Laredo     RGV    San Diego      Tucson         Yuma      USBP Total
   Title 42 immediate                            0         36          0                   2        0          6             0            0            81
   Title 42 delayed                              0          0          0         0           2       146         4            21            46           219
   Repatriations processed by CBP                0          0          0         0           0        1          0             0             2            3
   Transfer to ICE for removal processing        0          0          0         0           0        1          0             3             0            4
   Transfer to ICE for release with NTA          0          0          0         0           0        0          0             0            32           32
   Release with NTA                              0          0          2         0           0        2         82             0             0           86
   5HOHDVHZLWK,SDUROH$7'                  0         181        50                                 0           115           65           1,090
   Release with NTR                              0          0          0         0           0        0          0             0            0             0
   Other                                         0          0          0         0           0        0          0             0            0             0
   Total                                         0         217        52        510        123       237        92           139           145         1,515


      CBP Family Unit Individual Book-out Dispositions by OFO Field Office
   Disposition Type                           El Paso    Laredo    San Diego   Tucson    OFO Total
   Title 42 immediate                           0           0          0         0          0
                                                                                                            Data in "Repatriations processed by CBP" rows represent ER or reinstatement, no fear claim, bag and
   Title 42 delayed                             0           0          0         0          0
                                                                                                            baggage, voluntary return, and withdrawal dispositions limited to nationals of Mexico, Guatemala,
   Repatriations processed by CBP               0           4          0         2          6               +RQGXUDVDQG(O6DOYDGRU
   Transfer to ICE for removal processing       0           0          0         0          0
   Transfer to ICE for release with NTA         0           0          8         0          8               'DWDYDOLGDVRI6HSWHPEHUGHVFULEHVSUHYLRXVGD\ VERRNRXWVRIIDPLO\XQLWLQGLYLGXDOV
   Release with NTA                                                       20        338
   5HOHDVHZLWK,SDUROH$7'                 0           0          0         0          0
                                                                                                                                                                                                                        Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 185 of 233




   Release with NTR                             0           0          0          0          0
   Release OFO parole                           3           2          0         11         16
   Other                                        0           0          0         0          0
   Total                                        12         178       145         33        368

                                                                                                                                                                                 Haiti AR_000328
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                                                 10
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                                                                                                                                                                              23 September 2022

 Single Adult Encounters
                                 USBP Encounters                                             OFO Encounters                                         CBP Total
             Country of       % of             1-day  7-day 1-Week                 % of           1-day  7-day 1-Week               % of           1-day  7-day 1-Week
             Citizenship      Total     Count Change Average Change                Total   Count Change Average Change              Total   Count Change Average Change
             Mexico            31%         1,532     ଺      1,537     ଺       3%      155    ଺         159      ସ        34%     1,687    ଺    1,695    ଺ 
             Guatemala                          ଺             ଺               6     ସ         4       ଺              281     ଺          ଺ 
             Honduras                     230      ସ       256      ସ               24     ଺               ଺              254      ସ       282   ସ 
             El Salvador                         ଺       112      ସ              2      ଺                ସ              101     ଺       121   ସ 
             NCA Total         12%          604      ଺       659      ସ        1%      32      ଺         39      ଺       13%      636     ଺       698   ସ 
             Venezuela                         ସ              ଺              0     ଺          1      ଺                  ସ           ଺ 
             Cuba                        551      ଺              ଺              2      N/A           1      - flat -         553     ଺           ଺ 
             Nicaragua                          ଺       456      ଺              0     ଺          0      - flat -               ଺       456   ଺ 
             Colombia                     211       ସ       221      ସ               5        N/A         1       N/A              216      ସ       222   ସ 
             Peru                               ସ       136      ସ               0       - flat -     1      ଺                  ସ       136   ସ 
             Ecuador                       54      ଺        54      ସ               0       - flat -     0       N/A              54      ଺       54    ସ 
             Haiti                                ଺        8      ସ             114     ଺         84      ଺              121     ଺           ସ 
             Dom Rep        43        ସ        48     ଺               0      - flat -     0       - flat -           43     ସ      48     ଺ 
             Other                      264        ସ       234     ଺               44     ଺         51      ଺              308     ସ      285     ଺ 
             Other Total        49%      2,425       ଺       2,529    ଺        3%      165     ଺        139      ଺       53%     2,590    ଺     2,667    ଺ 
             CBP Total          93%      4,561        ଺      4,725     ଺        7%      352     ଺        336      ଺       100%    4,913    ଺    5,061    ଺ 
             'DWDUHSRUWVRQSUHYLRXVGD\ VVLQJOHDGXOWHQFRXQWHUVE\&%3GDWDYDOLGDVRI6HSWHPEHU

                     CBP Single Adult Encounters by Location
             USBP Sector /           % of                   1-Day  7-Day 1-Week
             OFO Field Office        Total        Count    Change Average Change
             San Diego                           403       ସ      382       ଺ 
             El Centro                           155       ଺      185       ସ 
             Yuma                                      ସ             ଺ 
             Tucson                                   ଺         530      ଺ 
             El Paso                                 ଺        1,165     ଺ 
             Big Bend                              46    ସ         38      ଺ 
             Del Rio                            1,130    ସ        1,201     ଺ 
             Laredo                               188    ଺         201      ସ 
             RGV                                        ଺       530      ଺ 
             USBP Total               93%          4,561     ଺       4,725     ଺ 
             San Diego FO                         121      ଺       128      ସ 
                                                                                                                                                                                             Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 186 of 233




             Tucson FO                            20       ଺       32       ସ 
             El Paso FO                                  ଺       25       ଺ 
             Laredo FO                           182       ଺      151       ସ 
             OFO Total                7%           352       ଺      336       ସ 
             Total                                 4,913     ଺      5,061     ଺                                                                                     Haiti AR_000329
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                      11
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                                                                                                                                                                                        23 September 2022

 Single Adult CBP Book-out Dispositions
                                                                  CBP Single Adult Book-out Dispositions by Country of Citizenship
   Disposition Type                         Mexico     Guatemala Honduras El Salvador Venezuela      Cuba   Nicaragua Colombia            Peru       Ecuador         HaitL    'RP5HS
                                                                                                                                                                                     Other               CBP Total
   Title 42 immediate                        1,084        224               60         0            0        0         0                0            3             0            0        3                  1,543
   Title 42 delayed                           266         151         12         22         0         0          3                        1            0             0            0            0             554
   Repatriations processed by CBP                       2                     2        N/A       N/A        N/A          N/A           N/A          N/A           N/A          N/A          N/A            188
   Transfer to ICE for removal processing      3           2           2         4         130        11        82            63           53            14            8            22                      567
   Transfer to ICE for release with NTA        1           1          15         2          34        18         5             3                         1            0            6                         112
   Release with NTA                           10           5          24         2                  13         0             3            3             0           104           1            31            243
   5HOHDVHZLWK,SDUROH$7'                0           1           1         0         834       661        625          202           88            46            6                                  2,622
   Release with NTR                            0           0           0         0          0         0          0             0            0             0            0            0             0             0
   Release OFO parole                         20           1           1         0          0         0          0             0            0             0            0            0             1             23
   Other                                       0           0           0          0         0         0          0             0            0             0            0            0             0             0
   Total                                     1,561        387         231        92        1,045     703        715          370           152           64           118           58          356            5,852


                                               CBP Single Adult Book-out Dispositions by USBP Sector
   Disposition Type                         Big Bend    Del Rio    El Centro   El Paso    Laredo     RGV    San Diego      Tucson        Yuma       USBP Total
   Title 42 immediate                                   452                   180        225       46                   444           0          1,483
   Title 42 delayed                            0          11          32         46         22       164        113           85           81           554
   Repatriations processed by CBP             11           5           2         3          8        23                                 28           126
   Transfer to ICE for removal processing      0          80          10        150        222                22           42             3           556
   Transfer to ICE for release with NTA        0           0           0         0          0        21         34            0            40            95
   Release with NTA                            0           4           2         1          0         0         65            0             1            73
   5HOHDVHZLWK,SDUROH$7'                0          521         105               366               348          262           64          2,622
   Release with NTR                            0           0           0          0          0        0          0             0            0             0
   Other                                       0           0           0          0          0        0          0             0            0             0
   Total                                      18         1,073        208       699        843       918        663          870           217         5,509


             CBP Single Adult Book-out Dispositions by OFO Field Office
   Disposition Type                         El Paso     Laredo     San Diego   Tucson    OFO Total
   Title 42 immediate                          8          34          14          4         60
                                                                                                            Data in "Repatriations processed by CBP" rows represent ER or reinstatement, no fear claim, bag and
   Title 42 delayed                            0           0           0          0          0
                                                                                                            baggage, voluntary return, and withdrawal dispositions limited to nationals of Mexico, Guatemala,
   Repatriations processed by CBP              8                    18                   62              +RQGXUDVDQG(O6DOYDGRU
   Transfer to ICE for removal processing      2           2           6          1         11
   Transfer to ICE for release with NTA        1           1          15          0         17              'DWDYDOLGDVRI6HSWHPEHUGHVFULEHVSUHYLRXVGD\ VERRNRXWVRIVLQJOHDGXOWV
   Release with NTA                            5          120         45          0         170
   5HOHDVHZLWK,SDUROH$7'                0           0           0          0          0
                                                                                                                                                                                                                         Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 187 of 233




   Release with NTR                            0           0           0         0           0
   Release OFO parole                          4           4           5         10         23
   Other                                       0           0           0          0          0
   Total                                      28          188         103        24        343

                                                                                                                                                                                Haiti AR_000330
DHS Southwest
    SouthwestBorder
              BorderTask Force
                       Task    Executive
                            Force  LeaderLeadership Report
                                           ship Repor      – Data
                                                      t – Data    Tables
                                                                Tables                                                                                                                                                 12
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  Leadership Report Glossary
  Definitions are in alphabetical order from left to right, top to bottom

   Term                        Definition
   Accompanied Minor           A child who has no lawful immigration status in the United States, is
                               younger than 18 years old, and is traveling with a lawfully admissible
                               DGXOW                                                                         Term                        Definition
   All non-Mexican UCs         Refers to combined apprehensions/inadmissibles (under Title 8)                 Children transferred out Unaccompanied children who are booked out of CBP custody for
   and Mexican UCs 13 or       SURFHVVHGXQGHU&%3 VLPPLJUDWLRQDXWKRULW\8QGHUWKH+RPHODQG               of CBP custody (UC       WUDQVIHUWR255FDUHIDFLOLWLHV
   younger                     Security Act (as amended by the Trafficking Victims Protection                 Dashboard)
                               5HDXWKRUL]DWLRQ$FW QRQ0H[LFDQ8&VDUHDGPLWWHGLQWR255FDUH
                               most Mexican UCs younger than 14 years-old are also transferred into           Encounter forecast – UC CBP’s projected number of daily encounters with unaccompanied
                               255FDUH                                                                      Dashboard               FKLOGUHQIURPFRXQWULHVRWKHUWKDQ0H[LFR

   Alternatives to             ICE program using technology and other tools to manage a                       Encounters                  The sum of USBP Title 8 apprehensions, OFO Title 8 inadmissibles, and
   detention (ATD)             QRQFLWL]HQ VFRPSOLDQFHZLWKUHOHDVHFRQGLWLRQVZKLOHWKH\DUHRQWKH                                     noncitizens processed for expulsions under Title 42 authority by USBP
   enrollments with tech /     QRQGHWDLQHGGRFNHW                                                                                       RU2)2
   without tech
   Available beds for SW       Operational metric based on field reporting used by ICE to describe the        Expulsions                  1RQFLWL]HQVH[SHOOHGXQGHU7LWOHDXWKRULW\ VHH7LWOH 
   border transfer             number of beds in interior facilities available to accept transfers from
                               WKHERUGHU                                                                    Family unit individuals     Individuals processed by CBP who belong to a family unit, defined as
   Average days in care for The average number of days spent in ORR care by unaccompanied                     (FM)                        one or more minors plus their parent(s) or legal guardian(s) with whom
   children discharged in   FKLOGUHQZKRZHUHGLVFKDUJHGIURP255FDUHRYHUWKHSDVWGD\V                                              WKH\DUHWUDYHOLQJH[FOXGHVPLQRUFKLOGUHQ XQGHUWKHDJHRI 
   last 7 days                                                                                                                            traveling with adult family members who are not their parents or legal
                                                                                                                                          JXDUGLDQV$OOUHIHUHQFHVWRIDPLO\XQLWVRU)0VDUHWRQXPEHUVRI
   Average length of stay      Calculated as time between book-in and book-out for noncitizens                                            LQGLYLGXDOVLQIDPLOLHVQRWWRIDPLO\JURXSLQJV
   (ICE detention)             ERRNHGRXWRI,&(FXVWRG\ 1RWFDOFXODWHGIRUQRQFLWL]HQVUHPDLQLQJLQ
                               ,&(FXVWRG\                                                                  Flight capacity (Ice Air)   The percentage of seats occupied based on total number of seats per
   Beds available for      The number of beds ostensibly available for ORR designation or                                                 IOLJKW
   border designation or   WUDQVIHU7KLVLQFOXGHVEHGVWKDWDUHDYDLODEOHIRUGLUHFWERUGHU
                                                                                                              I-94 parole-ATD (CBP        Noncitizens paroled into the United States by CBP and enrolled in an
   transfer (UC Dashboard) placement, as well as beds that are technically available, but not
                                                                                                              book-out disposition)       ,&(DOWHUQDWLYHVWRGHWHQWLRQ $7' SURJUDPSULRUWRWKHLUUHOHDVH
                           QHFHVVDULO\IRUGLUHFWERUGHUSODFHPHQW
   Capacity (CBP)              Total short-term holding space in CBP border facilities, accounting for        In CBP holding > 72         The number of Unaccompanied Children (excluding those from Mexico)
                               &29,'UHODWHGUHVWULFWLRQV                                                    hours (UC Dashboard)        LQ&%3FXVWRG\RYHUKRXUV:LWKWKHH[FHSWLRQRI0H[LFDQDQG
   Capacity (ICE)              Total funded ICE detention beds for single adults under current                                            Canadian children who are amenable to Voluntary Return (VR), the
                               appropriations law, excluding beds that are unavailable due to                                             trafficking Victims Protection Reauthorization Act of 2008 (TVPRA)
                               OLWLJDWLRQ&29,'DQGIRURSHUDWLRQDORURWKHUUHDVRQV                                                   UHTXLUHV&%3WRWUDQVIHUWKHFKLOGWR255FXVWRG\ZLWKLQKRXUVRI
                                                                                                                                          GHWHUPLQLQJWKH\PHHWWKH8QDFFRPSDQLHG&KLOGGHILQLWLRQ
   CBP holding (UC             1RQFLWL]HQVKHOGIRUSURFHVVLQJLQ&%3ERUGHUIDFLOLWLHV
   Dashboard)
                                                                                                              In Detention (ICE)          Noncitizens detained in ICE civil immigration detention system in
   CBP processed complete Noncitizens in CBP facilities who have been completely processed and                                            furtherance of their removal proceedings or to affect their departure
                          DUHDZDLWLQJWUDQVIHU                                                                                          from the United States after a final order of removal from a federal
                                                                                                                                          LPPLJUDWLRQMXGJH
   Children discharged in      The number of unaccompanied children who have been discharged in
                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 188 of 233




   last 7 days by individual   WKHODVWGD\VGLYLGHGLQWRRIVSRQVRUFDWHJRULHV3DUHQWRUOHJDO   In ORR Care > 35 days       Unaccompanied children who have been in ORR care over 35 days
   sponsor category (UC        JXDUGLDQ$QLPPHGLDWHUHODWLYHDEURWKHUVLVWHUJUDQGSDUHQWRU        (UC Dashboard)              (excluding long term foster care) - an indicator that a child has been in
   Dashboard)                  other close relatives (aunt, uncle, first cousin) who either was or was                                    ORR care for a long time, as the process of finding, vetting, and
                               QRWSUHYLRXVO\WKH8& VSULPDU\FDUHJLYHU2WKHUVSRQVRUVXFKDV                                      UHXQLI\LQJDVSRQVRUZLWKDFKLOGLVLGHDOO\IHZHUWKDQGD\V
                               GLVWDQWUHODWLYHVDQGXQUHODWHGDGXOWLQGLYLGXDOV1RVSRQVRUV
                               LGHQWLILHG                                                                                                                                        Haiti AR_000331
NOTE:
DHS REPORT CONTAINS
      Southwest     MOCK
                Border   DATA
                       Task Force Executive Leadership Report                                                                                                                                                         13
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  Leadership Report Glossary
  Definitions are in alphabetical order from left to right, top to bottom



   Term                      Definition                                                                   Term                     Definition
   Mexicans 14 or older      Unaccompanied Children from Mexico may be repatriated by CBP if the          Single adults (SA)       Individuals encountered by CBP who are at least 18 years of age and
   (UC Dashboard)            IROORZLQJDUHWUXHŃ7KHFKLOGKDVQRWEHHQDYLFWLPRIDVHYHUHIRUPRI                            QRWSDUWRIDIDPLO\XQLW£
                             trafficking in persons and there is no credible evidence that the minor
                             is at risk of being trafficked upon return to his/her country of             Time in custody (TIC)    (ODSVHGWLPHEHWZHHQDQRQFLWL]HQ VERUGHUHQFRXQWHUDQGWKHWLPHDW
                             QDWLRQDOLW\RUODVWKDELWXDOUHVLGHQFH DVGRFXPHQWHGRQ&%3)RUP                                which TIC is calculated (applies to noncitizens who remain in CBP
                             Ń7KHFKLOGGRHVQRWKDYHDIHDURIUHWXUQLQJWRKLVKHUFRXQWU\RI                                  FXVWRG\DWWKHWLPHRIWKHUHSRUW 
                             nationality or last habitual residence owing to a credible fear of
                                                                                                          Title 42 (T42)           Title 42 of the United States Code, which includes provisions related to
                             SHUVHFXWLRQDQGŃ7KHFKLOGLVDEOHWRGHFLGHLQGHSHQGHQWO\WRUHWXUQ
                                                                                                                                   SXEOLFKHDOWK8QGHUD0DUFK&'&RUGHUERUGHUHQFRXQWHUV
                             YROXQWDULO\WRKLVKHUFRXQWU\RIQDWLRQDOLW\RUODVWKDELWXDOUHVLGHQFH
                                                                                                                                   processed under Title 42 authority are expelled from the United States
   Northern Central          (O6DOYDGRU*XDWHPDODDQG+RQGXUDV                                                                 DVH[SHGLWLRXVO\DVSRVVLEOHLQWKHLQWHUHVWRI86SXEOLFKHDOWKWR
   America (NCA)                                                                                                                   SUHYHQWWKHVSUHDGRI&29,'

   Notice to appear (NTA)    The I-862 form, a document that instructs an individual to appear            Title 42 delayed         Noncitizens expelled under Title 42 authority following transfer from
                             EHIRUHDQLPPLJUDWLRQMXGJH7KLVLVWKHILUVWVWHSLQVWDUWLQJUHPRYDO     expulsions               their encounter area of responsibility to another CBP area of
                             SURFHHGLQJVXQGHU6HFWLRQRIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW                                 UHVSRQVLELOLW\RUWR,&(IRUH[SXOVLRQE\DLU
   Other releases (FM and    Persons released from CBP custody without being booked into ICE
                                                                                                          Title 42 immediate       Noncitizens expelled under Title 42 authority by CBP from the area of
   SA Dashboards)            FXVWRG\RUHQUROOHGLQ$7'
                                                                                                          expulsions               UHVSRQVLELOLW\RIWKHLUHQFRXQWHU

   Parole (CBP)              Discretionary permission granted to an otherwise inadmissible                Title 8 (T8)             Title 8 of the United States Code, which includes most provisions for
                             noncitizen to temporarily enter the United States due to an emergency                                 LPPLJUDWLRQHQIRUFHPHQW(QFRXQWHUVSURFHVVHGXQGHU7LWOHDXWKRULW\
                             and urgent humanitarian reason or significant public benefit                                          PD\EHVXEMHFWWRUHPRYDOIURPWKH8QLWHG6WDWHV

   Ports of entry            Any location in the United States or its territories that is designated as   Total beds (UC           7KHQXPEHURI WRWDOEHGVGHVLJQDWHG SOXVWKHQXPEHURI EHGV
                             DSRLQWRIHQWU\IRUQRQFLWL]HQVDQG86FLWL]HQV                          Dashboard)               DYDLODEOHWRGHVLJQDWH  VHHGHILQLWLRQVRIHDFKWHUP 

   Released ATD - no Tech    Noncitizens released from CBP custody and immediately enrolled in ATD        Total beds designated    The number of beds designated to unaccompanied children based on
   (FM and SA                ZLWKRXWVRPHIRUPRIWHFKQRORJ\                                             (UC Dashboard)           the current census of children (includes those pending transfer from
   Dashboards)                                                                                                                     &%3LQWUDQVLWDQGSK\VLFDOO\LQ255 VFDUH 7RWDOEHGVGHVLJQDWHG 
                                                                                                                                   beds designated to kids in care + beds designated to kids who haven’t
   Released ATD with Tech Noncitizens released from CBP custody and immediately enrolled in ATD                                    DUULYHG\HW
   (FM and SA             ZLWKVRPHIRUPRIWHFKQRORJ\
                                                                                                          Total discharges from    7KHQXPEHURIXQDFFRPSDQLHGFKLOGUHQZKRKDYHH[LWHG255 VFDUH
   Dashboards)
                                                                                                          ORR care (UC
   Repatriations             7KHVXPRI7LWOHUHPRYDOVDQGUHWXUQVWRFRXQWULHVRIFLWL]HQVKLS         Dashboard)

                                                                                                          Unaccompanied children Children who have no lawful immigration status in the United States,
   Room occupancy (FM        Number of rooms housing family units in ICE custody divided by the           (UC)                   DUH\RXQJHUWKDQ\HDUVROGDQGHLWKHU'RQRWKDYHDSDUHQWRU
   Dashboard)                QXPEHURIWRWDOURRPVDYDLODEOH                                                                   OHJDOJXDUGLDQLQWKH86RU'RQRWKDYHDSDUHQWRUOHJDOJXDUGLDQ
                                                                                                                                 LQWKH86ZKRLVDEOHWRSURYLGHFDUHDQGSK\VLFDOFXVWRG\
                                                                                                                                                                                                               Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 189 of 233




                                                                                                          Unaccompanied children A ratio (expressed as a percentage) that compares the total number of
                                                                                                          system capacity (UC    unaccompanied children in CBP and ORR care to the total number of
                                                                                                          Dashboard)             255EHGVLQXVHRUDYDLODEOHIRULQLWLDO255GHVLJQDWLRQV


                                                                                                                                                                         Haiti AR_000332
NOTE:
DHS REPORT CONTAINS
      Southwest     MOCK
                Border   DATA
                       Task Force Executive Leadership Report                                                                                                                                                 14
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                                                               Haiti AR_000333
                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2007
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
AFGHANISTAN                                                                                                  1            1                                                  1            1                             0             2
ALBANIA                                                          1      3       4                                         8             5      2                             6          13                              0            21
ALGERIA                                                                 1                                                 1                                                               0                             0             1
ANGOLA                                                 1                                                                  1                                                                0                            0             1
ANTIGUA-BARBUDA                                                                                                           0                                                  1            1     2      1                3             4
ARGENTINA                                    2         6         3      7      15       8     17             6           64      1     9       1                                        11      6      1                7            82
ARMENIA                                                                                 5                                 5            2                                                  2                             0             7
AUSTRALIA                          1         1                                                                            2      1     1                                                  2     1                       1             5
AUSTRIA                                                                                                                   0            1                                                  1                             0             1
AZERBAIJAN                                                                                                                0                                     1                         1                             0             1
BAHAMAS                            1                             1                      1                                 3                                                                0   12                      12            15
BANGLADESH                                                              1      21                 1                      23             4      1      1                      1            7     4      2                6            36
BARBADOS                                                                                                                  0                                                               0            1                1             1
BELARUS                                                                                           1                       1             2                                    1            3                             0             4
BELGIUM                                                                                                      1            1                                     1                         1                             0             2
BELIZE                                       3         3         2      6      21       4         4                      43             4                                                 4     3      3                6            53
BENIN                                                                                                                     0             2                                                 2                             0             2
BHUTAN                                                                                                                    0             1                                                 1                             0             1
BOLIVIA                                      2                2        15      46       9         2                      76             4      1                      2      6          13      1      2                3            92
BOSNIA-HERZEGOVINA                                            1                 1                 1                       3                                                                0                            0             3
BRAZIL                             5         5         1     16       172     793       6         9          1        1,008           22              1   16    2           76         117     44     45               89         1,214
BULGARIA                           1         1                          2       1       1         4                      10      1     1       1                             4            7                             0            17
BURKINA FASO                       1                                                                                      1                                                               0                             0             1
BURMA                                                  1                        3                 3                       7      1      1                                                 2            2                2            11
CAMBODIA                                                         1                      1         1                       3                                                               0                             0             3
CAMEROON                                                                        1                 1                       2            2                                                  2            1                1             5
CANADA                             4                   2                2       3       1         1          2           15     64    54      17     35   32   16    15    303         536      3                       3           554
CAPE VERDE                                                                                                                0                                                  3            3                             0             3
CENTRAL AFRICAN REPUBLIC                                                        1                                         1                                                                0                            0             1
CHILE                              2                4        13         5       7     11      12             2           56            3                        1            2            6     1      2     1          4            66
CHINA, PEOPLES REPUBLIC OF         4      3        20         5       101     553      3      38             3          730     11    27       7      8    1                27          81     19      6     1         26           837
COLOMBIA                           7     15         3       125        26      88     13      24             1          302      7    29       7      6         1           69         119     31     15               46           467
CONGO                              1      1                                                                               2            6       1                             3          10             1                1            13
COSTA RICA                         3      3            1     34        17      42       5     40             4          149      1    18              3                      1          23      9     11               20           192
CROATIA                            1                                                                                      1                                                  1            1                             0             2
CUBA                               9         6         5     16        23      52       2     16             2          131      1      2                                    1            4 3,959      1   201      4,161         4,296
CZECH REPUBLIC                     1                          3                 1       2      1             2           10                    1                                          1     2      2                4            15
CZECHOSLOVAKIA                                                                                 1                          1            5                                                  5     2                       2             8
DOMINICA                                                                                                                  0            1                                     2            3                             0             3
DOMINICAN REPUBLIC                           1               15        54     112      3        9                       194            7                   1                10          18      8      1   340        349           561
ECUADOR                         6            1     13        33       215     164     22      294         21            769           74      25      3    1    1           45         149     21     18               39           957
EGYPT                           1                                                               1                         2            2       1                                          3            4                4             9
EL SALVADOR                   115       921       190       785      2,442   6,508   313    2,174        154         13,602     17    67      22     20    4    6     1     19         156    100    254              354        14,112
ERITREA                                                                  2      86                                       88                                                               0                             0            88
ESTONIA                            1                                                                                      1                                                  1            1                             0             2
ETHIOPIA                                     1                          2      42       1                                46                                                               0                             0            46
FRANCE                             3         1         2         1              2                                         9      1      1      1      1                      1            5     1                       1            15
GABON                                                                                                                     0             1                                                 1     1                       1             2
GAMBIA                                                           1              1                                         2             1                                    1            2     1                       1             5
GEORGIA                                                                                           1                       1             1                                                 1     2      1                3             5
GERMANY                            3                                            1       2                                 6      2      1                                    1            4     1                       1            11
                                                                                                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 191 of 233




GHANA                                                                           6                                         6            19      1           1                 3          24      1                       1            31
GREECE                                                                                            1                       1                                                                0           1                1             2
GRENADA                            1                                                                                      1             1                                                 1     1                       1             3
GUAM                                                                                            1                         1                                                                0                            0             1
GUATEMALA                     157       872       195      1,484     1,821   3,972   548    7,045        213         16,307     24    167     41     16    8   14     3     46         319    476    236              712        17,338

                                                                                                                                                                                 U.S. Customs and Border
                                                                                                                                                                                               Haiti     Protection
                                                                                                                                                                                                     AR_000334
                                                                                                                    Page 1 of 3
GUINEA                                                             1              1                   2            4                                   1           5                           0         7
GUYANA                                                   2         2              3                   7            5      6                            2          13     5     2               7        27
HAITI                              2              1               75      2                          80           14                                   5          19   206     2   4         212       311
HONDURAS                 100   4,564   136      457   6,414    7,896    217    1,775     144     21,703    23     70     33    27    1     8     2    46         210   355   639             994    22,907
HONG KONG                                                                                             0                                                5           5           1               1         6
HUNGARY                           1               1               2                        1          5                   1     1                                  2     2                     2         9
ICELAND                                                                                               0                         3                                  3                           0         3
INDIA                      5                      2     30       27       4       5        3         76    34     31      4     1                9    14          93     5    14              19       188
INDONESIA                  7                      1      1                        1        2         12            6      4     1          1     2     2          16     2     4               6        34
IRAN                       1             1               2        2       3       3                  12     2      1                                   1           4                           0        16
IRAQ                                              1      5        5       3                1         15            1      1                                        2                           0        17
IRELAND                                                                                               0            4            1    1                 1           7                           0         7
ISRAEL                     4      3                               3       5       3                  18     2      5      1          1     1           3          13     2     3               5        36
ITALY                                                    2                1                           3            1            1                      2           4                           0         7
IVORY COAST                                       1                       1       1                   3            3                                               3                           0         6
JAMAICA                    2      4               4      1        8       1       4        2         26           34      7     1    4                 2          48    38     4              42       116
JAPAN                      1      1               2                                        1          5                         1                                  1                           0         6
JORDAN                     1                      2               1       2       1        1          8     1      4            1                                  6     3     4               7        21
KAZAKHSTAN                        1                      1                                            2                                                1           1     4                     4         7
KENYA                      2                      2               5                                   9            3            2                      5          10                           0        19
KOREA                             1      2        2               8       3       2                  18     6                                          1           7                           0        25
KUWAIT                                                                    2                           2                                                            0                           0         2
LAOS                       3                                                       1                  4                              1                             1                           0         5
LATVIA                                            1                                                   1                                    1           1           2                           0         3
LEBANON                           1                      1        1       4       1                   8            1      4     1                                  6                           0        14
LIBERIA                                                           6               1                   7                                                1           1     1                     1         9
LITHUANIA                                                3        2                        2          7                                                            0           1               1         8
MACEDONIA                                                2        4                1                  7            2                                               2                           0         9
MALAWI                                                                                                0            1                                               1           1               1         2
MALAYSIA                                          1      1                                            2                         1                                  1                           0         3
MALI                                                                                                  0            3                                   1           4           3               3         7
MAURITANIA                 1                             1                                 1          3                                                            0                           0         3
MAURITIUS                                                                                             0                                                            0     1                     1         1
MEXICO                  5,002 16,286 55,271   72,293 44,831   51,975 151,140 366,456   37,380   800,634   518   1,271   686   334   17   409   290   284       3,809 1,612 2,633           4,245   808,688
MOLDOVA                                                                                               0     1                                          2           3                           0         3
MOROCCO                                           1                                                   1            1                       1           2           4           3               3         8
NEPAL                                                             4                                   4                                                1           1                           0         5
NETHERLANDS                2                                                      1                   3                   2                            1           3                           0         6
NEW ZEALAND                                       1      1                                 1          3            1                                               1                           0         4
NICARAGUA                 12    194     14       69    295      705      27     154       14      1,484     3      4           11          8     1     2          29    74    57             131     1,644
NIGER                                                    1                                            1            3      2                                        5                           0         6
NIGERIA                    4      1                      1        2       3       1                  12           13                 1                 4          18     1     4               5        35
NORTH KOREA                                              3                                            3                                                            0                           0         3
NORWAY                     1                      1                                                   2                                                            0                           0         2
PAKISTAN                                                                  1       2                   3     2      6      4     2          2           6          22           3               3        28
PALAU                                                                                                 0            1                                               1                           0         1
PANAMA                     3      1               4      1        4       1       2                  16            3                       1                       4     4    10              14        34
PAPUA NEW GUINEA                                                                                      0            2                                               2                           0         2
PARAGUAY                          1      2        2      2        3       1       1                  12                                                            0     2                     2        14
PERU                       5      3      2       36     96       40      13      51        8        254           20      3     1          9          12          45    26     5   1          32       331
PHILIPPINES               19             2        2               3      21       5        2         54     2      9      2                                       13     2                     2        69
POLAND                            2      2        5      6        3       1       2        1         22           27            1                      3          31     7                     7        60
PORTUGAL                                                          1                                   1                                    1           3           4                           0         5
ROMANIA                    2                      3     12       34       9       5                  65     2      4      2     2                      3          13     4                     4        82
RUSSIA                     3                      2      1        1       1       1        1         10     1      9      1                            5          16     2     3               5        31
RWANDA                                                                                                0            1                                   1           2                           0         2
SAO TOME AND PRINCIPE                                    1                                            1                                                            0                           0         1
SAUDI ARABIA                                      1                                2                  3            1      1                                        2                           0         5
                                                                                                                                                                                                        Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 192 of 233




SENEGAL                                                                                               0            3                                   2           5     1                     1         6
SERBIA AND MONTENEGRO                                   15        2               1                  18                   1          1                 3           5     1                     1        24
SINGAPORE                         1                                                                   1                                                            0                           0         1
SLOVAKIA                                                                                   1          1                                                            0                           0         1
SOMALIA                           2                      1       17       7                1         28                         4    1     1                       6                           0        34

                                                                                                                                                           U.S. Customs and Border
                                                                                                                                                                         Haiti     Protection
                                                                                                                                                                               AR_000335
                                                                                                Page 2 of 3
SOUTH AFRICA                2      1                               1       1                           5     1                   1                                    2     1                     1         8
SOUTH KOREA                 3      1               5               6               6        1         22     8      3      1     1               16     16           45                           0        67
SPAIN                       1             1        3               1       1                1          8                                                              0                           0         8
SRI LANKA                                                 2        2                                   4           10                                                10                           0        14
ST. KITTS-NEVIS                                                                                        0            2                                                 2                           0         2
ST. LUCIA                                                                                              0            2                                                 2     1                     1         3
ST. VINCENT-GRENADINES                                                                                 0            1                                                 1                           0         1
STATELESS                                                                                              0                                                              0     1                     1         1
SUDAN                                                                                                  0                         1                       2            3                           0         3
SURINAME                           1                                                                   1                                                              0     1                     1         2
SWEDEN                                                                                                 0            3            1    1                  1            6                           0         6
SWITZERLAND                                                                1       1                   2                                                              0                           0         2
SYRIA                                              1                       2                           3                                                              0                           0         3
TAIWAN                                             1                       1                1          3                         1                       3            4                           0         7
TAJIKISTAN                                                                                             0            2                                                 2                           0         2
TANZANIA                    2                      2               1               1                   6            1                                                 1     1     1               2         9
THAILAND                    1      1                               1       1       1                   5            2                                                 2     1                     1         8
TOGO                                                                                                   0            1                                                 1                           0         1
TONGA                                                                      1                3          4                                                              0                           0         4
TRINIDAD AND TOBAGO         3      1               1               1               1                   7     1     10      1                             4           16    10                    10        33
TUNISIA                     1                                                                          1            1                                                 1                           0         2
TURKEY                      3                      1               1       2       8        1         16     4      3      1                                          8     3                     3        27
TURKMENISTAN                                                                                           0            1                                                 1           1               1         2
UGANDA                                                             2       1                           3            1                 1                               2                           0         5
UKRAINE                     2                                              2                2          6     3      4                                    1            8     2     1               3        17
UNITED KINGDOM              7                      1      1        2                        1         12     1      1      1     1                       5            9                           0        21
UNKNOWN                                                   1                        5                   6            1                                                 1                           0         7
URUGUAY                            2      1        2      3        4       7      10        1         30            4      1                            11           16     9     3              12        58
UZBEKISTAN                                                                         1                   1            6      1                             2            9     2     1               3        13
VENEZUELA                   1      3      2        3     15       17       5      14                  60     2      5                                    5           12    15     4              19        91
VIETNAM                     1                      2               1       1       2                   7                              1                               1           1               1         9
YEMEN                                                                                                  0            2                                                 2                           0         2
YUGOSLAVIA                                         1     42        1                        1         45                   1                             3            4                           0        49
ZAMBIA                                                                              2                  2            4                                                 4     1                     1         7
ZIMBABWE                     1                                                      1                  2                                                  2           2                           0         4
TOTAL                    5,536 22,918 55,883   75,463 56,714   73,430 152,460 378,243   37,992   858,639   749   2,190   902   497   95   486   341   1,118       6,378 7,120 4,019   548    11,687   876,704
                                                                                                                                                                                                           Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 193 of 233




                                                                                                                                                              U.S. Customs and Border
                                                                                                                                                                            Haiti     Protection
                                                                                                                                                                                  AR_000336
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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2008
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
AFGHANISTAN                                                      2                                1          1            4             2                                                 2                             0             6
ALBANIA                                                                 8       5                 1          1           15             2      5                             4          11                              0            26
ALGERIA                                                1                                                                  1                           1                                    1    1                       1             3
ANGOLA                                                                                                                    0             2                                                 2                             0             2
ANTIGUA-BARBUDA                                                                 1                                         1                                                                0    1                       1             2
ARGENTINA                          4         1         1         3      4      18     10          7          1           49             4                                    2            6     6      5               11            66
ARMENIA                            1                                                  19                                 20      1                                           1            2                             0            22
AUSTRALIA                          1         1                   2                                                        4             2                                                 2                             0             6
AUSTRIA                                                1                                                                  1                                                                0    1                       1             2
BAHAMAS                                                                         1                 1                       2                                1                              1    15      3               18            21
BANGLADESH                                                                      7                                         7             9                                    1          10      2      1                3            20
BARBADOS                                                                                                                  0             1                                                 1                             0             1
BELARUS                                                                                                                   0             2                                                 2                             0             2
BELIZE                             1         6         2         3      4      34       5         3          1           59             2                             1      1            4            8                8            71
BENIN                              1                                                                                      1             2                                                 2                             0             3
BERMUDA                            1                                                                                      1                                                  1            1                             0             2
BHUTAN                                                                          3                                         3                                                                0                            0             3
BOLIVIA                                                                13      33       3         5                      54             6                                    4          10      6      4               10            74
BOSNIA-HERZEGOVINA                 1                                            1       1                                 3                           1                                   1                             0             4
BOTSWANA                           1                                                                                      1                   1                                            1    1                       1             3
BRAZIL                             5         4         2         7    154     515       6     16             2          711            47     1            3               120         171     53     41               94           976
BULGARIA                           1                   1         1      2               2      2             2           11             5     1       1                                   7                             0            18
BURKINA FASO                                                                                                              0             3     1                                           4                             0             4
BURMA                              1                                    3       2                 3                       9      1                                                        1            2                2            12
CAMBODIA                                                                                1                                 1      1      2                             1                   4                             0             5
CAMEROON                           1                             1              1                                         3             2                                                  2    1      1                2             7
CANADA                             1         2         1         1                      4         1                      10     75    105     18     33   36   11    10    309         597      1      1                2           609
CAPE VERDE                                                                                                                0             2                                    1            3                             0             3
CHAD                                                                                                                      0             3                                                 3                             0             3
CHILE                                               3         6         4       9     8       13             2           45      2      9                                               11      2      2                4            60
CHINA, PEOPLES REPUBLIC OF     18         5        14        14        69     526    15       38             3          702      3     67     20      7    1    1            4         103      9      6    16         31           836
COLOMBIA                        5        14         2        47        22      98     7       20                        215     13     29      6      2         1          115         166     33     14     3         50           431
CONGO                           2                                                                                         2             3                                    1            4     1                       1             7
COSTA RICA                                   2         4     10        10      76       4     31                        137      4     21             1                      6          32      8      4               12           181
CROATIA                                                                                                                   0             1                                                 1                             0             1
CUBA                               9         2                   7     24      66       9     14             1          132     12      1                                    4          17 3,129       3    70      3,202         3,351
CYPRUS                                                                                                       1            1                                                               0                             0             1
CZECH REPUBLIC                               1                   2              1       1                                 5             3      2      4    2                 2          13      2                       2            20
CZECHOSLOVAKIA                                                                                                            0      2      1                                    1            4                             0             4
DEM REP OF THE CONGO                                                                                                      0             4                                                 4                             0             4
DENMARK                                                                                                                   0             1                                                 1                             0             1
DJIBOUTI                                                                                                                  0             2                                                 2                             0             2
DOMINICA                                                                                                                  0             3                                    1            4     2            6          8            12
DOMINICAN REPUBLIC                        3         2        10        83      188     3      27             2          318            24      2                             6          32     14      9   446        469           819
ECUADOR                            4     20        28        21       276      221    14     798             2        1,384      1    107     20      4                     36         168     11     16               27         1,579
EGYPT                                                                            2     2                                  4             9      3                             1          13                              0            17
EL SALVADOR                   112      1,113      244       235      1,823   5,890   324    2,316         76         12,133     17    105     18     11    1    8     9     31         200    121    227     2        350        12,683
ERITREA                                                                 19     163     1                                183      1                                                        1                             0           184
ESTONIA                            1                                                                                      1      1                                                        1     1                       1             3
ETHIOPIA                           1                                    9      41                                        51             3                                    1            4            1                1            56
FIJI                               2                                    1                                                 3      3                                                        3                             0             6
                                                                                                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 194 of 233




FRANCE                             1         1         2                        2                                         6             1                                    8            9     1      1     1          3            18
GABON                              1                                                                                      1                                                                0    1      1                2             3
GAMBIA                                                 1                                                                  1             4      1      1                                   6                             0             7
GEORGIA                                                                         3             13                         16             4      2                                          6            1                1            23
GERMANY                            1                   1         5              1                            1            9      1                    2                                   3                             0            12

                                                                                                                                                                                 U.S. Customs and Border
                                                                                                                                                                                               Haiti     Protection
                                                                                                                                                                                                     AR_000337
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                                                             SOUTHWEST BORDER                                                                 NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                     BBT       DRT       ELC       EPT       LRT   RGV    SDC        TCA       YUM       SBO Total    BLW    BUN     DTM    GFN HLT    HVM  SPW     SWB    NBO Total   MIP   NLL RMY    CBO Total       Total
GHANA                      1                                    1        5       1                                8            29              1    2                  2           34           1                1           43
GREECE                                                                           2                                2             3                                      1            4                            0            6
GRENADA                                                                                                           0             2                                                   2                            0            2
GUADELOUPE                                                       1                                                1                                                                 0                            0            1
GUATEMALA             214       842       225        428     1,389    4,117    729    7,106      93          15,143     87    258      78     27   12     8           84          554   467   232              699       16,396
GUINEA                  1                              1                  1                                       3             9                                      4           13                            0           16
GUYANA                                                           3        4                                       7             9                                      2           11     1     3                4           22
HAITI                   2                              1         5       12                                      20            59       1           1                 49          110    75     6    16         97          227
HONDURAS              119      3,633      215        265     4,916    7,073    272    1,491     126          18,110     42    152      40     28    2    10     7     46          327   278   631              909       19,346
HONG KONG               1                                                 1                                       2                                 2                               2                            0            4
HUNGARY                                                                          2                                2             4       2                              1            7                            0            9
ICELAND                                                                                                           0                            1                                    1                            0            1
INDIA                      8         5                   3     16       31       5         8         1           77     12     60       3           3           1     4            83     1    12               13          173
INDONESIA                  3                   1         2      1        1                                        8             7       1           1     1     1     5            16     2                      2           26
IRAN                       1                             1      1                6                                9                                                                 0           2                2           11
IRAQ                                                                     1                 1         2            4             1       4                                           5                            0            9
IRELAND                              1                                   3                                        4             4                                      4            8                 1          1           13
ISRAEL                     4                   2                         5       2                   3           16      2     13       5      2                       4           26     3     1                4           46
ITALY                      2                   1         2                       4                   1           10             3                                      3            6     2     1                3           19
IVORY COAST                1                                    1                                                 2             3                                                   3           1                1            6
JAMAICA                    3         2                   3               9       1         3         2           23            71       1                              6           78    47    11     1         59          160
JAPAN                      1                             2                                           1            4      2      1              1                       1            5                            0            9
JORDAN                     3                                                     1         2                      6             4       2                              1            7     2     5                7           20
KAZAKHSTAN                                                                                                        0                                                    1            1     1                      1            2
KENYA                      3                             1      1        1       1         4                     11            11                                      3           14           2                2           27
KOREA                      3                   1         5                       1                               10             3              1               11      1           16     1     2                3           29
KUWAIT                                                   1      1                                                 2                                                                 0                            0            2
LAOS                       1                             1               1                           1            4      1       2      1      2                1                   7                            0           11
LATVIA                                                                                                            0              1      1                       1                   3                            0            3
LEBANON                                                  2                                 2         1            5              4      3                              2            9     1                      1           15
LIBERIA                    1                                                                                      1              3      1                 1                         5     1                      1            7
LITHUANIA                                                                        2         1         1            4              7             4                       1           12                            0           16
MACEDONIA                                                1      2        5                                        8              2                                                  2           2                2           12
MALAYSIA                                                                 2                                        2              2                                     2            4           1                1            7
MALI                                                            1                                                 1              4      1                                           5                            0            6
MAURITANIA                                                                                                        0              2                                                  2           1                1            3
MEXICO               4,756 14,916 40,159           29,137 34,403     55,401 160,818 305,429    8,016        653,035    643   1,618    664    361   12   379   296    271        4,244 1,564 2,923            4,487      661,766
MOLDOVA                                                 3                 1                                       4              7                                     5           12     1     3                4           20
MONGOLIA                                       1                                                                  1              1      1                                           2                            0            3
MONTSERRAT                                                                                                        0                                                                 0                 1          1            1
MOROCCO                    1                                                                                      1             4       3                              2            9     3                      3           13
MOZAMBIQUE                                                                                                        0             1                                                   1                            0            1
NEPAL                      2                   2         1      1       25                 5                     36             8                                                   8           1                1           45
NETHERLANDS                5                                                     1                                6      2                                             2            4                            0           10
NEW ZEALAND                                            1                                                          1             2              1                       3            6     1                      1            8
NICARAGUA              16       160        15         21      239      703      30     140           3        1,327      1     10       1     11          1            4           28    62    49              111        1,466
NIGER                                                                                                             0             1                                                   1                            0            1
NIGERIA                    3         1                   1      2        4       2                               13      1     20                                      2           23     1     5                6           42
NORTH KOREA                                                                                                       0                                       1                         1                            0            1
NORWAY                                                                                                            0             1                                                   1                            0            1
PAKISTAN                   1                             2               7       1         3                     14      1     18                                      3           22     2     4                6           42
PANAMA                                                          4       17       2         4                     27             6                                                   6     1     1                2           35
PAPUA NEW GUINEA                                                                                                  0             1                                                   1                            0            1
PARAGUAY                                                 1               2               3                        6             2                                                   2           1                1            9
PERU                    7        13            9         6     69       40      22     114           5          285      1     34       2      2          3           11           53    23     9     2         34          372
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PHILIPPINES            15         5            3         8               1       7       1           2           42            36              5    1           1      2           45     5     7               12           99
POLAND                            1            1         1      4        4       2       1                       14            29      11      5                      18           63     7                      7           84
PORTUGAL                                       1         1               1                           1            4             5                                      4            9                            0           13
ROMANIA                    4         3         1         1      4        8       5      21                       47             3       5      2                       5           15     1     3                4           66
RUSSIA                                         1         3      1        1       2       1           1           10      4     22       4                             10           40     4     3                7           57
RWANDA                               1                                                                            1             2                                      1            3                            0            4

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                                                                                                                                                                                         Haiti     Protection
                                                                                                                                                                                               AR_000338
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                                                                   SOUTHWEST BORDER                                                                NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                           BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA       YUM       SBO Total    BLW    BUN     DTM    GFN HLT    HVM  SPW     SWB     NBO Total   MIP   NLL RMY    CBO Total       Total
SENEGAL                                                                       2                                        2             5       1                                            6     1                      1            9
SERBIA AND MONTENEGRO                                                14       5       1                               20      1      1              2                       1             5           2                2           27
SIERRA LEONE                                                                  1                                        1             5                                      1             6                            0            7
SINGAPORE                                                                                                              0             1                                                    1                            0            1
SLOVAKIA                                                                                        2                      2                            1                       3             4                            0            6
SOMALIA                       1                                       1      11       2                               15                            3                                     3                            0           18
SOUTH AFRICA                  1                                3              1       1                   1            7             9              1                       1            11                            0           18
SOUTH KOREA                  13            1         3         3      2       5       1         1         1           30            17       1                                           18           1                1           49
SPAIN                                                                                 1                                1             1                                                    1           1                1            3
SRI LANKA                        1                             1      9      22                 1                     34             7                                                    7                 6          6           47
ST. LUCIA                        1                                                                                     1            12                                                   12           2                2           15
ST. VINCENT-GRENADINES                                                                                                 0             2                                                    2     1     2     1          4            6
SUDAN                                                                         2                                        2      2      1              1                       1             5                            0            7
SWEDEN                           1                                                                                     1             2                                                    2                            0            3
SWITZERLAND                                          1                                                                 1                                                                  0                            0            1
SYRIA                                                                                                                  0                                                    1             1                            0            1
TAIWAN                           1                             2                                          1            4             4              1    1                                6                            0           10
TAJIKISTAN                                                                                                             0                     1                                            1                            0            1
TANZANIA                                                                      1       1                                2             2              1                       1             4                            0            6
THAILAND                         1                             3                      2                   1            7      2      6       1                                            9           3                3           19
TOGO                                                                  1                                                1             2                                      1             3           1                1            5
TONGA                                                                                                                  0                                                    1             1     1                      1            2
TRINIDAD AND TOBAGO                                            2              1                 1                      4            28       1      1                       4            34     8     2               10           48
TUNISIA                                                               1                                                1             2                                      3             5                            0            6
TURKEY                           1                   1         2      7       6       8         4         1           30      6      5              1                       7            19     1     1                2           51
TURKS AND CAICOS ISLANDS                                                                                               0                                                    1             1     1     1                2            3
UGANDA                                     1                                                                           1              3                                                   3                            0            4
UKRAINE                                                        1              1               2                        4      3      15      3      2                       4            27     3     1                4           35
UNITED KINGDOM                   2                   1         2              3       1       2           1           12      1       7             4                       5            17           3                3           32
UNKNOWN                                                                                       7                        7              1                                                   1                            0            8
URUGUAY                          1                   4         3      8       4       2       5                       27      1       3                                     7            11     6                      6           44
UZBEKISTAN                       2                   1         1                              1                        5              3      1      1                                     5     2     2                4           14
VENEZUELA                                            1         3      7      11       9      17                       48              7                                     5            12    14     4               18           78
VIETNAM                          6                   1         3              1               1                       12      1       4     11                              1            17           1                1           30
YEMEN                                                                                                                  0              5      1                              1             7                            0            7
YUGOSLAVIA                                 1                         14       1                 2                     18              4      2                              2             8     2                      2           28
ZAMBIA                                                                                                    1            1              3                                                   3                            0            4
ZIMBABWE                                                                               1                               1              3      2                 2                          7           2                2           10
TOTAL                      5,391 20,761 40,961           30,312 43,658    75,473 162,390 317,696    8,363        705,005    954   3,339    961    541   81   427   340   1,282        7,925 6,020 4,303   572     10,895      723,825
                                                                                                                                                                                                                                    Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 196 of 233




                                                                                                                                                                                 U.S. Customs and Border
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                                                                                                                                                                                                     AR_000339
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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2009
                                                                                                     Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                              NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC      TCA        YUM       SBO Total    BLW    BUN   DTM    GFN HLT    HVM  SPW   SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                                              1            1                                  2                                                2            2                              0             4
ALBANIA                                                                 13     5                 2                      20            5      7                            5          17       2                       2            39
ALGERIA                                      1                   2                               1                       4            2                                   1            3                              0             7
ANGOLA                                                                                                                   0                                                             0             1                1             1
ANTIGUA-BARBUDA                                                                               1                          1                                                              0     1                       1             2
ARGENTINA                          1         4         1                5      17      4     12             1           45      1     6                                  11          18      13      1               14            77
ARMENIA                            2                                            4                                        6                                                1            1      1      1                2             9
ARUBA                                                                                  1                                 1                                                             0                              0             1
AUSTRALIA                          1                             1                                                       2      1     2                  1                              4                             0             6
AUSTRIA                                                                                                                  0      1                                                      1                              0             1
AZERBAIJAN                                                                                       1                       1                                    1                        1                              0             2
BAHAMAS                                                                                1                                 1            2                                                2      9      1               10            13
BAHRAIN                                                                                                                  0            1                                                1                              0             1
BANGLADESH                                   2                                 37                2                      41      1    10      1                            2          14       4      1                5            60
BARBADOS                           1                             1                                                       2            2                                                2                              0             4
BELARUS                                                                         1                                        1            1                                   1            2      1                       1             4
BELGIUM                                                                                                                  0                                                1            1                              0             1
BELIZE                             8         3         2         2     12      21      2         9                      59            2                                                2      1      2                3            64
BERMUDA                                                                                                                  0            1                                                1                              0             1
BHUTAN                                                                                                                   0            1                                   1            2                              0             2
BOLIVIA                                                          2      9       4      7         4                      26           14                  1                2          17       4      5                9            52
BOSNIA-HERZEGOVINA                                               1                                                       1                                                1            1                              0             2
BRAZIL                         15            5         1         8    350     179      6     11                        575      6    19             4    7               68         104      94     25              119           798
BULGARIA                                                         5                                                       5      1     5      1                            7          14       1                       1            20
BURKINA FASO                       1                                                                                     1      1     1                                                2                              0             3
BURMA                                                                                            1                       1            1                                                1      2                       2             4
BURUNDI                                                                                                                  0            1                                   2            3                              0             3
CAMBODIA                           2         1                                                              1            4      1     3                                                4                              0             8
CAMEROON                           1         1                                  7                                        9            5                  1                1            7             5                5            21
CANADA                             2                   1         1      1       2      1         2                      10     59    39     24     26   21   20    2    285         476              2                2           488
CAPE VERDE                                                                                                               0                                                             0      1                       1             1
CHAD                                                                                                                     0                                                1            1                              0             1
CHILE                           2                   1         7         4       9     6       6                         35            1                                   2            3      4      1                5            43
CHINA, PEOPLES REPUBLIC OF     16        42        11        11       204     716    15     332          11          1,358      3    63     14      5    2    1          14         102       9     30               39         1,499
COLOMBIA                        6         6         2        27        34     104     9      45                        233      1    39      2      1                   103         146      33      8               41           420
CONGO                                                                           3                                        3            2                                                2                              0             5
COSTA RICA                         1     10            1     13         9      51      8     52                        145           11                                   4          15      12      2               14           174
CUBA                               5      1            1      3        26      45      9     13             2          105      8     2      2      2    1                1          16     707      1    81        789           910
CYPRUS                                                                                                                   0                                                1            1                              0             1
CZECH REPUBLIC                                                                         1         1          1            3            3      1                            1            5      2                       2            10
CZECHOSLOVAKIA                                                                                                           0                                                1            1      2                       2             3
DEM REP OF THE CONGO                                                                                                     0            4                                                4                              0             4
DENMARK                                                                                                                  0      1            1                                         2                              0             2
DOMINICA                                                                                                                 0            1                                   1            2      3            5          8            10
DOMINICAN REPUBLIC                           4      2         7       147     201      6     119                       486           19      2                1           4          26      26      7   319        352           864
ECUADOR                        14            5     13        28       334     148      6     621                     1,169      4    87      5      6    4    1          22         129       7      8               15         1,313
EGYPT                                                                                          1                         1            5      1                            3            9      4                       4            14
EL SALVADOR                   160       877       249       205      1,856   5,018   316   2,390        110         11,181     28    85     35     15   1     9    6     44         223     130    162              292        11,696
EQUATORIAL GUINEA               1                                                                                        1                              1                               1                             0             2
ERITREA                         1                      2         1     10     155      2                               171            2                                                2             1                1           174
ESTONIA                                                          1                                                       1                                                1            1                              0             2
                                                                                                                                                                                                                                   Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 197 of 233




ETHIOPIA                                                                2      76      1                    1           80      1     2                                   1            4      1                       1            85
FRANCE                                                                          1                                        1      1     1                                   3            5      3      2                5            11
GABON                                                                                                                    0      1     4                                                5                              0             5
GAMBIA                             1                                            1                           1            3            3                                                3      1                       1             7
GEORGIA                            1                                    7              1     13                         22            8                                   4          12       3                       3            37

                                                                                                                                                                              U.S. Customs and Border
                                                                                                                                                                                            Haiti     Protection
                                                                                                                                                                                                  AR_000340
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                                                             SOUTHWEST BORDER                                                                 NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                     BBT       DRT       ELC       EPT       LRT   RGV    SDC        TCA       YUM       SBO Total    BLW    BUN     DTM    GFN HLT    HVM  SPW     SWB    NBO Total   MIP   NLL RMY    CBO Total       Total
GERMANY                    6                             1               1                 1                      9      1      2              1    3                               7     3                      3           19
GHANA                      2                   2         1      3        6                                       14            23       3      3                       1           30     1     1                2           46
GREECE                                                                   1                                        1             2       1                              1            4                            0            5
GRENADA                                                                                                           0             6                                                   6           1     1          2            8
GUADELOUPE                                                                                1                       1                                                                 0                            0            1
GUATEMALA             223       716       374        400     1,842    3,413    676    6,364     117          14,125     70    294      78     41          9     1     62          555   649   254              903       15,583
GUINEA                                                           1                                                1                     1                                           1           1                1            3
GUYANA                                                                                                            0            10       2                                          12     6     1                7           19
HAITI                   1                   1                    3       71               1       1              78            14       1           1                 15           31    93     3     6        102          211
HONDURAS              181      2,427      205        268     3,523    5,004    282    1,331     123          13,344     46    125      40     21    1    14     4     43          294   411   577              988       14,626
HONG KONG                          1                                                                              1      2      1                                                   3                            0            4
HUNGARY                    1                             1               1       2                                5             3              1                       4            8     5     1                6           19
INDIA                      6         2         6         6     18       39       9      10           3           99     43     33       5                 1            1           83     6    16               22          204
INDONESIA                  2         4                                   1       2       1                       10             5       3      2                                   10     3    12               15           35
IRAN                                 2                   1                       5       1           1           10      2      1                                      1            4           1                1           15
IRAQ                                           1                1        4       3       1                       10             2       4                                           6                            0           16
IRELAND                                                  1               2                                        3      1      2                                      5            8     1                      1           12
ISRAEL                     2         1         1         3               6       1         1                     15      5     10       2      2          1           10           30    10     1               11           56
ITALY                      3                             1      1        1                 1                      7             1                                      2            3     1                      1           11
IVORY COAST                                                                                                       0                     1                              1            2                            0            2
JAMAICA                10            1                   6              14       4         6         1           42            52       1      2    1     1            8           65    52    14     1         67          174
JAPAN                                          1         1                       1         1         1            5             4                                                   4     1                      1           10
JORDAN                     1                             1               1       2                   1            6             3                                                   3           2                2           11
KAZAKHSTAN                                               1                                                        1                                                    1            1     1                      1            3
KENYA                      2         1         1         2      1        1       1                                9             5       1                              2            8           1                1           18
KOREA                      1                             2      1        2                 3                      9                                                                 0           1                1           10
KOSOVO                     1                                    7                                                 8                     1                                           1     1     1                2           11
KUWAIT                                                                           1         1                      2                                                                 0                            0            2
KYRGYZSTAN                                                                                           2            2             1       1                                           2                            0            4
LAOS                       3         2                                   1       1                                7                                                                 0           1                1            8
LATVIA                     2                                                                                      2                                                                 0                            0            2
LEBANON                    3                                             2                 1                      6                     1                                           1     1     1                2            9
LIBERIA                                                                  1       1                                2             2       1                                           3           1                1            6
LITHUANIA                  1                                                                                      1      1      3       1      1                                    6                            0            7
MACEDONIA                                                2      4        2                 2                     10             3       1                              1            5     2                      2           17
MALAYSIA                                                                                                          0             1                                      1            2                            0            2
MALI                                                                                                              0             1                   1                  1            3           1                1            4
MARSHALL ISLANDS                                                                           2                      2      1                                                          1                            0            3
MAURITANIA                                                                                                        0              2                                     1            3                            0            3
MEXICO               5,573 12,820 32,602           13,887 31,831     45,051 117,227 230,045    6,546        495,582    524   1,314    881    311   10   208   260    168        3,676 1,857 2,269     2      4,128      503,386
MOLDOVA                                                                   1               2        1              4              7                                     8           15     1                      1           20
MONGOLIA                                       1                1                         2                       4                     3                                           3     1                      1            8
MONTSERRAT                                                                                                        0                                                                 0                 1          1            1
MOROCCO                                                                                              1            1             4                                      2            6     1     2                3           10
NEPAL                   4            1         1         2      2       37       1                               48             9                                                   9                            0           57
NETHERLANDS             1                                                                                         1                                             1                   1                            0            2
NEW ZEALAND             2                                                                                         2                                                                 0                            0            2
NICARAGUA              17       118        23         21      182      342      34      92       12             841      2      7       3      7                       3           22    78    31     1        110          973
NIGER                                                                                                             0             3                                                   3                            0            3
NIGERIA                    2                             2      5        5                                       14             6                         1            1            8           7                7           29
NORWAY                                                                                   1                        1                                                                 0                            0            1
PAKISTAN                   1         1                          4        9               4                       19      5     11              1                       1           18     1     3                4           41
PANAMA                     1                           2        2       14       1       1                       21             2                                      1            3     4     8               12           36
PARAGUAY                   1                   1       4                 2       1       2                       11             1                                      1            2     1                      1           14
PERU                       3         6         6      12       75       41      11      88                      242      3     25       3      2         12     1     14           60    52    13     1         66          368
                                                                                                                                                                                                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 198 of 233




PHILIPPINES                6         1         2       5                 4       8       2           4           32      1     19       1      1                       1           23     6     6               12           67
POLAND                     2         1                 2                 3               3                       11      1     19       2      2    1                 18           43     4     2                6           60
PORTUGAL                                                                                             1            1             1                   1     1            1            4           2                2            7
PUERTO RICO                                                                      1       1                        2                                                                 0                            0            2
ROMANIA                    2                             4      3       13       9      33                       64             6       1      1                       2           10     5                      5           79
RUSSIA                     1         2         2         5                       4                               14      1     18       4                              8           31    11     1               12           57

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                                                                   SOUTHWEST BORDER                                                                 NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                           BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA       YUM       SBO Total    BLW    BUN     DTM     GFN HLT    HVM  SPW     SWB     NBO Total   MIP   NLL RMY    CBO Total       Total
RWANDA                                                         1                                                       1             1                                       2             3                            0            4
SAMOA                            1                                                                                     1                                                                   0                            0            1
SAUDI ARABIA                     1                                                                                     1                                                                   0                            0            1
SENEGAL                                                                               1                                1             8                                                     8     1     1                2           11
SERBIA AND MONTENEGRO            1                             1      3                                                5             7       1                               1             9     3                      3           17
SIERRA LEONE                                                                  1                                        1             3                                                     3     1     2                3            7
SINGAPORE                        1                                                                                     1             1                                                     1                            0            2
SLOVAKIA                         1                                                                                     1             2                                                     2                            0            3
SOMALIA                          1                                    2       5       3                   1           12             3               1          1     1      1             7                            0           19
SOUTH AFRICA                     2                                    1       3                                        6      2                      8                       1            11     1                      1           18
SOUTH KOREA                      9         1         1         5              4       6         2                     28      1     10       2                        1      1            15           2                2           45
SPAIN                            1         1                   3                      2                   1            8                                        1            2             3     3                      3           14
SRI LANKA                                                             5      39                                       44             5       2                              16            23           2                2           69
ST. KITTS-NEVIS                                                                                                        0                                                                   0     1                      1            1
ST. LUCIA                                                                                                              0             3       1                                             4     1     1                2            6
ST. VINCENT-GRENADINES                                         1                                                       1             8       1                                             9     2     2                4           14
SUDAN                                                          1              4       1                                6                                                                   0                            0            6
SURINAME                                                                                                               0             1                                                     1                            0            1
SWEDEN                           1                                                                                     1                                                                   0     1                      1            2
SYRIA                                                                                                                  0                             1                                     1     1     1                2            3
TAIWAN                           1                   2                                                    1            4             3                                                     3           1                1            8
TAJIKISTAN                                                                                                             0             4               2                                     6                            0            6
TANZANIA                                   1                                                                           1             5       1       1                       2             9           1                1           11
THAILAND                         3         1                   1              3       1                                9      1      4                                                     5     2                      2           16
TOGO                                                                  1                                                1                                                                   0     1                      1            2
TONGA                                                                                 1                   1            2                                                                   0                            0            2
TRINIDAD AND TOBAGO              3                             1                                1                      5            15                                       3            18    12     3               15           38
TUNISIA                                                                                                                0                                                                   0           1                1            1
TURKEY                                                                        7       2         1                     10      1      3                                       2             6     2     1                3           19
TURKMENISTAN                                                                                                           0                                                                   0           1                1            1
TURKS AND CAICOS ISLANDS                                       1                                                       1                                                                   0                            0            1
UGANDA                                                                                                                 0      1      3                                                     4                            0            4
UKRAINE                          1                             1              2                                        4      2     18               1                       4            25     2                      2           31
UNITED ARAB EMIRATES                                                                                      1            1                                                                   0                            0            1
UNITED KINGDOM               10            1         1         1              1       1         2         1           18      4       3      1                               8            16                            0           34
UNKNOWN                       2                                       1               1         6                     10      1       1                                      1             3     2                      2           15
URUGUAY                       4            3                   3      1       4       4         5                     24              2                                      1             3    16                     16           43
UZBEKISTAN                                                     3                                3                      6              8                                      2            10     1                      1           17
VENEZUELA                                  3                   2      8       7       3         7         2           32              9      2                               4            15    18     2               20           67
VIETNAM                          7         2                   3      1       3       4                               20      1       1      1                                             3     2     4                6           29
YEMEN                                                          1                                2                      3              8      2                                            10                            0           13
YUGOSLAVIA                                                           12       3                                       15              2                                                    2     1                      1           18
ZAMBIA                                                                                                                 0              2                                                    2                            0            2
ZIMBABWE                       1                                               2                                       3              1                                                    1     1                      1            5
TOTAL                      6,360 17,082 33,521           14,999 40,569    60,989 118,721 241,673    6,951        540,865    843   2,672   1,157    472   59   283   277   1,043        6,806 4,425 3,527   418      8,370      556,041
                                                                                                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 199 of 233




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                                                             U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2010
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                  5                                                 1                          6             2                                    1            3                              0              9
ALBANIA                            1                             2              7             11                         21             3      3                      1     11          18       3                       3             42
ALGERIA                                                                                        1                          1             1                                                 1      2      1                3              5
ANGOLA                                                                                                                    0                                                  1            1             1                1              2
ANTIGUA-BARBUDA                                                                                                           0             1                                                 1             1                1              2
ARGENTINA                          2                   3                8       7       6         8          2           36             2      1                1            5            9     17                      17             62
ARMENIA                                                1         2                      1         1                       5             1                                    1            2                              0              7
AUSTRALIA                          1                                                    1                                 2             2                                    1            3                              0              5
AUSTRIA                                                          1                                                        1                                                               0                              0              1
BAHAMAS                                                                         1                                         1                                                                0    14      1               15             16
BANGLADESH                                             1         1      6      82                 3                      93      2     10      2                             1          15       8      7               15            123
BARBADOS                                                                                                                  0             3      1                                          4      1                       1              5
BELARUS                                                                                                                   0             4                                                 4             2                2              6
BELIZE                             6         1         3                6      20       3         4          1           44             3      2                1                         6      6      1                7             57
BENIN                                                                                                                     0             1                                    1            2      1                       1              3
BERMUDA                                                                                                                   0                                                                0            1                1              1
BOLIVIA                            1         3                          6      13       6     22             1           52             2                                    1            3      9      2               11             66
BOSNIA-HERZEGOVINA                                                                                                        0      1                                                        1                              0              1
BRAZIL                             1         9         4     15       346     153       7     65             1          601            44             2    3    1           71         121      70     17     3         90            812
BULGARIA                                               1                        2       1                                 4             2      4                             2            8                              0             12
BURKINA FASO                                 1                                                                            1             5                                                 5                              0              6
BURMA                              1                                                              3                       4             2      1                                          3      2      2                4             11
CAMBODIA                           3                                            1       1                    2            7      2                                                        2             3                3             12
CAMEROON                           1                             2      1       5                                         9             3                                    2            5             4                4             18
CANADA                             1         1         1         6      2       2       4         4          3           24     68     15     22     21   20   17    13    481         657       8      1                9            690
CAPE VERDE                                                                                                                0             1                                    1            2                              0              2
CENTRAL AFRICAN REPUBLIC                                                                       1                          1                                                                0                             0              1
CHILE                                     1         5         1         2       6      6       1                         22      2      2                                    5            9      7                       7             38
CHINA, PEOPLES REPUBLIC OF     19        15        21        20       108     289      9     510          33          1,024      3     49     17      8    1    4            4          86      32     13     2         47         1,157
COLOMBIA                        2         4         4        34        38     158     14      51           2            307      7     26                       1           81         115      81     13     1         95            517
CONGO                           1                                                                                         1      1      5                                    2            8                              0              9
COSTA RICA                      2            4               17        21      65      1      31                        141      1     22      1      1                      1          26      16      2               18            185
CUBA                            3            7                4        21      26     10      11             2           84     11      4             2                      5          22     428      6   172        606            712
CZECH REPUBLIC                  3                                       1                                                 4      3      2                                    2            7      9      2               11             22
DENMARK                                                                                                                   0                                                  1            1                              0              1
DOMINICA                                                                                                                  0                                                                0     1      1                2              2
DOMINICAN REPUBLIC              1        16            5     24        192    436             381            5        1,060            16      5      1    3                11          36      28     10   196        234         1,330
ECUADOR                        19         8            6     17        173    205       5   1,138                     1,571           102     20      5    3    8     1     37         176      24      6               30         1,777
EGYPT                           1                                        1                                                2             5                       1            1            7      1                       1             10
EL SALVADOR                   107       905       281       168      1,786   6,403   269    3,115         89         13,123     21    106     57     23    2    7     9     37         262     161    177              338        13,723
ERITREA                                                       1          6     142                                      149      1      1                                                 2             2                2            153
ESTONIA                                                                                                                   0             1                                                 1                              0              1
ETHIOPIA                           2                             1      3      37       1                                44             1                                                 1      1      2                3             48
FIJI                                                                                                                      0             1                                                 1                              0              1
FINLAND                            1                                                                                      1                                                                0            1                1              2
FRANCE                             3                             1                      1                    2            7      2                                                        2      4                       4             13
GAMBIA                                                           1                                                        1             1      1                1                         3      2      1                3              7
GEORGIA                                                                                           2          1            3             4                                    5            9      1                       1             13
GERMANY                            2         1                                                                            3      3      1      1                             3            8      2      2                4             15
GHANA                              1                   1         1      1       3                 2                       9            18      2                             3          23       1      1                2             34
GREECE                                                                                                                    0                    1                             2             3     2                       2              5
GRENADA                                                                                                                   0                                                                0     1                       1              1
GUAM                                                          1                                                           1                                                               0                              0              1
GUATEMALA                     157       753       249       408      1,476   4,425   626    8,630        107         16,831     64    206    151     37    8    9     6     68         549     792    234            1,026        18,406
GUINEA                                                                           1                                        1      1      3      1                1                         6             1                1              8
GUYANA                                                                   5       1                                        6             4      1                                          5      8            1          9             20
                                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 200 of 233




HAITI                                                                    2      85     1        1                        89             4      1                           181         186     125      3    16        144            419
HONDURAS                       94      2,244      197       190      2,640   4,944   210    1,594        118         12,231     28    129     75     26    1   17     3     38         317     457    573     2      1,032        13,580
HONG KONG                                                                                                                 0             1                                                 1                              0              1
HUNGARY                            3                                                           1                          4             6                                    1            7      7                       7             18
INDIA                              7     11        11        10       219     737       5     45             4        1,049     50     72      6      1         4            2         135      16     21               37         1,221
INDONESIA                          1                          3                                                           4             4      1      1         1                         7      2      2                4             15
                                                                                                                                                                                 U.S. Customs and Border
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                                                           SOUTHWEST BORDER                                                                NORTHERN BORDER                                COASTAL BORDER         Nationwide
       CITIZENSHIP
                            BBT   DRT    ELC     EPT       LRT   RGV    SDC        TCA       YUM       SBO Total     BLW    BUN     DTM  GFN HLT    HVM  SPW      SWB    NBO Total   MIP NLL RMY     CBO Total      Total
IRAN                                         3         3             1      4            2                     13                      1                                          1                            0           14
IRAQ                                         4         3                    2                      1           10                      4               2             1            7                            0           17
IRELAND                                                              2      1            1                       4             1                                     5            6     3                      3           13
ISRAEL                                       2         9             2      4            1                     18              4       3                             2            9     8     3              11            38
ITALY                                                                       3            1                       4                                      1                         1     5     1                6           11
IVORY COAST                           1                        1                                                 2             2       3                             3            8     1     2                3           13
JAMAICA                       10      2      5         8       3     9      6         10           1           54       1     50       7                      1     15           74   111     5             116           244
JAPAN                                                  1                    2                                    3                                                   1            1     2                      2            6
JORDAN                         1             1                       2                                           4      1      4       1                             3            9     1     3                4           17
KAZAKHSTAN                                             1                                                         1             2       3                      1      1            7     2                      2           10
KENYA                          1                       1                       1         1         1             5      2      6       2      4                      1           15     1                      1           21
KOREA                                        1                                                                   1                                                                 0                           0            1
KOSOVO                                                        4                                                  4                     1                             1            2                            0            6
KUWAIT                                                        1                                                  1                                                                0                            0            1
KYRGYZSTAN                     1                                                                                 1                                                   1            1     1                      1            3
LAOS                           1      1      1         1              2                            1             7      1      2              1                                   4           1                1           12
LATVIA                                                                                                           0             3                                                  3     2     2                4            7
LEBANON                        2                                                         2                       4             1       2                             2            5     1     1                2           11
LIBERIA                                                                                                          0             1                        1            1            3                            0            3
LIBYA                                                  1                       1         1                       3                                                                0                            0            3
LITHUANIA                                              1                                                         1             3       1                             1            5     2                      2            8
MACEDONIA                                                             3                                          3             3       1                                          4                            0            7
MALAWI                         1                                                                                 1                     1          1                                2                           0            3
MALAYSIA                              1                               2        1                                 4             6       1                             2            9                            0           13
MALI                                                          1                                                  1             3       1                             1            5                            0            6
MARSHALL ISLANDS                                                                                                 0                                            1                   1                            0            1
MAURITANIA                                                                                                       0              1                                    1            2                            0            2
MEXICO                     4,754 10,593 31,704   11,194 27,957    40,732   67,259 195,921    6,705        396,819     376   1,143   1,196   388   6   184   316    157        3,766 1,837 1,941    2      3,780      404,365
MICRONESIA, FEDERATED STATES OF                                                                                  0                                                                 0    1                      1            1
MOLDOVA                                                2      2       1                  1                       6                     1                             4             5    6                      6           17
MONGOLIA                       1             1         1                       2                                 5      1              5                2                         8                            0           13
MOROCCO                        1                                                                                 1             1       1                1                         3     1     1                2            6
MOZAMBIQUE                                                                                                       0                                                   1            1                            0            1
NAMIBIA                                                                                                          0             1                                                  1                            0            1
NEPAL                                 1                4      8     100        1      22                      136              4       2                                           6    1     3                4          146
NETHERLANDS                    3             1                                 1                                 5                                                                0     2                      2            7
NETHERLANDS ANTILLES                                                                                             0                                                                 0               1           1            1
NEW ZEALAND                    1                                               2                                 3             1                              1                   2                            0            5
NICARAGUA                     15     95     19      11      115     345       24     126       10             760       2     10       5      9         1            5           32    80    37             117           909
NIGER                                 1                                                                          1                     1                             1            2                            0            3
NIGERIA                        1                              2       5        2                   1           11             13       2      1                      3           19     1     7                8           38
PAKISTAN                       1             2         1              9                2           2           17       3      8       2                             4           17     2     1                3           37
PANAMA                                3      1         1      1       5                2           1           14              4              1                                   5     4     1                5           24
PARAGUAY                              1      1                4       1                3                       10              1                                                  1     1                      1           12
PERU                           5      2      9      13       66      51        9     132           1          288       1     38                  1     8     1     20           69    48     4    1         53           410
PHILIPPINES                    8             5       8                3       13                   7           44             30       3      2   1                  2           38    14     6              20           102
POLAND                         2                              1       2        1                                 6            27       5      1   2     3     2     39           79    14     1              15           100
PORTUGAL                                                                                                         0                                2                  1            3     5     1                6            9
QATAR                                                                                  1                         1                                                                 0                           0            1
ROMANIA                        2      2             18               45        8     307           2          384              6       7                3            6           22     6                      6          412
RUSSIA                         2                                      3        5                   1           11             22       5                             1           28    11     2              13            52
RWANDA                                                                                                           0             1                                                  1                            0            1
SAUDI ARABIA                                           1                       2                                 3             2                                                  2                            0            5
SENEGAL                        1                                                                                 1             5       3                                          8           1                1           10
SERBIA AND MONTENEGRO                                         2       1                            1             4      1      6                                     1            8     1                      1           13
SIERRA LEONE                                                          1                                          1             1       1      1                      1            4     1     2                3            8
SINGAPORE                                                                                                        0             1                                                  1     1                      1            2
SLOVAKIA                       1                                               1                                 2             3                        2            5           10     2                      2           14
SLOVENIA                                                                       1                                 1                                                                0                            0            1
SOMALIA                        1             1         3                                                         5             2                                     1            3           1                1            9
SOUTH AFRICA                   2                                      3                  3                       8             6              2                      2           10           3                3           21
                                                                                                                                                                                                                           Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 201 of 233




SOUTH KOREA                    4             1      18                3        5                   1           32              3       1                1            3            8     5     2                7           47
SPAIN                          1                                                         1                       2      1                                            4            5     1                      1            8
SRI LANKA                                              2     32     139                                       173              2                                    11           13    17                    17           203
ST. KITTS-NEVIS                                                                                                  0             1                                     2            3                            0            3
ST. LUCIA                      1                                      1                                          2             4       2                                          6     3     1                4           12
ST. VINCENT-GRENADINES                                                                                           0             5                                                  5     1                      1            6
                                                                                                                                                                         U.S. Customs and Border
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                                                                   SOUTHWEST BORDER                                                                  NORTHERN BORDER                                COASTAL BORDER         Nationwide
       CITIZENSHIP
                           BBT       DRT       ELC       EPT       LRT   RGV    SDC        TCA       YUM       SBO Total    BLW    BUN     DTM     GFN HLT    HVM  SPW     SWB     NBO Total   MIP NLL RMY     CBO Total      Total
STATELESS                                                                                                               0                                                     1             1                            0           1
SUDAN                                                                                  1         1                      2      1                      1                                     2           1                1           5
SURINAME                                                                                                                0             1                                                     1     1                      1           2
SWEDEN                                                         1                                                        1             2                                                     2     1                      1           4
SYRIA                                                1                1                                    1            3                                                                    0    2                      2           5
TAIWAN                                                         1                                                        1             2       1                                             3           1                1           5
TAJIKISTAN                                                                                                              0             1                                                     1     1                      1           2
TANZANIA                                                                                                                0             2                                                     2           1                1           3
THAILAND                         1                   1         1              1        2                                6             5                          3            3            11     2     2                4          21
TOGO                                                                                                                    0             1       1                               1             3                            0           3
TONGA                                                          1                                                        1                                                                    0                           0           1
TRINIDAD AND TOBAGO                                            1              2                            1            4            19       2            2     2            2            27    27     1    1         29           60
TUNISIA                          1                                                                                      1                                                                    0                           0           1
TURKEY                           1                             1              7        3         2         1           15      1      4                                       5            10     2     6                8          33
TURKS AND CAICOS ISLANDS                                                                                                0                                                                    0    3                      3           3
UGANDA                                                                                                                  0             1                          1            1             3                            0           3
UKRAINE                          1                                            2        1         2                      6      1     15       5       2                       5            28     5                      5          39
UNITED ARAB EMIRATES                                 1                                                                  1                                                                    0                           0           1
UNITED KINGDOM                   7                   1         4              3        3         1                     19      6              1                  1            4            12     6     3                9          40
UNKNOWN                                    1                          5       2        2         1                     11                                                                   0     3                      3          14
URUGUAY                          1                   2         2      4       4                  3                     16             2                                                     2     4                      4          22
USSR                                                                                   1                                1                                                                   0                            0           1
UZBEKISTAN                                                                    1                3                        4             3       1                               2             6    11                    11           21
VENEZUELA                        2         1                   1      4      12        3      10           2           35      1      4       2                               7            14    25     3              28           77
VIETNAM                          3                             1              1                1           1            7      2      3       2                                             7     2                      2          16
YEMEN                                                                                                      1            1             7       2                                             9           1                1          11
YUGOSLAVIA                                                            3                                                 3                                                     5             5                            0           8
ZAMBIA                                                                                                                  0              2      1                                             3           2                2           5
ZIMBABWE                                                                       2                1                       3              2              2                                     4                            0           7
TOTAL                      5,288 14,694 32,562           12,251 35,287    59,766   68,565 212,202    7,116        447,731    673   2,422   1,669    543   56   290   356   1,422        7,431 4,651 3,171  398      8,220      463,382
                                                                                                                                                                                                                                    Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 202 of 233




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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2011
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                                      1                                                        1             1                                                 1                              0              2
ALBANIA                                                                        25             13                         38             2      6                1            5          14                               0             52
ALGERIA                                                          1                                                        1                                                               0                              0              1
ANGOLA                             1                                                                                      1                                1                 2            3             1                1              5
ANTIGUA-BARBUDA                                                                                                           0                                                               0      3                       3              3
ARGENTINA                                    1         2         4      3       6       5         4          1           26             4             2   1     1            1            9     15      1               16             51
ARMENIA                            1                   1         1                                           2            5                                                  2            2                              0              7
AUSTRALIA                          1                             1                                                        2      2             1                                          3      1                       1              6
AUSTRIA                            1         2                                                                            3                                                               0                              0              3
AZERBAIJAN                                                                              1                                 1                                                  1            1             1                1              3
BAHAMAS                            2                                                                                      2             1             1                                   2     20      1               21             25
BAHRAIN                            1                                                                                      1                                                                0                             0              1
BANGLADESH                                                       1      5      70                                        76             5      2                                          7      2                       2             85
BARBADOS                                                                                                                  0             3                                    1            4      1                       1              5
BELARUS                                                                                                                   0             3                       1                         4      2      1                3              7
BELGIUM                                                          1                                2                       3                                                               0                              0              3
BELIZE                             1         1         2                1      31       3         2          1           42             4      2                             1            7      2      3                5             54
BENIN                                                                           1                                         1                                                                0                             0              1
BHUTAN                                                                          1                                         1             1                                                 1                              0              2
BOLIVIA                                                1                4       7       1         5                      18             9      1                             4          14       7      3               10             42
BOSNIA-HERZEGOVINA                                                              1                                         1                    1                                           1     1                       1              3
BOTSWANA                                                                                                                  0                                     1                         1                              0              1
BRAZIL                             8         1         2     61       135      60       7     10                        284      3     27     18      2         3           44          97      72      5    14         91            472
BULGARIA                                     1         1                                1      2                          5             4      1                             2            7      8                       8             20
BURKINA FASO                                                                                                              0             1                                                 1      1                       1              2
BURMA                                                                                                                     0             1                                                 1                              0              1
BURUNDI                                                                                                                   0             1                                    1            2                              0              2
CAMBODIA                           1                             1              1                            1            4      1                                                        1                              0              5
CAMEROON                                                                1       1       1                                 3             5      2                                          7      2      1                3             13
CANADA                             2         1                   1              2       6         1          1           14     43     54     14     11   28   14    21    196         381       8                       8            403
CAPE VERDE                                                                                                   1            1             1                                                 1                              0              2
CHAD                                                                                                                      0                                                  1            1                              0              1
CHILE                                        2      2         2         4       9      5       3             1           28      1      4                                    1            6     11                      11             45
CHINA, PEOPLES REPUBLIC OF         2         4     13         7        60     449      1     313             9          858     10     27     14      6         1     1      4          63       8      6               14            935
COLOMBIA                           3         5      1        16        14     143     13      22                        217     11     11      2      2               1     30          57      63      9     2         74            348
CONGO                                                                                                                     0             6      1                                          7                              0              7
COSTA RICA                                   3         3         6      7      38       2     11                         70      2     13      1                4            3          23       7      2                9            102
CROATIA                                                                         2                                         2                           1                      1             2     2                       2              6
CUBA                               3         3         3         9      9      24       8         6          1           66      9      8     2                 1            2          22     711          160        871            959
CZECH REPUBLIC                                                   1      2                                                 3      1      1     1       2               1      2            8      2                       2             13
CZECHOSLOVAKIA                                                                                                            0                                                               0      2                       2              2
DEM REP OF THE CONGO                                                                                                      0                    1                                          1                              0              1
DENMARK                                      1                                                                            1                                                               0      1                       1              2
DJIBOUTI                                                                                                                  0             2                                                 2                              0              2
DOMINICA                                                                         2                                        2             1                                                 1      2                       2              5
DOMINICAN REPUBLIC              1         3                   2        80      217     3      29                        335            19      3                2            3          27      24     11   449        484            846
ECUADOR                         1        37            3     21       207      346     1     440             8        1,064      2     72     36     29         3     6     24         172      24      2     2         28         1,264
EGYPT                           1                             2                  1     1                                  5             9      2                1                       12       2                       2             19
EL SALVADOR                    84       854       207       117      1,280   6,094   201    1,426        105         10,368     19    103     68     12    1    8     6     30         247     138    121              259        10,874
EQUATORIAL GUINEA                                             1                                                           1                                                               0                              0              1
ERITREA                                                                        22                                        22                                                               0                              0             22
ESTONIA                                                                                                                   0             1                                    1            2      2                       2              4
ETHIOPIA                                                         1             11       1                                13             2                                                 2                              0             15
FIJI                                                                                                                      0      1                                                        1                              0              1
FINLAND                                                1                                                                  1                                                                0                             0              1
FRANCE                             1                   2         2              1       1                                 7             1                                    4            5      3                       3             15
                                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 203 of 233




GABON                                                                                                                     0             2                                                 2                              0              2
GAMBIA                                                                                                                    0             5      3                1                         9      1      1                2             11
GEORGIA                                                                                                                   0             6      1                2                         9                              0              9
GERMANY                            4         1                   2                      1         1                       9      1                    1                      2            4      2            1          3             16
GHANA                              3                             3      2       1                            3           12      1     25      4                1            2          33       2      1                3             48
GREECE                                                                                                                    0             3      1                                          4                              0              4
                                                                                                                                                                                 U.S. Customs and Border
                                                                                                                                                                                               Haiti     Protection
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                                                                SOUTHWEST BORDER                                                                  NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                        BBT       DRT       ELC       EPT       LRT   RGV    SDC         TCA       YUM       SBO Total    BLW    BUN    DTM     GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
GRENADA                                                  2                                                            2             2                                                  2     2                       2            6
GUATEMALA                120       976       212       190      2,057    5,965     565    7,356     141          17,582     65    246    115      33   1     7     4     70          541   820    117     1        938       19,061
GUINEA                                                   1                                                            1             5      3                              2           10     2      1                3           14
GUYANA                                            1                 1        3                                        5             5      2                              1            8     8      1                9           22
HAITI                      1                                        1       29       5                               36             7                                    15           22    48            8         56          114
HONDURAS                  99      2,421      207       124      2,467    4,546     224    1,079     103          11,270     14     91     78      44   1     5    10     40          283   378    265     1        644       12,197
HUNGARY                                                                              1        1                       2             1                                     2            3     9                       9           14
INDIA                               15        12        33       356     1,826       8      152      12           2,414     50     52     18                 1     4     10          135    19      8               27        2,576
INDONESIA                                                                                     1                       1             1                                     1            2     5                       5            8
IRAN                          4         1         1                         4        9        1                      20      1      3                                                  4     1                       1           25
IRAQ                                                                        1                 1                       2                                                   1            1     1                       1            4
IRELAND                                                                     2        1        1                       4                    1                 1            3            5                             0            9
ISRAEL                        3                   2         3               3        4        2                      17      2     12      1       1               1     14           31     7                       7           55
ITALY                                   1                   4                                                         5             2                                     3            5                             0           10
IVORY COAST                                                                                                           0             2      1                 1                         4                             0            4
JAMAICA                       4                             2              10       10         2                     28            38      6                 1            9           54    85      4               89          171
JAPAN                         1                             1                                            1            3      2      1              1                      1            5     2                       2           10
JORDAN                        1                                             1        2                                4      1      2      2       3         1                         9     6      1                7           20
KAZAKHSTAN                    2                                                                                       2             1      2                                           3                             0            5
KENYA                         2                             8                                  1                     11             5      1                 4                        10                             0           21
KOREA                                                       1                                                         1      4      3                                                  7                             0            8
KOSOVO                                                                      6                                         6                    1                              4            5                             0           11
KUWAIT                                                                                         1                      1                                                                0                             0            1
KYRGYZSTAN                                                                                                            0             2                                                  2     2                       2            4
LAOS                          1                   1                                  2                                4             1      1                                           2     2      1                3            9
LATVIA                                                                                                                0             1      1                                           2     1                       1            3
LEBANON                       1                             1      1                                                  3             1      3       1                                   5     1                       1            9
LIBERIA                                                     2                                                         2             3                              1                   4                             0            6
LIBYA                                                                                                                 0             2                                                  2     1                       1            3
LITHUANIA                                                   1                                                         1             1      1                              1            3                             0            4
MACEDONIA                                                                   2                                         2             1      2                                           3     3                       3            8
MALAWI                        1                                                                                       1                                                                0                             0            1
MALAYSIA                                                                    1                                         1             2      3                 1            1            7                             0            8
MALI                                                                                                                  0             3                                     1            4                             0            4
MALTA                                                                                                                 0                                                   1            1                             0            1
MAURITANIA                                                                                    1                       1             1                                     1            2                             0            3
MAURITIUS                                                                             1                               1                                                                0                             0            1
MEXICO                  3,621 11,697 29,474           9,633 29,131      38,353   41,281 111,974    5,416        280,580    314    938   1,031    294   5   167   234    162        3,145 1,529    897     3      2,429      286,154
MOLDOVA                                                                               1                1              2             7       2                            10           19     7      1                8           29
MONGOLIA                                          1         1                                                         2             3       1                                          4     1                       1            7
MONTENEGRO                                                         1                                                  1                                                                0                             0            1
MONTSERRAT                                                                                                            0             1                                                  1                             0            1
MOROCCO                                 1                                                      1                      2             3                                     1            4     4                       4           10
NAMIBIA                                                                                                               0                                      1                         1                             0            1
NEPAL                                                              4       61        1         5                     71             6      1                 2            1           10            1                1           82
NETHERLANDS                             1                   1                                                         2                                                   1            1                             0            3
NEW ZEALAND                   1                                    3                 1                                5             1                                                  1                             0            6
NICARAGUA                     3     95        10            2    122      186       20      77           5          520      4      6      5      13         3            3           34    71     19               90          644
NIGER                                                                                                                 0             1                                                  1                             0            1
NIGERIA                                                     3      1       13                                        17            12     10       2   1     1                        26     1      5                6           49
PAKISTAN                      2         2                   4      2       21                  4         1           36      3     20                        1            3           27     1                       1           64
PALAU                                                                       1                                         1                                                                 0                            0            1
PANAMA                                  3                          1        1        1       2           1            9                                                   2            2     5      1     1          7           18
PARAGUAY                                1         3                2                         1                        7             2                                                  2     1                       1           10
PERU                       8            8         4     20        42       82        9      83           2          258      2     20     12       1         6            8           49    53      2               55          362
PHILIPPINES               12                      5      4         1        7        7                   5           41      1     13      2                 2     1      1           20     9      1               10           71
POLAND                                  1         1      6                           1         2                     11      4      5      7           1     3           11           31     5                       5           47
PORTUGAL                                                                    2                                         2                                                   3            3     2                       2            7
ROMANIA                       1                   2         2      9      329        4     227           1          575             3      3           1     4           15           26     6      2                8          609
RUSSIA                        3                   2         2      4                 3       2                       16            16      7                       1      6           30    27      1               28           74
SAUDI ARABIA                                                1               1        1                                3             1                                                  1                             0            4
                                                                                                                                                                                                                                  Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 204 of 233




SENEGAL                                                                              1                                1             6      1                 1                         8            2                2           11
SERBIA                                                                                                                0             1                                                  1                             0            1
SERBIA AND MONTENEGRO                                                                                                 0                                                                0     2      1                3            3
SIERRA LEONE                                                                                                          0             1                                                  1                             0            1
SINGAPORE                                                                                                             0                                                                0            1                1            1
SLOVAKIA                      1                                                                                       1             1                                                  1     2                       2            4
                                                                                                                                                                              U.S. Customs and Border
                                                                                                                                                                                            Haiti     Protection
                                                                                                                                                                                                  AR_000347
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                                                               SOUTHWEST BORDER                                                                NORTHERN BORDER                                 COASTAL BORDER         Nationwide
       CITIZENSHIP
                         BBT       DRT       ELC       EPT     LRT   RGV    SDC         TCA       YUM       SBO Total    BLW  BUN       DTM  GFN HLT    HVM  SPW       SWB    NBO Total   MIP NLL RMY     CBO Total      Total
SOMALIA                        1                   1         2     1                                                 5           1         1    3                                      5                            0           10
SOUTH AFRICA                                                                        3                   1            4           4              1               1                      6     5     1                6           16
SOUTH KOREA                    4                             9    1        3        3                   1           21      6   10                         3                          19     1                      1           41
SPAIN                          1                                           1        1         1                      4                                                                 0     5                      5            9
SRI LANKA                      1                   2         2   22      187                                       214      3      3                         1            3           10    11                    11           235
ST. KITTS-NEVIS                                                                                                      0             1                                      1            2     1                      1            3
ST. LUCIA                                                                                                            0             2       2                                           4     2                      2            6
ST. VINCENT-GRENADINES                                       1                                                       1                                                                 0     3                      3            4
STATELESS                                                                                                            0             1                                                   1                            0            1
SUDAN                                                        1                      1                                2             3                                                   3     1                      1            6
SWEDEN                         2                                                                                     2      1                                                          1                            0            3
SWITZERLAND                                                                1                                         1                                                                  0                           0            1
SYRIA                                              2                                                    1            3             1       1                              4            6                            0            9
TAIWAN                                                                                                               0             3              1                       1            5     2                      2            7
TAJIKISTAN                     1                             1                                                       2             3                                      1            4     7                      7           13
TANZANIA                                                                                                             0             4                                      2            6                            0            6
THAILAND                       1                   1         1    1        1        1                                6      1      2       1                 1            2            7     4                      4           17
TOGO                                                                                          1                      1             1                         1                         2                            0            3
TRINIDAD AND TOBAGO                                2         1             2        1                                6            19       5                 1            4           29    14     2              16            51
TUNISIA                                                                             1         3                      4             3                                                   3                            0            7
TURKEY                                                       1             1        3                                5      1      7       1                 2            4           15     3     2                5           25
TURKMENISTAN                                                 1                                                       1                                                                 0                            0            1
UGANDA                                                                                                               0             4                                                   4                            0            4
UKRAINE                                                                    1        1                   1            3      1     13       3      1                       3           21     6                      6           30
UNITED ARAB EMIRATES                                                                1                                1                                                                 0                            0            1
UNITED KINGDOM                 6                                           3                  1         2           12      1      1       1                              5            8     8                      8           28
UNKNOWN                                                                                       1                      1      2                                                          2     1                      1            4
URUGUAY                                            1         3    1        6        2         3         1           17                                       1            3            4    12                    12            33
USSR                                                                                                                 0                                                    2            2                            0            2
UZBEKISTAN                                                                          2                                2              4                                                  4     8                      8           14
VENEZUELA                                1                   3    7       11        1         4         1           28      1       1                                                  2    24     1              25            55
VIETNAM                        3                             2             3                  4         1           13              1      1                              1            3     1     1                2           18
YEMEN                          1                                                                                     1              7      1                                           8                            0            9
YUGOSLAVIA                                                                                              1            1              1      1                              1            3     1                      1            5
ZAMBIA                         1                                           1                                         2              1      1                 2                         4                            0            6
ZIMBABWE                                                                                                             0              1                                                  1                            0            1
TOTAL                    4,036 16,144 30,191           10,345 36,053   59,243   42,447 123,285    5,833        327,577    591   2,114   1,531   468   41   270   293    815        6,123 4,401 1,509  642      6,552      340,252
                                                                                                                                                                                                                                Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 205 of 233




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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2012
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                               NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW BUN      DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                            1                       6      1           1                       9      1                                          2            3                              0             12
ALBANIA                            1                                          32                  7                      40          1        7                1            3          12       1                       1             53
ALGERIA                                                                               1                                   1                                                              0                              0              1
ANGOLA                                                           3                                                        3                                                 1            1                              0              4
ANTIGUA-BARBUDA                                                                                                           0            2                                                 2                              0              2
ARGENTINA                          2         1         1         4      2        5      5         2          5           27                                                 1            1     13            1         14             42
ARMENIA                                                          1                                                        1                                                              0                              0              1
AUSTRALIA                          1                             1                                                        2                   1                             1             2                             0              4
BAHAMAS                                                                                                      1            1            1             1                                   2     27                      27             30
BANGLADESH                                                             10       81     2                                 93            2      2                             1            5      1                       1             99
BARBADOS                           1                                    1        1                                        3                                                               0                             0              3
BELARUS                                                                                                      1            1            1                                                 1                              0              2
BELGIUM                                                          1                                                        1                                                              0                              0              1
BELIZE                             7         2         1         5     10       17      2         9                      53                                          1                   1                              0             54
BERMUDA                                                                                                                   0            2                                                 2                              0              2
BOLIVIA                                      2                          4        9      1         3                      19            5                                    2            7      2                       2             28
BOSNIA-HERZEGOVINA                                                                                                        0                                                               0     1                       1              1
BRAZIL                             1         1         1         1     74       88     6       10            1          183          10       6      1                     20          37      85            5         90            310
BRITISH VIRGIN ISLANDS                                                                                                    0           1                                                  1                              0              1
BULGARIA                           1                             2      1               1         4                       9           2       3                             1            6      1                       1             16
BURMA                              1                                                                                      1                                                              0                              0              1
BURUNDI                                                                                                                   0            1                                                 1                              0              1
CAMBODIA                                                                                1                    1            2                                                              0                              0              2
CAMEROON                                                                                                                  0      1    1                                     1            3                              0              3
CANADA                             3                             4      2        3      3         2                      17     57   52      25      6   12   21    16    227         416       1                       1            434
CAPE VERDE                                                                                                                0           1                                                  1                              0              1
CHILE                              1                          3                  5              2                        11           1                                                   1     2            1          3             15
CHINA, PEOPLES REPUBLIC OF         8                   3     13        55      444    10      357         18            908      3   12      18      3         1            3          40      12                      12            960
COLOMBIA                           6         6         2     14         9      119    10       18          1            185      1    8       1           3                29          42      39      5     1         45            272
CONGO                                                                                                                     0           3                                     1            4                              0              4
COSTA RICA                         1                   5         3     17       87      3      19            1          136      2   14       2      1                                 19       3      1                4            159
CUBA                               1         1                   4      8       19      4       2            1           40      6    3       1                             4          14     452          100        552            606
CZECH REPUBLIC                                                   4                                                        4                                    1            1            2      3                       3              9
CZECHOSLOVAKIA                                                                          1                                 1                                                               0                             0              1
DEM REP OF THE CONGO                                                                    1                                 1                                                               0                             0              1
DENMARK                                                                                                                   0                                                 2            2                              0              2
DOMINICAN REPUBLIC                        3            1      4         91      410             11           1          521            9                                   12          21      26          476        502         1,044
ECUADOR                        11        22            2     30        467    1,125     3      565           1        2,226           28     14      2                      5           49     14                      14         2,289
EGYPT                                                         1          1        1     2        2                        7            3                                                 3                              0             10
EL SALVADOR                    83      1,576      219       139      2,447   15,380   242    1,703       114         21,903      9    39     19     11    2    2     6     23         111     108     36              144        22,158
EQUATORIAL GUINEA                                                                 1                                       1                                                               0                             0              1
ERITREA                                                                           1                                       1                                                               0                             0              1
ETHIOPIA                                                         1                2     1                                 4            1                                    1            2                              0              6
FINLAND                            1                                                                                      1                                                              0                              0              1
FRANCE                                                 1         1      1                                                 3            1                             1      3            5                              0              8
GAMBIA                             1                                                                                      1            2                                                 2                              0              3
GEORGIA                                                1         1               2                                        4            2      2                                          4      1                       1              9
GERMANY                                                                          1                           1            2      2                                                       2                              0              4
GHANA                                                                            1                                        1            2                                                 2      1                       1              4
GREECE                                                                                                                    0            1                                    1            2      1                       1              3
GUAM                                                                     1                                                1                                                              0                              0              1
GUATEMALA                     206      1,648      215       227      3,362   16,303   444   11,848       200         34,453     29   121     56     27   10    4    15     45         307     400     44              444        35,204
GUYANA                                                        4                                                           4            2                                    1            3                              0              7
HAITI                                      1                                      1     1                                 3                                                13          13      48      1   112        161            177
HONDURAS                      130      5,871      397       180      6,293   14,620   283    2,415       160         30,349     17   66      78     34    4    7     3     34         243     258    101     2        361        30,953
HONG KONG                                                                                                                 0           1                                                  1                              0              1
                                                                                                                                                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 206 of 233




HUNGARY                                                          2                      2                                 4                                          1                   1      5                       5             10
INDIA                              3         3         9         9     33      184      5     241            8          495    117    14      1      1                     14         147                               0            642
INDONESIA                                              1         2               1                           3            7                   4                                          4                              0             11
IRAN                                                                             2      3                    1            6      1                                                       1      1                       1              8
IRAQ                                                   1                                3                                 4            1                                                 1                              0              5
IRELAND                                                                                                                   0      1            1                             4            6      1                       1              7
                                                                                                                                                                                U.S. Customs and Border
                                                                                                                                                                                              Haiti     Protection
                                                                                                                                                                                                    AR_000349
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                                                                 SOUTHWEST BORDER                                                              NORTHERN BORDER                                  COASTAL BORDER          Nationwide
       CITIZENSHIP
                         BBT       DRT       ELC       EPT       LRT   RGV    SDC        TCA       YUM       SBO Total    BLW    BUN    DTM  GFN HLT    HVM  SPW    SWB    NBO Total     MIP    NLL RMY    CBO Total       Total
ISRAEL                         3         1         1         1                       1         1                      8                    1                           6            7       2                       2           17
ITALY                          1                             1                       1                                3             1                                  3            4       1                       1            8
IVORY COAST                    1                                                     1                                2                                                             0                               0            2
JAMAICA                                            1         3              3        8         2         2           19           18       5         1    1     1      8           34     70       1               71          124
JAPAN                          1                             2                                                        3                                   1                         1                               0            4
JORDAN                         1         3                   3                                                        7      1      1      1                           1            4      1             1          2           13
KAZAKHSTAN                                                   3                                                        3             2      1                                        3                               0            6
KENYA                          1                   1         2              2                                         6             1      1                                        2                               0            8
KOREA                                                        1                                           3            4                                                             0                               0            4
KOSOVO                                                                      2                                         2                    1     1                                  2                               0            4
KYRGYZSTAN                                                                                               1            1             2                                               2      1                        1            4
LAOS                           2                             2                       2                   1            7                          1                                  1      1                        1            9
LATVIA                         1                                    1                                                 2                                                             0                               0            2
LEBANON                                                      1      1                                                 2                    2                                        2                               0            4
LIBERIA                                                                                                               0                                         1                   1                               0            1
LIBYA                                                                       1                                         1             3                                               3                               0            4
LITHUANIA                                                                                                             0             1            1                                  2      1                        1            3
MACEDONIA                                                                   1                                         1             2                                               2                               0            3
MALAWI                                                                                                                0             1                                               1                               0            1
MALAYSIA                                                     1                                                        1      1      1                                               2                               0            3
MALI                                                              1                                                   1                    1                                        1                               0            2
MEXICO                   3,417 12,404 22,511           8,915 31,742     47,823   27,307 102,303    5,919        262,341    270    607    673   306   8   54   266    122        2,306    831     277            1,108      265,755
MOLDOVA                             1                      1                                           1              3             3            1                     1            5      2                        2           10
MONGOLIA                                                   1      1                  2                                4             1      2                           2            5                               0            9
MOROCCO                                            1              1                                                   2                          1                                  1                               0            3
NEPAL                                    1                 3     28       114                            3          149                                                             0                               0          149
NETHERLANDS                 2                                                                                         2                                                1            1      1                        1            4
NEW ZEALAND                 1                                1                                           1            3      1                                                      1                               0            4
NICARAGUA                  13       166        15            7    144     430       19      75           7          876      1      3      5     5   1                 2           17     30       3               33          926
NIGERIA                     3                                4              7        1                   2           17             3      2                           1            6      1                        1           24
NORWAY                      3                                                        1                                4                                                             0                               0            4
PAKISTAN                                                            2      13        1       5                       21      3      4      1                           4           12              1                1           34
PANAMA                                   1                   1              3                2           1            8             1                                               1              1     1          2           11
PARAGUAY                                                                    4                2                        6                                                             0      1                        1            7
PERU                           6         1         3         7     28     185        9      44                      283            7             3        5           10           25     13                       13          321
PHILIPPINES                    3                   2         2              4       18       1           2           32      1     7       2                           1           11      1                        1           44
POLAND                                             1         7      1       1        3                               13      2     7       3     1                    18           31                               0           44
PORTUGAL                                                     1              2                                         3                    1                           3             4                              0            7
ROMANIA                        1              509            5      1      36       23     298       28             901             1      2                          27           30      7                        7          938
RUSSIA                         4                1            1      2                2       2                       12             4      1     1              2      2           10      1                        1           23
SAMOA                          1                                                                                      1                                                             0                               0            1
SAUDI ARABIA                             1                   2              1                            1            5             1                                               1                               0            6
SENEGAL                                                                                                  1            1             1                                  1            2                               0            3
SERBIA                                                                                                   1            1             1            1                                  2                               0            3
SERBIA AND MONTENEGRO                                                                                                 0             1                                               1      1                        1            2
SEYCHELLES                                                   1                                                        1                                                             0                               0            1
SIERRA LEONE                             1                                                                            1                                                              0                              0            1
SLOVAKIA                                                                             1                                1             2                                  2            4      1                        1            6
SOMALIA                                                                              1                                1                          5                                  5                               0            6
SOUTH AFRICA                   2         1                   3                       1                                7                                                              0                              0            7
SOUTH KOREA                    2                             5      1       2        2                   2           14      4      4                           2                  10      1                        1           25
SPAIN                          2                             3      1                                                 6      1                                         3            4      1                        1           11
SRI LANKA                                                    1     15     147               18                      181             2                                  2            4                               0          185
ST. LUCIA                                          1                        1                                         2             1                                               1      1                        1            4
ST. VINCENT-GRENADINES                                                                                                0                                   1                         1      3                        3            4
STATELESS                                                                                                             0                                                              0     1                        1            1
SUDAN                          1                             1                                 1                      3                                                              0                              0            3
SURINAME                                                            1                                                 1                                                              0                              0            1
SWEDEN                         3         1                   1                                                        5                                                1            1      1                        1            7
SYRIA                                              3                                           1         1            5      2                                                      2      1                        1            8
TAIWAN                                                       1              2                                         3             4                                               4                               0            7
                                                                                                                                                                                                                                 Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 207 of 233




TAJIKISTAN                                                                                                            0             3                                               3                               0            3
TANZANIA                                                            3                          1                      4                          2                     3            5                               0            9
THAILAND                       1                             1                       3                   2            7             1                     2            3            6      3                        3           16
TOGO                                                         1                                                        1             2                                               2                               0            3
TRINIDAD AND TOBAGO                                          3                                                        3      1      4                                               5      7       2                9           17
TUNISIA                                                                                                               0                                                             0      1                        1            1
                                                                                                                                                                           U.S. Customs and Border
                                                                                                                                                                                         Haiti     Protection
                                                                                                                                                                                               AR_000350
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                                                             SOUTHWEST BORDER                                                               NORTHERN BORDER                                  COASTAL BORDER          Nationwide
       CITIZENSHIP
                     BBT       DRT       ELC       EPT       LRT   RGV    SDC        TCA       YUM       SBO Total    BLW    BUN     DTM  GFN HLT    HVM  SPW      SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
TURKEY                                         1         2             3      1            1                      8             1       2                             5            8                             0           16
UKRAINE                                                  1       1     5      1                      2           10            12                       1                         13                             0           23
UNITED KINGDOM             6                   2         2       1     2      2            2                     17      1                   1                        3            5     2                       2           24
UNKNOWN                    1                   2                              1            4                      8             1                                                  1                             0            9
URUGUAY                                                  1       3     2      1            5                     12                                                                0     4                       4           16
USSR                       1                                                                                      1                                            1                   1     1                       1            3
UZBEKISTAN                                                              2        3         7                     12             4                                                  4     2                       2           18
VENEZUELA                  2         1                   2      4      11        4         4                     28                     2                             6            8     6            2          8           44
VIETNAM                    5                             4              2                                        11                                            1      1            2            1                1           14
YEMEN                      1                                                                                      1             1                                                  1                             0            2
YUGOSLAVIA                                               1                                                        1                                                   4            4                             0            5
ZAMBIA                   1                                                                                        1      1                    1                                    2                             0            3
ZIMBABWE                 1                             2                                                          3                                                                0                             0            3
TOTAL                3,964 21,720 23,916           9,678 44,872     97,762   28,461 120,000    6,500        356,873    537   1,143    950   418   41   102   317    702        4,210 2,509    474   702      3,685      364,768
                                                                                                                                                                                                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 208 of 233




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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2013
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                               NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW    BUN   DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                                                                                               0                                                 4            4                              0              4
ALBANIA                                                                 2      298                                      300      1     2      1                             7          11                               0            311
ALGERIA                                                                                                                   0      1            1                                          2                              0              2
ANGOLA                             1                                                                                      1            1                                                 1                              0              2
ANTIGUA-BARBUDA                                                  1                                                        1                                                              0                              0              1
ARGENTINA                          1         1                   5      1        7      4      10            1           30                          2                                   2      3                       3             35
AUSTRALIA                          2                             3                              1                         6      1            1                             1            3                              0              9
AUSTRIA                                                          1                                                        1                                                               0                             0              1
BAHAMAS                                                                                                                   0            1                                                 1     40                      40             41
BANGLADESH                                   1         1                5      219                                      226            6                                    1             7                             0            233
BARBADOS                                                                                                                  0            1                                                 1                              0              1
BELARUS                                                          1                                                        1                                                               0                             0              1
BELGIUM                                                                                                                   0                   1                                           1     1                       1              2
BELIZE                             1         1                          3       41      3       1                        50            2                       1                         3      1                       1             54
BOLIVIA                            2                                   14       21      1       6                        44            1                                    4            5                              0             49
BOSNIA-HERZEGOVINA                 1                                                            1                         2                                                               0     1                       1              3
BRAZIL                                                 6     26        89      115     17      17            4          274      5     8      1           1                10          25      55      1               56            355
BULGARIA                                                                                        1                         1            1                                                 1                              0              2
BURKINA FASO                                                     1                                                        1            1                                                 1                              0              2
BURMA                                                                                             1                       1      1                                                       1                              0              2
CAMBODIA                           1                                                    1                                 2      1            1                                          2                              0              4
CAMEROON                                                                                                                  0                                                 1            1                              0              1
CANADA                             2                             1               4      2         1          1           11     50    34      8     10    9    6    10    103         230       4                       4            245
CENTRAL AFRICAN REPUBLIC                                                         1                                        1                                                               0                             0              1
CHAD                                                                                                                      0                                                              0      1      2                3              3
CHILE                              2                          1         1        6      1                                11                                                              0      5                       5             16
CHINA, PEOPLES REPUBLIC OF         4      1            7     11        23      584      8     274         15            927      7     8      1      2               1      2          21       9                       9            957
COLOMBIA                           6     11            3     26        41      241      2      31          4            365      2     4      1                            29          36      55      1               56            457
CONGO                                                         1                                                           1                                                 1            1                              0              2
COSTA RICA                         1         5         1     12         8       82      2      17            1          129            6      1      1                                   8             1     2          3            140
CROATIA                                                       1                                                           1                                    2            1            3                              0              4
CUBA                               2     10            5      4         9       36      2         5                      73      2     1             2    1    1            5          12     460      2    77        539            624
CZECH REPUBLIC                                                                   1                                        1            1                                                 1                              0              2
DOMINICA                                                      1         1                                                 2                                                              0      4                       4              6
DOMINICAN REPUBLIC              1         6                  15       181       274     1       14                      492            5                  1                11          17      10      2   246        258            767
ECUADOR                        19        34            8     57       715     2,555     8      561           1        3,958           29      7      9                     12          57      11      1               12         4,027
EGYPT                                                                             2     3       10                       15      1     3                                                 4                              0             19
EL SALVADOR                    98      1,933      296       152      3,425   29,200   236    1,474       143         36,957     15    27     14     18    1    1     9     21         106      47     39               86        37,149
ERITREA                                                                  1                                                1                                                 1            1                              0              2
ETHIOPIA                                                                                                                  0      1                                                       1      1                       1              2
FIJI                               1                                                                                      1                                                               0                             0              1
FRANCE                             1                                             2      1                    1            5      1     2                                    3            6                   1          1             12
GABON                                                                                                                     0                                                              0      1                       1              1
GAMBIA                                                                                  1                                 1      1     1                                                 2                              0              3
GEORGIA                                                                          9                                        9      1                                          2            3      2                       2             14
GERMANY                            1                             3               2      1                    1            8                                                              0      1                       1              9
GHANA                              1                             4      1                                    1            7            1                             1                   2                              0              9
GREECE                                                                           1                                        1                                                               0                             0              1
GRENADA                                                                                                                   0            2                                                 2      2                       2              4
GUATEMALA                     157      1,875      263       416      5,158   31,845   330   13,898       201         54,143     20    85     58     42    2    8    16     29         260     245     44              289        54,692
GUINEA                          1                                                                                         1            1                                    1            2                              0              3
GUYANA                                                                  1                                                 1                                                 2            2      6                       6              9
HAITI                           1                                                 1                                       2                                                76          76     115          593        708            786
HONDURAS                      140      5,407      485       209      7,892   28,952   336    2,844       183         46,448     10    42     40     30   15          8     19         164     121    132              253        46,865
HONG KONG                                                                                                                 0      1                                                       1                              0              1
HUNGARY                            1                          1                                 1                         3                                                 1            1      4                       4              8
                                                                                                                                                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 209 of 233




INDIA                              7         5     13        21        54      423            251        175            949     89     9      2                     12      5         117       1                       1         1,067
INDONESIA                          1                                                            2                         3                                                               0                             0              3
IRAN                                                             1                      3       1                         5                          1               1                   2                              0              7
IRAQ                                                                                            1            2            3      1            1                                          2                              0              5
IRELAND                                                                                         3                         3                                                 1            1                              0              4
ISRAEL                                                                                  1       1                         2      1     5      1                             6          13       2                       2             17
                                                                                                                                                                                U.S. Customs and Border
                                                                                                                                                                                              Haiti     Protection
                                                                                                                                                                                                    AR_000352
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                                                                 SOUTHWEST BORDER                                                                NORTHERN BORDER                                  COASTAL BORDER          Nationwide
       CITIZENSHIP
                         BBT       DRT       ELC       EPT       LRT   RGV    SDC        TCA       YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP    NLL RMY    CBO Total       Total
ITALY                          1                   2                       1                   2                      6                                1                 2            3       1                       1           10
IVORY COAST                                                  1                                                        1             1                                                 1              1                1            3
JAMAICA                        2                             8              4        2         2                     18            22      2      1   2           1      4           32     61       2               63          113
JAPAN                                                        2                                           1            3                                     1            1            2                               0            5
JORDAN                                                       2      1       2                                         5             1                                                 1      1                        1            7
KAZAKHSTAN                                                                                                            0             1                                                 1                               0            1
KENYA                                                        2              2                                         4             3                                                 3                               0            7
KOREA                          1                   1                                                                  2                                                                0                              0            2
KOSOVO                                                                                                   1            1             1      1                             1            3                               0            4
LAOS                                                                                 3                   2            5                                                               0                               0            5
LATVIA                                                                                                                0                                                  2            2                               0            2
LEBANON                                  1         1                                           2         2            6             2      1                                          3                               0            9
LITHUANIA                                                    2                                 1                      3      1      2                                                 3      1                        1            7
MACEDONIA                                          1                                           1                      2                    2      1                                    3                              0            5
MALAYSIA                       1                             1              1                                         3      1      1                                                  2                              0            5
MALI                                                                                                                  0             1                                                 1                               0            1
MAURITIUS                                                                                                             0      1                                                        1                               0            1
MEXICO                   3,174 14,005 15,141           10,092 32,772    57,624   26,223 101,092    5,286        265,409    106    370    479    337   1    62   237     80        1,672    388     262     3        653      267,734
MOLDOVA                      1                              1                1                         1              4             2      2                             1            5                               0            9
MONTENEGRO                                                                                                            0                    1                                           1                              0            1
MOROCCO                                                                                                               0             1                                                 1                               0            1
NAMIBIA                                                                                                               0             1                                                 1                               0            1
NEPAL                                    2                   2      3     335                  3                    345             4                                                 4                               0          349
NETHERLANDS                    1                   2                                                                  3                                                  1            1                               0            4
NEW ZEALAND                    1                                                                                      1                                                               0                               0            1
NICARAGUA                      3    175        12         12      216     845       13     100       13           1,389      1      4     4       3                                  12     28       6               34        1,435
NIGER                                                                       1                                         1                                                                0                              0            1
NIGERIA                        5                   1         3      2       4                            1           16            6      1                                           7      2                        2           25
NORWAY                         1                                    1                                                 2                                                               0                               0            2
PAKISTAN                       1                             1      3       9                  7         1           22      7     4              1                      5           17      1                        1           40
PANAMA                                   6                          3       3                            1           13                                                               0      1             1          2           15
PAPUA NEW GUINEA                                                                                                      0      1                                                        1                               0            1
PARAGUAY                                           1                1       3        1       2                        8                                                  2            2      1                        1           11
PERU                           4     23            9      16      101     525        9      61           1          749      3      8             4   1     1     1      6           24      8                        8          781
PHILIPPINES                    6                           4                3        4                               17      1      7                                    1            9              1                1           27
POLAND                                                     2                1                  1                      4             5      2                            16           23                               0           27
PORTUGAL                                                   1                3                                         4             1                                                 1                               0            5
PUERTO RICO                                                         1                                                 1                                                               0                               0            1
QATAR                                                                                        1                        1                                                               0                               0            1
ROMANIA                        1               41            4      2      32      250     215       53             598     1      4      4                 1            8           18      4                        4          620
RUSSIA                         4                             1      1       2        3       5        2              18     1      5      2                              2           10      4                        4           32
RWANDA                                                                                                                0            1                                     3            4                               0            4
SAUDI ARABIA                             1                                  1                  1                      3                                                  1            1                               0            4
SENEGAL                                                                                                               0             3                       1            3            7                               0            7
SERBIA                                   1                                  1        1                                3             2     2                              1            5                               0            8
SERBIA AND MONTENEGRO          1                                                                                      1                                                                0                              0            1
SINGAPORE                                                                                      1                      1                                                                0                              0            1
SLOVAKIA                                                                                                              0                                                  1            1                               0            1
SOMALIA                                                      1                       1                   1            3             1             2               1                   4                               0            7
SOUTH AFRICA                   1                             1                                                        2                                                                0                              0            2
SOUTH KOREA                    6                             1              1        4                   1           13     12     2       1                                         15                               0           28
SPAIN                                                        3      1       2        1         3                     10      1     1                                     3            5      2             1          3           18
SRI LANKA                                1                          5      80                                        86                                                  9             9     2                        2           97
ST. LUCIA                                                                                                             0             2                                                 2                               0            2
ST. VINCENT-GRENADINES                                                                                                0             1                                                 1      1                        1            2
STATELESS                                                                                                             0             1                                                 1                               0            1
SUDAN                                                                                          1                      1                                                                0                              0            1
SWEDEN                         1                                                     1                                2      1                                           3            4                               0            6
SWITZERLAND                    1                                                                                      1                                                                0                              0            1
SYRIA                                                                                1                                1                    1                                           1                              0            2
TAIWAN                         2                             1      1                1                                5             1             1                                   2                               0            7
                                                                                                                                                                                                                                   Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 210 of 233




TAJIKISTAN                     1                             1                                                        2                                                                0                              0            2
TANZANIA                                                                                                              0             1                                                 1                               0            1
THAILAND                                                     2                       1                                3      1      1                                                 2      3                        3            8
TOGO                                                                        1                                         1                                                                0                              0            1
TRINIDAD AND TOBAGO                      2                                  1        1         1         1            6            15                                    1           16      4       1                5           27
TUNISIA                                                                                                               0                                           1                   1      1                        1            2
                                                                                                                                                                             U.S. Customs and Border
                                                                                                                                                                                           Haiti     Protection
                                                                                                                                                                                                 AR_000353
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                                                             SOUTHWEST BORDER                                                              NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                       BBT       DRT       ELC       EPT     LRT   RGV    SDC        TCA       YUM       SBO Total     BLW BUN      DTM  GFN HLT    HVM  SPW     SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
TURKEY                                                     2     5    17                                         24       4   1        1    1    1                  2           10     5                       5           39
UGANDA                                 1                                                                           1                                                             0                             0            1
UKRAINE                      1                                          1        2         1         1             6            4      3     1         1            2           11                             0           17
UNITED ARAB EMIRATES                                                             1                                 1                                                             0                             0            1
UNITED KINGDOM               1                   2         3                     1         1                       8      4     2                 1    2            2           11                             0           19
UNKNOWN                                                    1            1                                          2                                                              0    1                       1            3
URUGUAY                                          1         1    4       6        1         1                     14                                                 3            3     1      1                2           19
USSR                                                                    2                                          2                                                             0                             0            2
UZBEKISTAN                                                                       2         2                       4            1                                                1     1                       1            6
VENEZUELA                              1         3         1    1      16        4         5         3           34             1                                   2            3     8                       8           45
VIETNAM                      6                             2                     1                                 9            1      1                                         2            1                1           12
YEMEN                                                                                                              0            4                                                4                             0            4
YUGOSLAVIA                             1                                                                           1            2                                   3            5                             0            6
ZAMBIA                                                                                                             0            1                                   1            2                             0            2
ZIMBABWE                                                  2                                                        2                                                             0                             0            2
TOTAL                  3,684 23,510 16,306           11,154 50,749 154,453   27,496 120,939    6,106        414,397     360   796    650   469   37   88   299    531        3,230 1,738    500   924      3,162      420,789
                                                                                                                                                                                                                            Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 211 of 233




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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2014
                                                                                                      Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA        YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                                                                                               0             2             1                      1            4                              0              4
ALBANIA                                                          1             301                                      302                    3                                          3      2                       2            307
ALGERIA                                                                                 1                                 1             2                                                 2                              0              3
ANGOLA                                                                                                                    0                                                  5            5                              0              5
ARGENTINA                          2                   1         4      2       12      4         5                      30                           4                      2            6      8      1                9             45
ARMENIA                                                          1                                                        1                                                               0                              0              1
AUSTRALIA                                              1         1               1                                        3                                                                0                             0              3
AUSTRIA                                                                          1                                        1                                                                0     1                       1              2
AZERBAIJAN                                                                                                                0             1             1                      2            4                              0              4
BAHAMAS                                                          1               1                                        2                                                                0    36                      36             38
BANGLADESH                                                       1     23      255      4                    1          284      1      3      1                2            3          10                               0            294
BARBADOS                                                                                                                  0             1                                                 1                              0              1
BELARUS                                                                                                                   0                                                  1            1                              0              1
BELGIUM                                                          1                                1                       2                                                               0                              0              2
BELIZE                             1         3         2         6      4       53      5         3                      77                                                               0                              0             77
BENIN                                                            1               1                                        2                                                                0                             0              2
BOLIVIA                            1         1                   1      3       24                2          2           34      2                    2                                    4     1      2                3             41
BOSNIA-HERZEGOVINA                                                               1                                        1                                     1     1                   2                              0              3
BOTSWANA                                                                                                                  0                           1                                   1                              0              1
BRAZIL                             3     32        12        38        94      326    15       19            4          543             4             2    3                39          48      52      3     1         56            647
BULGARIA                           1                                                                                      1             3             2                                   5                              0              6
BURMA                                                            1                                                        1                                                               0                              0              1
CAMBODIA                           1                             1                                                        2                                                               0                              0              2
CAMEROON                                               2                                                                  2             1             1                      1            3             1                1              6
CANADA                             4         1         1         3               1      1         2                      13     42     63      5      4   27    5     5    140         291       3                       3            307
CENTRAL AFRICAN REPUBLIC                                                                                                  0             1                                                 1                              0              1
CHAD                                                                                                                      0                                                  1            1                              0              1
CHILE                                                         1         2         5     2       1          3             14             1     1                              1            3      4                       4             21
CHINA, PEOPLES REPUBLIC OF     14                      5     21        15     1,143     5     408         22          1,633     19      6     3       5    1          5     18          57       3                       3         1,693
COLOMBIA                        3        11                  28        33       134     8      16                       233      8      2                                    6          16      15      2               17            266
CONGO                                                                                                                     0                                                  1            1                              0              1
COSTA RICA                         1     15            3         5      8       94      2      10                       138             2                                    2            4      3      2                5            147
CROATIA                                                                                                                   0                                                  1            1                              0              1
CUBA                                         9         5         4      8        64     2        6                       98      4      1                                    2            7    864      1    91        956         1,061
CZECH REPUBLIC                     1                                              1              1                        3                                     1            1            2                              0              5
DOMINICAN REPUBLIC                 2      5                  13        404      216     1        4                      645             3                                    9          12      29      4   133        166            823
ECUADOR                            4     85            1    214        846    3,225     4      368           1        4,748            34      5      1               2     13          55      10      6               16         4,819
EGYPT                                                         1          3        1     1        9                       15             1      1                             1            3                              0             18
EL SALVADOR                   188      2,689      352       311      3,317   58,011   310    1,130       111         66,419      4     22     37     17    5    1     4     17         107      34     78              112        66,638
EQUATORIAL GUINEA                                                                 1                                       1                                                                0                             0              1
ERITREA                                      1                                    5                                       6      1             2                             2            5                              0             11
ESTONIA                                                                                                                   0             1                                                 1                              0              1
ETHIOPIA                                                                         1      1                                 2      1      1                             1                   3                              0              5
FIJI                                                             1                                                        1                                     1                         1                              0              2
FRANCE                                                 3         1               1                1                       6      1                                           1            2      2      1                3             11
GABON                              1                                                                                      1                                                               0                              0              1
GAMBIA                                                           1                                                        1             1      1                      1                   3      1                       1              5
GEORGIA                                                          1               4                1                       6             2                       1            1            4      6                       6             16
GERMANY                            3                             3                                                        6      1                    1                                   2      1                       1              9
GHANA                              1                             2      1        2                1          1            8             3             3               1      1            8                              0             16
GREECE                                                           1               1                                        2             1                                                 1                              0              3
GRENADA                         1                                                                                         1             1                                                 1                              0              2
GUATEMALA                     466      2,110      522      1,023     4,901   56,911   897   13,158       485         80,473     14    105     74     79         8     7     43         330     163    150              313        81,116
GUINEA                                                                                                                    0                                                  1            1                              0              1
GUYANA                                                                            2                                       2             2                                                 2      3                       3              7
HAITI                                      1                                      1                                       2             5                                   23          28     282          732      1,014         1,044
                                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 212 of 233




HONDURAS                      155      8,861      967       494      7,559   69,341   490    2,625       476         90,968     11     50     44     56         5    13     17         196     102    209              311        91,475
HONG KONG                                                     1                                                           1             1                                                 1                              0              2
HUNGARY                                                       1                  1                                        2                                                                0     1      1                2              4
INDIA                              4         1     32        36        10      261      1     842        238          1,425     73     12      2                      2      4          93       9                       9         1,527
INDONESIA                                                     2                  2                         1              5                           2               1                   3                              0              8
IRAN                                                          1                  1                                        2      1                                           1            2                              0              4
                                                                                                                                                                                 U.S. Customs and Border
                                                                                                                                                                                               Haiti     Protection
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                                                           SOUTHWEST BORDER                                                                NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                            BBT   DRT    ELC     EPT       LRT   RGV    SDC         TCA       YUM       SBO Total    BLW BUN      DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
IRAQ                                                   2                       1                    1            4      1   2                                                   3                              0            7
IRELAND                                                                                   1                      1      1                                          1            2                              0            3
ISRAEL                                                                1        2                    1            4          1        2      8         1            2           14      2            1          3           21
ITALY                          2             1                                 1          1         3            8                                                 1            1      2                       2           11
IVORY COAST                                                                                                      0            1                                                 1                              0            1
JAMAICA                        5      1      1         3              5        5          4                     24           18      2                      2      3           25     41                      41           90
JAPAN                          2                       2                                            2            6                                                              0                              0            6
JORDAN                                                 1              2                                          3            4      2                                          6             2                2           11
KENYA                                                  1                       1                    1            3            1             1                                   2                              0            5
KOREA                                                  2                       1                                 3      2                                                       2                              0            5
KOSOVO                                                                                                           0                                                 2            2                              0            2
KUWAIT                                                 1                       1          1                      3                                                              0                              0            3
KYRGYZSTAN                                                                                                       0      1     1             2                                   4                              0            4
LAOS                                                                                      1                      1                                                               0                             0            1
LATVIA                                                                                                           0            2                                                 2      3                       3            5
LEBANON                                                1      1                                                  2            1      5                             1            7             1                1           10
LIBERIA                        2                       1                                                         3            3                       1                         4                              0            7
LITHUANIA                                              1                                                         1                                                               0                             0            1
MACEDONIA                                              1              1                   1         1            4                                                 3            3                              0            7
MALAWI                                                                                                           0            1                                                 1                              0            1
MALI                                                                                              1              1                                                               0                             0            1
MEXICO                     3,164 10,196 12,511   9,904 26,540     63,468   27,871   68,870    4,247        226,771     58   294    431    532   5    51   219     75        1,665    277    465              742      229,178
MICRONESIA, FEDERATED STATES OF                      1                                                           1                                                              0                              0            1
MOLDOVA                                                                        1                                 1            3             3         3                         9      2      1                3           13
MONGOLIA                                               1                       2                                 3            1      3                                          4                              0            7
MONTENEGRO                                             1                                                         1                                                              0                              0            1
MOROCCO                               1      1                                                                   2            1      2                                          3                              0            5
NEPAL                                                  2      5     452                   5                    464      3                                                       3                              0          467
NETHERLANDS                                                                                         1            1                                          1                   1      2                       2            4
NETHERLANDS ANTILLES                                1                                                            1                                                              0                              0            1
NEW ZEALAND                                         1                                                            1                          1                      1            2                              0            3
NICARAGUA                      9    192     31     30       166    1,285      23       62       11           1,809            1            16                      1           18     23     12               35        1,862
NIGER                                                                  1                                         1                                                               0                             0            1
NIGERIA                        8      1                7               1       1                                18            6             2                                   8      2      1                3           29
PAKISTAN                       3                              1       10                  2         1           17      6     4                                                10      2      2                4           31
PANAMA                                                        5        7       1                                13                                                              0      1                       1           14
PARAGUAY                                                               5                                         5                                                 1            1                              0            6
PERU                           2     30     17     83        81      505      30      125           2          875            6             1                      2            9      7                       7          891
PHILIPPINES                    5      2      1     11         1        3       2        1           2           28            3             3               2                   8                              0           36
POLAND                         1                    1         1        2                1                        6      1     3             3                     14           21                              0           27
PORTUGAL                                                                                                         0            1                                                 1                              0            1
PUERTO RICO                                                           2                                          2                                                               0                             0            2
QATAR                                                                                   1                        1                   2                                          2                              0            3
ROMANIA                               2     34         4      2     110      201      213      272             838      4     3      3                2           16           28      2                       2          868
RUSSIA                         3      1                3              3                          2              12      1    11      1                      1                  14      4                       4           30
RWANDA                                                                                                           0                              1                               1                              0            1
SAMOA                                                                          1                                 1                                                              0                              0            1
SAUDI ARABIA                   9                       2                       1                    4           16                                                              0                              0           16
SENEGAL                                                                                                          0            2      1                             1            4             3                3            7
SERBIA                                                                1                   1                      2            1             3         2                         6                              0            8
SIERRA LEONE                                                          1                             1            2            1                                                 1                              0            3
SLOVAKIA                       2                                                                                 2                                                               0                             0            2
SLOVENIA                                                                                  1                      1                                                               0                             0            1
SOMALIA                                      1                1                           1                      3                          2                      1             3                             0            6
SOUTH AFRICA                   1                                      1                                          2            1                       2                         3                              0            5
SOUTH KOREA                    4                   12                 2        5          1         1           25      2                                                       2                              0           27
SPAIN                          1                    1                 6                   2                     10      3     1      1                                           5     1                       1           16
SRI LANKA                                           2         5      58                                         65            1                                    3            4      1      1                2           71
ST. LUCIA                                           1                                                            1            2                                                 2                              0            3
ST. VINCENT-GRENADINES                              1                                                            1            2                                                 2                              0            3
SURINAME                                                      1                                                  1                                                              0                              0            1
                                                                                                                                                                                                                            Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 213 of 233




SWITZERLAND                                            1                                                         1      1                                                       1                              0            2
SYRIA                          1                                      4                                          5                   1                      1      6             8     1                       1           14
TAIWAN                                       1         1                                                         2      1                   1                                   2             1                1            5
TAJIKISTAN                                                            1                                          1                                                               0                             0            1
TANZANIA                                                              1                                          1                                                              0                              0            1
THAILAND                       6                       1                       1                                 8            1             4   3     1                         9                              0           17
                                                                                                                                                                       U.S. Customs and Border
                                                                                                                                                                                     Haiti     Protection
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                                                              SOUTHWEST BORDER                                                               NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                      BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA       YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
TOGO                                  1                                                    1                      2                                                               0                             0            2
TRINIDAD AND TOBAGO         1                             4      1      1                                         7      1      3                                                 4     4                       4           15
TUNISIA                                                                                                           0                                                               0     1                       1            1
TURKEY                                2                   3      2     34        1                   1           43      1      5      2                             3           11     2                       2           56
TURKMENISTAN                                              1                                                       1                                                               0                             0            1
UKRAINE                                         2                       1        1         2         2            8             2      1      2                      2            7                             0           15
UNITED KINGDOM              3         1                                 1        1                                6      2      1                       3                         6     2                       2           14
UNKNOWN                                                   1                                1                      2                                                               0                             0            2
URUGUAY                                                                 2                                         2                                                                0    3                       3            5
UZBEKISTAN                  1                                                    1                                2             2      4                             2            8     1                       1           11
VENEZUELA                   1                           3        3     7                   1                     15             1      2      1                                   4    11                      11           30
VIETNAM                     2                          12              3                                         17             1                                    3            4     2                       2           23
YEMEN                                                                                      2                      2             2      2                                          4                             0            6
YUGOSLAVIA                                      1                                                                 1             1      1                             1            3                             0            4
ZAMBIA                                                                                                            0             1                                                 1                             0            1
ZIMBABWE                  1                                                      1                                2                                                                0                            0            2
TOTAL                 4,096 24,255 14,511           12,339 44,049 256,393   29,911   87,915    5,902        479,371    272    741    647    767   45   91   269    506        3,338 2,034    950   958      3,942      486,651
                                                                                                                                                                                                                             Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 214 of 233




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                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2015
                                                                                                        Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                 NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC         TCA        YUM       SBO Total    BLW    BUN   DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                                                    3      1             1                       5                                                              0                              0              5
ALBANIA                                      3                                31                    1                      35                   5                                          5      1                       1             41
ALGERIA                                                          1                                                          1                   1                                          1                              0              2
ANGOLA                                                                           1                                          1                                                               0                             0              1
ANTIGUA-BARBUDA                                                                                                             0      1                                          1            2                              0              2
ARGENTINA                          1         1                   3      1       14       2          2                      24                                                              0      1      1                2             26
ARMENIA                                      1                                           1                     2            4                                                               0                             0              4
AUSTRALIA                                                                                1                     2            3                   1                1                         2      1                       1              6
AUSTRIA                                                                                                        1            1                                                              0                              0              1
AZERBAIJAN                                                                                                                  0                                                              0      3                       3              3
BAHAMAS                            3                             1               2                                          6                          1                      1             2    33                      33             41
BANGLADESH                         1                   9         2      1      257      19          8          2          299      3                                          5            8      1      1                2            309
BARBADOS                                                         1                                                          1                                                              0                              0              1
BELARUS                                                                          1                                          1                                                               0                             0              1
BELGIUM                                                                                                                     0                                                 3            3                              0              3
BELIZE                             3         2         1         1      6       12       5          4                      34                          1                                   1                              0             35
BHUTAN                                                                           1                                          1                                                               0                             0              1
BOLIVIA                            1         2         1         1     19       18                  4                      46            1                                                 1                              0             47
BOSNIA-HERZEGOVINA                                                      2        1                                          3                                                              0                              0              3
BRAZIL                             5     54        67        67       197      783      40      35          19          1,267     3                                          29          32      42      2     1         45         1,344
BULGARIA                                  1                                      1       1                   1              4            1                                                 1                              0              5
BURKINA FASO                                                                                                                0                                                 1            1                              0              1
BURMA                                                                   1                                                   1      1                                                       1                              0              2
CAMBODIA                                                                                                       1            1      1                                                       1                              0              2
CAMEROON                           1                                                                                        1      1                                                       1                              0              2
CANADA                             1                                             3                             1            5     52    37     41     8    23    3     8    117         289       2                       2            296
CHILE                              1                                             1                                          2                                                 7            7      1                       1             10
CHINA, PEOPLES REPUBLIC OF         7      2        81         7         3      932      58      80          67          1,237     12     5      4     10                     19          50      33      7               40         1,327
COLOMBIA                           4     10         5        18        24      187      16      16           2            282      9     1      3      4                      1          18       7      3               10            310
COSTA RICA                         3      2                   7         7       45       3      19                         86            4      2                      1                    7     1      1                2             95
CROATIA                                                                                                                     0                                                 3            3                              0              3
CUBA                               3         8                   3     10       71       3          5          3          106            2      1                             4            7    764      1   275      1,040         1,153
CZECH REPUBLIC                                                                                                              0                                                              0      1                       1              1
CZECHOSLOVAKIA                                                                                                              0                                                              0      1                       1              1
DENMARK                            1                                                                                        1                                                               0                             0              1
DOMINICA                                                                                                                    0                                                              0      1                       1              1
DOMINICAN REPUBLIC                        2                   1       324       146      2       5             2          482            4                       1            9          14      28      2   134        164            660
ECUADOR                        48        25            6    142       611     1,264     38     419             3        2,556            9             1    1                 5          16      17      4               21         2,593
EGYPT                                                                                                                       0                   1      1                                   2      2                       2              4
EL SALVADOR                   297      2,438      219       625      2,071   36,161    237    1,119        225         43,392      7     4     22     18    1    4     5      3          64      35     73              108        43,564
ERITREA                                                                           3                                         3                                          1                   1                              0              4
ESTONIA                                                                                  1                                  1                                                              0                              0              1
ETHIOPIA                                                         1                       1                                  2                                                 1            1                              0              3
FIJI                                                             1                                                          1                                          1                   1                              0              2
FRANCE                             2                             1                                             1            4      1                                          1            2      1                       1              7
GEORGIA                            1                             3               2                                          6            2                                    1             3     1                       1             10
GERMANY                            1                                                                                        1      1     2      1                      1                   5                              0              6
GHANA                              1                             3                       1                     1            6            1             2                                   3                              0              9
GREECE                                                                                                                      0                                                              0             1                1              1
GRENADA                                                                                                                     0            1                                                 1                              0              1
GUATEMALA                    2,216     2,117      669      2,365     4,248   31,594   1,168   9,914       2,400        56,691      6    27     55     85         1    12     28         214     102    153              255        57,160
GUYANA                                                                            1                                         1            1                                                 1      5                       5              7
HAITI                           1                             1                                                             2            1                                    6            7    224          146        370            379
HONDURAS                      172      3,357      386       385      2,376   24,850    256    1,307        356         33,445      5    17     42     45    4    3     6     10         132      82    189              271        33,848
HUNGARY                                                       2                                              1              3                                                              0                              0              3
INDIA                              2         4         6     26        31     1,038      7    1,291         79          2,484     79     3      1      1         1            3          88       5      1                6         2,578
                                                                                                                                                                                                                                        Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 215 of 233




INDONESIA                          1                          1                                                             2                          2                                    2     1      1                2              6
IRAN                                         1         2      4                  1       1                                  9                                                 1            1                              0             10
IRAQ                                                          1         1        3       1                     1            7                                                              0                              0              7
IRELAND                                                                                                                     0                                                 1            1      1                       1              2
ISRAEL                             6         1         1         3               1                  3          1           16            1                                    4            5      5      2                7             28
ITALY                                                  1                         1       1          1          1            5            2      1     2                       1            6                              0             11
                                                                                                                                                                                  U.S. Customs and Border
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                                                                   SOUTHWEST BORDER                                                                 NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                           BBT       DRT       ELC       EPT       LRT   RGV    SDC         TCA       YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
IVORY COAST                                                    1                                                         1                                                               0                              0            1
JAMAICA                          5                             6              1        2                    1           15      1      2      1                             1            5     39                      39           59
JAPAN                            1                             1      1                                     1            4      1                              1                         2                              0            6
JORDAN                                                         2                                                         2             1      1                             1            3             3                3            8
KAZAKHSTAN                                                     1                                                         1                                     1            1            2      1                       1            4
KENYA                            2                   1         2      1       1                             1            8      1                    1                                   2                              0           10
KOREA                                                          2                                                         2      7                                                        7             1                1           10
KOSOVO                                                                        1                                          1                                                  2            2                              0            3
KUWAIT                           2                             2                                                         4             1                                                 1                              0            5
KYRGYZSTAN                                                     1                                                         1                                                  1            1      1                       1            3
LAOS                             1                                                     1                                 2                                                                0                             0            2
LATVIA                                                                                                                   0                                                                0     1                       1            1
LEBANON                                              1                                                                   1                    2                                           2     1                       1            4
LIBERIA                                                        1                                                         1                                                  1            1                              0            2
LITHUANIA                                                      1                                                         1      1                                                        1                              0            2
MACEDONIA                                            2                        6                                          8                                                                0                             0            8
MALAYSIA                                   2                                                                             2      2                                                        2                              0            4
MALI                                                          1                                                          1                                                                0                             0            1
MEXICO                     2,177 10,874 11,320           10,677 25,766    48,173   24,269   48,916    3,845        186,017     67    137    427    563   1    46   153     43        1,437    273    394     1        668      188,122
MOLDOVA                        2      2                       7      1                                                  12                    1      2         1            1            5                              0           17
MONGOLIA                                                      1                        1                                 2                           4                                    4                             0            6
MONTENEGRO                                                                    1                                          1                                                               0                              0            1
MOROCCO                          1                                                                                       1                                                               0                              0            1
NAMIBIA                                                                                1                                 1                                                               0                              0            1
NEPAL                            1                           2        1     373                31                      408             1                                                 1                              0          409
NETHERLANDS                      1                           3                                                           4                           2                      1            3                              0            7
NEW ZEALAND                             1                    1                                                           2                                                  1            1                              0            3
NICARAGUA                        6     82            7      15       92     741       11       56           5        1,015                    3      9   1                              13      2      4                6        1,034
NIGERIA                          6      1                    9        1       4                                         21             4             3                                   7      1                       1           29
PAKISTAN                         3               13          2        1      14       16        1                       50      6                                                        6             1                1           57
PANAMA                           1         3      4          2                3                 2                       15                                                               0                              0           15
PARAGUAY                                                                      1                 1                        2                                                               0                              0            2
PERU                             4     13            9      17       70     231       12       50           4          410             2      2      2         1            3           10      5      1                6          426
PHILIPPINES                      4                   2       7                1        2                    1           17             5                                                 5      1      1                2           24
POLAND                                                                        2                                          2      2      3      1                             4           10      3                       3           15
PORTUGAL                                                                               1                                 1      1      1                                    2            4                              0            5
ROMANIA                          1         1         1         1      2     107       84       94      105             396                                                               0      8      1                9          405
RUSSIA                           4                             3      2       1        3        1                       14             1      1                      1                   3                              0           17
SAUDI ARABIA                                                   5                       4                                 9                    8                                          8      1                       1           18
SENEGAL                                                        1      1                                                  2             1      1                             1            3                              0            5
SERBIA                                                                        1                                          1                           4                                   4                              0            5
SERBIA AND MONTENEGRO                                                                                                    0                           1                                   1                              0            1
SIERRA LEONE                                                   1                                                         1                                                               0                              0            1
SOMALIA                                                                                                                  0                                                  1            1                              0            1
SOUTH AFRICA                                                 2                                                           2                           1                                   1                              0            3
SOUTH KOREA                      4                   1      10                         4                                19      5      1             5                      1           12                              0           31
SPAIN                            3         2         1       1        2       4        1                                14      1                    1                      3            5      2                       2           21
SRI LANKA                        1                           1              106                   1                    109                                                               0                              0          109
ST. LUCIA                                                    2                                                           2             1                                                 1      1                       1            4
STATELESS                                                                                                                0                               1                                1                             0            1
SUDAN                                                                                                                    0                                                                0     1                       1            1
SWEDEN                                                                                 1                                 1                                                               0                              0            1
SWITZERLAND                      1                                                                                       1                                                  1            1                              0            2
SYRIA                                                          2              3                                          5                                                                0                             0            5
TAIWAN                           3                             5                                                         8      3                                                        3                              0           11
TAJIKISTAN                                                                    7                   1                      8                                                                0     1                       1            9
TANZANIA                                                                                                                 0      1                                                        1                              0            1
THAILAND                                                       3              1        1                    1            6                           1                                    1                             0            7
TRINIDAD AND TOBAGO                                            2                                            1            3             1                                    1            2      3                       3            8
TUNISIA                                                                       1        1                                 2                           1                                   1                              0            3
TURKEY                           2                   2         1      6      23        2                    1           37                                           1      4            5                              0           42
                                                                                                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 216 of 233




TURKMENISTAN                                                                                                             0             1             1                                   2                              0            2
TURKS AND CAICOS ISLANDS                                                                                                 0                                                                0     1                       1            1
UKRAINE                                              1         4      1       1        3                                10             1      1     1                                    3                              0           13
UNITED ARAB EMIRATES                                                                              1                      1                                                                0                             0            1
UNITED KINGDOM                   6                             1                       2          1         1           11      1      1      1      2                      1            6      1                       1           18
UNKNOWN                          1                   1         3              2                                          7                                                               0                              0            7
                                                                                                                                                                                U.S. Customs and Border
                                                                                                                                                                                              Haiti     Protection
                                                                                                                                                                                                    AR_000359
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                                                       SOUTHWEST BORDER                                                               NORTHERN BORDER                                 COASTAL BORDER          Nationwide
       CITIZENSHIP
                     BBT       DRT       ELC   EPT     LRT   RGV    SDC         TCA       YUM       SBO Total    BLW    BUN    DTM  GFN HLT    HVM  SPW     SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
URUGUAY                                              1     1     2                                           4                         1                                    1                             0            5
UZBEKISTAN                                                       4                    1                      5                    1    2                                    3                             0            8
VENEZUELA                  1         1                     6     4      2             6         3           23                                                 1            1     3      1                4           28
VIETNAM                    4                         4           7      2                                   17                    1                                         1                             0           18
YEMEN                                                                                                        0                    4                                         4                             0            4
YUGOSLAVIA                                                         1                                         1                                                              0                             0            1
ZIMBABWE                                            1                                                        1                          1                                   1                             0            2
TOTAL                5,031 19,013 12,820       14,495 35,888 147,257   26,290   63,397    7,142        331,333    282    291    637   789   32   64   190    341        2,626 1,752    849   557      3,158      337,117
                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 217 of 233




                                                                                                                                                                   U.S. Customs and Border
                                                                                                                                                                                 Haiti     Protection
                                                                                                                                                                                       AR_000360
                                                                                                      Page 27 of 3
                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2016
                                                                                                        Data includes Deportable Aliens Only


                                                                   SOUTHWEST BORDER                                                                  NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT     LRT   RGV    SDC           TCA        YUM       SBO Total     BLW BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
AFGHANISTAN                                            5                           11               2                      18      13                            1           1          15                              0            33
ALBANIA                                                1         1     1   104                                            107       1          1                             3            5     1                       1           113
ALGERIA                            1         1                   1                                                           3                        1                                    1                            0             4
ANGOLA                                                           1                                                           1                                                            0                             0             1
ANTIGUA-BARBUDA                                                                                                              0     2                                                      2                             0             2
ARGENTINA                                              1         4      1        5       3          2                      16                                                             0     1                       1            17
ARMENIA                                                                                  1          1          1             3                                                            0                             0             3
AUSTRALIA                                                        1                                                           1     2                                                      2                             0             3
BAHAMAS                                      1                   1               1                                           3                                                             0   41                      41            44
BANGLADESH                                         59            1      1      457     107          7                     632           1                                    1            2     1      1                2           636
BELARUS                            1                                                     1                                   2                                                             0                            0             2
BELGIUM                            1                                                                           1             2                                                             0                            0             2
BELIZE                                       1                          5       29       2          3                      40      1                                                      1            1                1            42
BOLIVIA                            2                             2              21       2          1                      28                                                             0     1                       1            29
BOTSWANA                                                                                                                     0                                                            0     4                       4             4
BRAZIL                         13       125        80      1,162      648      871      42      167         10          3,118      3           1                      1     15          20     91      1    22        114         3,252
BULGARIA                                                       1        2                                                    3          1                                    1            2                             0             5
BURKINA FASO                                                   1                 3       1                                   5                                                            0                             0             5
BURMA                                                                                    2                                   2                                                            0                             0             2
BURUNDI                                                                                                                      0                        2                      1             3                            0             3
CAMBODIA                                                         3                                                           3                                                            0                             0             3
CAMEROON                           1                                                                                         1                        1                                    1                            0             2
CANADA                             2                             1               5                                           8    36   26     28      5   13   15    14     65         202      4      1                5           215
CAYMAN ISLANDS                                                                   1                                           1                                                            0                             0             1
CHAD                                                                                                                         0                                               3            3                             0             3
CHILE                           3                             1         3        2                1          1             11      1    1      1                             5            8     1                       1            20
CHINA, PEOPLES REPUBLIC OF     10                 511        31         3      756     855      125         29          2,320     11    7      2      7   1                 24          52     66      1               67         2,439
COLOMBIA                        5        13         5        37        25      179      11       21          6            302      1    1                       3            1            6    13      2               15           323
CONGO                                               1                                                                        1                                               4            4                             0             5
COSTA RICA                         2         4               14         5       37       1       20            2           85           1      2      1                                   4     1                       1            90
CROATIA                                                                                                                      0                                        1                   1                             0             1
CUBA                               2     10            2      3         9       42       7          3                      78      4                            2            1            7 1,489          356      1,845         1,930
CZECH REPUBLIC                                                4                                                1             5     1    1                             1      1            4     1                       1            10
CZECHOSLOVAKIA                                                1                                                              1                                                            0                             0             1
DEM REP OF THE CONGO                                          1                                                              1                                                            0                             0             1
DOMINICAN REPUBLIC              1         4            1     11       322      182       1        7          1            530           2                                    9          11     54      7   253        314           855
ECUADOR                       121        26            8    304       655      910      19      640         30          2,713          11     12           1                 2          26     19     10               29         2,768
EGYPT                           2                                                                            1               3                 1                                           1                            0             4
EL SALVADOR                   401      2,773      378      1,617     2,061   61,734    613     1,632       639         71,848      3    9     19     16         2     1      5          55     54     61              115        72,018
ERITREA                                                                  1                                                   1                                               2            2                             0             3
ETHIOPIA                                               1         1               2                  2                        6                        1                                    1                            0             7
FRANCE                             2                             5                                  1          2           10                                                3            3     4                       4            17
GABON                              1                                                                                         1                                                            0                             0             1
GAMBIA                                                                                                         1             1                                                            0                             0             1
GEORGIA                                                                          5                             4             9     3                                         5            8     9                       9            26
GERMANY                                                          4      1                1          1                        7     1                  1         2     1                   5                             0            12
GHANA                              2                             1                       1                                   4                        1                                   1                             0             5
GREECE                             1                                                                2                        3                                               3            3                             0             6
GUADELOUPE                                                                        1                                          1                                                             0                            0             1
GUATEMALA                    2,783     1,710     1,735     7,549     4,680   33,842   2,166   12,026      8,110        74,601      3   44     76     42         4    20     52         241    300    104              404        75,246
GUYANA                                                         2                                                             2                                                            0     3                       3             5
                                                                                                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 218 of 233




HAITI                                                                    2        1                                          3                 2                             2            4   141           19        160           167
HONDURAS                      180      5,344      682      1,043     2,610   39,052    510     2,684       847         52,952      5   28     32     37    1    1    12      6         122    163    165              328        53,402
HONG KONG                                                                                                                    0                                               1            1                             0             1




                                                                                                                     Page 28 of                                                U.S. Customs and Border
                                                                                                                                                                                               Haiti     Protection
                                                                                                                                                                                                     AR_000361
                                                             SOUTHWEST BORDER                                                              NORTHERN BORDER                                  COASTAL BORDER          Nationwide
       CITIZENSHIP
                     BBT       DRT       ELC       EPT       LRT   RGV    SDC         TCA       YUM       SBO Total    BLW    BUN   DTM  GFN HLT    HVM  SPW    SWB    NBO Total     MIP    NLL RMY    CBO Total       Total
HUNGARY                                                3                                                           3                   1                                        1       8                       8           12
INDIA                      6         6   1,455        11       33     591      506      776       96           3,480    114     2      1   14               2     11          144       4      2    38         44        3,668
INDONESIA                  1                 1         1                4                                          7                                                            0       1      1                2            9
IRAN                                 1       1         3                2        2          1                     10                                               1            1                               0           11
IRAQ                                                                    1        1                                 2      7                                                     7                               0            9
IRELAND                                                                 2        5                10              17                                                            0      1                        1           18
ISRAEL                     1                             1              1                                          3            1                                  3            4      1       1                2            9
ITALY                      3                                            4        6                    8           21                                               1            1      3                        3           25
IVORY COAST                                              1                                                         1                                                            0                               0            1
JAMAICA                    7                   3         8              3                   1         2           24            2      3                    1                   6     29                       29           59
JORDAN                     2                             1                       1          1         1            6                   3     1                     1            5      1       2                3           14
KAZAKHSTAN                 3                                                                          1            4                         1                                  1              1                1            6
KENYA                      1                             6                                                         7                                               1            1      1                        1            9
KOREA                                                                                                 1            1      2                                                     2                               0            3
KOSOVO                                                          3      13                                         16                                               3            3      1                        1           20
KUWAIT                                                   1                       1                                 2                                                            0                               0            2
KYRGYZSTAN                                               1                                                         1                                                            0                               0            1
LAOS                       1                                                                                       1                                                             0                              0            1
LATVIA                     1         1                                                                             2                                               1            1                               0            3
LEBANON                    1                                                                                       1                   3                           1            4                               0            5
LIBERIA                    1                                                                1                      2                                               1            1                               0            3
LIBYA                                                                                                              0                   1                                        1                               0            1
LITHUANIA                                                                        1                                 1                                                            0                               0            1
MACEDONIA                                      3                1       3        1                    1            9                                                            0                               0            9
MALI                                                                             2                                 2                                                            0                               0            2
MAURITANIA                                                                                                         0                                               1            1                               0            1
MEXICO               2,728 12,953 14,361           13,660 25,337    46,334   25,380   46,494    3,513        190,760     40    82    504   352   7   12   149     23        1,169    652     388            1,040      192,969
MOLDOVA                                                 3                         1                                4                                                            0                               0            4
MONGOLIA                                                                                                           0      1                           1                         2                               0            2
MONTENEGRO                                                                                                         0            1                                               1                               0            1
MOROCCO                                                                                   1                        1                   1     1                                   2                              0            3
NEPAL                                      42            7             52      398       51                      550                                                            0                    1          1          551
NETHERLANDS                                                                                                        0                   1                                         1                              0            1
NICARAGUA                  8     66        18         39       64     952       26      114       11           1,298            2      1     9                                 12     10       6               16        1,326
NIGERIA                    7                          10                1        1                                19                   1     1                                  2              1                1           22
PAKISTAN                   1         9     65          2                6      222          9                    314      2            2                                        4                    3          3          321
PALAU                                                                                       1                      1                                                             0                              0            1
PANAMA                               2                 2        1       9        1                                15                                                            0      2       1                3           18
PARAGUAY                                               3        2       3                                          8                                                             0     1                        1            9
PERU                   10        18        11         20       74     248       11       54           3          449      1                  2                     1            4      5       1                6          459
PHILIPPINES             7         1                    7                2        3        2                       22                   1                                        1                               0           23
POLAND                  2         1                    4                                                           7     1             6                           4           11      3                        3           21
PORTUGAL                                       1                                                   1               2     2                                         1            3      1                        1            6
ROMANIA                              1                          3     218      932       27      825           2,006     1      1      1     1              1      2            7      1       4                5        2,018
RUSSIA                     2         1         1         1      1       1        2        1        1              11     1                   1                                  2                               0           13
SAUDI ARABIA                                                    1                7                                 8                   6                                        6                               0           14
SENEGAL                                                  1                       2                                 3                                               1            1                               0            4
SERBIA                                                                                                             0                         2                                  2                               0            2
SLOVAKIA                                                                                                           0                                               1            1      1                        1            2
SOMALIA                                                         1       1        2                                 4                                                            0                               0            4
SOUTH AFRICA                                                                                                       0      1                                                     1                               0            1
SOUTH KOREA                7                             4                                            6           17      3                                                     3                               0           20
SPAIN                                1                   1              5        1          1                      9                                        1      4            5              1                1           15
SRI LANKA                  1                   9                1      31                                         42            1                                  2             3                              0           45
ST. LUCIA                                                1                                                         1                                                            0                               0            1
                                                                                                                                                                                                                             Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 219 of 233




SWEDEN                                                                           1          1                      2      1                                                     1                               0            3
SWITZERLAND                                              1                                                         1                                                            0                               0            1
SYRIA                                                                   1                             1            2                   1                                        1      1                        1            4
TAIWAN                     1                             1                                                         2      1                                                     1                               0            3




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                                                                                                                                                                                     Haiti     Protection
                                                                                                                                                                                           AR_000362
                                                               SOUTHWEST BORDER                                                               NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                       BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA       YUM       SBO Total    BLW    BUN    DTM    GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
TAJIKISTAN                                                               7                                         7                                                               0                             0            7
TANZANIA                                                   1                                                       1                                                               0                             0            1
THAILAND                     3                             4                                                       7                                                               0     1                       1            8
TONGA                        1                                                                                     1                                                               0                             0            1
TRINIDAD AND TOBAGO          1                             1             2                                         4                                                  1            1     2                       2            7
TUNISIA                                                                           1                                1                    1                                          1     2                       2            4
TURKEY                       3                   4                      60        5                               72      2                         1                 1            4     2                       2           78
UGANDA                                                     1                                                       1                                                               0                             0            1
UKRAINE                      3                   2         1                      3         2                     11                           1                      2            3                             0           14
UNITED ARAB EMIRATES                                       1                                                       1                                                               0                             0            1
UNITED KINGDOM               6                             3             1        1         1         2           14             1             1    1          1      3            7     2                       2           23
URUGUAY                      1         1                   1      1                         1                      5                                                               0                             0            5
UZBEKISTAN                                                 1             8                                         9                           2                      1             3    1                       1           13
VENEZUELA                    2         4                   2      4     22        2         3         1           40                                                               0     6            2          8           48
VIETNAM                      6                             3                      6                               15                           1                      3            4            1                1           20
YEMEN                                    1                                                                         1                    1                                           1                            0            2
ZIMBABWE                   1                              2                                                        3                                                               0                             0            3
TOTAL                  6,366 23,078 19,448           25,634 36,562 186,830   31,891   64,891    14,170       408,870    271    226    716    505   25   43   206    291        2,283 3,205    764   694      4,663      415,816
                                                                                                                                                                                                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 220 of 233




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                                                                                                                                                                                        Haiti     Protection
                                                                                                                                                                                              AR_000363
                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2017
                                                                                                        Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT   RGV    SDC         TCA        YUM       SBO Total     BLW BUN    DTM    GFN HLT    HVM  SPW   SWB    NBO Total     MIP   NLL RMY    CBO Total       Total
AFGHANISTAN                                                                    2      9             1          2           14       6                                       1            7                              0            21
ALBANIA                                                1                 1    47                                           49                  3                            3            6                              0            55
ALGERIA                                                                               1                                      1                                              1            1      1                       1             3
ANGOLA                                                                                                                       0                                              1            1                              0             1
ARGENTINA                          2                   1         4      2        6       1          2                      18           3                                                3     10                      10            31
AUSTRALIA                          1                                                                                         1                                              1            1                              0             2
AZERBAIJAN                                                                       1                                           1          4                                   2            6                              0             7
BAHAMAS                                                                                                                      0                                              2            2     40      2               42            44
BANGLADESH                                         11            1    182      304      66                                564           3             1                     5            9      1                       1           574
BELARUS                                                                                                                      0          1                                                1                              0             1
BELGIUM                                                                                                                      0     1                                                     1                              0             1
BELIZE                             1         3         2         3      2       35       5                                 51                         1         1                        2             3                3            56
BENIN                              1                                                                                         1                                                            0     1                       1             2
BOLIVIA                                      1         1         3      4       11       1          1                      22           1                                                1                              0            23
BOSNIA-HERZEGOVINA                                                      1                                                    1                                                            0     2                       2             3
BRAZIL                         23        44       162      1,685      208      372      56      40          31          2,621      1   21      2                           16          40      80      4               84         2,745
BULGARIA                                                       1                 1       1                                   3                 1                            1            2                              0             5
BURKINA FASO                                                                                                                 0          1                                                1                              0             1
BURMA                                                                            1                                           1                                                            0                             0             1
BURUNDI                                                                                                                      0                                              1            1                              0             1
CAMBODIA                                                                                 1          1                        2                                                           0                              0             2
CAMEROON                           1                                                     4                                   5                        1                     2             3     2                       2            10
CANADA                                                                           1       2                     2             5    25   21     12     15   22   15    6     78         194       1                       1           200
CHAD                                                                                                                         0          1                                                1                              0             1
CHILE                              2                1                            3       4       1           1             12                                                            0      3                       3            15
CHINA, PEOPLES REPUBLIC OF         2         3    309        10         9      702     234      79          16          1,364     13    7             5         1    1      5          32      16      1               17         1,413
COLOMBIA                           2         3      8        20        15      121      15       5           7            196      5    5      8           1               30          49      29      7               36           281
CONGO                                                                   1                                                    1                                                           0                              0             1
COSTA RICA                         2      7                      2      5       25       1          5                      47           4      1                                         5      1                       1            53
CUBA                               2     14            3         4     32       81       4          4          3          147      1    2                            3      2            8    361      2   184        547           702
CYPRUS                                                                                   1                                   1                                                           0                              0             1
CZECH REPUBLIC                                                                                      1                        1          1                            1                   2      2                       2             5
CZECHOSLOVAKIA                                                                                                               0                                                           0      1                       1             1
DJIBOUTI                                                                                                                     0          2             1                                  3                              0             3
DOMINICAN REPUBLIC              3          2           1       4       97        70       1       3                       181           7      3           1                2          13      19      2   189        210           404
ECUADOR                        63         29           5     127      435       511       8     233         18          1,429          11      8      1              7     17          44      40                      40         1,513
EGYPT                           1          1                   1                  1       1       1                          6                 1                            1            2      1                       1             9
EL SALVADOR                   412      1,293      322      2,938     1,212   40,651   1,189   1,103        640         49,760      5   26     31     17              1     18          98      73     80              153        50,011
EQUATORIAL GUINEA                                                                 2                                          2                                                           0                              0             2
ERITREA                                                1                                 5                                   6                        1                     3            4                              0            10
ESTONIA                                                                                                                      0                                                           0      1                       1             1
ETHIOPIA                                                                                 1                                   1                                              2            2             1                1             4
FRANCE                                                 2         3                       2          1          1             9     1    1                  1                2            5      1                       1            15
GABON                                                                                                                        0          1                                                1                              0             1
GAMBIA                                                                           1                                           1                        1                                   1     2                       2             4
GEORGIA                                                                 2        5                                           7          1                                   3            4      1                       1            12
GERMANY                            2                                                                                         2                        2         1           1            4      1                       1             7
GHANA                              1                                    1        2      10                     1           15      1    3             1                     1            6                              0            21
GREECE                                                                                                                       0          1                                   1            2      2                       2             4
GUADELOUPE                                                                        4                                          4                                                            0                             0             4
GUATEMALA                    2,553     1,098     1,929     8,242     3,769   28,751   2,544   8,450       8,535        65,871      2   66    112     52              8     34         274     511    151              662        66,807
                                                                                                                                                                                                                                     Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 221 of 233




GUINEA                                                                                                                       0                 2      1                                  3                              0             3
GUYANA                                                                                                                       0     1    4                                   1            6      4                       4            10
HAITI                                                  1         2                      54                                 57           3             1                    25          29      72            5         77           163




                                                                                                                     Page 31 of                                               U.S. Customs and Border
                                                                                                                                                                                              Haiti     Protection
                                                                                                                                                                                                    AR_000364
                                                         SOUTHWEST BORDER                                                            NORTHERN BORDER                                  COASTAL BORDER         Nationwide
       CITIZENSHIP
                        BBT     DRT     ELC     EPT      LRT    RGV    SDC        TCA      YUM     SBO Total     BLW BUN      DTM  GFN HLT    HVM  SPW    SWB    NBO Total     MIP    NLL RMY    CBO Total      Total
HONDURAS                 173    3,574     881    2,106    1,771 34,903   876       2,220     756       47,260       6  30       86   42          3    6     13          186     204    250              454       47,900
HUNGARY                     2                        5               1     1                                 9                             1                 2            3       3                        3           15
INDIA                       3           2,028       10       25     54   757         26       40        2,943     147     3      7                    8      3          168      10      6     8         24        3,135
INDONESIA                   2               1        1        1                                              5                        1                                   1                                0            6
IRAN                        1               2                        1     2                   1             7                                                            0                                0            7
IRAQ                                                                                  1                      1      2            1                                        3                    1           1            5
IRELAND                    1                                                                                 1                                  1            1            2                                0            3
ISRAEL                     5                        4               1                          1           11       2                                 1      6            9      5                         5           25
ITALY                      2                                1       1                 1                      5            1                                  2            3      2                         2           10
IVORY COAST                1                        1                                 1                      3                                                            0                                0            3
JAMAICA                    5                        7                                 2        1           15            11      2     2              2                  17     38       2               40            72
JAPAN                      1                        3                                                        4            1                                               1                                0            5
JORDAN                     3       1                3               2        1                             10             3      1     1                     4            9      2       1                 3           22
KAZAKHSTAN                 4                        1                                                        5                                                             0     2                         2            7
KENYA                                      1        1                                                        2            1                           1                   2                                0            4
KOREA                                               1                                                        1      1                                                     1                                0            2
KOSOVO                                              2              34        9                             45             1                                               1                                0           46
KUWAIT                     1                        2                                                        3                                                            0      1       1                 2            5
LAOS                                                                                                         0                                        1                   1                                0            1
LATVIA                                              1                                                        1                                                            0                                0            1
LEBANON                                                                      1                               1                   1                                        1      1                         1            3
LIBERIA                                             2                                                        2                                        2                   2                                0            4
LITHUANIA                                           1                                                        1                                               1            1      2                         2            4
MACEDONIA                                                           7                                        7            1                                               1      1                         1            9
MALAYSIA                                            1                                                        1                                                            0                                0            1
MALI                                                                                           1             1                                                            0                                0            1
MAURITANIA                                                                                                   0                                               3            3      1                         1            4
MEXICO                  2,656   7,320 12,821    9,856 17,569    29,653   19,026   26,329   2,708      127,938      51   154    748   294       11   141     90        1,489    634     392     1      1,027      130,454
MOLDOVA                                                                       2                              2            1      2                    1      1            5                                0            7
MONGOLIA                                                                                                     0                   1     1                                  2                                0            2
MONTENEGRO                                                          2                                        2                                               2            2                                0            4
MOROCCO                                                                                                      0            1                                               1                                0            1
NEPAL                                     12        1       1      10      619        4                   647       1                                                     1                                0          648
NETHERLANDS                1                                                 1                               2                                                             0                               0            2
NEW ZEALAND                1                                                                                 1                                                             0                               0            1
NICARAGUA                 12      56      12       56      42     741       27      106        5        1,057             1      3    15        2                        21     15       5               20        1,098
NIGERIA                    9                       11               6        1                 1           28            11     11    10   3                 6           41      5                         5           74
PAKISTAN                           3      35        1       1      19      161        3        1          224       3     3            2                     1            9                                0          233
PANAMA                             1                2               3                                        6                                                             0     2                         2            8
PARAGUAY                                            1       1       1                                        3                                                            0                                0            3
PERU                       3      15       8       22      55     226       17       23        3          372             3      3     9              4      3           22     10       2               12           406
PHILIPPINES                1                        4               1                          1             7            2            5        3                        10      1       5                 6           23
POLAND                                              1                                                        1                   6                           2            8                                0            9
PORTUGAL                                            3                                                        3                                               2            2                                0            5
ROMANIA                                   14        1              94      261        3       60          433            2       2              1     6      2           13      4                         4          450
RUSSIA                     2       1       1                                 2        1        1             8      1    1                            1      3            6      1                         1           15
RWANDA                                                      1                                                1                                               1            1                                0            2
SAUDI ARABIA               3               1                        3        7                             14                    2                    3                   5      1       3                 4           23
SENEGAL                                             1                                                        1            1                                  1            2                                0            3
SERBIA                                                              1                          1             2                                                            0      2                         2            4
SERBIA AND MONTENEGRO      1                                                                                 1                                                            0                                0            1
SEYCHELLES                                                                                                   0                                               1            1                                0            1
SIERRA LEONE                                                                                                 0                   1                                        1                                0            1
SLOVAKIA                                                            1                                        1                                        1                   1                                0            2
SOMALIA                                    5        1       1               41                             48                          6                                  6                                0           54
                                                                                                                                                                                                                       Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 222 of 233




SOUTH AFRICA                                                                 4                 1             5                         1                                  1      1                         1            7
SOUTH KOREA                4               2        3               1                                      10       1                  1                                  2                                0           12
SPAIN                      2                        4       1                                                7      1                                        6            7      5                         5           19
SRI LANKA                  2              33        3               6        3                 1           48                                                9            9      8                         8           65




                                                                                                     Page 32 of                                                U.S. Customs and Border
                                                                                                                                                                               Haiti     Protection
                                                                                                                                                                                     AR_000365
                                                                   SOUTHWEST BORDER                                                                NORTHERN BORDER                                COASTAL BORDER          Nationwide
       CITIZENSHIP
                           BBT       DRT       ELC       EPT       LRT   RGV    SDC       TCA       YUM       SBO Total    BLW    BUN    DTM     GFN HLT    HVM  SPW    SWB    NBO Total   MIP    NLL RMY    CBO Total       Total
ST. KITTS-NEVIS                                                                                                        0             1                                                  1                             0            1
ST. LUCIA                                                                    1                                         1                                                                 0                            0            1
STATELESS                                                                                                              0             1                                                  1                             0            1
SUDAN                                                                                 1                                1             1                                     4            5                             0            6
SURINAME                                   1                                                                           1                                                                0                             0            1
SWAZILAND                                                                                                              0                                                   1            1                             0            1
SWITZERLAND                                                                                                            0                                                   1            1                             0            1
SYRIA                                                1         1             1        2                   1            6             3                                                  3     1                       1           10
TAIWAN                                                         3                                                       3                                                                0                             0            3
TAJIKISTAN                                                                                                             0             1                                                  1     1                       1            2
TANZANIA                                                                                                               0             1              3                      1            5                             0            5
THAILAND                         1                             1                                          3            5             1      1                       2                   4                             0            9
TOGO                             2                                                                                     2                                                                 0                            0            2
TONGA                                                          2                                          1            3                                                                 0                            0            3
TRINIDAD AND TOBAGO              2                   1                       1                                         4             2      1            1                 1            5     6                       6           15
TURKEY                                               1         1      2     21        6         3         1           35      2                                            1            3     3                       3           41
TURKS AND CAICOS ISLANDS                                                                                               0                                                                 0    1                       1            1
UGANDA                           2                                                                                     2                                                                 0                            0            2
UKRAINE                          1                   2         2                      1                                6      1             4                       1                   6     2                       2           14
UNITED KINGDOM                   5                                                    3                                8      6                                            2            8     1                       1           17
URUGUAY                                                        1             3                  1                      5                    1                                            1    1                       1            7
UZBEKISTAN                                           1                       6       2                                 9             2                                     2            4     2                       2           15
VENEZUELA                        8         6         5         3     10     38       2          1                     73                                                   2            2    20                      20           95
VIETNAM                          6                   5         6             2      28          1         1           49             1      2       2                                   5     1                       1           55
YEMEN                                                                                1                                 1      1                                            6            7                             0            8
YUGOSLAVIA                                                                   6                                         6                                                                0                             0            6
ZAMBIA                                                                                                                 0                                                                0     1                       1            1
ZIMBABWE                                                                                                               0                                                   1            1                             0            1
TOTAL                      6,002 13,476 18,633           25,193 25,460 137,562   26,086   38,657    12,847       303,916    288    447   1,070    496   30   39   208    449        3,027 2,280    920   388      3,588      310,531
                                                                                                                                                                                                                                   Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 223 of 233




                                                                                                                Page 33 of                                                   U.S. Customs and Border
                                                                                                                                                                                             Haiti     Protection
                                                                                                                                                                                                   AR_000366
                                                                 U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in FY2018
                                                                                                        Data includes Deportable Aliens Only


                                                                     SOUTHWEST BORDER                                                                 NORTHERN BORDER                                 COASTAL BORDER     Nationwide
       CITIZENSHIP
                             BBT       DRT       ELC       EPT        LRT  RGV    SDC         TCA        YUM       SBO Total    BLW    BUN   DTM    GFN HLT    HVM  SPW    SWB    NBO Total    MIP    NLL RMY CBO Total     Total
AFGHANISTAN                                  1         4                                 4                                  9                               2                              2      1                    1           12
ALBANIA                                      1                                  13                  1                      15                  4                             4             8                           0           23
ALGERIA                                                                                                                     0                  2                                           2                           0            2
ANGOLA                                                                                                                      0                                                              0     1                     1            1
ARGENTINA                          1                   2                2        2       1                                  8                                         1      1             2     6                     6           16
ARMENIA                                                                          1       1                                  2                                                              0                           0            2
AUSTRALIA                          1                             1                                                          2                                                              0     1                     1            3
AZERBAIJAN                         2                                             1                                          3                              1                  1            2     2                     2            7
BAHAMAS                                                                                                                     0            1     2                                           3    39                    39           42
BANGLADESH                               10        17                 677      327     167                              1,198            1                                    1            2     3                     3       1,203
BARBADOS                           1                                                                                        1            1                                                 1     1                     1            3
BELARUS                                                          1      1                                                   2                                                              0                           0            2
BELGIUM                                                                                                                     0      1                                          3            4                           0            4
BELIZE                             1     12                      3              49       3          3          1           72                  2                                           2     1       1             2           76
BENIN                                                                                                                       0            1     3                                           4                           0            4
BHUTAN                                                                                                                      0                  1                                           1                           0            1
BOLIVIA                                                          1      5        9       1          2        1             19            1            1                                    2    26                    26           47
BOSNIA-HERZEGOVINA                                                                                           1              1            2     1                              1            4                           0            5
BRAZIL                         41        27        34        462      255      587      58       22         18          1,504      7     6     3      1          1           22          40     86       4            90       1,634
BULGARIA                                                                                                                    0      3           1                      2       2            8     1                     1            9
BURKINA FASO                       1                                                     2                                  3                  1                                           1                           0            4
BURMA                              1                             1               1                                          3            2                                                 2                           0            5
CAMEROON                                     1                   1                       9                                 11            1                       1            1            3                           0           14
CANADA                             1         1                          1        1                  1          1            6     29    14      9     8   16     5    9      82         172      3                     3          181
CAPE VERDE                                                                                                                  0            1                                                 1     1                     1            2
CHAD                                                                                     1                                  1                   1                                          1                           0            2
CHILE                              1         1                 2        1        3                                          8            1      1                             1            3     6                     6           17
CHINA, PEOPLES REPUBLIC OF         9         1     40         12        3      708     125       61         32            991      7    11     13     3    1     2            2          39     46       1            47       1,077
COLOMBIA                           8         5      6         20       16      103      14       18          2            192      2     3      2     2                      12          21     38       2     6      46          259
CONGO                                                                                                                       0                   2                             1            3                           0            3
COSTA RICA                         1         2         1         2              20       5          3                      34            4                                    1            5     3                     3           42
CUBA                               3         7         1         5     16       31       5          5          1           74      5     2      2                             4          13    100       3     4     107          194
CYPRUS                                                                                                                      0                   1                                          1                           0            1
CZECH REPUBLIC                                                                                                              0                   1                                          1     3       2             5            6
CZECHOSLOVAKIA                                                                                                              0                                                              0             1             1            1
DOMINICAN REPUBLIC              2         5         2          7      122        93       1       2                       234            7      7                             7          21     28       3  253      284          539
ECUADOR                        79        63        17        131      353       651       7     175         19          1,495      2    14     20     7                       5          48     64       3     3      70       1,613
EGYPT                                                                   1         2       1                  1              5                                                 1            1     1                     1            7
EL SALVADOR                   198       814       416       2,657     968    23,513   1,191     897        715        31,369       2    11     69    20     4    1    9      11         127     85      55           140      31,636
ERITREA                                                                           1      44                                45                         2                                    2                           0           47
ESTONIA                                                1                                                                    1                                                              0                           0            1
ETHIOPIA                                                                                 9                                  9      1                                                       1                           0           10
FRANCE                             1                             2                                             1            4      1                                          4            5     1                     1           10
GABON                                                                                                          1            1                   1                                          1     1                     1            3
GAMBIA                                                                                  11                                 11                   2                                          2                           0           13
GEORGIA                                                                                                                     0                                                 2            2      2      1             3            5
GERMANY                          1                                                                 1                        2            1                                    3            4      3                    3            9
GHANA                            3                              2                 1      56        1                       63            3      2     3     1                              9                           0           72
GUATEMALA                    3,943     1,456     4,059     11,550    5,690   48,336   3,654   17,398     19,636      115,722      15    56    237    41    10    5    15     66         445    475     166           641     116,808
GUINEA                                                                                                                      0            2                                    1            3                           0            3
GUYANA                                                          1                                              1            2            1      1     1                                    3     2                     2            7
HAITI                           1                    1          4                 1       5                                12            1      2           1                75          79     65       1     9      75          166
HONDURAS                      249      5,762     1,668      6,821    1,989   53,263   1,686    3,103      1,972       76,513       8    24    145    23     4    2    12     26         244    206     165           371      77,128
HUNGARY                         3          1         1          1                                                           6                                                 3            3     7                     7           16
                                                                                                                                                                                                                                        Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 224 of 233




INDIA                           4          7     3,978         17      59      184    3,316     461        971          8,997    145     5     12                5     4     11         182     39      16            55       9,234
INDONESIA                                                                        1                                          1      1     1      4     1          1     1      1          10      1                     1           12
IRAN                                                                    1        1       2                                  4      4                                          1            5                           0            9




                                                                                                                       Page  of 3                                                                      Haiti AR_000367
                                                                 SOUTHWEST BORDER                                                                 NORTHERN BORDER                                COASTAL BORDER        Nationwide
       CITIZENSHIP
                         BBT       DRT       ELC       EPT        LRT  RGV    SDC         TCA       YUM       SBO Total    BLW    BUN    DTM     GFN HLT   HVM  SPW    SWB    NBO Total    MIP   NLL RMY CBO Total        Total
IRAQ                                               2         2                                  2                      6     1              2                                          3                           0            9
IRELAND                                            1                        2                             1            4     3              1                            1             5     2                     2           11
ISRAEL                         4                   2         3                                                         9            1       2                                          3     7     1               8           20
ITALY                                    1                   2      1                           1         2            7     1                                           3             4     1                     1           12
IVORY COAST                    1                                                                                       1            1                                    1             2                           0            3
JAMAICA                        8                             6              2                   4         1           21           13       6      1    1         2      2            25    39      2             41           87
JAPAN                                                        1                                                         1     1      1                                                  2                           0            3
JORDAN                                   2                                           1                                 3            1       3                                          4     4                     4           11
KAZAKHSTAN                     1                                                                                       1                    4                                          4     2                     2            7
KENYA                          1                                                                                       1     1      1       1      1              1      2             7     1                     1            9
KOREA                                                        1              1                                          2            1       2                     1                    4                           0            6
KOSOVO                                                                     38                                         38                    1                            1             2     1                     1           41
KUWAIT                                                       1                                                         1                    1                                          1                           0            2
KYRGYZSTAN                                                                                                             0                                                 1             1                           0            1
LAOS                                                                                                      2            2                                          3      1             4                           0            6
LATVIA                                                       2                                                         2                                                               0     2                     2            4
LEBANON                                                                     2                                          2                    2                                          2                           0            4
LIBERIA                                                                                                   1            1                    3      2              1                    6                           0            7
LITHUANIA                                                                            1                                 1     1      2                                                  3     1                     1            5
MACEDONIA                                                                   5                                          5            1       4      2                                   7                           0           12
MALAWI                                                                                                                 0                           1                                   1                           0            1
MALAYSIA                       1                                                                          3            4                                                 1             1                           0            5
MALI                                                                                 1          1                      2                    1                            2             3                           0            5
MARTINIQUE                                                                                                             0                                                               0     1                     1            1
MAURITANIA                                                                            1                                1                                                               0                           0            1
MEXICO                   3,411     7,474 18,781        9,402 22,279     31,453   27,082   29,786    2,589        152,257     70    140   1,237    315   7   21   282    173        2,245   597    353            950      155,452
MOLDOVA                      1                             1      1                            1                       4      1      2              1                                  4                           0            8
MONGOLIA                     1                             2                                                           3      1             2       1                                  4                           0            7
MONTENEGRO                   2                                                                                         2                    1                            1             2                           0            4
MOROCCO                                                                                                                0                    2                                          2     2                     2            4
NEPAL                                          27                           1      690                               718                                                 1             1                           0          719
NETHERLANDS                                                         1                                                  1                                                               0     1                     1            2
NICARAGUA                  16       144        30       349       115    2,171      83      155      219           3,282                    8      4         1           1            14    34      7             41        3,337
NIGER                                                                                                                  0                    1                            2             3                           0            3
NIGERIA                        7         1         1         4              5        5                                23             6     34       1                    1            42     5      2              7           72
OMAN                                     1                                                                             1                                                               0                           0            1
PAKISTAN                       1         1     40            1              4      104          1         1          153             1      1       2             1      2             7     2      1              3          163
PANAMA                                                       1                                                         1             1      3       2                                  6     1                     1            8
PARAGUAY                              1                                     2        1                                 4             1                                                 1     1      1              2            7
PERU                           6     13            6     38        56     275       13       55           4          466             1      2       7        1            1           12    19      2             21          499
PHILIPPINES                    1                          2         2       2                             2            9      1      4      3                             1            9     3                     3           21
POLAND                                             1                                 1                                 2      2      2      3                             1            8     2                     2           12
PORTUGAL                       2                             1              1                                          4      2             1                             3            6                           0           10
ROMANIA                        1                   3                2     205        6          2     31             250     30            12           1               153          196     2      1              3          449
RUSSIA                                   2         1                        3        4          2      1              13      1      3                                                 4     4                     4           21
RWANDA                                                                                                                 0                                                  1            1                           0            1
SAUDI ARABIA                   1                                                     2                                 3                    3                     1                    4                           0            7
SENEGAL                                                                                                                0      1      1      1       1                    1             5            2              2            7
SERBIA                                                                                                    1            1                                                               0                           0            1
SERBIA AND MONTENEGRO          1                                                                                       1                    1                                          1                           0            2
SIERRA LEONE                                                                         4                                 4                                                               0                           0            4
SLOVAKIA                                                                                                               0                    1                                          1                           0            1
SOMALIA                                                                     2       31                                33                            4                                  4     1                     1           38
SOUTH AFRICA                                                 2                       2                                 4      1             1       1                    1             4     1                     1            9
SOUTH KOREA                              1                   1              1                                          3      3      1                                   2             6                           0            9
SPAIN                          5                1            1              4        1          1                     13             1      1       1                    5             8     6            1        7           28
SRI LANKA                      1               81            1     11      83       11                    8          196                                                               0     6                     6          202
ST. VINCENT-GRENADINES                                                                                                 0                                                  1            1     1                     1            2
                                                                                                                                                                                                                                    Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 225 of 233




SUDAN                                                                                1                                 1                                                               0                           0            1
SWEDEN                                                                                                                 0             1                                                 1                           0            1
SWITZERLAND                                        1                                                                   1                                                               0                           0            1
SYRIA                                                        1      2                                                  3                                                               0                           0            3




                                                                                                                  Page  of 3                                                                         Haiti AR_000368
                                                                   SOUTHWEST BORDER                                                               NORTHERN BORDER                                 COASTAL BORDER         Nationwide
       CITIZENSHIP
                           BBT       DRT       ELC       EPT        LRT  RGV    SDC       TCA       YUM       SBO Total    BLW    BUN    DTM     GFN HLT   HVM  SPW     SWB    NBO Total   MIP    NLL RMY CBO Total         Total
TAIWAN                                                         2             1                                         3             1      1                                           2                            0            5
TAJIKISTAN                                                                   1                                         1                                                                0                   2        2            3
TANZANIA                                                                                                               0             1      3                                           4                            0            4
THAILAND                                                       2             1        1         1         1            6      4                                           1             5     2                      2           13
TOGO                                                           1                      1                                2                                                  1             1                            0            3
TONGA                            1                                                    1                                2                                                                0                            0            2
TRINIDAD AND TOBAGO              2                                    1      2                  1                      6             4                                                  4     4                      4           14
TUNISIA                          1                           1                                                         2                                                   1            1     3                      3            6
TURKEY                                     1         1      14        1     28        4         2         1           52             3                                     2            5     4                      4           61
TURKS AND CAICOS ISLANDS                                                                                               0                                                                0     1                      1            1
UKRAINE                          2                             2             1        1                                6      1      2      3       1    1          2      3           13     7                      7           26
UNITED ARAB EMIRATES                                                                                                   0                    1                                           1                            0            1
UNITED KINGDOM                   5         1                   1             1        1                   1           10             2                                                  2     2                      2           14
UNKNOWN                                    1                                                                           1                                                                0                            0            1
URUGUAY                                    1                                 3                                         4             1                                                  1     3                      3            8
USSR                             1         1                                                                           2                                                                0                            0            2
UZBEKISTAN                                                                                                1            1             2                                     3            5                            0            6
VENEZUELA                        2         4         2         7      6     36       2          3                     62             2     13            2    1            1           19    42      1      2       45          126
VIETNAM                          2                             2             7     148                               159                    3                                           3     4      1               5          167
YEMEN                                      6         1                3     16       7                                33             1                                     2            3                            0           36
ZAMBIA                                                                                                                 0                    1                                           1                            0            1
ZIMBABWE                                                                              1                                1                                                                0                            0            1
TOTAL                      8,045 15,833 29,230           31,561 32,641 162,262   38,591   52,172    26,244       396,579    359    384   1,930    461   52   47   347    736        4,316 2,169    798    280    3,247      404,142
                                                                                                                                                                                                                                      Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 226 of 233




                                                                                                                  Page 3 of 3                                                                          Haiti AR_000369
                                       United States Border Patrol
                                       Total Apprehensions for FY19 through September 30 2019 by Sector and Citizenship (Oct. 1st through Sept. 30, 2019)


                                                                    SOUTHWEST BORDER                                                                            NORTHERN BORDER                                           COASTAL BORDER          Nationwide
         CITIZENSHIP
                             BBT        DRT       ELC        EPT      LRT   RGV    SDC            TCA       YUM    SBO Total     BLW       BUN       DTM       GFN   HLT   HVM        SPW       SWB NBO Total   MIP        NLL    RMY CBO Total      Total
AFGHANISTAN                                             2                            1       8                   1       12            2                                                            3      5                                  0            17
ALBANIA                                       1                            2        22       1                           26                      2         2                                        1      5                                  0            31
ALGERIA                                                                                      1                             1                                                                        1      1                                  0             2
ANGOLA                             1       214                                                                          215                                                                                0                                  0           215
ANTIGUA-BARBUDA                                                                                                            0                     1                                                         1          1                       1             2
ARGENTINA                                     2         2                  1         5       1                           11                                1      1                                        2          4                       4            17
ARMENIA                                                                              1       3                             4                                            1                                  1                                  0             5
AUSTRALIA                                                                                                                  0                     1                                                         1                                  0             1
AZERBAIJAN                                                         1                                                       1           1                                                            1      2                                  0             3
BAHAMAS                                                                                                                    0                                                                               0      32                         32            32
BANGLADESH                                  13          93               200       647     283                        1,236            1         1                                                  2      4                                  0         1,240
BARBADOS                                                            2                                                      2                                                                               0                                  0             2
BELARUS                                                             1                1                                     2                               1      2                                        3                                  0             5
BELIZE                             5        28          1          35      2        96       6          8       13      194                                                                                0                   3              3           197
BENIN                                        1                                                                             1                                                                               0                                  0             1
BOLIVIA                            2         1                     1       7        10                           1       22                      2                                                         2       7                          7            31
BOSNIA-HERZEGOVINA                                                                                                         0                               1                                               1       2                          2             3
BRAZIL                          33         175          34   16,936      201       381     117       11          5   17,893            1       18          3            5                          23     50      60           6      3      69        18,012
BULGARIA                                     1           1        1                          1                             4                                                                        3      3                                  0             7
BURKINA FASO                                 4                    1                          7                           12                                1                                               1                                  0            13
BURMA                                                   1                                                        1         2                                                                               0                                  0             2
BURUNDI                            1                                                                    2                  3                                            1                           1      2                                  0             5
CAMBODIA                           1                               1                         1                             3                               1                                               1                                  0             4
CAMEROON                           1       120                     2                 2      98                   9      232                                1                                        1      2                                  0           234
CANADA                             1                    1                  2         2                  1                  7         39        207         4      7     5         6         5      49    322                   1              1           330
CHAD                                                                                         1                             1                     1                                                         1                                  0             2
CHILE                            7         131                   4                    4     43                   1      190           1          1                                                  1      3       1                          1           194
CHINA, PEOPLES REPUBLIC OF      30           6      209        103        74      1,333    173       51         81    2,060          24         11         7      2               1                 2     47      27                         27         2,134
COLOMBIA                         6          19       11         55        21        197     28       30         34      401           3          5         3      8     1         1         5      14     40      55           4      1      60           501
CONGO                                      188                                               1                          189                                1                                        6      7                                  0           196
COSTA RICA                                   6          4          12      2        39       3          7        7       80                                1                      1                 4      6          1        1              2            88
CROATIA                                                                                                                    0           1                                                                   1                                  0             1
CUBA                            85         752      103       6,283       27      3,556     65       37        737   11,645            1         1         1      2                                 4      9      108         23     13    144         11,798
CZECH REPUBLIC                   4                                                                                         4                                                                               0        4                         4             8
CZECHOSLOVAKIA                                                                                                             0                                                                               0        1                         1             1
DEM REP OF THE CONGO                       609                     4                  1                                 614                                                                                0                                  0           614
DOMINICA                                                                              1                                    1                                                      1                        1       2                          2             4
DOMINICAN REPUBLIC                           7        3          11       86        185       3       11                306                    10       6         1     3                           2     22      19           1    536    556            884
ECUADOR                        193       1,056      304       3,586      825      5,358      99    1,278       432   13,131                    16       7         3     3                          17     46      17           4             21        13,198
EGYPT                                                             1                   3       1                            5                            1                                   1              2       1                          1             8
EL SALVADOR                    907       3,681      992      16,000     1,252    59,112   3,271    1,670     2,926   89,811            5       15      73        13                         9      16    131      59          84           143         90,085
EQUATORIAL GUINEA                1                                                    1                                    2                                                                               0                   2              2             4
ERITREA                                                 1                                   54                           55            1                          3                                        4                                  0            59
ESTONIA                                                                                                                    0                                                                        1      1          1                       1             2
ETHIOPIA                                                           1                 1       3                             5           1                          1                                        2                                  0             7
FIJI                                                               1                                                       1                                                                               0                                  0             1
FRANCE                             4                    2          2                                                       8                                                                        3      3          1        1              2            13
GABON                                         1                                                                            1                                                                               0                                  0             1
GAMBIA                                                                                       7                             7                                                                               0                                  0             7
GEORGIA                                       5                            1         4       1                           11                      3                                1                 3      7          5                       5            23
GERMANY                                                                                                                    0           1         1                                1                        3                                  0             3
GHANA                                         5         1         1                         95                          102            1                          1                                 2      4                                  0           106
GREECE                                                  1         1                                                        2                                                                        1      1                                  0             3
GUADELOUPE                                                        3                   1                                    4                                                                               0                                  0             4
GUATEMALA                     2,573      3,745    7,241      79,484     6,432    81,425   9,932   23,794    49,542  264,168          11        38      137       41     2         7     28         58    322      453        186           639        265,129
GUINEA                            1         31                                                9                          41                              1                               1          2      4        1                         1            46
GUINEA-BISSAU                                                                                 1                            1                                                                               0                                  0             1
GUYANA                                       1                                        1                                    2                    1                                                   1      2        4                         4             8
HAITI                                    1,569        1           2                   3     470        1              2,046                     2                       1                         124    127       58                 6      64         2,237
HONDURAS                      2,230     34,118    3,339      42,160     2,705   146,054   7,902    6,559     8,728  253,795            9       16      122       26     2         3     17         17    212      224        330           554        254,561
HUNGARY                           3                                                                                        3                             1                                          2      3        3                         3             9
INDIA                             7         69    2,970            33     11       143    3,013     440        989    7,675         223          8      22        4               1         3      78    339       10          3             13         8,027
                                                                                                                                                                                                                                                                Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 227 of 233




INDONESIA                                                                                                        1         1                     1                2                                        3        2          5              7            11
IRAN                                                    1          2                 1       8          2                14            8                                                                   8        2                         2            24
IRAQ                                                                                 1       2          1                  4           1                                                            1      2                                  0             6
IRELAND                                                                              1                           2         3                                                                        3      3                   2              2             8




                                                                                                                               Page  of 3                                                                                  Haiti AR_000370
                                                                 SOUTHWEST BORDER                                                                             NORTHERN BORDER                                           COASTAL BORDER          Nationwide
         CITIZENSHIP
                           BBT       DRT       ELC        EPT      LRT   RGV    SDC             TCA       YUM    SBO Total     BLW       BUN       DTM       GFN   HLT   HVM        SPW       SWB NBO Total   MIP        NLL    RMY CBO Total      Total
ISRAEL                           1         1         1          1                          1                             5           1                   3                      1                 3      8          4                       4            17
ITALY                            2                              4                 2                                      8                                                                        4      4          5                       5            17
IVORY COAST                             10                                                 1                           11                                1                                               1                                  0            12
JAMAICA                          3                                                3        4          1                11                    12          6                      1         1             20      52                         52            83
JORDAN                           4                   1                            1                                      6                    1          2                                        1      4                   4              4            14
KAZAKHSTAN                       2                   4          1                 1        4                           12                                       1               1                        2          4                       4            18
KENYA                            1         1                    1                                                        3                               2                      1         3              6                   1              1            10
KOREA                            1                   2                                                                   3                               1                                               1                                  0             4
KOSOVO                                                          7                23        1                           31                                                                         1      1                                  0            32
KYRGYZSTAN                                                               1                                               1                               1                                1              2                                  0             3
LAOS                             1                                                                             1         2                                                                               0                                  0             2
LATVIA                                                          1                                                        1                     1                                                         1                                  0             2
LEBANON                                                                                    1          1                  2                               1                                               1                   1              1             4
LIBERIA                          1         1                                               1                             3                               1                                               1                                  0             4
LITHUANIA                                                                1        1                            1         3           1                                                                   1                                  0             4
MALAYSIA                                             2                                                                   2                     1                                                         1                                  0             3
MALI                                                                                        3                            3                                                                               0                                  0             3
MAURITANIA                                3                                                21                          24                                                                                0                                  0            24
MEXICO                      3,431     9,241    19,269     15,183     26,209   29,840   30,796   29,194     3,295  166,458         144        112     831       276    27    39        336       336  2,101      533        443     1     977        169,536
MOLDOVA                                                                                                                  0                                       1           1                    1      3                   1              1             4
MONGOLIA                                                                                                                 0           1                                                                   1                                  0             1
MONTENEGRO                                                                        1                            1         2                               4                                               4                                  0             6
MOROCCO                          1                              1                          2                             4                     1                                                         1                                  0             5
NEPAL                                                22         5        1        3      301          2        2      336                                                                                0                                  0           336
NETHERLANDS                                                                                                              0           1                                                                   1                                  0             1
NEW ZEALAND                                                                                                              0                                                                1              1                                  0             1
NICARAGUA                     42       706           95    1,774       242     8,577     286      265      1,322   13,309            4         2         9      5                                 4     24      28          12             40        13,373
NIGER                                    1                                                                               1                                                                               0                                  0             1
NIGERIA                          4      11           1          5                 4        3                   3       31                    10      13                                   2       2     27          3        2              5            63
NORTH MACEDONIA                                                                   1                                      1                            2                                   2              4          3                       3             8
PAKISTAN                         1         2         67                          12       89          4               175            3         1      1         1                                        6                                  0           181
PALAU                                                                                                                    0                                                                1              1                                  0             1
PANAMA                           1      13                      1        1       10        1          1        1       29                                                                         1      1       1           1              2            32
PARAGUAY                                              1                           1                                      2                     1                                                         1       1                          1             4
PERU                          15        16           11         68      36      433       54       91         11      735                      7         2            1                   3       2     15      10           1             11           761
PHILIPPINES                    3         2            1          1                1        4                   1       13                      1                                                  1      2       3                          3            18
POLAND                         1                                                           1                             2           2                   4                                               6       3                          3            11
PORTUGAL                                             1          2                                                        3           3                                          1                 4      8       2                          2            13
QATAR                                                           2                                                        2                                                                               0                                  0             2
ROMANIA                                              9                   2      171       17                  90      289          18          1     10         1                               229    259          1        1              2           550
RUSSIA                                     2         2                   1        9        3          1        3       21           3          1      3         1                                 1      9          3                       3            33
RWANDA                                               1                                                                   1                                                                        1      1                                  0             2
SAUDI ARABIA                                                                      1                                      1           1                   2                                               3                   1              1             5
SENEGAL                                    6                                      1        9                   1       17                                                                                0                                  0            17
SERBIA                           1                              6                                                        7                                      1               1                        2          1                       1            10
SERBIA AND MONTENEGRO                                           2                                                        2                                                                               0                                  0             2
SIERRA LEONE                               3                                               5                             8                               1                                               1          2                       2            11
SLOVAKIA                         1                                                                                       1                                                                1              1          1                       1             3
SLOVENIA                                                                                                                 0                                                                               0          1                       1             1
SOMALIA                                    1                                                                             1                                      5                                        5                                  0             6
SOUTH AFRICA                                                                      2        2                             4                               1                                               1                                  0             5
SOUTH KOREA                      4                              1                 1                            2         8                     1                                1         2              4          1                       1            13
SPAIN                            1                 5            5                 5                   1        1       18                      4                                                  8     12          2                       2            32
SRI LANKA                               11       235                     8      153       52                   6      465                                                                         1      1          3                       3           469
ST. LUCIA                                                                                                                0                     1                                                         1                                  0             1
ST. VINCENT-GRENADINES                                                                                                   0                                                                               0                   1              1             1
STATELESS                                                                                                                0                               1                                               1                                  0             1
SUDAN                                                                                      4          1                  5                                                                        1      1                                  0             6
SWEDEN                                                                                                                   0                                                                               0          1                       1             1
SWITZERLAND                                                                                                              0                     2                                                         2                                  0             2
SYRIA                                                                             2                                      2                               1                                               1                                  0             3
TAIWAN                                               1                                                                   1           1                                                                   1                                  0             2
TAJIKISTAN                                                                        2        1                             3                                                                        1      1                                  0             4
THAILAND                         2                                                2                                      4                     1                                2                        3          3                       3            10
TOGO                                       6                                               8                           14                                                                 1              1                                  0            15
TRINIDAD AND TOBAGO              1                              2                                                        3           1         1         1                                        1      4          1                       1             8
TUNISIA                          2                                                                             1         3                               2                                               2                                  0             5
TURKEY                           4                              32               13        8                           57                                                       2                 1      3          6                       6            66
TURKS AND CAICOS ISLANDS                                                                                                 0                                                                               0          1                       1             1
                                                                                                                                                                                                                                                              Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 228 of 233




UGANDA                                     1                    2                                                        3           1                   1                                               2                                  0             5
UKRAINE                          1                   2          1                 1        5                           10                      3         5                      1         2             11          3                       3            24
UNITED KINGDOM                             1                    1                 6                                      8           2         4         1                                        2      9          1                       1            18
UNKNOWN                                    1                                                                             1                                                                               0                                  0             1




                                                                                                                             Page  of 3                                                                                  Haiti AR_000371
                                                            SOUTHWEST BORDER                                                                            NORTHERN BORDER                                            COASTAL BORDER           Nationwide
        CITIZENSHIP
                      BBT       DRT       ELC        EPT      LRT   RGV    SDC              TCA      YUM   SBO Total     BLW       BUN       DTM       GFN   HLT   HVM        SPW       SWB NBO Total    MIP        NLL    RMY CBO Total       Total
URUGUAY                               1                    12                 7                          1       21                      1                                                         1           3                       3             25
USSR                                                                                                               0                               1                                               1                                   0              1
UZBEKISTAN                                       1                            81       2                         84                                3                                       1       4         2                         2             90
VENEZUELA                   2     667           13      284        23      1,133      43       24       13    2,202            2         3         3      1                         1      2      12        34          7     2       43          2,257
VIETNAM                     7       1           66        7         2         30     587        1        2      703                      2         1                      1         1              5         4                         4            712
YEMEN                                            7        1                    8      17                 1       34                                1                                1              2                                   0             36
YUGOSLAVIA                            1                                                                            1                                                                               0                                   0              1
ZAMBIA                                                                                                             0                              1                                                1                                   0              1
ZIMBABWE                                                                                                           0                              1        2           1                           4                                   0              4
TOTAL                  9,637    57,269    35,138     182,143    38,378   339,135   58,049   63,490   68,269   851,508       524        537    1,322      412    52    77        428      1,056   4,408    1,891     1,132   562     3,585       859,501
                                                                                                                                                                                                                                                          Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 229 of 233




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                                                                           U.S. Border Patrol Nationwide Encounters by Citizenship & Sector
                                                                                                        FY2020
                                                       Beginning in March FY20, USBP encounters statistics include both Title 8 apprehensions and Title 42 expulsions.


                                                                     SOUTHWEST BORDER                                                                        NORTHERN BORDER                                            COASTAL BORDER             Nationwide
           CITIZENSHIP
                             BBT       DRT       ELC       EPT       LRT       RGV       SDC       TCA       YUM       SBO Total    BLW    BUN    DTM       GFN    HLT       HVM       SPW    SWB    NBO Total    MIP   NLL    RMY    CBO Total       Total
AFGHANISTAN                                                                                                        1            1                                                                             0     1                          1             2
ALBANIA                                                          4                   9                   3                     16             2                                                               2     1                          1            19
ALGERIA                                                                                                                         0                       1                                                     1                                0             1
ANGOLA                                  262            2                                                                      264                                                                             0                                0           264
ANGUILLA                                                         1                                                              1                                                                             0                                0             1
ARGENTINA                          1         3                                       3                   1         1            9                       1                                        1            2     6                          6            17
ARMENIA                                                4                                       1                   1            6                                                                             0                                0             6
AUSTRALIA                                                                                                                       0                       1                                        1            2     1                          1             3
AZERBAIJAN                                                                                                                      0                                                                             0     1                          1             1
BAHAMAS                                                                                                                         0                                                                             0    25                         25            25
BANGLADESH                               11       502                      2      31       31                  67             644             1                                                               1                                0           645
BELARUS                                   1                                                                                     1                                                                             0                                0             1
BELGIUM                                                                                                                         0                                                                1            1                                0             1
BELIZE                             1      3                      5         1      22           1         3         2           38                                                                             0                                0            38
BENIN                                     9            1                                       2                   2           14                                                                             0                                0            14
BOLIVIA                                   1                    4        3          8                                           16             1                8                         1                   10                                0            26
BRAZIL                             9    347       392      5,185       47        143      337         13      473           6,946      2      7         4                                       10           23    45      2      6           53         7,022
BULGARIA                                                       1                                                                1      1                1                                                     2                                0             3
BURKINA FASO                                 3         1                                       7                               11             1                                                               1                                0            12
BURMA                                                                                                                           0                                                                             0     1                          1             1
CAMBODIA                                  1                                          1                                          2                       1                                                     1     2                          2             5
CAMEROON                                 51        21                                3         9         1     24             109                                                                             0                                0           109
CANADA                             1      1                                          3                                          5     36    138         2     9          9         3     6      45          248     6      1                   7           260
CENTRAL AFRICAN REPUBLIC                  3                                                                                     3                                                                             0                                0             3
CHILE                              2    322         2        11                     4     301          6                      648                                                        2      2             4     2                          2           654
CHINA, PEOPLES REPUBLIC OF         6     37       168        22        33         775      98         23       74           1,236     12      1         5                2               1                   21    25                         25         1,282
COLOMBIA                           7     12         6        90        15         126      18         16        5             295      1      2         5      1         2               2      24           37    37             5           42           374
CONGO                                    55                                         1                  1        1              58                                                                1            1                                0            59
COSTA RICA                                1                             6          17       7          3                       34                                                                3            3     1      1                   2            39
CUBA                          312       656       132      6,533       47       1,064      87        541      450           9,822                                                                2            2    79      2      2           83         9,907
CZECH REPUBLIC                                                                                                                  0                                                                             0     1                          1             1
DEM REP OF THE CONGO                    267                                                                                   267                                                                             0                                0           267
DENMARK                                                                                                                         0                                                                1            1                                0             1
DOMINICAN REPUBLIC              1         34        1          7       88         110       2          17       6             266      1      3         3     1          1               1      10           20     5      1    313          319           605
ECUADOR                       406      1,234       84      5,089      797       2,481      85       1,563     122          11,861      1      8         4     1          3               2      63           82     5      4                   9        11,952
EGYPT                                                          1                                                                1             1                                                               1                                0             2
EL SALVADOR                   244      1,613      198      2,180      655       9,488     555       1,242     309          16,484      2      9     17        13         3                3     13           60    41     42                  83        16,627
EQUATORIAL GUINEA                                                                                       1                       1                                                                             0                                0             1
ERITREA                                      1     40                                1     17                      4           63      1                       2                                              3                                0            66
ETHIOPIA                                     3      2                                1      1                                   7                                                                             0                                0             7
FIJI                                                                                                                            0      1                                                                      1                                0             1
FRANCE                                       2         1         1                             1                                5             1         1                                 1      3            6                                0            11
FRENCH GUIANA                                2                                                 4                                6                                                                             0                                0             6
GAMBIA                                                 3                                       2                   2            7                       1                                 1      1            3                                0            10
GEORGIA                                                                                        1                                1                                                                             0     2                          2             3
GERMANY                                                                                                                         0                                                                1            1                                0             1
GHANA                              1     43        34            4                         62            3     56             203      1      3         3                1               1                    9     1                          1           213
GREECE                                                                                                                          0                                                                             0     2                          2             2
GUADELOUPE                                 6                   1                    5                                          12                                                                             0                                0            12
GUATEMALA                    1,500     1,687      436      6,887     4,769     15,116      682     15,066    1,100         47,243      7     26     67        28         6               15     53          202   289     94      2          385        47,830
GUINEA                                    13        8                                       10                   1             32             1                                                               1                                0            33
GUINEA-BISSAU                                                                                3                                  3                                                                             0                                0             3
GUYANA                                                                                       1                                  1                                                                             0     2                          2             3
HAITI                              2,000                      12         1         36    2,343          2        1          4,395             3                                                 17           20    94            22          116         4,531
                                                                                                                                                                                                                                                                    Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 230 of 233




HONDURAS                      510 10,282          436      3,976     1,787     17,725      908      3,453    1,014         40,091      6     21     41        15     20                  9      15          127   124    134                 258        40,476
HUNGARY                                                                             1                                           1                                                                             0     2                          2             3
INDIA                              4         1    415        27            4       67      42        320      212           1,092     61     1          4                          2     2      59          129     1      3     2             6         1,227
INDONESIA                          1                1                                                                           2                                                        1                    1     1                          1             4




                                                                                                                       Page 1 of 3
                                                                                                                                                                                                                                                  Haiti AR_000373
                                                                          SOUTHWEST BORDER                                                                        NORTHERN BORDER                                            COASTAL BORDER            Nationwide
          CITIZENSHIP
                                  BBT       DRT       ELC       EPT       LRT       RGV       SDC       TCA       YUM       SBO Total    BLW    BUN    DTM       GFN    HLT       HVM       SPW    SWB    NBO Total    MIP   NLL    RMY   CBO Total       Total
IRAN                                              3                   1                   1         4                   7           16      1                                                                      1                               0            17
IRAQ                                                                                                1         1                      2                       2                                        1            3            1                  1             6
IRELAND                                           1                             1                                                    2                                                                             0                               0             2
ISRAEL                                  2         1                                                 2                                5     2       1                                                               3     3                         3            11
ITALY                                   2                             1                   4                             2            9     1                                                          1            2     4                         4            15
IVORY COAST                                       5                                       4                                          9                                                                             0                               0             9
JAMAICA                                 1         1                                                 3                                5            3          4                1                1      1           10    17                        17            32
JAPAN                                                                                                                                0                                        1                                    1                               0             1
JORDAN                                  1                             1                   4         2         1                      9                             2                          1      2             5     7      2                  9            23
KAZAKHSTAN                                                                                          1                                1                                        3                      2             5     1                         1             7
KENYA                                             1                                       1                                          2                                                        1      3             4            1                  1             7
KOREA                                                                           1                                                    1            1                                                                1                               0             2
KOSOVO                                                                1                   4      14           4                     23                                                                             0                               0            23
KUWAIT                                                                1                                                              1                                                                             0                               0             1
KYRGYZSTAN                                                                                                                           0            1                                                                1                               0             1
LEBANON                                                                                                                 1            1                                                                             0                               0             1
LIBERIA                                           1                                                                                  1                       1      1                                              2                               0             3
LIBYA                                                                                               1                                1                                                                             0                               0             1
MALAYSIA                                                                                  1                                          1             1                                                               1                               0             2
MALI                                         3      1                 1                            2                                 7                                                                             0                               0             7
MAURITANIA                                   1      8                                    1        38                  8             56                                                                             0                               0            56
MEXICO                            5,564 20,769 24,359           23,759 42,963       41,146    47,147    42,813    4,598        253,118     56     53    257       132     44        24       179    156          901   360    268                628       254,647
MICRONESIA, FEDERATED STATES OF                                                                              1                       1                                                                             0                               0             1
MOLDOVA                                                                                                                              0                                                                1            1            1                  1             2
MONGOLIA                                                                                                                             0                                                                             0     2                         2             2
MONTENEGRO                                                                      1         1                                          2                       1                                                     1                               0             3
MOROCCO                                                                                                                              0                                                                2            2                               0             2
NEPAL                                   1         2     27            4         4      61        14           5     18             136                                        1                                    1            1                  1           138
NETHERLANDS ANTILLES                                                                                                                 0                                                                             0     1                         1             1
NICARAGUA                           13       290        28        327      111       1,044      105       179       26           2,123                       1     4                                  2            7    21      5                 26         2,156
NIGER                                          2                                         1                                           3                                                                2            2                               0             5
NIGERIA                                 3      2            5                            5          6                   3           24             2         6      1                                              9     1                         1            34
NORWAY                                                                                   1                                           1             1                                                               1                               0             2
OMAN                                              1                                                                                  1                                                                             0                               0             1
PAKISTAN                                          3     30            7     21         24                     2     10              97                       1                                        2            3                               0           100
PALAU                                                                                                                                0                                                         2                   2                               0             2
PANAMA                                  1      8                      1                             2         3                     15                                                         1                   1     1                         1            17
PAPUA NEW GUINEA                               1                                                                                     1                                                                             0                               0             1
PARAGUAY                                       1                    3                   2                   1                        7                       1                                                     1                               0             8
PERU                                    3     50            5      59       27        166        30        84           2          426                                                                2            2     7      1                  8           436
PHILIPPINES                                                                             2                   1                        3            2                                                   1            3     1                         1             7
POLAND                                  1                   1                                                                        2                       1                                        3            4     3                         3             9
PORTUGAL                                                              1                                                              1                                                                             0     1                         1             2
ROMANIA                                 2         1                   2               178                     1     82             266     23                1     6          5         1            54           90     1      2     1            4           360
RUSSIA                                  1         1         2         1         1       3           3         1     11              24                             1                                  1            2     3                         3            29
SAUDI ARABIA                                                                                                                         0                                                                             0    13                        13            13
SENEGAL                                 1         4         3                                       5                   2           15            1                                                                1                               0            16
SERBIA                                  1                                                                                            1                       1                                                     1                               0             2
SIERRA LEONE                                  21            6                                       4                   2           33                                                                             0                               0            33
SINGAPORE                                                                                 1                                          1                                                                             0                               0             1
SLOVAKIA                                                                                                                             0                                                                             0     2                         2             2
SOMALIA                                           2         5                                                           1            8                                                                             0                               0             8
SOUTH AFRICA                            2         2                   1                                       1                      6                   1         1                                               2                               0             8
SOUTH KOREA                             1                1            1                 2                                            5     1             4                                    3                    8     1                         1            14
SPAIN                                   1                1            3                 3                     1      1              10     1      2      1                                           4             8     4                         4            22
SRI LANKA                                     22        36            1         9     108                     3     51             230            2                                                  1             3                               0           233
ST. VINCENT-GRENADINES                                                                                                               0                                                                             0            1                  1             1
SUDAN                                             1         3                                       2                   3            9                                                                1            1                               0            10
SWEDEN                                                                1                                                              1                                                                             0                               0             1
SYRIA                                             1                                                                     3            4                                                                             0                               0             4
                                                                                                                                                                                                                                                                        Case 6:23-cv-00007 Document 93-3 Filed on 03/24/23 in TXSD Page 231 of 233




TAIWAN                                                                1                                                              1                                                                             0     1                         1             2
TAJIKISTAN                                                                                2                                          2                                                                             0                               0             2
TANZANIA                                                                                  1                                          1                                                                             0                               0             1
THAILAND                                                                                                                             0                       1                                                     1     2                         2             3




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                                                                   SOUTHWEST BORDER                                                                        NORTHERN BORDER                                         COASTAL BORDER             Nationwide
          CITIZENSHIP
                           BBT       DRT       ELC       EPT       LRT       RGV       SDC       TCA       YUM       SBO Total    BLW    BUN    DTM       GFN    HLT       HVM    SPW    SWB    NBO Total   MIP    NLL    RMY    CBO Total       Total
TOGO                             1         4         3                                       6                   3           17                       1                                                  1                                0            18
TONGA                                                                                                  1                      1                                                                          0                                0             1
TRINIDAD AND TOBAGO                        1                   1                                                              2                                                             1            1     1                          1             4
TUNISIA                                                                                                                       0                       1                                                  1     2                          2             3
TURKEY                           2                          48           3      11           3                               67      1      1                                               1            3     6      3                   9            79
TURKS AND CAICOS ISLANDS                                                                                                      0                                                                          0     1                          1             1
UGANDA                                     9         3                             1         1                   1           15                                                                          0     1                          1            16
UKRAINE                                                                            1         1         2         1            5                       2      1                                           3     1                          1             9
UNITED KINGDOM                             1         1         1                   1                                          4      8                1                                     1           10     2                          2            16
UNKNOWN                                    1                                       4                   2                      7                                                                          0                                0             7
URUGUAY                          3                           4           1                             1      1              10                                                                          0                                0            10
UZBEKISTAN                              5        15          6                             1                 17              44                                                             1            1     1                          1            46
VENEZUELA                    10       145         9        115       26        165        53       690       14           1,227             1         1                                     2            4    26      2      3           31         1,262
VIETNAM                       5                  49                              5       207                  1             267                                        2                                 2                                0           269
WESTERN SAHARA                                                                   1         1                                  2                                                                          0                                0             2
YEMEN                                      8         1         2         1       4         5                     7           28                                                                          0                                0            28
YUGOSLAVIA                                                                                                                    0                    1                                                     1                                0             1
ZAMBIA                                                                                                                        0                    1                                                     1     1                          1             2
ZIMBABWE                                                                          1                                           1                    1                                                     1                                0             2
TOTAL                      8,628 40,342 27,492           54,396 51,425       90,206    53,282    66,076    8,804        400,651    227    302    455       227    104        30    236    574        2,155 1,302    572    356        2,230       405,036
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